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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK

CASEY CUNNINGHAM et al.,
                                        Civil Action No. 16-cv-6525
                 Plaintiffs,

      v.

                                        Hon. P. Kevin Castel
CORNELL UNIVERSITY et al.,

                 Defendants.



    PLAINTIFF’S RESPONSE TO THE CORNELL DEFENDANTS’ RULE 56.1
 STATEMENT AND COUNTERSTATEMENT OF UNDISPUTED MATERIAL FACTS
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         PLAINTIFFS’ RESPONSE TO THE CORNELL DEFENDANTS’ RULE 56.1
                                STATEMENT

         1.           Plaintiffs are five employees or former employees of Cornell University

(“Cornell”) and are participants in two defined contribution participant directed retirement plans

sponsored by Cornell: the Cornell University Retirement Plan for Employees of the Endowed

Colleges at Ithaca; and the Cornell University Tax-Deferred Annuity Plan (“the Plans”).1

         RESPONSE: Plaintiffs do not dispute that they are employees or former employees and

participants in the Plans. Paragraph 1 is disputed in that it fails to present any facts that are

material to the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule

56.1.2

         2.           Plaintiffs filed suit in August 2016. As amended, Plaintiffs allege that Cornell,

the Retirement Plans Oversight Committee (“RPOC”), Mary G. Opperman, and the Plans’

consultant, Capfinancial Partners LLC (“CAPTRUST”) (collectively “Defendants”) violated

various provisions of the Employee Retirement Income Security Act of 1974 (“ERISA”).3

         RESPONSE: Plaintiffs dispute paragraph 2 because it is a characterization of Plaintiffs’

allegations and is therefore not a material “fact” as required by Local Rule 56.1.

         3.           Although the operative complaint identifies seven separate counts, each

containing multiple claims, the Court has dismissed the majority of these counts in their entirety

and narrowed the scope of those it has allowed to proceed.4 At present, the only claims

remaining in the case are Plaintiffs’ claims that Defendants breached ERISA’s fiduciary duty of

prudence by: (a) allegedly failing to monitor and reduce the administrative fees paid by the Plans


1
  Doc. 250-1, Ex. 1, Am. Compl., Doc. 81, at ¶¶ 19-26.
2
  Defendant’s assertions throughout contain many items which are not statements of fact, others which are
immaterial to the issues in this case, and still others which are not admissible. Each category of assertions is
inappropriate for consideration in a Rule 56.1 statement.
3
  Doc. 250-1, Ex. 1, Am. Compl., Doc. 81, at ¶¶ 1-5.
4
  Doc. 250-2, Ex. 2, Order Granting Motion to Dismiss, Doc. 107, at 26.
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(Count III); and (b) failing to monitor and remove two allegedly imprudent invest options—the

CREF Stock Fund (“CREF Stock”) and the TIAA Real Estate Account (“TIAA Real Estate”)

(Count V).5

         RESPONSE: Paragraph 3 is disputed because it is an attempted characterization of the

Court’s ruling and not material “facts” as required by Local Rule 56.1. Plaintiffs further state that

Plaintiffs’ Amended Complaint and the Court’s order speak for themselves. Specifically, the

Court denied the Cornell Defendants’ motion to dismiss allegations under Count III that

“defendants breached their fiduciary duties by: (1) failing to monitor and control the Plans’

recordkeeping fees by (a) failing to monitor the amount of revenue sharing received by the

Plans’ recordkeepers, (b) failing to determine if the amount of revenue sharing paid to the

recordkeepers was competitive or reasonable, and (c) failing to use the Plans’ size to reduce fees

or obtain sufficient rebates to the Plans for excessive fees paid by participants; (2) failing to

solicit bids from competing recordkeeping providers on a flat per-participant fee basis; and (3)

failing to engage in a timely and reasoned decision-making process to determine whether the

Plans would benefit from moving to a single recordkeeper.”6 The Court also denied Defendants’

motion to dismiss Count alleging that “defendants breached their fiduciary duties by: (1)

continuing to offer the CREF Stock Account and TIAA Real Estate Account despite their high

fees and poor performance; (2) selecting and retaining investment options, including actively

managed funds, with high fees and poor performance relative to other investment options that

were readily available to the Plans; (3) selecting and retaining high-cost retail mutual funds




5
  Doc. 250-2, Ex. 2, Order Granting Motion to Dismiss, Doc. 107, at 12-18. Although the Court has allowed
Plaintiffs’ “duty to monitor” claims to proceed, these claims are entirely derivative of the two administrative fee and
investment claims that remain in the case. See Ex. 2, Order Granting Motion to Dismiss, Doc. 107, at 23-24.
6
  Doc. 107 at 14.


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instead of materially identical lower cost institutional mutual funds.”7 The Court also denied

dismissal of the duty to monitor claims in Count VII against Cornell and Mary Opperman.8

         4.          The Cornell University Retirement Plan for Employees of the Endowed

Colleges at Ithaca (the “CURP”) and the Cornell University Tax-Deferred Annuity Plan (the

“TDA Plan”) are employee benefit plans established pursuant to Section 403(b) of the Internal

Revenue Code (the “Code”).9

         RESPONSE: Plaintiffs do not dispute paragraph 4 to the extent it alleges the Plans are

defined contribution Plans organized under section 403(b) and subject to ERISA.

         5.          Until recently, an employer’s role in a 403(b) plan was limited: individual

participants had exclusive control over their investments, typically annuity contracts, and

interacted with the insurer underwriting their annuity directly. 10

         RESPONSE: Paragraph 5 attempts to describe laws and regulations and is not a

statement of material facts as required by Local Rule 56.1. To the extent it is a statement of fact,

the Corrected Amended Complaint and Department of Labor publications cited speak for

themselves.

         6.          In 2009, the Internal Revenue Service (“IRS”) issued a “comprehensive

update” to the regulations governing Section 403(b) plans (“the 2009 regulations”). The effect




7
  Id. at 14-18
8
  Id. at 23
9
  Doc. 250-3, Ex. 3, 2008 CURP Adoption Agreement (CORNELL015512); Doc. 250-4, Ex. 4, 2008 CURP Plan
Document (CORNELL015526); Doc. 250-5, Ex. 5, 2008 TDA Plan Adoption Agreement (CORNELL015527);
Doc. 250-6, Ex. 6, 2008 TDA Plan Document (CORNELL015535).
10
   Doc. 250-1, Ex. 1, Am. Compl. Doc. 81, at ¶¶ 65, 66, 68; Doc. 250-7, Ex. 7, 2011 Advisory Council on
Employee Welfare and Pension Benefit Plans Report to the Honorable Hilda L. Solis, United States Secretary of
Labor, Current Challenges and Best Practices for ERISA Compliance for 403(b) Plan Sponsors (Nov. 2011), at 5;
Doc. 250-8, Ex. 8, Department of Labor Field Assistance Bulletin 2009-02, at 2 (discussing plan administrator
concerns related to “the historical treatment of 403(b) plans as a collection of individual contracts with respect to
which employees could engage in a range of actions without the consent or involvement of an employer or plan
administrator”).


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of the 2009 regulations was to diminish the extent to which the rules governing Section 403(b)

plans differed from the rules governing other tax-favored retirement plans, such as Section

401(k) plans. The 2009 regulations were interpreted by plan sponsors as requiring them to take a

more active role in the administration of their Section 403(b) plans.11 There nevertheless remain

significant differences between the two types of plans.12

         RESPONSE: Paragraph 6 is not a statement of fact but a description of law and thus is

improper under Local Rule 56.1. Cornell fails to support paragraph 6 by citations to record

evidence as required by Local Rule 56.1(d) and thus it is improper. Plaintiffs do not dispute that

“[t]he 2009 regulations were interpreted by plan sponsors as requiring them to take a more active

role in the administration of their Section 403(b) plans.” The regulations were issued in July

2007, to provide time for employers to comply who had not had to comply before. Prior to these

403(b) regulations, retirement plans sponsored by tax-exempt organizations such as Cornell were

subject to Title I of ERISA and its fiduciary requirements, unless a plan qualified under a 1979

“safe harbor” regulation based on the employer having limited involvement in operating the

plan.13 The Plans have never qualified for that safe harbor, and thus have been subject to

ERISA’s fiduciary requirements long before the IRS published its 403(b) regulations in 2007.14



11
   Doc. 250-1, Ex. 1, Am. Compl., Doc. 81, at ¶ 65; Doc. 250-7, Ex. 7, Advisory Council on Employee Welfare
and Pension Benefit Plans, Report to the Honorable Hilda L. Solis, United States Secretary of Labor, Current
Challenges and Best Practices for ERISA Compliance for 403(b) Plan Sponsors (Nov. 2011), at 6; Doc. 250-8, Ex.
8, Department of Labor Field Assistance Bulletin 2009-02, at 2 (discussing plan administrator concerns related to
“the historical treatment of 403(b) plans as a collection of individual contracts with respect to which employees
could engage in a range of actions without the consent or involvement of an employer or plan administrator”).
12
   Doc. 250-7, Ex. 7, Advisory Council on Employee Welfare and Pension Benefit Plans, Report to the Honorable
Hilda L. Solis, United States Secretary of Labor, Current Challenges and Best Practices for ERISA Compliance for
403(b) Plan Sponsors (Nov. 2011), at 6 (noting that despite regulatory changes that have diminished the differences
between 401(k) and 403(b) plans, “the differences far exceed the similarities, including the key difference that the
sponsors of 403(b) plans are public educational institutions and U.S. tax-exempt organizations”).
13
   29 C.F.R.§ 2510.3-2(f).
14
   Ex. P1, Jan. 1, 2004 CURP Summary Plan Document (CORNELL0000725) at 736-737 (As a Participant in
[CURP], you are entitled to certain rights and protections under the Employee Retirement Income Security Act of
1974 (ERISA) . . . ERISA imposes duties upon the people who are responsible for the operation of the employee


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Once these 403(b) regulations were published, many non-profit plan sponsors whose 403(b)

programs previously qualified for the safe-harbor determined that they would have to comply

with ERISA’s fiduciary requirements by the regulations’ effective date of January 1, 2009.15 In

contrast, the Plans had long been subject to ERISA’s strict fiduciary requirements.

         7.          Prior to 1974, 403(b) plans could invest only in insurer-issued annuity

contracts.16 As a result, such plans have a comparatively high percentage of their assets invested

in annuity contracts. According to industry surveys, as of 2013, 87% of 403(b) plans offered

fixed annuities as an investment option, and of the nearly $1 trillion in total assets invested in

403(b) plans, over 23% were invested in fixed annuities.17

         RESPONSE: The first sentence of Paragraph 7 is not a statement of fact but a

description of law and thus is improper under Local Rule 56.1. Plaintiffs dispute the second

sentence of paragraph 7. The Cornell Defendants do not cite to admissible evidence to support

the purported fact in the second sentence of paragraph 7, but cite to a purported 2013

Brightscope Survey, which is hearsay and has not been authenticated. See Fed. R. Evid. 801,

802, 901. To the extent the survey itself is not hearsay the responses contained within it are

hearsay within hearsay and not admissible. Fed. R. of Evid, 801, 805. To the extent it is

admissible (which it is not) the 2013 Brightscope survey speaks for itself. For example, the same

portions of the survey cited by the Cornell Defendants notes that the percentage of assets in




benefit plan. The people who operate your plan, called “fiduciaries” of the plan, have a duty to do so prudently and
in the interest of you and other plan participants and beneficiaries.”).
15
   See e.g., Ex. P2, Poehler Dep. at 133:18-20 (testifying that his client California Institute of Technology had
consolidated to a single recordkeeper by January 1, 2010); Ex. P3, May 16, 2011 Hewitt ennisknupp Response to
Request for Proposal (CORNELL024180), at 11, 16, 25; Ex. P4, May 13, 2011 Mercer Response to Request for
Proposal (CORNELL015325), at 26-27..
16
   Doc. 250-1, Ex. 1, Am. Compl., Doc. 81, at ¶ 66.
17
   Doc. 250-9, Ex. 9, 2013 Brightscope 403(b) Plan Profile, at 31, 35.


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annuities is only 22 percent for plans with over one-billion dollars of assets and fifty-four percent

of the assets for 403(b) plans over one billion in assets are invested in mutual funds.

          8.          The CURP was originally established in 1937 to provide retirement benefits to

Cornell employees.18 It is funded entirely through employer contributions equal to 10% of each

participant’s base pay up to $275,000.19 Employees cannot make their own contributions to the

CURP. As of December 31, 2016, the CURP had 19,191 participants and $1.97 billion in net

assets.20

          RESPONSE: Plaintiffs do not dispute that Cornell established CURP in 1937 or that it is

funded through employer contributions of up to 10% of each participant’s base pay up to

$275,000 from 2008 forward. Plaintiffs do not dispute that CURP had 19,919 participants with

account balances and $1.97 billion in net assets as of December 31, 2016.

          9.          The TDA Plan was established in 1984 to provide Cornell employees the

option to save on their own for retirement on a tax-deferred basis.21 Unlike the CURP, the TDA

Plan is funded entirely through employee contributions; Cornell does not contribute to the TDA

Plan or match employee contributions.22 As of December 31, 2016, the TDA Plan had 11,778

participants and $1.34 billion in net assets.23

          RESPONSE: Plaintiffs do not dispute that Cornell established the TDA Plan in 1984 or

that it is funded through employee contributions from 2008 forward. Plaintiffs do not dispute that

the TDA Plan had 11,778 participants with account balances and $1.34 billion in net assets as of

December 31, 2016.



18
   Doc.   250-3, Ex. 3, 2008 CURP Adoption Agreement (CORNELL015512).
19
   Doc.   250-3, Ex. 3, 2008 CURP Adoption Agreement, at § 25 (CORNELL015512).
20
   Doc.   250-10, Ex. 10, 2016 CURP Form 5500, at 2 (participants), Schedule H (assets).
21
   Doc.   250-5, Ex. 5, 2008 TDA Plan Adoption Agreement (CORNELL015527).
22
   Doc.   250-5, Ex. 5, 2008 TDA Plan Adoption Agreement (CORNELL015527).
23
   Doc.   250-11, Ex. 11, 2016 TDA Plan Form 5500, at 2 (participants), Schedule H (assets).


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        10.         Both the CURP and the TDA Plan provide participants the opportunity to

invest in a variety of investment options offered by Teachers Insurance and Annuity Association

of America (“TIAA”) and Fidelity Investments Inc. (“Fidelity”).24 The available investment

options include actively and passively managed index funds, fixed and variable annuities, and

mutual funds.25 The Plans also offer a brokerage window that allows participants to invest in

any publicly-traded investment option, including individuals stocks, bonds, and exchange traded

funds.26

        RESPONSE: Plaintiffs do not dispute that the recordkeepers for the Plans are TIAA and

Fidelity and that throughout the statutory period they have offered hundreds of their own

proprietary investment options in the Plans.27 Plaintiffs do not dispute that these options “include

actively and passively managed index funds, fixed and variable annuities and mutual funds,”

Plaintiffs note “significant asset class overlap” within these lines with Fidelity alone offering 21

large cap growth funds.28 Plaintiffs do not dispute that the Plans added two brokerage windows,

one through Fidelity and one through TIAA, to the Plans’ investment lineups in 2014.29 Plaintiffs

dispute this sentence to the extent the Cornell Defendants state that the Plans provided a

brokerage window prior to 2014.30



24
   Doc. 250-1, Ex. 1, Am. Compl. ¶¶ 101.
25
   Doc. 250-14, Ex. 14, July 2017 TDA Plan Summary and Investment Notice (TIAA_CORNELL_00020211);
Doc. 250-15, Ex. 15, July 2017 CURP Plan Summary and Investment Notice (TIAA_CORNELL_00044502).
26
   Doc. 250-14, Ex. 14, July 2017 TDA Plan and Investment Notice (TIAA_CORNELL_00020211); Doc. 250-15,
Ex. 15, July 2017 CURP Plan and Investment Notice (TIAA_CORNELL_00044502).
27
   See, e.g., Ex. P5, Dec. 31, 2011 CURP Participant Fee Disclosure (CORNELL024854) (listing over 30 TIAA
proprietary investment options and over 170 Fidelity propriety investment options; Ex. P6, Dec. 31, 2011 TDA Plan
Participant Fee Disclosure (CORNELL024856) (similar for the TDA Plan); see also Doc. 248-3, Jan. 10, 2012
Meeting Materials, at 30-31 (noting the TIAA platform was “[a]lmost 100% proprietary with 40 funds offered and
the Fidelity platform for “[a]lmost 100% proprietary with 182 funds)
28
   Doc. 248-3, Jan. 10, 2012 Meeting Materials, at 30-31
29
   Doc. 246-5, TIAA Recordkeeping Agreements (Part I), at 44 (adding a brokerage window part of Amendment No.
7 ion September 30, 2014); Doc. 246-7, Fidelity Custodial and Recordkeeping Agreements, at 74 (adding a
brokerage window as part of the Second Amendment dated October 1, 2014.)
30
   See supra n. 29.


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        11.        Participants have the right to direct all contributions made on their behalf into

one or more of the investment options available on either TIAA’s or Fidelity’s platform.31 Both

plans expressly provide that they are designed to comply with Section 404(c) of ERISA and the

associated requirements related to diversification of investments and participant control over

investment decisions.32

        RESPONSE: Whether participants have the right to direct all contributions to investment

options on TIAA’s or Fidelity’s platform is not material to whether the Cornell Defendants

complied with its fiduciary duties to ensure participants paid reasonable recordkeeping fees or to

monitor the investments in the Plans and should not be considered by the Court. To the extent to

which a response is required Plaintiffs dispute that the participants have “the right” to invest in

any particular investment option. The cited portion of the plan documents state that a

“[p]articipant generally has the responsibility to invest his/her Plan Account unless the Plan

Administrator or Participant appoint[s] an investment manager to investment the Plan

Account.”33 Elsewhere the plan documents explicitly state: “[t]he Employer in its sole discretion

will designate from time to time the specific Funding Vehicles which are available as Plan

investments. The Employer may change such designation at anytime.”34 Whether the Plans are

“designed to comply with Section 404(c) of ERISA and the associated requirements related to

diversification of investments and participant control over investment decisions” is not material

to whether the Cornell Defendants complied with their fiduciary duties to ensure participants



31
   Doc. 250-4, Ex. 4 CURP Plan Document, at § 7.03 (CORNELL015526); Doc. 250-6, Ex. 6, TDA Plan Document
(CORNELL015535), at § 7.03.
32
   Doc. 250-4, Ex. 4 CURP Plan Document, at § 7.03(B)(2) (CORNELL015526); Doc. 250-5, Ex. 5, TDA Plan
Document (CORNELL015535), at § 7.03(B)(2).
33
   Doc. 250-4. 2008 CURP Plan Document (CORNELL015526), at § 7.03(B); Doc. 250-5, 2008 TDA Plan
Document (CORNELL015535), at §703(B).
34
   Doc. 250-4, 2008 CURP Plan Document (CORNELL015526), at 100; Doc. 250-6, 2008 TDA Plan Document
(CORNELL015535), at 100.


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paid reasonable recordkeeping fees or to monitor the investments in the Plans and should not be

considered by the Court. To the extent a response is required, Plaintiffs dispute these allegations;

the Cornell Defendants’ evidence merely states the Cornell Defendants’ intention to comply with

Section 404(c) and does not demonstrate compliance with the safe harbor provision.35 Plaintiffs

also state whether the Plans are compliant with any safe-harbor is a question of law and not fact.


       12.        Administrative responsibilities necessary to maintain and operate the Plans

were delegated to and shared by a number of individuals and groups both within and outside of

Cornell.

       RESPONSE: Plaintiffs dispute this statement. The Cornell Defendants cite no record

evidence to support this fact so it is inappropriate under Rule 56.1

       13.        In accordance with the relevant plan documents and pursuant to 29 C.F.R. §

2510.3-16, Cornell is the named plan administrator for the Plans.36 Cornell has delegated its

administrative responsibilities to Cornell’s Vice President for Human Resources and the

personnel in Cornell’s Benefits Department.37

       RESPONSE: Plaintiffs do not dispute the plan documents for the Plans name Cornell as

the plan administrator and named fiduciary. Plaintiffs dispute that the naming of Cornell and

plan administrator is compliant with Rule 29 C.F.R. 2510.3-16 which is a question of law and

not of fact. Plaintiffs dispute that Cornell has “delegated its administrative responsibilities to

Cornell’s Vice President for Human Resources and the personnel in Cornell’s Benefits

Department.” Whether Cornell delegated its fiduciary duties under ERISA is a question of law



35
   Doc. 250-4. 2008 CURP Plan Document (CORNELL015526), at § 7.03(B); Doc. 250-5, 2008 TDA Plan
Document (CORNELL015535), at §703(B).
36
   Doc. 250-3, Ex. 3, 2008 CURP Adoption Agreement (CORNELL015512); Doc. 250-4, Ex. 4, 2008 TDA Plan
Adoption Agreement (CORNELL015527).
37
   Doc. 250-16, Ex. 16, Bursic Decl. ¶¶ 1-2.


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and not of fact. Plaintiffs do not dispute this statement as the Benefits Department38 did not

conduct any monitoring of recordkeeping and administrative fees or investments prior to 2012.39

        14.         At all relevant times, Mary G. Opperman has served as Vice President for

Human Resources. Opperman is supported by personnel employed by Cornell’s Benefits

Services and Administration Department (“Benefits Services”).40 Over the relevant time period,

Paul Bursic served as Director of Benefits Services and Administration.41

        RESPONSE: Plaintiffs do not dispute that Ms. Opperman served as Vice President for

Human Resources for the relevant period or that personnel employed by the Benefits Services

supported her in that position. Plaintiffs do not dispute that from the beginning of the statutory

period until November 2016 Mr. Bursic served as Director or Senior Director of Benefit Services

and Administration.42

        15.         In addition to its delegations to Opperman and Benefits Services, in 2010

Cornell delegated responsibility for plan oversight and investment monitoring to a joint

retirement plan oversight committee (“RPOC”).43 According to its charter, RPOC was

responsible for inter alia providing policy oversight, developing an investment policy statement,

and managing the Plans’ investment menu.44

        RESPONSE: Plaintiffs dispute that “in 2010 Cornell delegated responsibility for plan

oversight and investment monitoring to a joint retirement plan oversight committee (“RPOC”).”

Whether Cornell delegated its fiduciary duties under ERISA is a question of law and not of fact.



38
   The Cornell Defendants’ Rule 56.1 Statement appears to use the terms “Benefits Department” and “Benefits
Services” interchangeably. Plaintiffs follow this practice as well for consistency.
39
   Ex. P7, Opperman Dep., at 32:23-33:13, 53:19‒55:1.
40
   Doc. 250-16, Ex. 16, Bursic Decl. ¶ 1-2.
41
   Doc. 250-16, Ex. 16, Bursic Decl. ¶ 2.
42
   Ex. P8, Bursic Tr.at 24:12-25:1.
43
   Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
44
   Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).


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Moreover, the date of the Charter cited by Cornell is April 2011 and not 2010.45 Plaintiffs do not

dispute that on April 7, 2011 a Charter creating RPOC was approved by the Board of Trustees of

Cornell University.46 Plaintiffs dispute the Cornell Defendants’ characterizations of the RPOC

charter. The RPOC Charter provides “[t]he primary duties and responsibilities of the RPOC shall

be to provide policy oversight for the selection of investment options for the Plans by means of

the IPS, and establish criteria to review and monitor the investment performance of the

investment options and update the IPS as required.”47

        16.        RPOC’s charter provided that it would be chaired by the Vice President for

Human Resources, who at all relevant times was Mary Opperman.48 The charter further provided

that the committee chair is responsible for selecting its members.49 The appointed committee

members include a cross-section of participants, stakeholders, and subject-matter experts,

including faculty and administrators with substantial investment experience.50 All committee

members participate in an onboarding process, in which they receive training regarding the

Plans, the administrative environment, RPOC’s charter and responsibilities, and each member’s

role as an ERISA fiduciary.51

        RESPONSE: Plaintiffs do not dispute that the RPOC charter provides that the Vice

President of Human Resources, Mary Opperman, is the Chair of RPOC. Plaintiffs do not dispute

that the Chair is responsible for selecting its members. Plaintiffs dispute “[t]he appointed

committee members include a cross-section of participants, stakeholders, and subject-matter



45
   Doc. 250-15, April 2011 RPOC Charter (CORNELL015812).
46
   Id.
47
   Id. at 2.
48
   Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
49
   Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
50
   Dc. 250-18, Ex. 18, Opperman Dep. 100:22-101:23.
51
   Doc. 250-19, Ex. 19, November 2010 RPOC Meeting Minutes, at 3 (CORNELL021932) (discussing fiduciary
training).


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experts, including faculty and administrators with substantial investment experience.” The cited

deposition testimony says nothing about the committee including “a cross-section of participants,

stakeholders and subject matter experts.”52 Ms. Opperman does testify that she would rely upon

A.J. Edwards, Dan Schwarz, Paul Bursic and Patrick Gallagher for their “investment expertise”

but does not state that they have substantial investment expertise or detail their expertise in any

way.53 Mr. Bursic and Mr. Gallagher explicitly testified that they did not have expertise in

investments.54 Moreover, Ms. Opperman lists four members of RPOC with “investment

expertise” out of the 15 listed in the document she was viewing.55 Plaintiffs dispute “[a]ll

committee members participate in an onboarding process, in which they receive training

regarding the Plans, the administrative environment, RPOC’s charter and responsibilities, and

each member’s role as an ERISA fiduciary.” The cited document only mentions fiduciary

training in November 2010 that “included defining the four retirement plans that the committee

will oversee; the legal framework of the governing federal regulations; the 2007 regulations for

403(b) plans and current events that are affecting litigation; ERISA definition of Fiduciary,

including affirmative fiduciary responsibilities (with focus on the “prudent expert” rule);

fiduciary prohibitions; fiduciary liability; and steps to minimize fiduciary exposure.”56 The

meeting minutes mention no additional training or training for new members until five and a half

years later in March 2016.57


52
   Doc. 250-18, Opperman Dep., at 100:22-101:23.
53
   Id.
54
   Ex. P8, Bursic Tr.at 79:18-80:11 (testifying that the Benefits Department “had no experience or expertise on staff
to” conduct investment performance analysis prior to the retention of CAPTRUST); Ex. P9, Gallagher Dep. at 16:3‒
20:22 (testifying that he had no experience in investment management or selecting investments for a defined
contribution plan prior to joining Weill Cornell in 2011).
55
   Doc. 250-18, Opperman Dep., at 100:22-101:23.; Doc. 241-3, Ex. 92, September 17, 2014 RPOC Meeting
Materials (CORNELL013567) at 3.
56
   Doc. 250-19, November 29. 2010 RPOC Meeting Minutes (CORNELL021932)
57
   Doc. 250-19, November 29, 2010, CURP Meeting Minutes (CORNELL0021932); Ex. P10, February 3, 2011
CURP Meeting Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes


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        17.          Pursuant to its charter, RPOC is authorized to engage consultants and advisers

to assist with plan administration, oversight, and policy development.58 The RPOC began

preparing a request for proposals (“RFP”) to serve as the committee’s consultant in December

2010 and sent the RFP to multiple vendors in April 2011.59 The RFP stated that “[g]iven the

current regulatory environments for § 403(b) plans, Cornell [sought] a consulting partner to

assist it in building a fully compliant retirement plan operation.”60 Cornell specifically noted in

the RFP that it needed assistance and advice with respect to constructing the Plans’ investment

line-up and designing a compliant plan administration/recordkeeping arrangement.61

        RESPONSE: Plaintiffs do not dispute that the RPOC Charter provides that “RPOC is

authorized to engage consultants and adviser to assist the RPOC in its duties and

responsibilities.” Plaintiffs dispute that “RPOC began preparing a request for proposals (“RFP”)

to serve as the committee’s consultant in December 2010” to the extent it claims that RPOC was

formed prior to April 7, 2011.62 Additionally, the cited document, November 29, 2010 Meeting

Minutes, merely state that a “Next Step” is that “Benefits” will prepare the RFP” and does not


(CORNELL021931); Doc. 248-8, January 11, 2012 RPOC Meeting Minutes (CAPTR_0047903); Doc 248-14, April
13, 2012 RPOC Meeting Minutes (CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes
(CAPTR_0047911); Doc. 252-5, November 19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July
31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes
(CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21,
2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes
(CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16,
June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes
(CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March
31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes
(CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10,
December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590).
58
   Doc. 250-17, Ex. 17, April 2011 RPOC Charter, at 1 (CORNELL015812)
59
   Doc. 250-19, Ex. 19, November 2010 RPOC Meeting Minutes, at 3 (CORNELL021932).
60
   Doc. 246-1, Ex. 20, April 2011 Consultant RFP, at 1, 6 (CORNELL024129).
61
   Doc. 246-1, Ex. 20, April 2011 Consultant RFP, at 1, 6 (CORNELL024129) (“Cornell needs professional
assistance to determine the proper investment vehicles for plan participants to select among when investing in self-
directed accounts. In addition, the University needs a consulting partner with proven expertise in advising plan
sponsors on the administrative set up of custodial accounts, recordkeeping, retail-level customer service for plan
participants and reporting capabilities for compliance and proper management of the plans.”).
62
   Doc. 250-15, April 2011 RPOC Charter (CORNELL015812).


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provide any evidence that the RFP was prepared in December 2010.63 Plaintiffs do not dispute

that Cornell sent an RFP to potential investment advisors in April 2011. The RFP speaks for

itself.64

            18.       After identifying finalists and conducting in-person interviews in December

2011, the RPOC agreed to retain defendant Capfinancial Partners LLP (“CAPTRUST”) as the

Plans’ investment advisor and plan administration consultant. The services CAPTRUST agreed

to provide included investment advisory consulting, vendor analysis, and documents/process

management.65 CAPTRUST further agreed to “serve as a fiduciary as defined by ERISA §

3(21)(A)(ii) with regard to the selection of investment manager(s) or mutual fund(s) available to

the Plans within the platforms [maintained by TIAA and Fidelity].”66

            RESPONSE: Plaintiffs dispute that “[a]fter identifying finalists and conducting in-

person interviews in December 2011, the RPOC agreed to retain defendant Capfinancial Partners

LLP (“CAPTRUST”) as the Plans’ investment advisor and plan administration consultant”

because the Cornell Defendants cite no evidence to support this sentence and it is not a fact that

is material to the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule

56.1. Plaintiffs do not dispute that “[t]he CAPTRUST agreed to provide included investment

advisory consulting, vendor analysis, and documents/process management.” Plaintiffs further

state that the “Investment Advisory Consulting” services included: “Plan Level Advice;”

“Investment Menu Development;” and “Ongoing Investment Due Diligence.”67 The “Vendor

Analysis” services included: “Vendor Analysis, Benchmarking, & Scoring;” “Plan


63
   Doc. 250-19, Nov. 29, 2010 Meeting Minutes (CORNELL021932) at 3.
64
   Doc. 246-1, April 1, 2010 RFP (CORNELL024129).
65
   Doc. 246-2, Ex. 21, April 2011 Retirement Plan Advisory Services Agreement between Capfinancial Partners,
LLC (“CAPTRUST”) and Cornell University, at 1 (CORNELL021910).
66
   Doc. 246-2, Ex. 21, April 2011 Retirement Plan Advisory Services Agreement between Capfinancial Partners,
LLC (“CAPTRUST”) and Cornell University, at 1 (CORNELL021910).
67
   Doc. 246-2 December 2011 CAPTRUST Contract (CORNELL0021910), at 3.


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Administration & Investment Cost Comparison;” and “Overall Recommendation & Ongoing

Due Diligence.”68 The “Documentation/Process Management” services included: “Real-Time

Access to Industry Research;” and “Electronic Repository of Key Plan Documents.”69 Plaintiffs

dispute the sentence “CAPTRUST further agreed to ‘serve as a fiduciary as defined by ERISA §

3(21)(A)(ii) with regard to the selection of investment manager(s) or mutual fund(s) available to

the Plans within the platforms [maintained by TIAA and Fidelity].’” Nothing in the contract

limits the advice CAPTRUST could give to platforms “maintained by TIAA and Fidelity” versus

platforms maintained by any other recordkeeper or investment provider.70

        19.         The ongoing operation of a defined contribution plan involves a wide range of

administrative work. Accordingly, the plan’s fiduciaries typically retain a third-party

administrator. This third-party administrator, or “recordkeeper,” performs both complex

administrative tasks with which they have experience as well as the high-volume routine tasks

necessary to ensure continued operation of the plan on a day-to-day basis. In the defined

contribution arena, recordkeeping services are typically provided by banks, brokerage houses,

and other types of financial institutions, such as Charles Schwab, Vanguard, Voya Financial Inc.,

Empower Retirement, T. Rowe Price, TIAA (formerly TIAA-CREF), and Fidelity Investments.71

        RESPONSE: Plaintiffs dispute the first three sentences of paragraph 19 because the

Cornell Defendants cite no record evidence supporting these facts and are therefore inappropriate

under Rule 56.1. In fact, even the Cornell Defendants’ expert admitted that recordkeeping and

administrative services are commoditized services with “economies of scale in providing




68
   Id.
69
   Id.
70
   Id.
71
   Doc. 246-3, Ex. 22, 2016 Plan Sponsor 403(b) Recordkeeping Survey, at 1-2.


                                                      15
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recordkeeping and administrative services” based on the number of participants.72 Based on

these economies of scale, generally plans with more participants pay a lower fee on a per-

participant basis than plans with fewer participants.73 Similarly, Plaintiffs’ experts, Al Otto and

Ty Minnich, opine that rather than being “complex,” recordkeeping and administrative services

are commoditized services with economies of scales based on the number of participants.74

Plaintiffs dispute the fourth sentence of paragraph 19. The Cornell Defendants do not cite to

admissible evidence to support the purported fact in the fourth sentence of paragraph 19, but cite

to a purported 2016 Plan Sponsor 403(b) Recordkeeping Survey which is hearsay and has not

been authenticated. See Fed. R. Evid. 801, 802, 901. Plaintiffs do not dispute the fourth sentence

of paragraph 19 to the extent that it provides that there are numerous recordkeepers on the

market capable of providing the recordkeeping and administrative services that TIAA and

Fidelity provided to the Plans.75

        20.         During the time period at issue, two different vendors provided participant

recordkeeping and administrative services to the Plans: TIAA and Fidelity.76 As of 2016, TIAA

and Fidelity were the two largest 403(b) plan recordkeepers in the world based on the total

amount of assets under administration.77 Historically, the higher education defined contribution

recordkeeping market has been dominated by TIAA, with TIAA having provided recordkeeping

services to each of the top-30 private colleges and universities as ranked by U.S. News & World




72
   Ex. P2, Poehler Dep., at 51:23-54:22.
73
   Id.
74
   Doc. 249-19, Expert Report of Al Otto, ¶¶20‒25; Doc. 249-20, Expert Report of Ty Minnich, ¶¶22‒29
75
   Doc. 249-20., Expert Repot of Ty Minnich, ¶24; Ex. P21, Expert Rebuttal Report of Al Otto ¶7.
76
   Doc. 250-1, Ex. 1, Am. Compl. ¶ 101.
77
   Doc. 246-3, Ex. 22, 2016 Plan Sponsor 403(b) Recordkeeping Survey, at 1-2.


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Report with plan assets in excess of $1 billion.78 Cornell’s relationship with TIAA spans over 80

years: TIAA was first retained to provided annuities to Cornell’s employees in 1937.79

        RESPONSE: Plaintiffs do not dispute that TIAA and Fidelity both provided

recordkeeping and administrative services to the Plans during the relevant period. Plaintiffs

dispute the second sentence of paragraph 20. The Cornell Defendants do not cite to admissible

evidence supporting the purported fact in the second sentence of paragraph 20, but cite to a

purported 2016 Plan Sponsor 403(b) Recordkeeping Survey which is hearsay and has not been

authenticated. See Fed. R. Evid. 801, 802, 901. Moreover, whether “TIAA and Fidelity were the

two largest 403(b) plan recordkeepers in the world” is not material to the Cornell Defendants’

Motion for Summary Judgment as required by Local Rule 56.1, because the provision of

recordkeeping and administrative services is a competitive market with numerous recordkeepers

capable of providing services to the Plans.80 Plaintiffs dispute the third sentence of paragraph 20.

No record evidence is cited to support the proposition that “the higher education defined

contribution recordkeeping market has been dominated by TIAA.” The sole document cited to

support that proposition is paragraph 29 of the Poehler Report which says nothing about TIAA

“dominating the higher education defined contribution recordkeeping market.” Moreover, Mr.

Poehler testified at his deposition that the industry sector of a plan sponsor was not a factor he

considered in evaluating the reasonableness of a Plans’ recordkeeping fees while he was advising

clients.81 Additionally, the cited portion of Poehler’s Report, even if admissible, does not support

that each of the top 30 private colleges and universities use TIAA as a recordkeeper. Mr. Poehler




78
   Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 29 (relying on 2017 U.S. News National University rankings to identify the top
30 private U.S. Universities).
79
   Doc. 249-24, Ex. 112, TIAA Decl. ¶ 25.
80
   Doc. 249-20., Expert Repot of Ty Minnich, ¶24.
81
   Ex. P2, Poehler Dep., at 37:5-23


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excluded from his analysis MIT, Boston College, and Princeton because of the tax section under

which they offered their Plans and provides no evidence as to which entities provide

recordkeeping and administrative services for those Plans.82 In fact, MIT does not use TIAA but

solely Fidelity as a recordkeeper for its Plans.83 Additionally, Mr. Poehler admitted in his

deposition that a number of those universities have consolidated to a single recordkeeper other

than TIAA.84 Moreover, the recordkeeping provider for the top 30 private universities is not

material to the Cornell Defendants’ motion. Plaintiffs dispute the third sentence of paragraph

twenty because the length of the relationship between TIAA and Cornell it is not a fact that is

material to the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule

56.1.

        21.          While TIAA was initially retained as the exclusive recordkeeper for the Plans,

Cornell retained Fidelity as a second recordkeeper in the mid-1990s to provide participants a

broader array of service and investment options. In particular, Cornell retained Fidelity in order

to provide participants the opportunity to invest in mutual funds because at the time of its

retention, TIAA’s investment offerings were limited to annuities.85

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 21. When Cornell retained

Fidelity and TIAA is not material to whether the Cornell Defendants breached their fiduciary

duties to Plans participants to ensure the Plans paid reasonable fees or to monitor the investments

in the Plans. Additionally, the Cornell Defendants do not cite to admissible evidence to support

paragraph 20. The Cornell Defendants cite only to the Declaration of Paul Bursic who states in




82
   Doc. 246-4, Expert Report of Glenn Poehler, at n.81.
83
   Ex. P22, Answer to Amended Complaint (Doc. 80), Tracey, et al, v. Massachusetts Institute of Technology, et al.,
16-11620 ¶3 (“Defendants admit that Fidelity Investments served as recordkeeper for the Plan.”).
84
   Ex. P2, Poehler Dep., at 153:7‒164:10.
85
   Doc. 250-16, Ex. 16, Bursic Decl. ¶ 3.


                                                        18
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his declaration that Cornell hired him in May 1997.86 Because of this, he lacks personal

knowledge of events related to the Plans prior to 1997 and his testimony is inadmissible. Fed. R.

of Evid. 602. Plaintiffs dispute the second sentence of paragraph 21. Why Cornell purportedly

retained Fidelity as an additional recordkeeper is not material to whether the Cornell Defendants

breached their fiduciary duties to Plan participants to ensure the Plans paid reasonable fees or to

monitor the investments in the Plans. The Cornell Defendants cite only to the Declaration of Paul

Bursic who states in his declaration that he was hired by Cornell in May 1997.87 Because of this,

he lacks personal knowledge of events related to the Plans prior to 1997 and his testimony is

inadmissible. Fed. R. of Evid. 602.

         22.        The services provided by TIAA and Fidelity were varied and included both

“core” recordkeeping services (i.e. the basic suite of services minimally necessary to operate a

plan) and a variety of additional administrative services:88

               Service Category                                         Services
                                                        Core Recordkeeping Services (e.g. tracking
                                                         account balances, contributions and
                                                         withdrawals)
     Administrative and Recordkeeping
                 Services                               Hardship Services
                                                        Online Enrollment
                                                        QDIA Services

                                                        CE&A Core Campaign
                                                        Enrollment Communications
               Employee Services                        Financial Education Seminars
                                                        Individual Advice
                                                        Online Planning Tools

86
   Doc. 250-16, Busic Decl. ¶2.
87
   Doc. 250-16, Busic Decl. ¶2.
88
   Doc. 246-5, Ex. 24, TIAA/Cornell Recordkeeping Agreement and amendments, at 12-14; Doc. 246-7, Ex. 25,
Fidelity/Cornell Recordkeeping Agreement and amendments, at 33-37; Doc. 246-8, Ex. 26, 2012 TIAA Service &
Fee Disclosure Package, at 2-6 (CORNELL022070).


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                                                    Plan-Specific Change Communications
                                                    Regulatory Communications
                                                    Individual Advisory Services

                                                    Annual Plan Reviews
                                                    Audit Support
                                                    Fee Disclosure Delivery Service
                                                    Fiduciary Education & Regulatory Updates
                                                    Preparing Form 5500 Annual Reports and
                                                     similar regulatory filings
         Plan Sponsor Services
                                                    Investment Reviews and Monitoring
                                                    Compliance Coordinator
                                                    Non-Discrimination Testing
                                                    Plan Financial Reporting Packages
                                                    Tracking income tax withheld from
                                                     distributions and withdrawals

                                                    Annuities and Lifetime Income Options
                                                    Open Architecture Mutual Funds
                                                    Brokerage Window
       Plan Investments Services                    Lifecycle Funds
                                                    Target Date Funds
                                                    Adding options to lineup, eliminating
                                                     options, and mapping/transferring funds
                                                     maintained in eliminated options

        Other Financial Services                    Executive Compensation Plan Services

       RESPONSE: Plaintiffs dispute paragraph 22. Many of the services that the Cornell

Defendants list are not listed as services in the TIAA recordkeeping contract, the Fidelity Trust

Contract or the TIAA fee disclosure that the Cornell Defendants cite. For example, “Investment




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Reviews and Monitoring” is not listed in any of these documents.89 Additionally, the Plan

Investment Services are not included in the recordkeeping and administrative or “plan service”

expenses charged by the recordkeeper but part of the investment management expense.90 Some

of the services listed, including the independent investment advisor services is not a plan expense

paid for by “fees directly from participant retirement accounts for investment advisory services

provided under agreements with each individual participant.”91 Additionally, standard industry

practice refers to and prices all recordkeeping and administrative services as “recordkeeping

services or fees” and does not separate out core recordkeeping services.92

         23.         While TIAA and Fidelity provide many of the same services, they nevertheless

differ in a number of important respects: First, the two providers differ in their approach to

service. TIAA is generally considered a “high touch” service provider: they provide more “one-

on-one” service to participants, and unlike Fidelity, maintain an office on campus. In 2014, for

example, TIAA representatives had an estimated 2,159 one-on-one meetings.93 Fidelity on the

other hand is considered a “high tech” provider, and is the type of provider preferred by

participants that are more comfortable managing their accounts independently using web-based

services.94




89
   Doc.246-5, TIAA Recordkeeping Agreements, at 12-14; Doc. 246-6, Fidelity Custodial Agreements, at 33-37;
Doc. 246-8, 2012 TIAA Service & Fee Disclosure Package, (CORNELL022070), at 2-6.
90
   Doc. 246-8, TIAA Service & Fee Disclosure Package, at 4 (CORNELL022070) (“The Plans Services Expense is
the portion of the Annual Operating Net Expense Ratio paid to TIAA that is used to offset the cost of recordkeeping,
employee services and other plan sponsor services necessary for administering your plan. The remainder of the
Annual Operating Net Expense Ratio is retained by the fund advisor(s) or other entities, for providing services to the
plans Investments.”)
91
   Id.
92
   See, e.g., Ex. P23, Strodel Dep. at 34:24‒37:14.
93
   Doc. 246-10, Ex. 28, 2016 TIAA “Making the Most of Your Retirement Plan” Presentation, at 31-32
(CORNELL024582). See also Doc. 246-9, Ex. 27, 2014 TIAA/Cornell Year in Review
(TIAA_CORNELL_00027623).
94
   Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 53.


                                                         21
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        RESPONSE: Plaintiffs dispute the first sentence of paragraph 23. The Cornell

Defendants fail to cite any record evidence to support the first sentence of paragraph 23.

Moreover, the list of services the Cornell Defendants’ expert lists for TIAA and Fidelity

providing the Plans are nearly identical.95 Additionally, while Fidelity did not provide an office

on campus at Cornell, it did provide a staffed office in Pittsford, where participants could obtain

one-on-one advice and service.96 Plaintiffs dispute the second and third sentences of paragraph

23 because the number of one-on-one meeting TIAA provided is not material to whether the

Cornell Defendants breached their fiduciary duties to participants in the Plans to ensure the Plans

paid reasonable fees or to monitor the investments in the Plans. Many of these one-on-one

meetings were related to services unrelated to the Plans and gave TIAA the opportunity to profit

from the promotion of non-Plan products. In 2014 (the year the Cornell Defendants cite) the

following services were provided at individual advisory service meetings: investment

management and planning, estate and gift planning, charitable planning, education planning,

cash flow analysis, stock options review, asset protection planning, investment review, executive

compensation and benefits analysis, life insurance analysis, and career transition planning.97

Moreover, in 2014, only 1,632 of 18,656 TIAA participants used the one-on-one meeting

services.98 In other words, less than 9% of Plan participants used these services in 2014, which is

the highest usage for any year during the relevant period for which TIAA reported the data.99

Plaintiffs dispute the fourth sentence of paragraph 23. The sole citation the Cornell Defendants

rely upon for this sentence paragraph 23 of Glenn Poehler’s report, does not support their




95
   Doc. 246-4, Expert Report of Glenn Poehler, ¶¶55, 57.
96
   Ex. P8, Bursic Tr.at 120:2‒122:3.
97
   Ex. P24, 2015 Business Planning for Cornell University Presentation, (CORNELL006365) at 421.
98
   Id. at 383, 419.
99
   Ex. P21, Expert Rebuttal Report of Al Otto ¶41.


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assertion that Fidelity is a “high-tech” provider.100 In fact, nowhere in his report does Mr.

Poehler refer to Fidelity as a “high-tech” provider and the list of services he notes that TIAA and

Fidelity provided the Plans are nearly identical.101

        24.        Second, Fidelity and TIAA offer different investment options: TIAA’s

investment lineup includes a number of fixed and variable annuities popular among participants

in higher education plans; Fidelity does not offer any annuities and has instead focused on

developing a wide variety of mutual fund options.102

        RESPONSE: Plaintiffs dispute paragraph 24. The type of investments in the lineup on a

recordkeepers’ platform is not material to whether the Cornell Defendants breached their

fiduciary duties to Plan participants to ensure the Plans paid reasonable fees or to monitor the

investments in the Plans. Ty Minnich, who worked as an executive in the recordkeeping

divisions of Transamerica, Metlife, and CitiStreet, opined that in his experience it is no more

costly to recordkeep an annuity than a mutual fund.103



                               .104



                                       .105



                                                                      106
                                                                            Moreover, TIAA collected


100
    Doc. 246-4, Expert Report of Glenn Poehler, ¶53.
101
    Id. ¶¶ 55, 57.
102
    Doc. 250-14, Ex. 14, July 2017 TDA Plan Summary and Investment Notice (TIAA_CORNELL_00020211);
Doc. 250-15, Ex. 15, July 2017 CURP Plan Summary and Investment Notice (TIAA_CORNELL_00044502).
103
    Doc. 246-19, Minnich Report, ¶132.
104
    Ex. P25, Polacek Dep. at 167:20-23.
105
    Ex.P26, 2011 TIAA Service & Fee Disclosure Package for Plan Fiduciaries (TIAA_CORNELL_00012726) at
726-727 (plan service expense column).
106
    Id.


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more in total fees for its variable annuity options than the TIAA Traditional.107 Additionally, the

evidence cited does not demonstrate that “Fidelity does not offer any annuities and has instead

focused on developing a wide variety of mutual fund options,” but rather only demonstrates that

Fidelity does not offer annuities in the Plans.108

        25.          Finally, the administrative costs of the two providers are different, primarily

because of differences in the types of services provided and the investment options offered:

TIAA is generally considered a higher cost provider because of the “high touch” services and the

additional cost associated with managing annuities.109

        RESPONSE: Plaintiffs dispute paragraph 25. The Cornell Defendants cite no record

evidence to support this factual assertion, so it is improper under Rule 56.1. The Cornell

Defendants cite only their recordkeeping expert’s list of services that TIAA and Fidelity provide

which are nearly identical.110 Additionally, nowhere in his report does he state that Fidelity does

not provide “high touch” services.111 In fact, Fidelity provided one-on-one meetings for

participants in the Plans in a nearby town.112




                                   ,113

                               .114



107
    Id.
108
    Doc. 250-15, 2017 TDA Plan Notice (TIAA_CORNELL_00020211); Doc. 250-15, 2017 CURP Plan Notice
(TIAA_CORNELL_00044502).
109
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 53; Doc. 246-11, Ex. 29, Polacek Dep. 123:3-125 :23 (discussing various
complexities associated with administration and recordkeeping annuity contracts versus mutual funds).
.110 Doc. 246-4, Expert Report of Glenn Poehler, ¶¶55, 57.
111
    Id.
112
    Ex. P8, Bursic Tr.at 120:2‒122:3
113
    Ex. P25, Polacek Dep. at 123:3‒125:23.
114
    Ex. P25, Polacek Dep. at 167:20-23


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                                                                                                   n.115



                                                                                                .116



                                                                                                       .117




                             .118 Moreover, TIAA collected more in total fees for its variable

annuity options than the TIAA Traditional.119 If it were truly more expense to recordkeep a fixed

annuity, one would expect it to have the highest plan expense ratio rather than the lowest.

Finally, Ty Minnich, who worked as an executive in the recordkeeping divisions of

Transamerica, Metlife, and CitiStreet, opined that in his experience it is no more costly to

recordkeep an annuity than a mutual fund.120

        26.         Throughout the time period at issue and to the present day, it was and remains

common for Section 403(b) plans generally, and higher education plans in particular, to offer

multiple recordkeepers. The majority of TIAA’s largest 200 clients with at least one 403(b) plan

use multiple recordkeepers. For the period of 2010 through 2016, between 110 and 147 of

TIAA’s largest 200 clients with at least one 403(b) plan employed a multi-vendor approach to

recordkeeping.121 And of the 23 private universities that have plan assets in excess of $1 billion


115
    Ex. P25, Polacek Dep. at 123:3‒125:23
116
    Ex. P25, Polacek Dep. at 94:19‒96:12.
117
    Ex. P26, 2011 TIAA Service & Fee Disclosure Package for Plan Fiduciaries (TIAA_CORNELL_00012726) at
726-727 (plan service expense column).
118
    Id.
119
    Id.
120
    Doc. 246-19, Minnich Report, ¶132.
121
    Doc. 246-12, Ex. 30, Declaration of Douglas Chittenden, in Sacerdote v. New York University, 16-cv-6284
(KBF) (S.D.N.Y.) (“Chittenden Sacerdote Decl.”) ¶ 45.


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and are included among the U.S. News & World Report list of top universities, 20 relied on

multiple recordkeepers as of 2015.122 Moreover, of those universities that relied on multiple

vendors, many have historically relied on more than just two recordkeepers: Vanderbilt

University, University of Southern California, and Duke University retained 4 different

recordkeepers; Johns Hopkins’ University and Purdue University offered participants 5

recordkeepers; and Stanford University allowed participants to open accounts with 6 different

vendors.123

        RESPONSE: Plaintiffs dispute the first three sentences of paragraph 26. The only

evidence cited by Plaintiffs is testimony of a Douglas Chittenden, a TIAA executive, in another

case. Mr. Chittenden’s testimony in another case is inadmissible hearsay. See Fed. R. of Evid.

801, 802. Mr. Chittenden’s testimony is not an admissible prior statement by a witness because it

is not inconsistent with any testimony he has given in this case or for identification. See Fed. R.

of Evid. 801(a)(1). Additionally, Mr. Chittenden’s testimony in another case is not admissible

under Rule 804, because he is not unavailable given that he offered a declaration in support of

the Cornell Defendants’ motion.124 Finally, Mr. Chittenden’s testimony is inadmissible under the

rule of completeness, because the Cornell Defendants only offered his trial declaration and not

his actual live testimony, including testimony that he was not involved with TIAA’s defined

contribution business for much of the relevant period125 and that he was not aware of numerous

relevant facts related to TIAA’s top 200 clients.126 Plaintiffs dispute the fourth and fifth sentence

of paragraph 26. The sole document cited to support these sentences is paragraph 29 of the




122
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 40, Ex. 1.
123
    Doc. 247-1, Ex. 31, 2016 Fidelity Master Administrator Presentation, at 9 (CORNELL021851).
124
    Doc. 249-024, Declaration of Douglass Chittenden.
125
    Ex. P27, Sacerdote v. New York University, No. 16-6284, Tr. of Trial at 560:7‒562:13
126
    Id. at 649:4-655:20


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Poheler Report which says nothing about TIAA. Mr. Poehler testified at his deposition that the

industry sector of a plan sponsor was not a factor he considered in evaluating the reasonableness

of a Plans’ recordkeeping fees while he was advising clients.127 Additionally, the cited portion of

Poehler’s Report even if admissible does not support that all of the top 20 of the 23 private

colleges and universities with over $1 billion in assets used multiple recordkeepers. Mr. Poehler

excluded from his analysis MIT, Boston College, and Princeton because of the tax section under

which they offered their Plans and provides no evidence on what entity provides recordkeeping

and administrative services for those Plans.128 In fact, MIT does not use multiple recordkeepers

but only Fidelity as a recordkeeper for its plan and Boston University moved to a master

recordkeeper agreement with Fidelity in 2013.129 Additionally, Mr. Poehler admitted in his

deposition that a number of those universities have consolidated to a single recordkeeper other

than TIAA.130 Moreover, how many of the top 30 private universities use multiple recordkeepers

is not material to the Cornell Defendants’ motion. Plaintiffs dispute the sixth sentence of

paragraph 26. The Fidelity Master Recordkeeper Presentation that the Cornell Defendants cite

actually demonstrates that Vanderbilt, Stanford, Purdue, and Johns Hopkins consolidated

between 2009 and 2015 to a single record-keeper or to a master administrator or lead

recordkeeper agreement.131 Further, that presentation demonstrates that between 2009 and 2015

there were at least 108 colleges or universities that consolidated to a single recordkeeper and 49

recordkeeper consolidations with over $500 million in assets.132 Additionally, the Fidelity Master



127
    Ex. P2, Poehler Dep., at 37:5-23
128
    Doc. 246-4, Expert Report of Glenn Poehler, at n.81.
129
    Ex. P22, Answer to Amended Complaint (Doc. 80), Tracey, et al, v. Massachusetts Institute of Technology, et al.,
16-11620 ¶3 (“Defendants admit that Fidelity Investments served as recordkeeper for the Plan.”); Doc. 247-1, 2016
Fidelity Master Administrator Presentation (CORNELL021851)., at 9
130
    Ex. P2, Poehler Dep., at 153:7‒164:10.
131
    Doc. 247-1, 2016 Fidelity Master Administrator Presentation (CORNELL021851), at 9
132
    Id.


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Recordkeeper presentation identifies California Institute of Technology, Purdue, Notre Dame,

University of Rochester, Nevada System of Higher Education, Vanderbilt, Colorado and

California State University as consolidating to a single recordkeeping agreement with TIAA or

Fidelity despite previously having TIAA and Fidelity assets in the plan.133




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                                           136



        27.        Even among those plan sponsors that desire to consolidate recordkeeping

services with a single provider, there are often limitations on their ability to do so because of

contractual restrictions associated with 403(b) plans’ investment options. TIAA “legacy”

contracts account for a significant percentage of 403(b) plan assets.137 Plan sponsors have no




133
    Id.
134
    Ex. P28, August 16, 2011 Tower Watson Finalist Presentation (CORNELL015395) at 10.
135
    Id.
136
    Ex. P3, May 16, 2011 Hewitt ennisknupp Response to Request for Proposal (CORNELL024180), at 12, 17, 26.
137
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶¶ 5-6. See also, infra, at SOF ¶ 43.


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right or ability to eliminate, transfer, or “map” these investments to any other recordkeeper

without participant authorization.138 Moreover, many firms, such as Fidelity, do not permit other

firms to offer and provide recordkeeping services for their investment options.139 These

restrictions make it difficult, and in some cases impossible, to consolidate all investment options

with a single recordkeeper.

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 27. The Cornell

Defendants do not cite to any record evidence to support this sentence. Additionally, the Fidelity

Master Recordkeeper Presentation shows that the Vanderbilt, Stanford, Purdue, and Johns

Hopkins plans consolidated between 2009 and 2015 to a single record-keeper or to a master

administrator or lead record-keeper agreement.140 Further, the presentation demonstrates that

between 2009 and 2015 there were at least 108 colleges or universities that consolidated to a

single recordkeeper and 49 recordkeeper consolidations with over $500 million in assets.

Additionally, the Fidelity Master Recordkeeper presentation identifies California Institute of

Technology, Purdue, Notre Dame, University of Rochester, Nevada System of Higher Education,

Vanderbilt, Colorado and California State University as consolidating to a single recordkeeping

agreement with TIAA or Fidelity despite previously having TIAA and Fidelity assets in their

Plans.141




138
    Doc. 249-24, Ex. 112, Chittenden Cunningham Decl. ¶¶ 7-8.
139
    Doc. 249-24, Ex. 112, Chittenden Cunningham Decl. ¶ 27.
140
    Doc. 247-1, 2016 Fidelity Master Administrator Presentation ((CORNELL021851), at 9.
141
    Id.


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                                                                      .143 In




                                                                                      144
                                                                                            Plaintiffs dispute

the second sentence of paragraph 27. Whether a “significant percentage of 403(b) plan assets”

are in TIAA “legacy” contracts is not a material fact regarding whether the Cornell Defendants

breached their fiduciary duties by failing to ensure the participants in the Plans paid reasonable

fees and the Cornell Defendants’ failure to monitor and retention of imprudent investment

options in the Plans. Moreover, the evidence cited by the Cornell Defendants do not support this

“fact.” Paragraphs 5-6 of the Poehler report does not state anything about the percentage of

assets in TIAA “legacy” contracts, but relate to his experience advising 403(b) plans. 145

Paragraph 43 of the Cornell Defendants’ statement of material facts discusses the assets of a

single plan, Pepperdine, and does not even state that the percentage of Pepperdine’s assets that

are in legacy contracts. Plaintiffs dispute sentence 3 of paragraph 27. The only evidence that the

Cornell Defendants cite in support of this “fact” is a declaration from TIAA executive Douglas

Chittenden. In contrast to Mr. Chittenden’s declaration, he has previously testified under oath




142
    Ex. P28, August 16, 2011 Tower Watson Finalist Presentation (CORNELL015395) at 10.
143
    Id.
144
    Ex. P3, May 16, 2011 Hewitt ennisknupp Response to Request for Proposal (CORNELL024180), at 12, 17, 26.
145
    Doc. 246-4, Expert Report of Glenn Poehler, ¶¶5-6


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that plan sponsors were able to map legacy assets in the CREF Money Market Account.146 Both

plan documents expressly provide “[t]he Employer in its sole discretion will designate from time

to time the specific Funding Vehicles which are available as Plan investments. The Employer

may change such designation at anytime.”147 The Plans used the Retirement Annuity (“RA”),

Group Retirement Annuity (“GRA”), Supplement Retirement Annuity (“SRA”) Group

Retirement Supplement Annuity (“GRSA”) contracts.148 No provision of the RA, GRA, SRA, or

GSRA contracts addresses transfers by plan sponsors, yet alone prohibits it.149 The RA and

GSRA contracts expressly provide “[t]he contract is subject to the provisions, terms and

conditions of the employer Plan. Any payment, distribution, transfer, or other rights exercised

under the contract shall comply with any applicable terms, provisions, and conditions of the

employer plan as determined by the plan administrator, trustee, or other plan designated

fiduciary.”150 The RA and GRA contracts also expressly state that:




146
    Ex. P27, Sacerdote v. New York University, 16-cv-6284 (S.D.N.Y.), Tr. of Trial at 677:19–678:9; see also id. at
678:12-679:7. Mr. Chittenden’s prior testimony from Sacerdote is admissible in this instance as a prior inconsistent
statement under Federal Rule of Evidence 801(d)(1)(A).
147
    Doc. 250-4, 2008 CURP Plan Document (CORNELL015526), at 100; Doc. 250-6, 2008 TDA Plan Document
(CORNELL015535), at 100.
148
    Doc. 247-7, Ex. 37, Dec. 31, 2009 Fee and Expense Disclosure for TDA Plan (TIAA_CORNELL_00002094) at
95 (listing RA, GRA, GSRA, SRA contracts); Ex. P29, Dec. 31, 2017 Fee and Expense Disclosure for TDA Plan
(TIAA_CORNELL_00009808) at 09 (listing RA, GRA, GSRA, SRA and RCP contracts); Doc. 247-8, Ex. 38, Dec.
31, 2009 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00011306) at 07 (listing RA and GRA
contracts); Ex. P30, Dec. 31, 2017 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00018669) at 70
(listing RA, GRA and RCP contracts). The RCP contracts are used for the Plans’ revenue credit account and not
offered to Plan Participants. Ex. P31, CORNELL013913. Ex. P9, Gallagher Dep. at 364:24‒365:10.
149
    See, e.g., Ex. P32, PLTF-Cornell-000340; Ex. P33, PLTF-Cornell-000356.
150
    See, e.g., Ex. P32, PLTF-Cornell-000340 at p. E1; Ex. P33, PLTF-Cornell-000356at p. E1.
151
    See, e.g., Ex. P34, GRA Contract (TIAA_CORNELL_00020571) at 598; Ex. P35, CREF Stock RA Certification
(TIAA_CORNELL_00001451) at 1474; Ex. P36, TIAA_CORNELL_00001517, at 1535; Ex. P37,
TIAA_CORNELL_00001481 at 1508.


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The TIAA Annuity contracts also contain a provision stating it will administer the contract with

all laws and regulations and if the contract conflicts with the law, the law or regulation

prevails.152 Thus, the terms of the RA, GRA, SRA, and GSRA contracts did not prevent plan

sponsors from mapping or transferring the assets in such annuities to other investments. Plaintiffs

dispute the fourth sentence of paragraph 27. The cited record evidence does not provide that

“many firms, such as Fidelity, do not permit other firms to offer and provide recordkeeping

services for their investment options.” Rather, the Declaration from Douglas Chittenden provides

“[t]o date, TIAA and Fidelity have not entered into an agreement that would permit TIAA to

directly recordkeep Fidelity’s mutual funds or Fidelity to directly recordkeep TIAA’s mutual

funds.”




          .154 The Fidelity Master Recordkeeper Presentation demonstrates numerous higher

education institutions using both TIAA and Fidelity consolidated or moved to a master

administrator recordkeeping arrangement between 2009 and 2015.155 Plaintiffs dispute the fifth

sentence of paragraph 28. The Cornell Defendants fail to cite to any record evidence that support

this “fact.” Moreover, it is disputed for all of the reasons stated earlier in this response.

          28.      Under ERISA, plan sponsors are permitted to use plan assets to pay the costs

incurred in connection with administering their plans, including the costs charged by outside



152
    See, e.g., Ex. P36, TIAA_CORNELL_00001517 at 1534; Ex. P37, TIAA_CORNELL_00001481 at 1501, 1507;
Ex. P35, TIAA_CORNELL_00001451 at 1471.
153
    Ex. P38, June 25, 2015 Email from P. Bursic to M. Opperman (CORNELL002493); Ex. P8, Bursic Tr.at 162:22-
165:19.
154
    Id.
155
    Doc. 247-1, 2016 Fidelity Master Administrator Presentation ((CORNELL021851), at 9.


                                                    32
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vendors that provide administrative services. TIAA and Fidelity are compensated for the

services they provide to the Plans through “revenue sharing” arrangements between them and the

firms responsible for managing the Plans’ investment options.156 Under such an arrangement,

the investment managers charge investors asset-based fees at the fund level (i.e. the investments’

“expense ratio”) and then share a portion of those fees with TIAA or Fidelity.157 TIAA and

Fidelity retain these fees as compensation for the administrative and recordkeeping services

provided to the Plans.158

        RESPONSE: The first sentence of Paragraph 28 is not a statement of fact but a

description of law and thus is improper under Local Rule 56.1. Additionally, the first sentence is

not supported by a citation to any record evidence. Plaintiffs do not dispute the remaining

sentences of paragraph 28.

        29.         In an asset-based or “revenue sharing” arrangement, the percentage of assets

shared with the recordkeeper or allocated to administrative expenses is determined by the

investment option offered. One investment option may provide for 30 bps of revenue sharing

whereas another investment option will provide for 10 bps. Additionally, in some instances, an

investment manager will introduce different “share classes” of the same investment option. Each

share class will have a different fee arrangement, and a potentially higher or lower revenue

sharing component, but the same underlying investment portfolio and investment management

team. By adding and removing different investment options, and if available, different share




156
    Doc. 250-1, Ex. 1, Am. Compl. ¶ 127.
157
    Doc. 246-10, Ex. 28, 2016 TIAA “Making the Most of Your Retirement Plan” Presentation, at 11-16, 26-27
(CORNELL024582); Doc. 247-3, Ex. 33, 2011 Fidelity “Fee Disclosure and Higher Ed Trends” Presentation, at 19,
34 (CORNELL021716).
158
    Doc. 246-10, Ex. 28, 2016 TIAA “Making the Most of Your Retirement Plan” Presentation, at 11-16, 26-27
(CORNELL024582); Doc. 247-3, Ex. 33, 2011 Fidelity “Fee Disclosure and Higher Ed Trends” Presentation, at 19,
34 (CORNELL021716).


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classes for those options, a plan can exercise some degree of control over the amount of revenue

sharing collected by the recordkeeper.159

        RESPONSE: Plaintiffs dispute paragraph 29. The sole piece of record evidence that the

Cornell Defendants cite is the report of its expert, Glenn Poehler. An expert cannot be use as a

conduit to establish facts. Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013) (“a

party cannot call an expert simply as a conduit for introducing hearsay under the guise that the

testifying expert used the hearsay as the basis of his testimony.”) (quoting Malletier v. Dooney &

Bourke, Inc., 525 F.Supp.2d 558, 666 (S.D.N.Y.2007)). Moreover, the paragraphs of Mr.

Poehler’s report do not support many of the “facts” in paragraph 29.

        30.         Although TIAA and Fidelity recently began to offer alternative payment

arrangements, such as “flat fee” or “per participant” arrangements, the asset-based revenue

sharing model remains the industry standard, particularly among large 403(b) plans. According

to a recent survey by the Plan Sponsor Council of America, over 60% of 403(b) plans with more

than 1,000 participants continue to rely on revenue-sharing to pay administrative expenses.160

Patrick Warner, Fidelity’s Managing Director responsible for the Cornell relationship, testified

that as of 2011, none of his clients had entered into a flat fee recordkeeping arrangement and that

today, over 90% of Fidelity’s tax-exempt clients are in an asset based “bundled arrangement.”161

Warner testified that he did not believe Fidelity even offered flat fee arrangements as of 2011.162

Likewise, TIAA’s general business practice is to contract with plans using an asset based

approach.163



159
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶¶ 59-60.
160
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 58, (citing Ex. 34, 2017 PSCA Fee Structure and Evaluation Survey in 403(b)
Plans, at 7 available at https://www.psca.org/403b_2017_snapshot).
161
    Doc. 247-5, Ex. 35, Warner Dep. 102:6-104:14.
162
    Doc. 247-5, Ex. 35, Warner Dep. 103 :13-104 :14.
163
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 58 (discussing various TIAA fee arrangements).


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        RESPONSE: Plaintiffs dispute the first sentence of paragraph 30. The Cornell

Defendants do not cite any record evidence to support this fact and it is inappropriate under Rule

56.1. In fact, industry standard among experts has been to price recordkeeping and administrative

services on a per-participant basis for years. As even the Cornell Defendants’ expert on

recordkeeping testified there are “economies of scale in providing recordkeeping and

administrative services” based on the number of participants.164 Based on these economies of

scale, generally plans with more participants pay a lower fee on a per-participant basis than plans

with less participants.165 Additionally, as the Cornell Defendants’ recordkeeping expert admitted,

the amount of assets in a plan are unrelated to the cost of providing recordkeeping services to a

plan.166 Based on these economies of scale and the fact that recordkeeping costs have nothing to

do with asset size, the Cornell Defendants’ recordkeeping expert advised clients in practice that

they should negotiate a per-participant recordkeeping fee.167 In practice, Mr. Poehler advised the

asset based or “revenue approach” “allows vendors to widen profit margins more quickly

through asset growth than would be possible by increasing revenues based on the increase in the

number of participants.”168 Further, consistent with industry standards, Mr. Poehler advised

“[h]ard dollar fees do not generally increase at the same rate as asset based fees since they are

not tied to the growth in the market value of the plan’s investments.”169 Because of this, Mr.

Poehler ultimately concluded that “[f]rom a plan sponsor’s governance perspective, hard-dollar,

per participant fees are generally more transparent and more accurately reflect the ‘true’ cost of



164
    Ex. P2, Poehler Dep. at 51:23‒52:7
165
    Id. at 52:18‒53:5.
166
    Id. at 55:18‒56:11.
167
    See Ex P39., Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 88:7‒89:4 (authenticating Ex. __),
168
    Ex P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 182:23‒183:12
169
    Ex. P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5


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providing administration.”170 Consistent with Mr. Poehler’s own advice his colleagues at

Mercer also generally advised clients that best practice was to price recordkeeping and

administrative services on a per-participant rather than an asset basis because it is a better

method to control costs and asset-based fees build in artificial fee increases.171 One of Mercer’s

fiduciary best practices during Mr. Poehler’s tenure was to “[p]rice administrative fees on a per-

participant basis.”172 Mr. Poehler’s colleagues told Plan Sponsors to::

        Negotiate a fixed-rate recordkeeping fee based on the number of participants with
        account balances in the plan, that is independent of the investment structure (referred to
        as an ‘open architecture’ model). This approach unlike an ‘asset-based’ or ‘bundled’
        model, provides fee transparency and affords fiduciaries a sound basis for documenting
        the ‘reasonableness’ of recordkeeping fees. Conversely, utilizing a pricing model that is
        dependent on the market value of plan assets arbitrarily ‘builds in’ fee increases that
        are not linked to the level or quality of the recordkeepers services.173

Plaintiffs’ experts, Ty Minnich and Al Otto, both opine that industry standard practice is to price

or monitor recordkeeping and administrative fees on a per-participant basis.174 Plaintiffs dispute

the second sentence of paragraph 30. The Cornell Defendants do not cite admissible evidence

supporting the purported fact in the second sentence of paragraph 30, but cite to a purported

2017 Plan Sponsor 403(b) Recordkeeping Survey that is hearsay and Cornell has not

authenticated. See Fed. R. Evid. 801, 802, 901. For the reasons stated in Plaintiffs’ response to

the first sentence of paragraph 30, per-participant pricing has been the accepted practice by

industry experts for years. Plaintiffs dispute the third sentence of paragraph 30. While Mr.

Warner did testify that 90% of Fidelity’s tax exempt clients had bundled fee arrangements, he



170
    Ex. P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 181:4‒182:1 (testifying that he agreed with that statement).
171
    Ex. P2, Poehler Dep. at 169:20‒170:4.
172
    Ex. P40, Amy Reynolds and Sabrina Bailey, DC Fee Management ‒ Mitigating Fiduciary Risk and Maximizing
Plan Performance”, Ex. P2, Poehler Dep. at 170:9‒171:19, 173:4-22.
173
    Ex. P40, Amy Reynolds and Sabrina Bailey, DC Fee Management ‒ Mitigating Fiduciary Risk and Maximizing
Plan Performance (emphasis added); Ex. P2, Poehler Dep. at 173:23‒174:10.
174
    Doc. 249-20, Expert Report of Ty Minnich, ¶¶33‒39; Doc. 249-19, Expert Report of Al Otto, ¶¶20‒25. 41-43.


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admitted that he does not “know the pricing of other clients outside [his] own book.175 Plaintiffs

dispute the fourth sentence of paragraph 30. Warner did not testify that he did not believe

Fidelity offered flat fee arrangements in 2011, Warner testified that “I honestly don't know the

exact date when -- when -- when our -- when fixed pricing became available’ but “[i]t was in the

las – it was at least five years ago” if not more.176 As discussed above and incorporated herein,

standard practice among industry experts has been to price recordkeeping and administrative fees

on a per-participant basis for years. Plaintiffs dispute the fifth sentence of paragraph 30. Whether

it was TIAA’s standard business practice to price recordkeeping fees on an asset basis is not

material to whether the Cornell Defendants breached their fiduciary duty by failing to ensure the

fees were reasonable. It is not surprising that TIAA’s standard practice was to price on an asset

basis given that Cornell Defendants’ own expert testified an asset-based fee “allows vendors to

widen profit margins more quickly through asset growth than would be possible by increasing

revenues based on the increase in the number of participants.”177

         31.         Prior to 2010, plan sponsors had very little bargaining power and were unable

to practically negotiate the administrative fees paid by the plans to recordkeepers.178 In late

2010, however, 403(b) plan recordkeepers began to compete based on price by offering plans

“revenue credit accounts,” which enabled them to refund revenue above a certain negotiated rate,

and “institutional” or “premier” share classes, which were special investment classes with lower

administrative expense ratios.179 Prior to 2010, few plans, if any, were offered either revenue

credit accounts or institutional class shares.


175
    Doc. 247-5, Warner Dep., at 102:23 ‒103:6.
176
    Doc. 247-5, Warner Dep,, at 103:13-19.
177
    Ex. P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 182:23‒183:12.
178
    Doc 250-16, Ex. 16, Bursic Decl. ¶¶ 6-7.
179
    Doc. 246-4, Ex. 23, Chittenden Cunningham Decl. ¶ 23 (noting that as of December 31, 2009, just “three TIAA
clients” out of the 15,000 plan sponsors it serves had transitioned to either Premier or Institutional class shares).


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         RESPONSE: Plaintiffs dispute the first sentence of paragraph 31. Contrary to his

declaration that the Cornell Defendants cite, Bursic repeatedly testified at his deposition that

prior to the retention of CAPTRUST in December 2011, the Cornell Defendants were not aware

what the Plans were paying for recordkeeping and administrative services, the Cornell

Defendants did not know how to determine the recordkeeping and administrative fees the Plans

were paying, and the Cornell Defendants made no attempt to benchmark or even negotiate their

recordkeeping and administrative fees with TIAA or Fidelity prior to the retention of

CAPTRUST.180 Moreover, the Cornell Defendants’ own expert testified that he negotiated

recordkeeping and administrative fees for plan sponsors, including institutes of higher education,



180
    Ex. P8, Bursic Tr.at 92:7-17 (“Q. So the fees are charged as a percentage of the assets held by the participants?
A. We've been through this before. The fees used to be kind of covered. We really couldn't see what they were, so
the best way of saying it was that it was a percentage of the assets held in the plan. When CAPTRUST came, by that
time things had evolved that CAPTRUST was able to pull the veil off of that and make the vendors state what their
costs were for all the different things that they did and how that added up, so what they really needed to cover.”)
emphasis added); id. at 92:21‒95:14 (“Q. What did CAPTRUST pull the veil off of then? A. Let me restate what I
said. Prior to CAPTRUST being there, the vendors were very reluctant to release any information whatsoever about
the various things that went into the sum of the investment advisory fee or expense ratio or whatever you want to
call it. They all called it different things and according to what the subject was they called it different things. That
doesn't mean that we didn't know what it was. We knew what the total was. It was there. We've asked them to report
it. Remember the vendor performance summary. We always asked for the expense ratio. That's the same thing. So
the expense ratio was there. We knew what it was. What I said, and I'll say it again, is that we couldn't see the detail
because the companies refused to let us. CAPTRUST though had the ability to come in, lift that veil and say, okay,
TIAA-CREF and Fidelity in our case, what's all this about? Tell me what it really costs to do all of these things
because we're here to make sure that we're doing the best job for Cornell and getting the lowest possible fees. They
lifted that cover, my metaphor. I'm sorry if it confused you. We lifted the cover and they looked at it and we were
able to get much closer to the actual accounting of the costs of the plan and that's the value that RPOC set up by
getting CAPTRUST or if we had picked any of the other companies, they were all doing it at that point. Our peers
let us know that they were all sitting down with TIAA-CREF, Fidelity, T. Rowe Price, Vanguard, everybody,
whatever your group of vendors were, they were all doing it and the vendors were forced by market forces to lift that
veil and give us an opportunity to look at it. So did we know what the expense ratio was before? Of course. Did we
know more about the constituent elements of that? Yes, after the veil was lifted and we were able to get in there and
the vendor started to cooperate with us. Q. Okay. So you're saying you understood the expense ratio but not the
underlying components of the expense ratio? A. We were prohibited from finding out. They wouldn't give it to us.”)
(emphasis added); id. at 99:2-102:1 (“ . . . You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping, bundle
it back up . . .”) (emphasis added).


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for decades prior to 2010.181

                                                                                                    9.182

Plaintiffs dispute the second sentence of paragraph 31. The cited evidence, the Declaration of

Douglass Chittenden, does not speak to all 403(b) plan recordkepers but only TIAA.183



                                                                                                      .184



                                                                           9.185 Moreover, the Cornell

Defendants’ own expert testified that he negotiated recordkeeping and administrative fees for

plan sponsors, including institutes of higher education, for decades prior to 2010.186 Plaintiffs

dispute the third sentence of paragraph 31. The Cornell Defendants cite no record evidence to

support this fact.

        32.          Section 403(b) plans are similar to 401(k) plans in the type of recordkeeping

services required, but the cost of providing these administrative services is typically higher in the

case of the former.187 The higher administrative costs associated with 403(b) plans is related in

part to the type of investments held by 401(k) and 403(b) plans. Annuities, which make up a

larger percentage of 403(b) plan assets than 401(k) assets, are more complicated to administer

than mutual funds, and are therefore more costly.188



181
    Ex. P2, Poehler Dep., at 30:17-34:20.
182
    Doc. 249-24, Declaration of Douglas Chittenden, ¶¶17(“
             .”)
183
    Doc. 249-24 ¶23 (discussing how many TIAA clients had Premier or Institutional class shares).
184
    Id.
185
    Doc. 249-24, Declaration of Douglas Chittenden, ¶¶17(“
              ”)
186
    Ex. P2, Poehler Dep., at 30:17-34:20.
187
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 35.
188
    Doc. 246-11, Ex. 29, Polacek Dep. 123:3-125:23; Doc. 246-4, Ex. 23, Poehler Rep. ¶ 35.


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        RESPONSE: Plaintiffs dispute the first sentence of paragraph 32. Plaintiffs do not

dispute that 403(b) plans are similar to 401(k) plans in the type of recordkeeping services

required. Plaintiffs dispute that the cost of providing the recordkeeping and administrative fees to

403(b) plans is “typically higher.” The sole source of evidence the Cornell Defendants cite for

this fact is the Expert Report of Glenn Poehler. Mr. Poehler does not state that recordkeeping

403(b) plans is more expensive than 401(k) plans, but that “annuities are more difficult to

recordkeep than mutual funds and separate account . . . resulting in relatively higher

recordkeeping expenses for 403(b) plans.”189 However, Mr. Poehler testified in his deposition

that he had never recordkept a fixed annuity and had no personal knowledge on the cost of

recordkeeping a fixed annuity.190

                                                  .191



                                                          .192



                                                                                         .193 Moreover,

TIAA collected more in total fees for its variable annuity options than the TIAA Traditional.194 If

it were truly more expense to recordkeep a fixed annuity, one would expect it to have the highest

plan expense ratio, not the lowest. Finally, Ty Minnich, who worked as an executive in the

recordkeeping divisions of Transamerica, Metlife, and CitiStreet, opined that in his experience it




189
    Doc. 246-4, Expert Report of Glenn Poehler, ¶35
190
    Ex. P2, Poehler Dep., at 185:20-22.
191
    Ex. P25, Polacek Dep. at 167:20-23
192
    Ex.P26, 2011 TIAA Service & Fee Disclosure Package for Plan Fiduciaries (TIAA_CORNELL_00012726) at
726-727 (plan service expense column).
193
    Id.
194
    Id.


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is no more costly to recordkeep an annuity than a mutual fund.195 Plaintiffs dispute the second

and third sentence of paragraph 32. For the reasons stated in the Plaintiffs’ response to the first

sentence, it is no more costly to recordkeep a fixed annuity than a mutual fund.

             33.     At all relevant times, Defendants monitored the recordkeeping arrangements

      between Cornell and the Plans’ recordkeepers.

          RESPONSE: Plaintiffs dispute paragraph 33. The Cornell Defendants cite no record

evidence to support this fact so it is improper under Rule 56.1. Moreover, as discussed below, the

record evidence demonstrates that the Cornell Defendants did nothing to monitor recordkeeping

and administrative fees prior to 2012 and followed an inadequate process thereafter.196

          34.        Prior to the creation of RPOC and the retention of CAPTRUST in 2011,

Cornell’s Benefits Services department assumed primary responsibility for monitoring the

arrangements with TIAA and Fidelity. Throughout this period, Benefits Services closely

monitored the recordkeeping arrangements, including the amount of revenue sharing collected by

TIAA and Fidelity.197

          RESPONSE: Plaintiffs dispute the first sentence of paragraph 34. The Cornell

Defendants cite no record evidence to support this fact, so it is improper under Rule 56.1.

Moreover, the record evidence demonstrates that while Benefit Services may have been

responsible for monitoring the fees, they did not even know how much the Plans paid for

recordkeeping and administrative fees prior to 2012. 198 Plaintiffs dispute the second sentence of


195
    Doc. 246-19, Minnich Report, ¶132.
196
    See infra ¶¶162-165.
197
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 5; Ex. 112, TIAA Decl. ¶ 26.
198
    Ex. P8, Bursic Tr.at 92:7-17 (“Q. So the fees are charged as a percentage of the assets held by the participants?
A. We've been through this before. The fees used to be kind of covered. We really couldn't see what they were, so
the best way of saying it was that it was a percentage of the assets held in the plan. When CAPTRUST came, by that
time things had evolved that CAPTRUST was able to pull the veil off of that and make the vendors state what their
costs were for all the different things that they did and how that added up, so what they really needed to cover.”)
(emphasis added); id. at 93:21‒95:14 (“Q. What did CAPTRUST pull the veil off of then? A. Let me restate what I


                                                         41
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paragraph 34. The only evidence that the Cornell Defendants cite to support this statement is a

declaration from Bursic.199 Contrary to his declaration, Bursic repeatedly testified that Benefits

Services could not determine what the recordkeeping and administrative fees were prior to the

retention of CAPTRUST. 200 Moreover, any review Bursic did conduct would have pertained to


said. Prior to CAPTRUST being there, the vendors were very reluctant to release any information whatsoever about
the various things that went into the sum of the investment advisory fee or expense ratio or whatever you want to
call it. They all called it different things and according to what the subject was they called it different things. That
doesn't mean that we didn't know what it was. We knew what the total was. It was there. We've asked them to report
it. Remember the vendor performance summary. We always asked for the expense ratio. That's the same thing. So
the expense ratio was there. We knew what it was. What I said, and I'll say it again, is that we couldn't see the detail
because the companies refused to let us. CAPTRUST though had the ability to come in, lift that veil and say, okay,
TIAA-CREF and Fidelity in our case, what's all this about? Tell me what it really costs to do all of these things
because we're here to make sure that we're doing the best job for Cornell and getting the lowest possible fees. They
lifted that cover, my metaphor. I'm sorry if it confused you. We lifted the cover and they looked at it and we were
able to get much closer to the actual accounting of the costs of the plan and that's the value that RPOC set up by
getting CAPTRUST or if we had picked any of the other companies, they were all doing it at that point. Our peers
let us know that they were all sitting down with TIAA-CREF, Fidelity, T. Rowe Price, Vanguard, everybody,
whatever your group of vendors were, they were all doing it and the vendors were forced by market forces to lift that
veil and give us an opportunity to look at it. So did we know what the expense ratio was before? Of course. Did we
know more about the constituent elements of that? Yes, after the veil was lifted and we were able to get in there and
the vendor started to cooperate with us. Q. Okay. So you're saying you understood the expense ratio but not the
underlying components of the expense ratio? A. We were prohibited from finding out. They wouldn't give it to us.”)
(emphasis added); id. at 100:10-102:1 (“You keep coming back to this because I know you've got an agenda around
this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out record-
keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And the
middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping, bundle
it back up . . .”) (emphasis added).
199
    The Cornell Defendants also cite the declaration of Douglas Chittenden but the cited portion merely provides that
“
                                                                                                        Doc. 249-24,
Declaration of D. Chittenden, ¶24.
200
    Ex. P8, Bursic Tr.at 92:7-17 (“Q. So the fees are charged as a percentage of the assets held by the participants?
A. We've been through this before. The fees used to be kind of covered. We really couldn't see what they were, so
the best way of saying it was that it was a percentage of the assets held in the plan. When CAPTRUST came, by that
time things had evolved that CAPTRUST was able to pull the veil off of that and make the vendors state what their
costs were for all the different things that they did and how that added up, so what they really needed to cover.”)
emphasis added); id. at 92:21‒95:14 (“Q. What did CAPTRUST pull the veil off of then? A. Let me restate what I
said. Prior to CAPTRUST being there, the vendors were very reluctant to release any information whatsoever about
the various things that went into the sum of the investment advisory fee or expense ratio or whatever you want to
call it. They all called it different things and according to what the subject was they called it different things. That
doesn't mean that we didn't know what it was. We knew what the total was. It was there. We've asked them to report
it. Remember the vendor performance summary. We always asked for the expense ratio. That's the same thing. So
the expense ratio was there. We knew what it was. What I said, and I'll say it again, is that we couldn't see the detail
because the companies refused to let us. CAPTRUST though had the ability to come in, lift that veil and say, okay,
TIAA-CREF and Fidelity in our case, what's all this about? Tell me what it really costs to do all of these things
because we're here to make sure that we're doing the best job for Cornell and getting the lowest possible fees. They


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the total expense ratio for the fund and not for the recordkeeping and administrative fees because

Bursic believed it was “imprudent” to review or analyze recordkeeping and administrative fees

alone.201 In contrast to Bursic’s practices, the Department of Labor and all the proffered

recordkeeping experts, including the Cornell Defendants’ expert, agree that recordkeeping and

administrative fees need to be evaluated unbundled from the other services offered to a plan.202

         35.          Prior to 2010, higher education plan sponsors were limited in their ability to

accurately benchmark the administrative fee portion of the fees paid by participants.203 Robust




lifted that cover, my metaphor. I'm sorry if it confused you. We lifted the cover and they looked at it and we were
able to get much closer to the actual accounting of the costs of the plan and that's the value that RPOC set up by
getting CAPTRUST or if we had picked any of the other companies, they were all doing it at that point. Our peers
let us know that they were all sitting down with TIAA-CREF, Fidelity, T. Rowe Price, Vanguard, everybody,
whatever your group of vendors were, they were all doing it and the vendors were forced by market forces to lift that
veil and give us an opportunity to look at it. So did we know what the expense ratio was before? Of course. Did we
know more about the constituent elements of that? Yes, after the veil was lifted and we were able to get in there and
the vendor started to cooperate with us. Q. Okay. So you're saying you understood the expense ratio but not the
underlying components of the expense ratio? A. We were prohibited from finding out. They wouldn't give it to us.”)
(emphasis added) id. at 99:2-102:1 (“ . . . You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping, bundle
it back up . . .”) (emphasis added).
201
    Ex. P8, Bursic Dep., at 99:21‒102:1 (“You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping,
bundle it back up.”), 44:7-20 “Q. During your time at Cornell has Cornell ever done an RFP for record-keeping
services? A. That is a very difficult approach and I will say, no, we did not, and there's a lot of reasons for that.
Record-keeping services only, separated from the fund parent and from the services that are provided by the fund
parent is not something that we would do. It would not be prudent to issue an RFP, asking some company to do a
specific task that's much more efficiently and effective -- accurately delivered as a bundle of services. So your
specific question was on record-keeping services only? Frankly, I think that would be a crazy idea.”) (emphasis
added).
202
    Ex. P41, DOL Advisory Op. 2013-03A, (July 3, 2013); Ex. P42., DOL Adv. Op. 97-15A (May 22, 1997); Ex.
P43, DOL Adv. Op. 97-16A (May 22, 1997); Ex. P44, DOL Adv. Op. 97-19A (Aug. 28, 1997); Doc. 249-20, Expert
Report of Ty Minnich, ¶127; Doc. 249-19, Expert Report of Al Otto, ¶¶ 35-36; Ex. P2, Poehler Dep., at 91:8‒92:11,
174:11-23.
203
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 79.


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benchmarking databases containing complete and accurate data on the administrative fees paid

by 403(b) plans did not exist,204 and while Benefits Services collaborated with its counterparts at

peer institutions on plan administration issues, higher education institutions were unwilling or

unable to freely share fee information.205

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 35. The cited record

evidence does not provide that “[p]rior to 2010, higher education plan sponsors were limited in

their ability to accurately benchmark the administrative fee portion of the fees paid by

participants.”206 Rather, Mr. Poehler’s Report states “prior to 2010, few plan fiduciaries were

attempting to engage TIAA directly in fee negotiation.”207 However, even Mr. Poehler testified

that he negotiated recordkeeping and administrative fees for plan sponsors, including higher

education 403(b) plans, for decades prior to 2010.208 Plaintiffs dispute the second sentence of

paragraph 35. The Cornell Defendants’ own expert, Mr. Poehler, admitted he conducted RFPs

and RFIs for plan sponsors, including higher education 403(b) plans, to benchmark or assess the

reasonableness of their recordkeeping and administrative fees for decades prior to 2010.209

         36.         However, throughout the time period at issue, Benefits Services received

annual reports from the Plans’ recordkeepers that disclosed the administrative fees charged for

each investment and the revenue sharing amounts collected.210 Benefits Services identified any




204
    Doc. 247-6, Ex. 36, Strodel Dep. 226:17-23 (noting that higher education institutions did not begin retaining
consultants until 2012 so there were few data points and benchmarking databases available).
205
    Doc. 248-1, Ex. 41, Bursic Tr.51:15-52:21 (explaining proprietary nature of fee information and potential anti-
trust concerns).
206
    Doc. 246-4, Expert Report of Glenn Poehler, ¶79.
207
    Id.
208
    Ex. P2, Poehler Dep., at 30:09-35:5.
209
    Id.
210
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 5; Doc. 249-24, Ex. 112, Chittenden Cunningham Decl. ¶ 26; Doc. 247-8,
Ex. 38, 2009 CURP TIAA Investment Fee & Expense Disclosure (TIAA_CORNELL_00011306); Doc. 247-7, Ex.
37, 2009 TDA Plan TIAA Investment Fee & Expense Disclosure (TIAA_CORNELL_00004094); Doc. 247-3, Ex.
33, 2011 Fidelity “Fee Disclosure and Higher Ed Trends” Presentation, at 19, 34 (CORNELL021716).


                                                         44
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year-to-year changes in these fees as part of their regular due diligence on behalf of plan

participants.211

         RESPONSE: Plaintiffs do not dispute the first sentence of paragraph 36. Plaintiffs

dispute the second sentence of paragraph 36. The only record evidence cited in support of this

statement is a declaration from Bursic. Contrary to his declaration, Bursic repeatedly testified at

his deposition that Benefits Services could not determine what the recordkeeping and

administrative fees were prior to the retention of CAPTRUST. 212 Moreover, any review Bursic

did conduct would have been as to the total expense ratio for the fund and not for the

recordkeeping and administrative fees because Bursic believed it was “imprudent” to review or


211
    Doc. 250-16, Ex. 16, Bursic Decl. ¶¶ 5-6.
212
    Ex. P8, Bursic Tr.at 92:7-17 (“Q. So the fees are charged as a percentage of the assets held by the participants?
A. We've been through this before. The fees used to be kind of covered. We really couldn't see what they were, so
the best way of saying it was that it was a percentage of the assets held in the plan. When CAPTRUST came, by that
time things had evolved that CAPTRUST was able to pull the veil off of that and make the vendors state what their
costs were for all the different things that they did and how that added up, so what they really needed to cover.”)
emphasis added); id. at 92:21‒95:14 (“Q. What did CAPTRUST pull the veil off of then? A. Let me restate what I
said. Prior to CAPTRUST being there, the vendors were very reluctant to release any information whatsoever about
the various things that went into the sum of the investment advisory fee or expense ratio or whatever you want to
call it. They all called it different things and according to what the subject was they called it different things. That
doesn't mean that we didn't know what it was. We knew what the total was. It was there. We've asked them to report
it. Remember the vendor performance summary. We always asked for the expense ratio. That's the same thing. So
the expense ratio was there. We knew what it was. What I said, and I'll say it again, is that we couldn't see the detail
because the companies refused to let us. CAPTRUST though had the ability to come in, lift that veil and say, okay,
TIAA-CREF and Fidelity in our case, what's all this about? Tell me what it really costs to do all of these things
because we're here to make sure that we're doing the best job for Cornell and getting the lowest possible fees. They
lifted that cover, my metaphor. I'm sorry if it confused you. We lifted the cover and they looked at it and we were
able to get much closer to the actual accounting of the costs of the plan and that's the value that RPOC set up by
getting CAPTRUST or if we had picked any of the other companies, they were all doing it at that point. Our peers
let us know that they were all sitting down with TIAA-CREF, Fidelity, T. Rowe Price, Vanguard, everybody,
whatever your group of vendors were, they were all doing it and the vendors were forced by market forces to lift that
veil and give us an opportunity to look at it. So did we know what the expense ratio was before? Of course. Did we
know more about the constituent elements of that? Yes, after the veil was lifted and we were able to get in there and
the vendor started to cooperate with us. Q. Okay. So you're saying you understood the expense ratio but not the
underlying components of the expense ratio? A. We were prohibited from finding out. They wouldn't give it to us.”)
(emphasis added); id. at 99:2-102:1 (“ . . . You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping, bundle
it back up . . .”) (emphasis added).


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analyze recordkeeping and administrative fees alone.213 In contrast to Bursic’s practices, the

Department of Labor and all the proffered recordkeeping experts, including the Cornell

Defendants’ expert, agree that recordkeeping and administrative fees need to be evaluated

unbundled from the other services offered to a plan.214

         37.          Benefits Services also attempted to leverage the size of the Plans to negotiate

lower administrative fees prior to the formation of RPOC, but TIAA and Fidelity did not fully

transition to so-called “plan based economics” until approximately 2009-2010.215 As Bursic

noted at his deposition, he lobbied TIAA for discounts on multiple occasions, but was told “very

clearly and very firmly that TIAA offers the same price to everybody because all of their

participants are valuable to them and they want to treat everyone the same[.]”216

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 37. First, none of the cited

documents say anything about when Fidelity transitioned to “plan-based economics.”217 Second,


213
    Ex. P8, Bursic Dep., at 99:21‒102:1 (“You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your leftarm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping,
bundle it back up.”), id. at 44:7-20 (“Q. During your time at Cornell has Cornell ever done an RFP for record-
keeping services? A. That is a very difficult approach and I will say, no, we did not, and there's a lot of reasons for
that. Record-keeping services only, separated from the fund parent and from the services that are provided by the
fund parent is not something that we would do. It would not be prudent to issue an RFP, asking some company to do
a specific task that's much more efficiently and effective -- accurately delivered as a bundle of services. So your
specific question was on record-keeping services only? Frankly, I think that would be a crazy idea.”) (emphasis
added).
214
    Ex. P41, DOL Advisory Op. 2013-03A, at 4 (July 3, 2013); Ex. P42., DOL Adv. Op. 97-15A (May 22, 1997);
Ex. P43, DOL Adv. Op. 97-16A (May 22, 1997); Ex. P44, DOL Adv. Op. 97-19A (Aug. 28, 1997); Doc. 249-20,
Expert Report of Ty Minnich, ¶127; Doc. 249-19, Expert Report of Al Otto, ¶¶ 35-36; Ex. P2, Poehler Dep., at
91:8‒92:11, 174:11-23.
215
    Doc. 247-9, Ex. 39, 2014 CREF Multi-Class Structure Presentation, at 8 (CORNELL023646) (noting that
“[r]egulatory and legislative changes . . .triggered TIAA-CREF’s evolution toward plan-based economics several
years ago”); Doc. 250-16, Ex. 16, Bursic Decl. ¶ 7; Doc. 248-1, Ex. 41, Bursic Tr.at 36:20-38:2 (describing
unsuccessful efforts to obtain plan-based pricing prior to 2010 and TIAA’s refusal to provide certain plans,
regardless of size, discounts not afforded to other TIAA clients); Doc. 249-24, Ex. 112, Chittenden Cunningham
Decl. ¶¶ 17, 22-23.
216
    Doc. 248-1, Ex. 41, Bursic Tr.36:6-37:14.
217
    Doc. 232, n.71 (citing sources that only discuss TIAA).


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one of the sources the Cornell Defendants cite, the Chittenden Declaration, explicitly states that

TIAA began negotiating recordkeeping prices with individual clients in 2009 if not earlier.218

The paragraphs of Mr. Chittenden’s declaration cited by the Cornell Defendants relate to how

many higher education clients used Premier and Institutional share classes in 2010 and states

nothing of when TIAA began negotiating recordkeeping and administrative fees.219 Moreover,

the Cornell Defendants’ own expert testified that he negotiated recordkeeping and administrative

fees for plan sponsors, including institutes of higher education, for decades prior to 2010.220

Plaintiffs dispute the second sentence of paragraph 37. The portions of Bursic’s testimony cited

by the Cornell Defendants do not relate to negotiating recordkeeping and administrative fees but

rather requesting share classes for TIAA-CREF annuities.221 Moreover, Plaintiffs incorporate

their response to sentence 1 of paragraph 37, which demonstrates that plan sponsors negotiated

recordkeeping and administrative long prior to 2010.

        38.          Since Benefits Services was limited in its ability to control administrative fees

prior to 2010, Benefits Services demanded that the recordkeepers provide additional services

commensurate with the amount they were earning in fees. These additional services included the

creation of a customized call center for Cornell participants and the creation of a local office in

Ithaca at the request of Benefits Services.222 Benefits Services also took steps to eliminate

individual service fees charged in addition to the asset-based fees.223

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 38. The Cornell

Defendants do not cite any record evidence to support that fact, so it is improper under Rule


218
    Doc. 294-24, Declaration of D. Chittenden, ¶17.
219
    Id. ¶¶22-23.
220
    Ex. P2, Poehler Dep., at 30:17-34:20.
221
    Doc. 248-1, Bursic Dep., at 36:20-22 (“I personally lobbied the president of TIAA on a couple of occasions,
asking for a break in share values . . .”) (emphasis added)
222
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 6.
223
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 6.


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56.1. Moreover, the declaration of TIAA executive, Douglas Chittenden, explicitly states that

TIAA began negotiating recordkeeping prices with individual clients in 2009 if not earlier.224

Moreover, the Cornell Defendants’ own expert testified that he negotiated recordkeeping and

administrative fees for plan sponsors, including institutes of higher education, for decades prior

to 2010.225 Plaintiffs do not dispute that TIAA provided the services detailed in second and third

sentence of paragraph 38. Plaintiffs dispute that Cornell negotiated these services in an attempt

to control or make sure the recordkeeping and administrative fees paid were reasonable. Contrary

to Bursic’s declaration (the sole source the Cornell Defendants cite to support this paragraph)

Bursic repeatedly testified at his deposition that Benefits Services could not determine what the

recordkeeping and administrative fees were prior to the retention of CAPTRUST. 226 Moreover,


224
    Doc. 294-24, Declaration of D. Chittenden, ¶17.
225
    Ex. P2, Poehler Dep., at 30:09-35:5.
226
    Ex. P8, Bursic Tr.at 92:7-17 (“Q. So the fees are charged as a percentage of the assets held by the participants?
A. We've been through this before. The fees used to be kind of covered. We really couldn't see what they were, so
the best way of saying it was that it was a percentage of the assets held in the plan. When CAPTRUST came, by that
time things had evolved that CAPTRUST was able to pull the veil off of that and make the vendors state what their
costs were for all the different things that they did and how that added up, so what they really needed to cover.”)
emphasis added); id. at 92:21‒95:14 (“Q. What did CAPTRUST pull the veil off of then? A. Let me restate what I
said. Prior to CAPTRUST being there, the vendors were very reluctant to release any information whatsoever about
the various things that went into the sum of the investment advisory fee or expense ratio or whatever you want to
call it. They all called it different things and according to what the subject was they called it different things. That
doesn't mean that we didn't know what it was. We knew what the total was. It was there. We've asked them to report
it. Remember the vendor performance summary. We always asked for the expense ratio. That's the same thing. So
the expense ratio was there. We knew what it was. What I said, and I'll say it again, is that we couldn't see the detail
because the companies refused to let us. CAPTRUST though had the ability to come in, lift that veil and say, okay,
TIAA-CREF and Fidelity in our case, what's all this about? Tell me what it really costs to do all of these things
because we're here to make sure that we're doing the best job for Cornell and getting the lowest possible fees. They
lifted that cover, my metaphor. I'm sorry if it confused you. We lifted the cover and they looked at it and we were
able to get much closer to the actual accounting of the costs of the plan and that's the value that RPOC set up by
getting CAPTRUST or if we had picked any of the other companies, they were all doing it at that point. Our peers
let us know that they were all sitting down with TIAA-CREF, Fidelity, T. Rowe Price, Vanguard, everybody,
whatever your group of vendors were, they were all doing it and the vendors were forced by market forces to lift that
veil and give us an opportunity to look at it. So did we know what the expense ratio was before? Of course. Did we
know more about the constituent elements of that? Yes, after the veil was lifted and we were able to get in there and
the vendor started to cooperate with us. Q. Okay. So you're saying you understood the expense ratio but not the
underlying components of the expense ratio? A. We were prohibited from finding out. They wouldn't give it to us.”)
(emphasis added); id. at 99:2-102:1 (“ . . . You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same


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any review Bursic did conduct would have pertained to the total expense ratio for the fund and

not for the recordkeeping and administrative fees because Bursic believed it was “imprudent” to

review or analyze recordkeeping and administrative fees alone.227 In contrast to Bursic’s

practices, the Department of Labor and all the proffered recordkeeping experts, including the

Cornell Defendants’ expert, agree that recordkeeping and administrative fees need to be

evaluated unbundled from the other services offered to a plan.228

         39.          After RPOC was formed, Cornell and Benefits Services identified reviewing

the vendor arrangement and recordkeeping fees as a primary focus. At RPOC’s first meeting in

November 2011, the committee noted that Cornell’s peers were in the process of reviewing their

recordkeeping arrangements; RPOC also noted that some higher education plan sponsors, such

as Johns Hopkins’ University, had retained consultants to assist them with evaluating potentially

consolidating recordkeepers.229




answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping, bundle
it back up . . .”) (emphasis added).
227
    Ex. P8, Bursic Dep., at 99:21‒102:1 (“You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping,
bundle it back up.”), id. at 44:7-20 (“Q. During your time at Cornell has Cornell ever done an RFP for record-
keeping services? A. That is a very difficult approach and I will say, no, we did not, and there's a lot of reasons for
that. Record-keeping services only, separated from the fund parent and from the services that are provided by the
fund parent is not something that we would do. It would not be prudent to issue an RFP, asking some company to do
a specific task that's much more efficiently and effective -- accurately delivered as a bundle of services. So your
specific question was on record-keeping services only? Frankly, I think that would be a crazy idea.”) (emphasis
added).
228
    Ex. P41, DOL Advisory Op. 2013-03A, at 4 (July 3, 2013); Ex. P42., DOL Adv. Op. 97-15A (May 22, 1997);
Ex. P43. DOL Adv. Op. 97-16A (May 22, 1997); Ex. P44 DOL Adv. Op. 97-19A (Aug. 28, 1997); Doc. 249-20,
Expert Report of Ty Minnich, ¶127; Doc. 249-19, Expert Report of Al Otto, ¶¶ 35-36; Ex. P2, Poehler Dep., at
91:8‒92:11, 174:11-23.
229
    Doc. 250-19, Ex. 19, November 2010 RPOC Minutes, at 2 (CORNELL021932); Doc. 248-2, Ex. 42, 2010 Johns
Hopkins 403(b) Plan Design Presentation, at 36-37 (CORNELL029094).


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        RESPONSE: Plaintiffs dispute the first sentence of paragraph 39. The Cornell

Defendants cite to no record evidence to support this fact, so it is improper under Rule 56.1.

Plaintiffs dispute the second sentence of paragraph 39. The meeting minutes cited are dated

November 29, 2010, not November 2011.230 Additionally, RPOC was not created until April 7,

2011, so the November 29, 2010 meeting was not a meeting of RPOC.231 Plaintiffs do not

dispute that many of Cornell’s peers began monitoring and negotiating their recordkeeping and

administrative fees prior to the Cornell Defendants. The Cornell Defendants’ own expert testified

that he negotiated recordkeeping and administrative fees for plan sponsors, including institutes of

higher education, for decades prior to 2010.232

        40.         Cornell and RPOC similarly decided to retain a consultant to assist them with

reviewing the Plans’ recordkeeping arrangement and administrative fee structure. The RFP

prepared by Benefits Services and approved by RPOC expressly stated that Cornell was seeking

a consultant that was capable of assisting it with the development of a “fully compliant

retirement plan operation,” as well as “the administrative set up of custodial accounts,

recordkeeping, [and] retail-level customer service for plan participants[.]”233 The agreement

between Cornell and CAPTRUST expressly provided that CAPTRUST would provide “Vendor

Analysis,” which included vendor analysis, benchmarking, and scoring, plan administration and

investment cost comparisons, and overall recommendations and ongoing due diligence with

respect to the vendors.234




230
    Doc. 250-19, November 29, 2010 CURP Oversight Committee Meeting Minutes (CORNELL021932).
231
    Doc. 250-17, April 7, 2011 RPOC Charter (CORNELL015812).
232
    Ex. P2, Poehler Dep., at 30:09-35:5.
233
    Doc. 246-1, Ex. 20, April 2011 RPOC Consultant RFP, at 1, 6 (CORNELL024129).
234
    Doc. 246-2, Ex. 21, April 2011 Retirement Plan Advisory Services Agreement between Capfinancial Partners,
LLC (“CAPTRUST”) and Cornell University, at 1 (CORNELL021910).


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         RESPONSE: Plaintiffs do not dispute paragraph 40. In fact, the Cornell Defendant

improperly delegated entirely the responsibility to monitor and negotiate the Plans’

recordkeeping fees to CAPTRUST despite CAPTRUST’s assertion that it was not a fiduciary.235

Multiple members of RPOC testified that RPOC did not ever review any benchmarking

CAPTRUST conducted regarding the Plans’ recordkeeping and administrative fees or participate

in or monitor their negotiations with TIAA or Fidelity.236 Rather, the Cornell Defendants relied

entirely upon CAPTRUST to “to do their professional job” and CAPTRUST’s “strong

assurances that this is a good deal.”237 Bursic went was far as testifying “I don’t think anyone on

RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions,

really knows how CAPTRUST is conducting those negotiations and what the terms are of the

agreements that they draw up . . .”238 Additionally, the Cornell Defendants complete deferral of

their fiduciary duties to CAPTRUST is demonstrated by testimony that they did not know basic

details regarding the Plans’ recordkeeping and administrative fees or that if someone wanted

those details they would have to ask CAPTRUST.239

         41.         At the January 2012 RPOC meeting, which was the first RPOC meeting

attended by CAPTRUST, CAPTRUST provided a holistic review of the recordkeeping

arrangement. This review included an analysis of the costs and benefits associated with various




235
    See infra ¶¶ 184-185.
236
    Ex. P8, Bursic Dep., at 52:16‒54:13; see also Ex. P9, Gallagher Dep., at 62:11-63:15; Ex. P45, DeStefano Dep.,
at 129:16-21, 131:4-14; Ex. P46, Edwards Dep. at 107:14-109:6; Ex. P47, Schwartz Dep. at 78:8-80:12; Ex. P48,
Prasad Dep., at 67:22-68:16.
237
    Ex. P8, Bursic Dep., at 52:16‒54:13.
238
    Ex. P8, Bursic Tr.at 119:1-13 (“Q. Okay. So you don't know if there's a cap on the fees within the TIAA plan? A.
Right. Q. Has RPOC ever discussed a fee structure like that with a cap, with a set dollar cap? A. I don't think anyone
on RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions, really knows
how CAPTRUST is conducting those negotiations and what the terms are of the agreements that they draw up,
whether or not they include what you've just questioned about a cap on one particular activity that TIAA does, a cap
on the cost, that is, of that activity.”)
239
    See, e.g., Id.


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alternative recordkeeping arrangements.240 RPOC discussed these various alternatives, noting in

particular that: “TIAA-CREF and Fidelity are unwilling/unable to provide administration and

recordkeeping services for the others’ funds,” that there were difficulties associated with “the

individual contracts at TIAA,” and that there were “inherent problems with portability amongst

vendors.”241 Ultimately, RPOC opted for a “middle-ground approach” recommended by

CAPTRUST of maintaining two recordkeepers, aligning the investment options available on

each platform as much as possible, and renegotiating the respective fees charged by each

recordkeeper.242

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 41. The Cornell

Defendants fail to cite to any record evidence to support this fact, so it is improper under Rule

56.1. Plaintiffs dispute the second, third and fourth sentences of paragraph 41. Plaintiffs do not

dispute that CAPTRUST presented information to RPOC regarding recordkeeper consolidation

in January 2012. In fact, CAPTRUST advised the Cornell Defendants that consolidation results

in the “best cost structure” for Plan participants.243 However, there does not appear to be any

serious discussion balancing the cost savings that could be achieved from recordkeeping

consolidation versus other interests at that meeting or any meeting thereafter.244 Rather, RPOC


240
    Doc. 248-3, Ex. 43, January 2012 RPOC Meeting Materials, at 11 (CAPTR_0009098) (recommending a
“streamlined fund line up across three vendors using ‘best in class’ structure”).
241
    Doc. 248-3, Ex. 43, January 2012 RPOC Meeting Minutes (CAPTR_0047903).
242
    Doc. 248-9, Ex. 45, July 2012 RPOC Meeting Minutes, at 3 (CAPTR_0047911) (noting that “RPOC validated
the current multi-vendor arrangement” and discussing a tiered approach to “menu design [that] provides symmetry
among the three vendors.”); Doc. 248-3, Ex. 43, January 2012 RPOC Meeting Materials, at 11-12
(CAPTR_0009098) (recommending a “streamlined fund line up across three vendors using ‘best in class’
structure”).
243
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 38.
244
    Doc. 248-8, Jan. 11, 2012 RPOC Meeting Minutes; Ex. P10, February 3, 2011 CURP Meeting Minutes
(CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8, January 11,
2012 RPOC Meeting Minutes (CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC Meeting Minutes
(CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November
19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes
(CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13,
December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes


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“validated” the multi vendor arrangement, without any discussion of the scope of the fees

reductions, when discussing “Investment Menu Design.”245 Despite repeated requests from the

vendors that they consider consolidation to reduce fees,246 the Cornell Defendants never received

a quote from TIAA or Fidelity for consolidation.247 Despite attempts from CAPTRUST to

discuss consolidation with RPOC, benefits staff unilaterally decided to remove it from the

agenda.248 The limited nature of the Cornell Defendants’ consideration of consolidation is

demonstrated by the lack of knowledge of the RPOC committee members, For example,

founding committee member, Joanne DeStefano, did not know if TIAA, Fidelity or Vanguard

could recordkeep other vendor’s funds.249

        42.         RPOC determined that because of restrictions imposed by both Fidelity and

TIAA on other providers’ ability to administer many of their proprietary investment options, it

was not possible or practical to consolidate the then-current investment lineup with any single-

provider.250 In particular, RPOC and CAPTRUST noted that TIAA did not allow Fidelity (or




(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4,
Ex. 63, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting
Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18,
December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting
Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20,
September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting
Minutes, (CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June
23, 2017 RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes
(CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
245
    Doc. 248-9, July 2012 RPOC Meeting Minutes, at 3 (CAPTR_0047911).
246
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201) (“TIAA has been pushing us on this[sole
recordkeeper] on us for years”)
247
    Ex. P8, Bursic Tr.at 160:14-20.
248
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201)
249
    Ex. P45, DeStefano Dep. at 137-138:6
250
    Doc. 248-1, Ex. 41, Bursic Tr.148:16-151:2; Doc. 248-8, Ex. 44, January 2012 RPOC Meeting Minutes, at 2-3
(CAPTR_0047903) (noting TIAA and Fidelity inability to offer each other’s investments, “individual contracts at
TIAA,” and “inherent problems with portability”); Doc. 248-9, Ex. 45, July 2012 RPOC Meeting Minutes, at 3
(CAPTR_0047907) (noting that “RPOC validated the current multi-vendor arrangement” and discussing a tiered
approach to “menu design [that] provides symmetry among the three vendors.”).


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any other provider) to administer its annuity products and that Fidelity did not allow TIAA to

administer its mutual funds.251

        RESPONSE: Plaintiffs dispute paragraph 42. The Cornell Defendants’ belief that TIAA

and Fidelity could not or would not explore recordkeeping each other funds is untrue.




                .252 Additionally, a presentation that Fidelity made to the Cornell Defendants

demonstrates that between 2009 and 2015 multiple institutions with TIAA and Fidelity as

recordkeepers consolidated to a single recordkeepering arrangement with either TIAA or

Fidelity.253

        43.         Moreover, as of December 2012, over 30% of the Plans’ assets were invested

in TIAA Traditional Annuity contracts.254 Because the TIAA Traditional Annuity contracts

offered by the Plans are individual contracts, Cornell has no right to transfer these contracts to

another recordkeeper, map the invested amounts to a different investment option, or withdraw

the investments without the consent of the individual participant that holds the contract.255 If




251
    Doc. 248-1, Ex. 41, Bursic Tr.148:16-151:2; Doc. 248-8, Ex. 44, January 2012 RPOC Meeting Minutes, at 2-3
(CAPTR_0047903) (noting TIAA and Fidelity inability to offer each other’s investments, “individual contracts at
TIAA,” and “inherent problems with portability”); Doc. 248-7, Ex. 43, January 2012 RPOC Meeting Materials, at
13 (CAPTR_0009100) (noting that “TIAA-CREF is an individual contract based structure while Fidelity and
Vanguard are plan based which creates some challenges [related to] lack of portability”).
252
    Ex. P38, June 25, 2015 Email from P. Bursic to M. Opperman (CORNELL002493); Ex. P8, Bursic Tr.at 162:22-
165:19
253
    Doc. 247-1, 2016 Fidelity Master Administrator Presentation ((CORNELL021851), at 9 (noting that Purdue,
Notre Dame, Vanderbilt, and California State University consolidated from a multiple recordkeeper arrangement
with TIAA and Fidelity to Fidelity and California Institute of Technology and University of Rochester consolidated
from a multiple recordkeeper arraignment with TIAA and Fidelity to TIAA)
254
    Doc. 250-13, Ex. 13, 2012 TDA Plan Form 5500, at 48 (noting $255,647,312 of $975,473,176 invested in TIAA
Traditional); Doc. 250-12, Ex. 12, 2012 CURP Form 5500, at 44 (noting $527,427,866 of $1,576,642,402 invested
in TIAA Traditional).
255
    Doc. 246-12, Ex. 30, Chittenden Sacerdote Decl. ¶¶ 23, 27, 31, 35; Doc. 248-3, Ex. 43, January 2012 RPOC
Meeting Materials Presentation (noting that “TIAA-CREF is an individual contract based structure while Fidelity
and Vanguard are plan based which creates some challenges [related to] lack of portability”) (CAPTR_0009100).


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Cornell decided to consolidate recordkeeping with any vendor other than TIAA going forward,

TIAA would continue to serve as the recordkeeper for the 30% of the Plans’ assets invested in

the TIAA Traditional Annuity (unless participants took the affirmative step of moving their

investments out of those options) and would continue to collect asset based fees as compensation

for its services.256

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 43. The percentage of

assets in the TIAA Traditional is not material to whether the Cornell Defendants breached their

fiduciary duties to ensure the fees participants in Plans paid were reasonable or by retaining

imprudent investment options in the Plans. Plaintiffs dispute the second and third sentences

paragraph 43. The Cornell Defendants primarily rely upon the trial declaration from TIAA

Executive, Douglas Chittenden, in Sacerdote v. New York University, No. 16-2684 (S.D.N.Y.), to

support this paragraph. Mr. Chittenden’s testimony in another case is inadmissible hearsay. See

Fed. R. of Evid. 801, 802. Mr. Chittenden’s testimony is not an admissible prior statement by a

witness because it is not inconsistent with any testimony he has given in this case or for

identification. See Fed. R. of Evid. 801(a)(1). Additionally, Mr. Chittenden’s testimony in

another case is not admissible under Rule 804, because he is not unavailable given that he

offered a declaration in support of the Cornell Defendants’ motion.257 Finally, Mr. Chittenden’s

testimony is inadmissible under the rule of completeness, because the Cornell Defendants only

offered his trial declaration and not his actual live testimony which is necessary to provide

context. In contrast to Mr. Chittenden’s declaration that Cornell Defendants cite in support of




256
    Doc. 246-12, Ex. 30, Chittenden Sacerdote Decl. ¶ 46 (“When a plan sponsor opts to eliminate TIAA as a
recordkeeper, TIAA Traditional may cease to be available for new contributions. TIAA continues to recordkeep
plan assets and charge recordkeeping fees for the individually-held contracts for employees who elect to maintain
their investments in TIAA Traditional.”).
257
    Doc. 249-024, Declaration of Douglass Chittenden.


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this paragraph, he also testified under oath that plan sponsor were able to map legacy asset in the

CREF Money Market Account.258 Both plan documents expressly provide “[t]he Employer in its

sole discretion will designate from time to time the specific Funding Vehicles which are

available as Plan investments. The Employer may change such designation at anytime.”259 The

Plans used the Retirement Annuity (“RA”), Group Retirement Annuity (“GRA”), Supplement

Retirement Annuity (“SRA”) Group Retirement Supplement Annuity (“GRSA”) contracts.260 No

provision of the RA, GRA, SRA, or GSRA contracts addresses transfers by plan sponsors, let

alone prohibits it.261 The RA and GSRA contracts expressly provide “[t]he contract is subject to

the provisions, terms and conditions of the employer Plan. Any payment, distribution, transfer, or

other rights exercised under the contract shall comply with any applicable terms, provisions, and

conditions of the employer plan as determined by the plan administrator, trustee, or other plan

designated fiduciary.”262 The RA and GRA contracts also expressly state that:




258
    Ex. P27, Sacerdote v. New York University, 16-cv-6284 (S.D.N.Y.), Tr. of Trial at 677:19–678:9; see also id. at
678:12-679:7. Mr. Chittenden’s prior testimony from Sacerdote is admissible in this instance as a prior inconsistent
statement under Federal Rule of Evidence 801(d)(1)(A).
259
    Doc. 250-4, 2008 CURP Plan Document (CORNELL015526), at 100; Doc. 250-6, 2008 TDA Plan Document
(CORNELL015535), at 100.
260
    Doc. 247-7, Ex. 37, Dec. 31, 2009 Fee and Expense Disclosure for TDA Plan (TIAA_CORNELL_00002094) at
95 (listing RA, GRA, GSRA, SRA contracts); Ex. P29, Dec. 31, 2017 Fee and Expense Disclosure for TDA Plan
(TIAA_CORNELL_00009808) at 09 (listing RA, GRA, GSRA, SRA and RCP contracts); Doc. 247-8, Ex. 38, Dec.
31, 2009 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00011306) at 07 (listing RA and GRA
contracts); Ex. P30, Dec. 31, 2017 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00018669) at 70
(listing RA, GRA and RCP contracts). The RCP contracts are used for the Plans’ revenue credit account and not
offered to Plan Participants. Ex. P31, CORNELL013913. Ex. P9, Gallagher Dep. at 364:24‒365:10.
261
    See, e.g., Ex. P32, PLTF-Cornell-0000340; Ex. P33, PLTF-Cornell-0000356.
262
    See, e.g., Ex. P32, PLTF-Cornell-0000340 at p. E1; Ex. P33, PLTF-Cornell-0000356 at p. E1.
263
    See, e.g., Ex. P34, GRA Contract (TIAA_CORNELL_00020571) at 598; Ex. P35, CREF Stock RA Certification
(TIAA_CORNELL_00001451) at 1474; Ex. P36, TIAA_CORNELL_00001517, at 1535; Ex. P37,
TIAA_CORNELL_00001481 at 1508.


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The TIAA Annuity contracts also contain provisions stating they will administer the contract to

comply with all prevailing laws and regulations.264 Thus, the terms of the RA, GRA, SRA, and

GSRA contracts did not prevent plan sponsors from mapping or transferring the assets in such

annuities to other investments.

         44.         When a plan sponsor eliminates TIAA as a recordkeeper and does not permit

future investments into TIAA products, TIAA does not continue to provide revenue credits to the

plan. TIAA will continue to provide recordkeeping services for frozen investments and will

collect the full administrative fee permitted under the agreement without providing any revenue

credits.265

         RESPONSE: Plaintiffs dispute paragraph 44. In contrast to Mr. Chittenden’s declaration

that Cornell Defendants cite in support of this paragraph, he has previously testified under oath

that plan sponsor were able to map legacy asset in the CREF Money Market Account.266 Both

plan documents expressly provide “[t]he Employer in its sole discretion will designate from time

to time the specific Funding Vehicles which are available as Plan investments. The Employer

may change such designation at anytime.”267 The Plans used the Retirement Annuity (RA),

Group Retirement Annuity (GRA), Supplement Retirement Annuity (SRA) Group Retirement

Supplement Annuity (GRSA) contracts.268 No provision of the RA, GRA, SRA, or GSRA



264
    See, e.g., Ex. P36, TIAA_CORNELL_00001517 at 1534; Ex. P37, TIAA_CORNELL_00001481 at 1501, 1507;
Ex. P35, TIAA_CORNELL_00001451 at 1471.
265
    Ex. 112, Chittenden Cunningham Decl. ¶¶ 12, 18.
266
    Ex. P27, Sacerdote v. New York University, 16-6284 (S.D.N.Y.), Tr. of Trial at 677:19–678:9; see also id. at
678:12-679:7. Mr. Chittenden’s prior testimony from Sacerdote is admissible in this instance as a prior inconsistent
statement under Federal Rule of Evidence 801(d)(1)(A).
267
    Doc. 250-4, 2008 CURP Plan Document (CORNELL015526), at 100; Doc. 250-6, 2008 TDA Plan Document
(CORNELL015535), at 100.
268
    Doc. 247-7, Ex. 37, Dec. 31, 2009 Fee and Expense Disclosure for TDA Plan (TIAA_CORNELL_00002094) at
95 (listing RA, GRA, GSRA, SRA contracts); Ex. P29, Dec. 31, 2017 Fee and Expense Disclosure for TDA Plan
(TIAA_CORNELL_00009808) at 09 (listing RA, GRA, GSRA, SRA and RCP contracts); Doc. 247-8, Ex. 38, Dec.
31, 2009 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00011306) at 07 (listing RA and GRA
contracts); Ex. P30, Dec. 31, 2017 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00018669) at 70


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contracts addresses transfers by plan sponsors, let alone prohibits it.269 The RA and GSRA

contracts expressly provide “[t]he contract is subject to the provisions, terms and conditions of

the employer Plan. Any payment, distribution, transfer, or other rights exercised under the

contract shall comply with any applicable terms, provisions, and conditions of the employer plan

as determined by the plan administrator, trustee, or other plan designated fiduciary.”270 The RA

and GRA contracts also expressly state that:




                                                                  1


The TIAA Annuity contracts also contain a provision stating it will administer the compliance

with all laws and regulations and if the contract conflicts with the law, the law or regulation

prevails.272 Thus, the terms of the RA, GRA, SRA, and GSRA contracts did not prevent plan

sponsors from mapping or transferring the assets in such annuities to other investments.

        45.         In 2009, Pepperdine selected Transamerica as sole recordkeeper to its 403(b)

plan.273 In doing so, Pepperdine eliminated three of its recordkeepers, including TIAA.

However, despite eliminating TIAA as a recordkeeper, Pepperdine could not map or transfer

amounts invested in the TIAA Traditional annuities to Transamerica for recordkeeping. Instead,

TIAA continued to serve as recordkeeper for these assets and continued to collect the full



(listing RA, GRA and RCP contracts). The RCP contracts are used for the Plans’ revenue credit account and not
offered to Plan Participants. Ex. P31, CORNELL013913. Ex. P9, Gallagher Dep. at 364:24‒365:10.
269
    See, e.g., Ex. P32, PLTF-Cornell-0000340; Ex. P33, PLTF-Cornell-0000356.
270
    See, e.g., Ex. P32, PLTF-Cornell-0000340 at p. E1; Ex. P33, PLTF-Cornell-0000356 at p. E1.
271
    See, e.g., Ex. P34, GRA Contract (TIAA_CORNELL_00020571) at 598; Ex. P35, CREF Stock RA Certification
(TIAA_CORNELL_00001451) at 1474; Ex. P36, TIAA_CORNELL_00001517, at 1535; Ex. P37,
TIAA_CORNELL_00001481 at 1508.
272
    See, e.g., Ex. P36, TIAA_CORNELL_00001517 at 1534; Ex. P37, TIAA_CORNELL_00001481 at 1501, 1507;
Ex. P35, TIAA_CORNELL_00001451 at 1471.
273
    Doc. 250-1, Ex. 1, Am. Compl. ¶ 84.


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administrative fee for recordkeeping these investment options. Although TIAA can provide

revenue credits for excess revenue derived from assets invested in TIAA Traditional, it does not

negotiate those credits when the TIAA investments are “frozen” and closed to any additional

contributions.274 In the case of Pepperdine, TIAA offered to negotiate a lower required revenue

rate but only if Pepperdine was willing to “open a TIAA-CREF portion of the plan to new

investments.”275

        RESPONSE: Plaintiffs do not dispute the first and second sentences in paragraph 45.

Plaintiffs dispute the third and fourth sentences of paragraphs 45. The Cornell Defendants fail to

cite any record evidence supporting these facts, so they are improper under Rule 56.1. To the

extent the Cornell Defendants intended to cite to Mr. Otto’s testimony regarding the purported

February 2013 Pepperdine Administrative Committee Minutes, the facts in the third and fourth

sentence are not based on admissible evidence because those minutes have not been

authenticated, any statement within them would be inadmissible hearsay and Mr. Otto’s

testimony regarding them would be hearsay within hearsay. Fed. R. of Evid. 801, 802, 805, 901.

Plaintiffs dispute that the fifth sentence of paragraph 47 is material to whether the Cornell

Defendants breached their fiduciary duties by failing to ensure the participants in the Plans only

paid reasonable fees and their retention of imprudent investment options in the Plans. Plaintiffs

dispute the sixth sentence of paragraph 47. The Cornell Defendants fail to cite admissible

evidence to support these fact, so they are improper under Rule 56.1. The Cornell Defendants

cite primarily to the purported February 2013 Pepperdine Administrative Committee Minutes

and Mr. Otto’s testimony regarding those minutes. The Cornell Defendants do not authenticate


274
  Doc. 249-24, Ex. 112, Chittenden Cunningham Decl. ¶¶ 12, 18.
275
  Doc. 248-10, Ex. 46, Otto Dep. 149:6-150:10 (discussing Ex. 47, February 2013 Pepperdine Administrative
Committee Minutes, at 1 available at https://www.trsretire.com/webportal/pepperdine/page.html?page_0); Doc.
252-2, Ex. 72, Minnich Dep. 107:2-9, 151:1-8.


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those minutes, any statement within them would be inadmissible hearsay and Mr. Otto’s

testimony regarding them would be hearsay within hearsay.276 Fed. R. of Evid. 801, 802, 805,

901. The Cornell Defendants also cite testimony from Mr. Minnich, but this testimony does not

relate to any fee negotiation between TIAA and Pepperdine.277

         46.          Nor was it practical to consolidate all of the Fidelity assets with TIAA. Fidelity

has not agreed to allow TIAA to provide recordkeeping services for any Fidelity investment

options.278 If RPOC wanted to consolidate with TIAA, it needed to first take control of the

participants’ investments in Fidelity funds, unilaterally sell those investments, and then map the

assets to funds that TIAA could administer. As of December 2012, over 25% of the Plans’ assets

were invested with Fidelity.279 Ultimately, RPOC determined that consolidation was either

impossible, or at a minimum extremely disruptive and impractical, given the individual nature of

the TIAA contracts and TIAA’s inability to administer Fidelity mutual funds.280

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 46. The Cornell

Defendants do not cite any record evidence to support this fact, so it is improper under Rule 56.1.

Additionally, a presentation that Fidelity made to the Cornell Defendants demonstrates that

between 2009 and 2015 multiple institutions with TIAA and Fidelity as recordkeepers

consolidated to a single recordkeeping arrangement with either TIAA or Fidelity, so it was not




276
    Mr. Otto did not review the fees of Pepperdine and has not personal knowledge of them. Ex. P54, Otto Dep., at
145:20-22.
277
    Doc. 252-02, Minnich Dep., at 107:2-9, 151:1-8.
278
    Doc. 246-11, Ex. 29, Polacek Dep. 104:6-105 :23 (discussing lack of an agreement between TIAA and Fidelity to
provide recordkeeping for other’s investment options).
279
    Doc. 250-13, Ex. 13, 2012 TDA Plan Form 5500, at 48 (noting $315,433,184 of $975,473,176 invested with
Fidelity); Doc. 250-12, Ex. 12, 2012 CURP Form 5500, at 44 (noting $342,184,015 of $1,576,642,402 invested with
Fidelity).
280
    Doc. 248-1, Ex. 41, Bursic Tr.147:21-151:2 (discussing inability to consolidate and noting that “RPOC has
decided that there is no prudent course to getting rid of either one of these vendors (TIAA or Fidelity) at this point”);
Doc. 250-18, Ex. 18, Opperman Dep. 86:18-89:7 (detailing the RPOC’s concern for participant choice and desire to
limit disruption of participants’ investment decisions).


                                                           60
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impractical but common.281 Plaintiffs dispute the second sentence of paragraph 46. The Cornell

Defendants’ belief that TIAA and Fidelity could not or would not explore recordkeeping each

other’s funds is untrue.



                                                  .282 Additionally, a presentation that Fidelity made to

the Cornell Defendants demonstrates that between 2009 and 2015 multiple institutions with

TIAA and Fidelity as recordkeepers consolidated to a single recordkeeping arrangement with

either TIAA or Fidelity.283 Plaintiffs dispute the third sentence of paragraph 46. Whether it

would be necessary for RPOC to map investments to consolidate to a single recordkeeper is not

material to whether the Cornell Defendants breached their fiduciary duties by failing to ensure

the fees charged to participants in the Plans were reasonable and retention of imprudent

investment options in the Plans. Additionally, the Cornell Defendants do not cite to any record

evidence to support this fact, so it is improper under Rule 56.1. Plaintiffs dispute the fourth

sentence of paragraph 46. The percentage of assets in Fidelity funds is not material to whether

the Cornell Defendants breached their fiduciary duties by failing to ensure the fees charged to

participants in the Plans were reasonable and retention of imprudent investment options in the

Plans. Plaintiffs dispute the fifth sentence of paragraph 46. In January 2012, CAPTRUST

advised the Cornell Defendants that consolidation results in the “best cost structure” for Plan



281
    Doc. 247-1, 2016 Fidelity Master Administrator Presentation ((CORNELL021851), at 9 (noting that Purdue,
Notre Dame, Vanderbilt, and California State University consolidated from a multiple recordkeeper arrangement
with TIAA and Fidelity to Fidelity and California Institute of Technology, University of Rochester and Colorado
consolidated from a multiple recordkeeper arraignment with TIAA and Fidelity to TIAA)
282
    Ex. P38, June 25, 2015 Email from P. Bursic to M. Opperman (CORNELL002493); P8, Bursic Dep.at 162:19-
165:18
283
    Doc. 247-1, 2016 Fidelity Master Administrator Presentation ((CORNELL021851), at 9 (noting that Purduent,
Notre Dame, Arizona, Vanderbilt, DePaul, and California State University consolidated from a multiple
recordkeeper arrangement with TIAA and Fidelity to Fidelity and California Institute of Technology and University
of Rochester consolidated from a multiple recordkeeper arraignment with TIAA and Fidelity to TIAA)


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participants.284 However, there does not appear to be any serious discussion balancing the cost

savings that the Plans could achieve from recordkeeping consolidation versus other interests at

that meeting or any meeting thereafter.285 Rather, RPOC “validated” the multi-vendor

arrangement, without any discussion of the scope of the fee reductions, when discussing

“Investment Menu Design.”286 Despite repeated requests from the vendors that they consider

consolidation to reduce fees,287 the Cornell Defendants never received a quote from TIAA or

Fidelity for consolidation.288 Despite attempts from CAPTRUST to discuss consolidation with

RPOC, benefits staff unilaterally decided to remove it from the agenda.289 The limited nature of

the Cornell Defendants’ consideration of consolidation is demonstrated by the lack of knowledge

of an RPOC founding committee member, Joanne DeStefano, who did not know if TIAA,

Fidelity or Vanguard could recordkeep other vendor’s funds.290

        47.        In making its decision to continue to retain both TIAA and Fidelity, RPOC also

recognized that there were different strengths and weaknesses associated with the two vendors


284
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 38.
285
    Doc. 248-8, Jan. 11, 2012 RPOC Meeting Minutes; Ex. P10, February 3, 2011 CURP Meeting Minutes
(CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8, January 11,
2012 RPOC Meeting Minutes (CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC Meeting Minutes
(CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November
19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes
(CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13,
December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4,
December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes
(CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December
16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes
(CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28,
2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes,
(CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017
RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes
(CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
286
    Doc. 248-9, July 2012 RPOC Meeting Minutes, at 3 (CAPTR_0047911).
287
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201) (“TIAA has been pushing us on this[sole
recordkeeper] for years”)
288
    Ex. P8, Bursic Tr.at 160:14-20.
289
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201)
290
    Ex. P45, DeStefano Dep. at 137:1-138:6


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and that different segments of the participant population had developed long-term relationships

with one vendor or the other.291 Accordingly, RPOC was justifiably concerned about the amount

of disruption associated with any attempt to consolidate assets. RPOC feared that consolidation

would have a negative effect on participants’ investment behavior and their willingness to

continue to contribute toward their retirement accounts.292

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 47. The Cornell

Defendants rely upon the declaration of CAPTRUST employee, Scott Matheson, to support this

fact, but Mr. Matheson’s declaration is not admissible because he was not properly disclosed as a

witness in either the Cornell Defendants’ or the CAPTRUST’s Rule 26(a)(1) disclosures.293

Moreover, Mr. Matheson’s testimony on the Cornell Defendant’s motives would be inadmissible

hearsay or speculation. Fed. R. of Evid. 801, 602. In January 2012, CAPTRUST advised the

Cornell Defendants that consolidation results in the “best cost structure” for Plan participants.294

However, there does not appear to be any serious discussion balancing the cost savings that the

Plans could achieve from recordkeeping consolidation versus other interests at that meeting or

any meeting thereafter.295 Rather, RPOC “validated” the multi-vendor arrangement, without any


291
    Doc. 248-3, Ex. 43, January 2012 RPOC Meeting Materials, at 15-16 (CAPTR_0009067) (noting that the three
vendors have “different approaches to investments, fee structures, investment platforms, and communication and
education philosophy”); Doc. 248-12, Ex. 48, Matheson Decl. ¶ 3 (describing RPOC decision with respect to
continuing to maintain two vendors).
292
    Doc. 248-12, Ex. 48, Matheson Decl. ¶ 3 (identifying factors affecting decision to retain two recordkeepers);
Doc. 250-18, Ex. 18, Opperman Dep. 86:18-89:7 (detailing the RPOC’s concern for participant choice and desire to
limit disruption of participants’ investment decisions).
293
    See Doc. 278.
294
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 38.
295
    Doc. 248-8, Jan. 11, 2012 RPOC Meeting Minutes; Doc 248-14, April 13, 2012 RPOC Meeting Minutes
(CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November
19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes
(CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13,
December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284)
); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014
RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598);
Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December 16, 2015 RPOC
Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes (CAPTR_0013568);


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discussion of the scope of the fee reductions, when discussing “Investment Menu Design.”296

Despite repeated requests from the vendors that they consider consolidation to reduce fees,297 the

Cornell Defendants never received a quote from TIAA or Fidelity for consolidation.298 Despite

attempts from CAPTRUST to discuss consolidation with RPOC, benefits staff unilaterally

decided to remove it from the agenda.299 The limited nature of the Cornell Defendants’

consideration of consolidation is demonstrated by the lack of knowledge of an RPOC founding

committee member, Joanne DeStefano, who did not know if TIAA, Fidelity or Vanguard could

recordkeep other vendor’s funds.300 Additionally, the Cornell Defendants’ belief that participants

in the Plans preferred a multiple recordkeeper arrangement with TIAA and Fidelity is not based

on fact but assumptions of RPOC. The Cornell Defendants admitted that they were not aware of

any fact that actually supported their assumption that participants would be dissatisfied with

recordkeeper consolidation, preferred any vendor, or would not be satisfied with a similar low

cost investments on another platform.301 Additionally, the Cornell Defendants’ experience with

recordkeeper consolidation at the Weill Cornell Plans has not resulted in any dissatisfaction

among participants in those plans.302 While there is no evidence that participants preferred a

multi-vendor arrangement with TIAA and Fidelity, some participants (including most of

Cornell’s Economics department) did request a more efficient provider with a lower cost



Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting
Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex.
P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes
(CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December
11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
296
    Doc. 248-9, July 2012 RPOC Meeting Minutes, at 3 (CAPTR_0047911)
297
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201) (“TIAA has been pushing us on this[sole
recordkeeper] on us for years”)
298
    Ex. P8, Bursic Tr.at 160:14-20.
299
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201)
300
    Ex. P45, DeStefano Dep. at 137:1-138:6
301
    Ex. P9, Gallagher Dep. at 135:14-136:5
302
    Id. at 140:22-141:2.


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structure. For example, on September 21, 2013, Throne Professor of Economics, Karl Shell, sent

a memo to a number of RPOC members and members of a Faculty Advisory Committee to

RPOC.303 In that memo, Dr. Shell writes that “Cornell Ithaca should consider adding the

Vanguard platform, even if this requires dropping one or both of the existing platforms . . .

Vanguard provides the lowest-cost index funds. Index funds provide the most efficient

diversification of risk. Because of the miracle of compound interest, even very small difference

in fees matter a lot over time. Vanguard provides excellent service.”304 Mr. Shell also offered an

informal poll of “the greater economic community at Cornell” where every respondent preferred

Vanguard and one stated “‘Hire Vanguard, fire the other two’.”305 Plaintiffs dispute the second

sentence of paragraph 47. The Cornell Defendants fail to cite any record evidence in support of

this fact, so it is improper under Rule 56.1. Additionally, Plaintiffs incorporate their response to

the first sentence of paragraph 47 in their response to the second sentence. Plaintiffs dispute the

third sentence of paragraph 47. The Cornell Defendants rely upon the declaration of CAPTRUST

employee, Scott Matheson, to support this fact, but Mr. Matheson’s declaration is not admissible

because he was not properly disclosed as a witness in either the Cornell Defendants’ or the

CAPTRUST’s Rule 26(a)(1) disclosures.306 Additionally, any testimony from Mr. Matheson on

the Cornell Defendants’ motives would be inadmissible hearsay or speculation. Fed. R. of Evid.

801, 602. Additionally, Plaintiffs incorporate their response to the first sentence of paragraph 47

in their response to the third sentence.




303
    Ex. P55, September 21, 2013 Memorandum from Karl Shell regarding “Notes for the 23 September 2013
meeting of the RPOC advisory committee” (CORNELL016400).
304
    Id.
305
    Id.
306
    See Doc. 278


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        48.         Notwithstanding the thorough decision-making process outlined above, the

RPOC did not write-off the possibility of consolidating recordkeepers. In 2016, the Benefits

Services revisited the issue of consolidating recordkeepers or otherwise simplifying Cornell’s

administrative environment. CAPTRUST worked with TIAA and Fidelity to evaluate

alternatives, including each recordkeepers’ “master” recordkeeper services.307 However,

Benefits Services again concluded that consolidating vendors on the Ithaca campus was not in

the participants’ best interests.

        RESPONSE: Plaintiffs dispute the first and second sentences of paragraph 48. The

Cornell Defendants fail to cite to any record evidence to support these facts, so they are improper

under Rule 56.1. There is no evidence of any discussion of consolidating recordkeepers by

RPOC after 2012.308 Despite attempts from CAPTRUST to discuss consolidation with the

RPOC, Benefits Services unilaterally decided to remove it from the agenda.309 Plaintiffs do not

dispute the third sentence of paragraph 48. CAPTRUST attempted to get recordkeeper

consolidation and master recordkeeping services on RPOC’s agenda multiple times,310 but

ultimately the RPOC never considered it after 2012.311 The Plaintiffs dispute the fourth sentence


307
    Doc. 247-2, Ex. 32, March 3, 2016 Email Regarding Master Administrator/Multivendor Coordinator Discussion
(CAPTR_0005385).
308
    Ex. P12, July 31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC
Meeting Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex.
P14, March 21, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting
Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586);
Ex. P16, June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting
Minutes (CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-
9, March 31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes
(CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10,
December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes
(CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27,
2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes
(CAPTR_0015281).
309
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201).
310
    Id.; Doc. 247-2, March 3, 2016 Email from Jim Strodel, (CAPTR_0005385).
311
    Ex. P12, July 31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC
Meeting Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex.
P14, March 21, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting


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of paragraph 48. The Cornell Defendants cite to no record evidence to support this fact, so it is

improper under Rule 56.1.

       49.        While RPOC decided it was not practical to attempt to consolidate

recordkeepers, it nevertheless took steps to reduce the recordkeeping fees charged by the two

incumbent vendors. Through these efforts, the fees charged by TIAA and Fidelity fell

significantly over the time period at issue and at all times were within the range of reasonable

fees paid by Cornell’s peers for their similarly sized plans.

       RESPONSE: Plaintiffs dispute paragraph 49. The Cornell Defendants fail to cite any

record evidence to support these facts, so they are improper under Rule 56.1. In January 2012,

CAPTRUST advised the Cornell Defendants that consolidation results in the “best cost

structure” for Plan participants.312 However, there does not appear to be any serious discussion

balancing the cost savings that the Plans could achieve from recordkeeping consolidation versus

other interests at that meeting or any meeting thereafter.313 Rather, RPOC “validated” the multi-




Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586);
Ex. P16, June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting
Minutes (CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-
9, March 31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes
(CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10,
December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes
(CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27,
2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes
(CAPTR_0015281).
312
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 38.
313
    Doc. 248-8, Jan. 11, 2012 RPOC Meeting Minutes; Doc 248-14, April 13, 2012 RPOC Meeting Minutes
(CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November
19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes
(CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13,
December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4,
December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes
(CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December
16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes
(CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28,
2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes,
(CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017


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vendor arrangement, without any discussion of the scope of the fees reductions, when discussing

“Investment Menu Design.”314 Despite repeated requests from the vendors that they consider

consolidation to reduce fees,315 The Cornell Defendants never received a quote from TIAA or

Fidelity for consolidation.316 Despite attempts from CAPTRUST to discuss consolidation with

RPOC, benefits staff unilaterally decided to remove it from the agenda.317 The limited nature of

the Cornell Defendants’ consideration of consolidation is demonstrated by the lack of knowledge

of the RPOC committee members. For example, founding committee member, Joanne

DeStefano, did not know if TIAA, Fidelity or Vanguard could recordkeep other vendor’s

funds.318 Additionally, the Cornell Defendants belief that participants in the Plans preferred a

multiple recordkeeper arrangement with TIAA and Fidelity is not based on fact but assumptions

of RPOC. The Cornell Defendants admitted that they were not aware of any fact that actually

supported their assumption that participants would be dissatisfied with recordkeeper

consolidation, preferred any vendor, or would not be satisfied with similar low cost investments

on another platform.319 Additionally, the Cornell Defendants experience with recordkeeper

consolidation at the Weill Cornell Plans has not resulted in any dissatisfaction among

participants in those plans.320 While there is no evidence that participants preferred a multi-

vendor arrangement with TIAA and Fidelity, some participants (including most of Cornell’s

Economics department) did request a more efficient provider with a lower cost structure. For




RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes
(CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
314
    Doc. 248-9, July 2012 RPOC Meeting Minutes, at 3 (CAPTR_0047911).
315
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201) (“TIAA has been pushing us on this[sole
recordkeeper] on us for years”)
316
    Ex. P8, Bursic Tr.at 160:14-20.
317
    Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201)
318
    Ex. P45, DeStefano Dep. at 137:1-138:6
319
    Ex. P9, Gallagher Dep. at 135:14-136:5
320
    Id. at 140;22-141:2.


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example, on September 21, 2013, Throne Professor of Economics, Karl Shell, sent a memo to a

number of RPOC members and members of a Faculty Advisory Committee to RPOC.321 In that

memo, Dr. Shell writes that “Cornell Ithaca should consider adding the Vanguard platform, even

if this requires dropping one or both of the existing platforms . . . Vanguard provides the lowest-

cost index funds. Index funds provide the most efficient diversification of risk. Because of the

miracle of compound interest, even very small difference in fees matter a lot over time.

Vanguard provides excellent service.”322 Mr. Shell also offered an informal poll of “the greater

economic community at Cornell” where every respondent preferred Vanguard and one stated

“‘Hire Vanguard, fire the other two’.”323

         50.         Between the first and second meetings attended by CAPTRUST, they

renegotiated the recordkeeping fees with both TIAA and Fidelity and obtained significant fee

reductions.324 Upon re-negotiation, TIAA reduced its fees from 20 basis points (bps)325 to 15 bps

and Fidelity reduced their fees from 21 bps to 11 bps.326 According to CAPTRUST, these fee

reductions represented cost savings of $1.5 million per year going forward.327 In addition to

these substantial savings going forward, CAPTRUST convinced TIAA and Fidelity to refund

over $1.2 million in fees paid the prior year,328 thereby reducing the effective fee charged by

TIAA and Fidelity for 2011 to 15 bps and 16 bps, respectively.329


321
    Ex. P55, September 21, 2013 Memorandum from Karl Shell regarding “Notes for the 23 September 2013
meeting of the RPOC advisory committee” (CORNELL016400).
322
    Id.
323
    Id.
324
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials, at 6-8 (CORNELL022014) (discussing results of fee
renegotiations).
325
    One basis point is 0.01%.
326
    Doc. 248-14, Ex. 50, April 2012 RPOC Meeting Minutes, at 2 (CORNELL028891).
327
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials, at 14-15 (CORNELL022014) (noting savings going
forward of $913,533 and $579,000 for TIAA and Fidelity, respectively).
328
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials, at 14-15 (CORNELL022014) (noting one time
revenue credits).
329
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 76 & SJ Exhibit Page 105-110 (calculating 2011 effective fee rate for Fidelity
of 16 bps and TIAA of 15 bps).


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         RESPONSE: Plaintiffs dispute the first sentence of paragraph 50. Rather than engaging

in back and forth negotiations with the recordkeepers to bargain for a reasonable price for the

services requested, CAPTURST merely periodically requested a new price quote from the

recordkeeper and always accepted the first price offered.330




                                     .331 Plaintiffs dispute the second sentence of paragraph 50.

Plaintiffs do not dispute that the asset-based fees the Plans paid were reduced as described.

Plaintiffs dispute that this was a result of negotiations and incorporate their response to the first

sentence of paragraph 50. Plaintiffs dispute the third sentence of paragraph 50. The document

cited by the Cornell Defendants actually demonstrates that the fee savings going forward were

projected to be $913,533 for TIAA and $579,000 from Fidelity based on December 31, 2011

asset levels. In fact, due to asset growth and other factors, the total recordkeeping and

administrative fees the Plans paid only reduced $142,617 for Fidelity.332 The total recordkeeping

fees the Plans paid TIAA actually decreased $1,398,637, which included $918,675 retroactive

rebate for 2011 mentioned in the CAPTRUST presentation.333 Taking out the $918,675

retroactive rebates for 2011, the TIAA recordkeeping and administrative fees only decreased

$479,962 between 2011 and 2012 due to increases of assets and other factors.334 Plaintiffs


330
    Ex. P23, Strodel Dep., at 230:23-231:7
331
    Ex. P56, Weber Dep., at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep., at 43:19-44:6, 52:1-
7, 71:24-72:6, 171:20-173:20.
332
    Doc. 248-13, April 13, 2012 Meeting Materials Presentation (CORNELL022014), at 13-14; Doc. 246-4, Poehler
Report, at 106 (calculating the total recordkeeping and administrative fees paid to Fidelity to be $934,780 and total
for 2012 to be $792,163)
333
    Doc. 246-4, Poehler Report, at 105 (calculating the total recordkeeping fees CURP paid TIAA in 2011 to be
2,285,472 and total fees the TDA Plan paid TIAA in 2011 to be $1,2121,392 while the total fees CURP paid TIAA
in 2012 to be $1,373,875 and the total fees the TDA Plan paid TIAA to be $725,352).
334
    Doc. 248-13, April 13, 2012 Meeting Materials Presentation (CORNELL022014), at 13-14; Ex. P58, Otto
Recordkeeping Damage Analysis (calculating the total recordkeeping fees CURP paid TIAA in 2011 to be


                                                         70
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dispute the fourth sentence of paragraph 4. So for the reasons stated in its response to the first

sentence, the retroactive rebates were not the result of negotiations. Plaintiffs do not dispute the

amounts of the retroactive rebates. Plaintiffs dispute that “the effective fee charged by TIAA and

Fidelity for 2011 [was reduced] to 15 bps and 16 bps, respectively.” Even the Cornell

Defendants’ experts’ analysis demonstrates that participants in the Plans paid an actual rate of 20

bps to TIAA and 16 bps to Fidelity in 2011.335 Even if they were given retroactive rebates,

participants in the Plans lost investment gains from 2011 until 2012 on the excess fees paid in

2011.

        51.          In the years following the initial renegotiation of the recordkeeping fees in

early-2012 described above, CAPTRUST and RPOC would renegotiate the recordkeeping fees

charged by TIAA and Fidelity approximately every 2 years.336 Specifically, RPOC renegotiated

the TIAA fees in June 2012, April 2014, April 2016, and January 2018; RPOC renegotiated

Fidelity fees in June 2012, August 2015, August 2017, and January 2018337 The fee negotiations

and the associated fee reductions were as follows:338

           Year                            TIAA Fee                                 Fidelity Fee
           2010                             20.8 bps                                  19.8 bps
                                      $155 per participant                       $82 per participant
            2011                             15 bps                                   16.1 bps
                                      $152 per participant                       $66 per participant
            2012                             15 bps                                    11 bps
                                       $91 per participant                       $55 per participant
            2013                             15 bps                                    11 bps
                                      $128 per participant                       $73 per participant

2,285,472 and total fees the TDA Plan paid TIAA in 2011 to be $1,2121,392 while the total fees CURP paid TIAA
in 2012 to be $1,373,875 and the total fees the TDA Plan paid TIAA to be $725,352); Doc. 246-4, Ex. 23, Poehler
Report, at 108.
335
    Doc. 246-4, Poehler Report, at 105
336
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 82 (identifying fee reductions).
337
    Doc. 246-5, Ex. 24, TIAA/Cornell Recordkeeping Agreement and amendments (see Amendment 5, Amendment
6, Amendment 10, and Amendment 14); Ex. 25, Fidelity/Cornell Recordkeeping Agreement and amendments (see
Amendment 1, Amendment 3, Amendment 4, and Amendment 5).
338
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 82 (citing Poehler Rpt. SJ Exhibit Page 105 (TIAA Fee Analysis), SJ Exhibit
Page 108 (Fidelity Fee Analysis)).


                                                        71
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            2014                             13 bps                                      11 bps
                                       $136 per participant                         $77 per participant
            2015                             10 bps                                       8 bps
                                        $83 per participant                         $40 per participant
            2016                             10 bps                                       8 bps
                                        $95 per participant                         $43 per participant
            2017                             10 bps                                       8 bps
                                        $97 per participant                         $49 per participant
            2018                             5.7 bps                                      6 bps
                                        $59 per participant                         $38 per participant

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 51. RPOC was not

involved in fee negotiations and the Cornell Defendants deferred entirely to CAPTRUST to

monitor and negotiate the Plans’ recordkeeping fees with little to no oversight. For example,

multiple members of RPOC testified that RPOC did not ever review any benchmarking

CAPTRUST conducted regarding the Plans’ recordkeeping and administrative fees or participate

in or monitor their negotiations with TIAA or Fidelity.339 Rather, the Cornell Defendants relied

entirely upon CAPTRUST to “to do their professional job” and CAPTRUST’s “strong

assurances that this is a good deal.”340 Bursic went as far as testifying, “I don't think anyone on

RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions,

really knows how CAPTRUST is conducting those negotiations and what the terms are of the

agreements that they draw up . . .”341 Rather than engaging in back and forth negotiations with

the recordkeepers to bargain for a reasonable price for the services requested, CAPTRUST

merely periodically requested a new price quote from the recordkeeper and always accepted the


339
    Ex. P8, Bursic Dep., at 52:16‒54:13; see also Ex. P9, Gallagher Dep., at 62:11-63:15; Ex. P45, DeStefano Dep.,
at 129:16-21, 131:4-14; Ex. P46, Edwards Dep. at 107:14-109:6; Ex. P47, Schwartz Dep. at 78:8-80:12; Ex. P48,
Prasad Dep., at 67:22-68:16.
340
    Ex. P8, Bursic Dep., at 52:16‒54:13
341
    Ex. P8, Bursic Tr.at 119:1-13 (“Q. Okay. So you don't know if there's a cap on the fees within the TIAA plan? A.
Right. Q. Has RPOC ever discussed a fee structure like that with a cap, with a set dollar cap? A. I don't think anyone
on RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions, really knows
how CAPTRUST is conducting those negotiations and what the terms are of the agreements that they draw up,
whether or not they include what you've just questioned about a cap on one particular activity that TIAA does, a cap
on the cost, that is, of that activity.”)


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first price offered.342



                                                                             .343 Plaintiffs dispute the

second sentence of paragraph 51. While Plaintiffs do not dispute that amendments to the

recordkeeping agreements were executed on the listed dates, for the reasons stated in their

response to the first sentence, the Plaintiffs dispute that those amendments were the result of true

negotiations or that RPOC played any role in those negotiations. Plaintiffs dispute the third

sentence of paragraph 3. First, the numbers in the table are inconsistent with the sole document

that the Cornell Defendants cite to support this sentence. For example, Mr. Poehler calculated

TIAA’s asset based charge to be 20 bps in 2011 and not 15 bps.344 While Mr. Poehler lists the

negotiated rate as 15 bps in 2011, the Cornell Defendants admit in paragraph 50 that that rate

was not negotiated until 2012. Similarly, many of the asset-based rate listed in the table are

inconsistent with what Mr. Poehler calculated the plans actually paid.345 Mr. Poehler’s numbers

are not per-participant fees but per-participant account fees.346 Finally, Mr. Poehler’s numbers

are not accurate because the data he relies upon from Mr. Otto’s report to determine the number

of participant accounts with balances includes active accounts and all terminated accounts for

TIAA and not just terminated accounts with balances.347 This inflates the participant count and

lowers the per-participant fees because accounts without balances would not be paying any




342
    Ex. P23, Strodel Dep., at 230:23-231:7
343
    Ex. P56, Weber Dep., at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep., at 43:19-44:6, 52:1-
7, 71:24-72:6, 171:20-173:20.
344
    Doc. 246-4, Poehler Report, at 105
345
    Id. at 105, 108
346
    Id.
347
    Ex. P21, Rebuttal Report of Al Otto ¶59.


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recordkeeping fees, which is why Mr. Otto relied upon only active account in his initial

analysis.348

        52.          All told, as a result of the above negotiations, Cornell and CAPTRUST

successfully lowered the recordkeeping fees paid by TIAA to 5.7 bps (71.5% lower than the fee

paid in 2010) and the fees paid by Fidelity to 6 bps (71% lower than the 2010 fee).349

        RESPONSE: Plaintiffs dispute paragraph 52. The Cornell Defendants rely upon the

declaration of CAPTRUST employee, Scott Matheson, to support this fact, but Mr. Matheson’s

declaration is not admissible because he was not properly disclosed as a witness in either the

Cornell Defendants’ or the CAPTRUST’s Rule 26(a)(1) disclosures.350 Additionally, the

decrease in the basis point rate participants in the Plans paid for recordkeeping and

administrative fees is not material to determining whether the Cornell Defendants breached their

fiduciary duties by failing to ensure the fees participants in the Plans paid were reasonable or by

retaining imprudent investment options. The Cornell Defendants’ expert, Mr. Poehler, advised

plan sponsors that “[h]ard dollar fees do not generally increase at the same rate as asset based

fees since they are not tied to the growth in the market value of the plan’s investments.” As even

the inaccurate calculations of Mr. Poehler demonstrate, the growth in the market value in the

Plans’ assets often increased more than the fees were reduced, so Plan participants actually paid

higher per-participant fees than before the reduction.351 The chart below shows the

recordkeeping and administrative fees did not consistently go down over time as the Cornell




348
    Id.
349
    Doc. 238-2, Ex. 51, Strodel Decl. ¶ 10; Doc. 248-12, Ex. 48, Matheson Decl. ¶ 5.
350
    See Doc. 278.
351
    Doc. 246-4, Poehler Report, at 105, 108.


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Defendants suggest when they are viewed on an actual dollar per participant paid rather than a

basis point:352

                                                         Total Per Participant Fees

                $250

                           $214     $217 
                                                                        $199 
                $200                                        $189 



                                                                                                      $145    $147 
                $150                                                                          $141 
                                                 $131 
                                                                                      $123 
      Dollars per 




                           $121 
                $100                                                    $112 
                                                            $107 
                                    $99 
                                                                                                              $93 
                                                 $80 
                                                                                                      $72 
                     $50                                                                      $63 
                                                                                  $58 



                      $0
                           2010     2011        2012        2013        2014      2015        2016    2017    2018
                                                                   Plan Year
                     TIAA Total      Fidelity Total


                      53.          CAPTRUST and Cornell’s success in renegotiating the was attributable to

industry-wide changes, competitive pressures, and the industry-wide introduction of “revenue

credit accounts.”353 In particular, revenue credit accounts introduced by TIAA and Fidelity in

2011 provided recordkeepers a means by which they could effectively reduce the administrative

expenses paid by participants by refunding some portion of those expenses back to participants



352
   Ex. P21, Rebuttal Report of Al Otto ¶51.
353
   Doc. 248-1, Ex. 41, Bursic Tr.37:15-39:3 (explaining pressure exerted by higher education clients and
consultants in 2010-2011); Doc. 238-3, Ex. 52, Schmitt Dep. 150:2-22 (“[T]his is the time (2012) where TIAA was
becoming more plan level fee driven. In the past, you had socialized pricing. So whether you were Cornell or you
were Wake Medical Community College locally, you had the same fee structure. It was socialized pricing.”); Doc.
250-16, Ex. 16, Bursic Decl. ¶ 6; Doc. 249-24, Ex. 112, TIAA Decl. ¶ 17.


                                                                      75
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after they were collected by the fund manager and paid to the plans’ recordkeeper. Revenue

credit accounts were not common among 403(b) plans prior to 2011 and Cornell’s early adoption

and effective use of revenue credits was industry leading.354

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 53. Cornell was not

involved in fee negotiations, and the Cornell Defendants deferred entirely to CAPTRUST to

monitor and negotiate the Plans’ recordkeeping fees with little to no oversight. For example,

multiple members of RPOC testified that RPOC did not ever review any benchmarking

CAPTRUST conducted regarding the Plans’ recordkeeping and administrative fees or participate

in or monitor their negotiations with TIAA or Fidelity.355 Rather, the Cornell Defendants relied

entirely upon CAPTRUST to “to do their professional job” and CAPTRUST’s “strong

assurances that this is a good deal.”356 Mr. Bursic went as far as testifying, “I don't think anyone

on RPOC, including me, but I may be wrong. You may find out otherwise in your other

depositions, really knows how CAPTRUST is conducting those negotiations and what the terms

are of the agreements that they draw up . . .”357 Rather than engaging in back and forth

negotiations with the recordkeepers to bargain for a reasonable price for the services requested,

CAPTURST merely periodically requested a new price quote from the recordkeeper and always




354
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 75 (citing Ex. 53, Deloitte 2015 Annual Defined Contribution Benchmarking
Survey, at 46 (noting that as of 2012 only 28% of plan sponsors had established revenue credit accounts to recover
excess revenue)); Doc. 250-16, Ex. 16, Bursic Decl. ¶ 7; Doc. 249-24, Ex. 112, TIAA Decl. ¶ 17 (noting that just
eight of TIAA’s 15,000 clients had revenue credit accounts prior to December 31, 2010).
355
    Ex. P8, Bursic Dep., at 52:16‒54:13; see also Ex. P9, Gallagher Dep., at 62:11-63:15; Ex. P45, DeStefano Dep.,
at 129:16-21, 131:4-14; Ex. P46, Edwards Dep. at 107:14-109:6; Ex. P47, Schwartz Dep. at 78:8-80:12; Ex. P48,
Prasad Dep., at 67:22-68:16.
356
    Ex. P8, Bursic Dep., at 52:16‒54:13
357
    Ex. P8, Bursic Tr.at 119:1-13 (“Q. Okay. So you don't know if there's a cap on the fees within the TIAA plan? A.
Right. Q. Has RPOC ever discussed a fee structure like that with a cap, with a set dollar cap? A. I don't think anyone
on RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions, really knows
how CAPTRUST is conducting those negotiations and what the terms are of the agreements that they draw up,
whether or not they include what you've just questioned about a cap on one particular activity that TIAA does, a cap
on the cost, that is, of that activity.”)


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accepted the first price offered.358



                                                                                                       .359

Plaintiffs do not dispute that the competitive environment of the recordkeeping business has led

to large decreases of fees not only from 2010 to present but over the last 15 years.360 Plaintiffs

dispute the second sentence of paragraph 53. The Cornell Defendants cite no record evidence to

support this fact, so it is improper under Rule 56.1. Revenue credit accounts were not added to

the recordkeeping and administrative agreements for the Plans until 2012.361 TIAA and Fidelity

offered revenue credit to their accounts prior to 2011.362 The practice of offering revenue credit

accounts has been common in the industry since at least 2007.363 Plaintiffs dispute the third

sentence of paragraph 53. The practice of offering revenue credit accounts has been well known

in the industry since at least 2007.364 In 2007, the ERISA Advisory Council’s Working Group on

Fiduciary Responsibilities and Revenue Sharing Practices advised the Secretary of Labor that

“there appears to be nothing in ERISA that prevents a plan fiduciary from negotiating with a

service provider for the return to the plan of any revenue sharing payments that the provider may




358
    Ex. P23, Strodel Dep., at 230:23-231:7
359
    Ex. P56, Weber Dep., at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep., at 43:19-44:6, 52:1-
52:7, 71:24-72:6, 171:20-173:20.
360
    Doc. 249-19, Expert Report of Al Otto ¶19.
361
    Doc, 246-5, TIAA Recordkeeping Agreements (Part 1), at 38-39 (Amendment 5 dated June 2012 and creating a
revenue credit account); Doc. 246-07, Fidelity Custodial Account Agreements, at 68-70 (First Amendment dated
June 2012 and creating a revenue credit account).
362
    Doc. 249-24, Declaration of Douglass Chittenden ¶17 (
              ).
363
    Doc. 249-19, Expert Report of Al Otto ¶¶44-46; Ex. P59, Department of Labor, Advisory Council Report of the
Working Group on Fiduciary Responsibilities and Revenue Sharing Practices
(2007), https://www.dol.gov/agencies/ebsa/about-ebsa/about-us/erisa-advisory-council/fiduciary-responsibilitiesand-
revenue-sharing-practices.
364
    Doc. 249-19, Expert Report of Al Otto ¶¶44-46; Ex. P59, Department of Labor, Advisory Council Report of the
Working Group on Fiduciary Responsibilities and Revenue Sharing Practices
(2007), https://www.dol.gov/agencies/ebsa/about-ebsa/about-us/erisa-advisory-council/fiduciary-responsibilitiesand-
revenue-sharing-practices.


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receive.”365 In that same ERISA Advisory Council’s Working Group on Fiduciary

Responsibilities and Revenue Sharing Practices numerous prominent experts on recordkeeping

and administrative fees testified that revenue credit accounts were common prior to 2007.366

         54.         Not only were fees renegotiated frequently, but the agreements and fee

reductions were the result of thorough, arms-length bargaining.367 In assessing the ongoing

reasonableness of fees, the opportunities for fee reductions, and the strength of TIAA’s or

Fidelity’s fee proposals, CAPTRUST compared Cornell’s fees against those paid by other higher

education clients, evaluated the fees in light of market trends and changes in provider pricing

models, and used its proprietary database of administrative expense information to benchmark

Plans’ administrative costs against comparable plans.368 As CAPTRUST’s benchmarking

database has grown between 2012 and the present, its ability to assess the reasonableness of fees

by way of comparison to a greater variety of comparable plans has improved. These more recent

comparisons establish that Cornell’s fees are not only reasonable, but are in fact below average

for plans of similar size and with similar features.369




365
    Id.
366
    Id.
367
    Doc. 238-3, Ex. 52, Schmitt Dep. 150:23-151:18 (explaining that the negotiation process was “driven” by
CAPTRUST, not TIAA).
368
    Doc. 248-12, Ex. 48, Matheson Decl. ¶¶ 5-6; Doc. 238-3, Ex. 52, Schmitt Dep. 108:23-110:7 (discussing fee
analysis approach), 153:15-23 (discussing benchmarking), 154:23-155:7 (discussing counteroffers and efforts to
obtain further reductions), 159:24-160:6 (discussing the “normal course” of comparing TIAA fee proposals to
benchmark data); Doc. 247-6, Ex. 36, Strodel Dep. 114:12-22 (discussing “ongoing negotiations” with Fidelity and
“drumbeat towards reducing fees whenever we can” that resulted in additional fee concessions), 224:2-16 (“[W]e
have a database of CAPTRUST clients that contains their recordkeeping fees, and it’s a dynamic database that we
build out over time, and we compare what the prices are versus what our database suggest they could be.”); Doc.
238-5, Ex. 54, 2017 Vendor Fee Benchmarking Presentation, at 19 (CAPTR_0046963) (“CAPTRUST maintains
expense data in a central proprietary database for evaluating administrative fees, derived from over 1,300
institutional client relationships which spread across an extensive range of retirement plan service providers.”); Doc.
248-13, Ex 49, April 2012 RPOC Meeting Materials, at 23-25 (discussing fee analysis and benchmarking database)
(CORNELL022014).
369
    Doc. 248-12, Ex. 48, Matheson Decl. ¶ 6 (“The fees implemented in 2015 at both Fidelity and TIAA were in the
best 5% (i.e. among the lowest price) of all CAPTRUST university clients for which our centralized team had
current pricing information.”); Doc. 247-6, Ex. 36, Strodel Dep. 224:2-226:14 (discussing expansion of database).


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        RESPONSE: Plaintiffs dispute the first sentence of paragraph 54. Rather than engaging

in back and forth negotiations with the recordkeepers to bargain for a reasonable price for the

services requested, CAPTURST merely periodically requested a new price quote from the

recordkeeper and always accepted the first price offered.370




                                    .371 Plaintiffs dispute the second sentence of paragraph 54. The

Cornell Defendants rely upon the declaration of CAPTRUST employee, Scott Matheson, to

support this fact, but Mr. Matheson’s declaration is not admissible because he was not properly

disclosed as a witness in either the Cornell Defendants’ or the CAPTRUST’s Rule 26(a)(1)

disclosures.372 CAPTRUST Senior Vice President James Strodel only recalled conducting a

benchmarking to the fees paid by other CAPTRUST clients in 2012.373 CAPTRUST Senior Vice

President Barron Schmitt did not recall benchmarking of TIAA’s fees when TIAA offered new

prices in 2012, 2014, or 2017.374 The only fee benchmarking that Schmitt recalled was after this

lawsuit, but he could not recall how Cornell’s fees compared to the 10 to 20 similar CAPTRUST

clients.375 Schmitt had no recollection of ever benchmarking the fees the Plans paid to Fidelity

after 2012.376 Any benchmarking conducted in 2012 consisted only of a “fairly limited” set of

“maybe” five comparable clients.377 Additionally, Schmitt admitted that any benchmarking

would have only compared the fees the Plans paid to TIAA to fees paid to TIAA by other


370
    Ex. P23, Strodel Dep., at 230:23-231:7
371
    Ex. P56, Weber Dep., at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep., at 43:19-44:6, 52:1-
52:7, 71:24-72:6, 171:20-173:20.
372
    See Doc. 278.
373
    Ex. P23, Strodel Dep., at 223:12-16.
374
    Ex. P59, Schmitt Dep. at 156:13-157:5, 157:19-158:1, 159:12-160:11, 162:22-163:10, 166:14-167:3.
375
    Id. at 169:21‒170:4.
376
    Id. at 176:22‒178:24.
377
    Ex. P23, Strodel Dep. at 223:13-227:10.


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CAPTRUST clients and the fees the Plans paid to Fidelity to what other clients paid Fidelity.378

CAPTRUST made no comparison to what prices other vendors were charging similar plans.379

Plaintiffs dispute the third sentence of paragraph 54. To the extent that the Cornell Defendants

are citing to the portions to Mr. Strodel’s deposition cited in support of the fourth sentence,

Plaintiffs do not dispute that Mr. Strodel testified that there were “maybe” 5 comparable plans to

the Plans in CAPTRUST’s database in 2012 and it later became more “robust.”380 The Cornell

Defendants cite to no record evidence to support this fact, so it is improper under Rule 56.1.

Plaintiffs dispute the fourth sentence of paragraph 54. The Cornell Defendants rely primarily on

the declaration of CAPTRUST employee Scott Matheson to support this fact. Mr. Matheson’s

declaration is not admissible because he was not properly disclosed as a witness in either the

Cornell Defendants’ or the CAPTRUST’s Rule 26(a)(1) disclosures.381

        55.          Relying on benchmark data is among the most common and effective means

for regularly assessing administrative fees. For example, a 2017 Callan survey found that among

those plan sponsors that performed a formal assessment of the administrative fees paid by their

plans, over half relied on a consulting database or benchmarking data similar to that maintained

by CAPTRUST. In assessing the reasonableness of Cornell’s fees, CAPTRUST determined that

a “request for proposals” to multiple recordkeepers would not provide useful market information

because the two incumbent recordkeepers (TIAA and Fidelity) were the only two recordkeepers

in the market capable of providing the services necessary.382




378
    Ex. P60, Schmitt Dep., at 179:12-21.
379
    Id.
380
    Ex. P23, Strodel Dep., at 223:13-227:10
381
    See Doc. 278.
382
    Doc. 248-12, Ex. 48, Matheson Decl. ¶ 3.


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        RESPONSE: Plaintiffs dispute the first two sentences of paragraph 55. The Cornell

Defendants do not cite to any record evidence to support these fact, so they are improper under

Rule 56.1. Conducting a request for proposal (RFP) every three to five years has been the

accepted industry practice to evaluate the reasonableness of recordkeeping fees for years. For

example,

                                           ”.383

                                              l.384 The principle that conducting an RFP every three

to five years is industry practice is similarly consistent with statements of the Department of

Labor. In 2010 proposed regulations, the Department of Labor specifically noted “plans normally

conduct requests for proposal (RFPs) from service providers at least once every three to five

years.”385 Similarly, periodically conducting an RFP or an RFI to evaluate the reasonableness of

recordkeeping fees was the Cornell Defendants’ expert, Poehler’s, practice when he advised

defined contribution plans on the reasonableness of the recordkeeping fees. Mr. Poehler testified

that the method he used to assess recordkeeping prior to the mid-2000s was to conduct an

RFP.386 In the mid-2000s, Mr. Poehler began using requests for information (RFIs) to evaluate

the reasonableness of recordkeeping fees.387 Mr. Poehler never used database benchmarking, like

what CAPTRUST conducted for Cornell, during his time advising clients.388 Mr. Poehler and his

colleagues at Mercer used RFIs because their clients were “larger, more complicated plans, so

the feeling was to get quotes that were as close as possible to the specific services that were

needed for that plan, that an RFI process gave the client the information they needed to


383
    Ex. P61, Cammack LaRhette RFP Response (CORNELL006753) at 766.
384
    Ex. P62, Segal Advisors RFP Response (CORNELL006782), at 810-11.
385
    Ex. P63, Reasonable Contract or Arrangement Under Section 408(b)(2)—Fee Disclosure, 75 FR 41600, 41625
(July 16, 2010).
386
    Ex. P2, Poehler Tr., at 31:17‒32:5, 34:5-20,
387
    Ex. P2, Poehler Tr., at 38:23‒39:10.
388
    Id. at 39:16-19.


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determine whether or not the fees were still reasonable.”389 Mr. Poehler admitted that the

Cornell Plans were “large and complicated” that in practice he believed that an RFP or RFI was

necessary to give “the client the information they needed to determine whether or not the fees

were still reasonable.”390 Plaintiffs’ experts, Ty Minnich, who worked in providing

recordkeeping and administrative services for CitiStreet, MetLife and Transamerica for over

thirty years, and Al Otto, who advised fiduciaries or was a co-fiduciary for numerous plans

regarding recordkeeping fees for over 20 years, opined that standard industry practice is to

conduct an RFP for recordkeeping and administrative service every three to five years.391 In a

declaration in this case, a Fidelity executive testified that recordkeeping “pricing is often

determined through a blind bidding process.”392 Additionally, Plaintiffs dispute the third

sentence of paragraph 55. The Cornell Defendants rely entirely on the declaration of

CAPTRUST employee Scott Matheson to support this fact. Mr. Matheson’s declaration is not

admissible because he was not properly disclosed as a witness in either the Cornell Defendants’

or the CAPTRUST’s Rule 26(a)(1) disclosures.393 Additionally, as discussed in the response to

the first two sentences of paragraph 55, conducting periodic RFPs has been industry-accepted

practice for years.

        56.         Third and finally, where RPOC believed that the fee reductions proposed by

the recordkeepers did not represent their best-and-final offers or that the fees were higher than

those paid by Cornell’s peers, Benefits Services and RPOC met with the recordkeeper and




389
    Id. at 87:16‒88:3.
390
    Id. at 87:16‒88:6.
391
    Doc. 249-19, Expert Report of Al Otto, ¶27-34; Doc. 249-20, Expert Report of Ty Minnich ¶68.
392
    Doc. 271. Declaration of Scott Sensseney, ¶3.
393
    See Doc. 278.


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demanded either further reductions or explanations for what was driving the recordkeeping costs.

This occurred on at least two occasions: once in 2012 and again in 2016.

         RESPONSE: Plaintiffs dispute paragraph 56. The Cornell Defendants do not cite to any

record evidence to support these facts, so they are improper under Rule 56.1. Cornell was not

involved in fee negotiations, and Cornell Defendants deferred entirely to CAPTRUST to monitor

and negotiate the Plans’ recordkeeping fees with little to no oversight. For example, multiple

members of RPOC testified that RPOC never reviewed any benchmarking CAPTRUST

conducted regarding the Plans’ recordkeeping and administrative fees or participate in or monitor

their negotiations with TIAA or Fidelity.394 Rather, the Cornell Defendants relied entirely on

CAPTRUST “to do their professional job” and upon CAPTRUST’s “strong assurances that this

is a good deal.”395 Bursic went was far as testifying “I don't think anyone on RPOC, including

me, but I may be wrong. You may find out otherwise in your other depositions, really knows

how CAPTRUST is conducting those negotiations and what the terms are of the agreements that

they draw up . . .”396 Rather than engaging in back and forth negotiations with the recordkeepers

to bargain for a reasonable price for the services requested, CAPTRUST merely periodically

requested a new price quote from the recordkeeper and always accepted the first price offered.397




394
    Ex. P8, Bursic Dep., at 52:16‒54:13; see also Ex. P9, Gallagher Dep., at 62:11-63:15; Ex. P45, DeStefano Dep.,
at 129:16-21, 131:4-14; Ex. P46, Edwards Dep. at 107:14-109:6; Ex. P47, Schwartz Dep. at 78:8-80:12; Ex. P48,
Prasad Dep., at 67:22-68:16.
395
    Ex. P8, Bursic Dep., at 52:16‒54:13.
396
    Ex. P8, Bursic Tr.at 119:1-13 (“Q. Okay. So you don't know if there's a cap on the fees within the TIAA plan? A.
Right. Q. Has RPOC ever discussed a fee structure like that with a cap, with a set dollar cap? A. I don't think anyone
on RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions, really knows
how CAPTRUST is conducting those negotiations and what the terms are of the agreements that they draw up,
whether or not they include what you've just questioned about a cap on one particular activity that TIAA does, a cap
on the cost, that is, of that activity.”)
397
    Ex. P8, Strodel Dep., at 230:23-231:7


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                                                      .398

        57.         After receiving TIAA’s reduced fee offer in 2012, Cornell noted that the TIAA

fee charged to Cornell was higher than the fee charged to the Weill Cornell Medical Center,

whose plans are also governed by RPOC and are similar in size and number of participants.

Cornell requested that TIAA either lower its fees to match those offered to Weill or provide an

explanation for the different. Reflecting the different levels and types of services offered to each

of its clients, TIAA explained that Cornell’s higher fee was attributable to maintaining a premier

call center, offering onsite counseling to employees, and addressing Cornell employees who

participate in SUNY’s retirement plan, which added complexity.399 (Portions of Cornell are

affiliated with the SUNY system.)

        RESPONSE: Plaintiffs dispute the first and second sentences of paragraph 57. No record

evidence is cited in support of this fact, so they are improper under Rule 56.1. Plaintiffs do not

dispute the third sentence of paragraph 57 to the extent that TIAA attributed the difference

between the fees of Weill Cornell and Cornell to the “Premier Call Center,” “Onsite Counseling”

and “SUNY Relationship” as part of its “2013 Strategy.”400 Additionally, TIAA offered to

reduce its fees by 10% if Cornell agreed to “standardiz[ing] the call center across all Cornell-




398
    Ex. P56, Weber Dep., at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep., at 43:19-44:6, 52:1-
52:7, 71:24-72:6, 171:20-173:20.
399
    Doc. 238-7, Ex. 56, 2012 TIAA Revenue Requirement Executive Summary, at 2 (CORNELL024262) (noting
that explanatory memorandum was prepare “to ensure the revenue requirement for Cornell and Weill Cornell
Medical College is both reasonable and as low as possible under the current service model”); Doc. 238-8, Ex. 57,
TIAA Side-By-Side Comparison of Cornell/Weill Services (CORNELL021554).
400
    Doc. 238-7, Executive Summary - Cornell University and Weill Cornell Medical College
November Retirement Plan Oversight Committee Meeting (CORNELL021554) at 3


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sponsored plans and implementing the efficiencies we have identified.”401 The Cornell

Defendants do not appear to have acted upon this fee reduction offer.402

              58.   In 2016, Cornell requested a similar fee reduction or explanation after noting

      that TIAA’s fee offer to Cornell was higher than the fee charged to comparable CAPTRUST

      clients. TIAA provided a memorandum that explained that Cornell participants used certain

      high cost services far more than comparable universities.403 TIAA provided Cornell the

      following usage comparisons relative to five multi-vendor peer plans:

             Highest usage of TIAA Financial Consulting Group (FCG)

             Highest usage of TIAA IAS advisors (high net-worth advice)

             Highest number of plan participant seminars

             Highest cost for plan compliance/advisory services

             Highest number of lump sum transactions

             Highest number of manual systemic withdrawals

             Highest number of Minimum Distribution Option elections

             Second highest phone center costs

             Second highest number of custom communications

After reviewing these statistics and noting that Cornell’s participants were taking advantage of

the various service offerings provided by TIAA, RPOC decided to accept TIAA’s fee offer.404




401
    Id. at 4
402
    Doc. 232 ¶51 (admitting their required revenue rate until 2014 was 15 bps).
403
    Doc. 238-6, Ex. 55, January 2016 TIAA Revenue Requirement Executive Summary
(TIAA_CORNELL_00041890) (explaining that Cornell participants used many “high cost” TIAA services more
than peer institutions).
404
    Doc. 238-9, Ex. 58, March 2016 RPOC Meeting Minutes, at 5 (CAPTR_0013568) (noting agreement on lower
required revenue rate following “further negotiations” with TIAA).


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         RESPONSE: Plaintiffs dispute the first two sentences of paragraph 58. The Cornell

Defendants fail to cite any record evidence demonstrating that “Cornell requested” a fee

reduction in 2016 “or explanation after noting that TIAA’s fee offer to Cornell was higher than

the fee charged to comparable CAPTRUST clients.” The only source cited in support of this

sentence is a January 26, 2016 letter from TIAA providing that “[t]his summary was prepared for

Jim Strodel and Barry Schmitt of CAPTRUST to address their request and provide them with a

better understanding behind factors which influenced the revenue requirement of 10 basis points

for Cornell University and Weill Cornell Medical College.”405 Cornell was not involved in fee

negotiations, and Cornell Defendants deferred entirely to CAPTRUST to monitor and negotiate

the Plans’ recordkeeping fees with little to no oversight. For example, multiple members of

RPOC testified that RPOC never reviewed any benchmarking CAPTRUST conducted regarding

the Plans’ recordkeeping and administrative fees, nor participated in or monitored their

negotiations with TIAA or Fidelity.406 Rather, the Cornell Defendants relied entirely on

CAPTRUST to “to do their professional job” and upon CAPTRUST’s “strong assurances that

this is a good deal.”407 Bursic went as far as testifying “I don't think anyone on RPOC, including

me, but I may be wrong. You may find out otherwise in your other depositions, really knows

how CAPTRUST is conducting those negotiations and what the terms are of the agreements that

they draw up . . .”408 Rather than engaging in back and forth negotiations with the recordkeepers



405
    Doc. 238-6, Jan. 26, 2016 Letter from E. McKay. Re: Cornell University and Weill Cornell Medical College
Revenue Requirement (TIAA_CORNELL_00041890), at 2.
406
    Ex. P8, Bursic Dep., at 52:16‒54:13; see also Ex. P9, Gallagher Dep., at 62:11-63:15; Ex. P45, DeStefano Dep.,
at 129:16-21, 131:4-14; Ex. P46, Edwards Dep. at 107:14-109:6; Ex. P47, Schwartz Dep. at 78:8-80:12; Ex. P48,
Prasad Dep., at 67:22-68:16.
407
    Ex. P8, Bursic Dep., at 52:16‒54:13.
408
    Ex. P8, Bursic Tr.at 119:1-13 (“Q. Okay. So you don't know if there's a cap on the fees within the TIAA plan? A.
Right. Q. Has RPOC ever discussed a fee structure like that with a cap, with a set dollar cap? A. I don't think anyone
on RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions, really knows
how CAPTRUST is conducting those negotiations and what the terms are of the agreements that they draw up,


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to bargain for a reasonable price for the services requested, CAPTRUST merely requested a new

price quote from the recordkeeper periodically and always accepted the first price offered.409




                                                        .410 Additionally, the January 26, 2016 letter

merely notes that Cornell utilized certain services more than five multiple vendor clients with

similar assets and average balances hand-picked by TIAA.411 It does not relate that these services

were “high cost” as the Cornell Defendants characterize them or that Cornell utilizes these

services more than any client other than those five hand-picked by TIAA.412 Plaintiffs dispute the

third sentence of paragraph 58. The Plans’ usage of certain services compared to five plans hand-

picked by TIAA is not material to whether the Cornell Defendants breached their fiduciary duty

by failing to ensure the participants in the Plans paid reasonable fees or by retaining imprudent

investment options in the Plans. Plaintiffs dispute the fourth sentence of paragraph 58. Plaintiffs

do not dispute that RPOC accepted TIAA’s 10 bps revenue requirement at the March 31, 2016

RPOC meeting.413 However, the Cornell Defendants cite to no record evidence demonstrating

that RPOC reviewed, let alone considered, the January 2016 letter from TIAA. In fact, the

meeting materials for the March 31, 2016 RPOC meeting do not include the January 2016 letter

from TIAA or any discussion of the statistics therein.414




whether or not they include what you've just questioned about a cap on one particular activity that TIAA does, a cap
on the cost, that is, of that activity.”)
409
    Ex. P8, Strodel Dep., at 230:23-231:7.
410
    Ex. P56, Weber Dep. at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep. at 43:19-44:6, 52:1-
52:7, 71:24-72:6, 171:20-173:20.
411
    Doc. 238-6, Jan. 26, 2016 Letter from E. McKay. Re: Cornell University and Weill Cornell Medical College
Revenue Requirement (TIAA_CORNELL_00041890), at 2-3.
412
    Id.
413
    Doc. 238-9, March 31, 2016 RPOC Meeting Minutes, at 5 (CAPTR_0013568).
414
    Ex. P91, Mar. 31, 2016 RPOC Meeting Materials (CORNELL011359-361).


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             59.     In addition to the above steps taken to renegotiate Cornell’s fees and obtain

      revenue credits, Cornell also took steps to reduce the fees charged at the fund level (i.e. the

      gross expense ratio charged by investment managers for specific investments) by transitioning

      to lower-cost share classes when possible. Cornell’s actions in this regard began as early as

      2010 and included the following share class changes:

                   Date                                                 Change
                                                  Replace 29 Fidelity mutual funds with lower cost
                                                   Institutional K Share Class
          September 2010415
                                                  Replace all Fidelity Freedom Funds (Target Date
                                                   Funds) with lower cost Institutional K Share Class
                                                  Replace three Vanguard “Investor Class” index funds
           December 2010416                        with lower cost “Signal Class” funds on Fidelity
                                                   platform.
                                                  Replace Fidelity Bond Index Fund and Index Fund
              May 2011417
                                                   with Spartan Institutional Class Shares.
                                                  Replace Fidelity Spartan Total Market Index Fund
            October 2011418
                                                   “Investor Class” with “Institutional Class” shares.
                                                  Replaced all TIAA-CREF Lifecycle Funds (Target
                                                   Date Funds) with Institutional Class funds
                                                  Replaced all TIAA Mutual Funds with Institutional
                           419
           February 2012                           Class funds
                                                  Replaced two mutual fund options managed by third-
                                                   party American Funds with share classes without
                                                   revenue sharing
                                                  Replaced all CREF variable annuities with lowest cost
           December 2014420
                                                   “R3” class shares.

          RESPONSE: Plaintiffs dispute the first sentence of paragraph 59. The Cornell

Defendants do not cite to any record evidence to support this fact, so it is improper under Rule


415
    Doc. 238-10, Ex. 59, September 7, 2010 Email and Attachment Regarding Fidelity K Shares
(CORNELL021638).
416
    Doc. 239-1, Ex. 60, December 2010 Vanguard Signal Share Class Conversion Letter-of-Direction
(CORNELL021662).
417
    Doc. 239-2, Ex. 61, May 2011 Letter-of-Direction for Spartan Share Replacement (CORNELL025524).
418
    Doc. 239-3, Ex. 62, October 2011 Fidelity Letter of Direction for Spartan Fund Replacement
(CORNELL021736).
419
    Doc. 246-5, Ex. 24, TIAA/Cornell Recordkeeping Agreement and amendments, at 34-36 (adding “Institutional”
mutual funds), 46-47 (adding Institutional third-party funds), 62-65 (adding “R3” share class of variable annuities).
420
    Doc. 247-9, Ex. 39, 2014 CREF Multi-Class Structure Presentation, at 7 (CORNELL023649).


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56.1. In fact, the Cornell Defendants did not transition to the lowest-cost share classes that were

available. For example, TIAA offered institutional share classes for all its mutual funds as early

as February 2009.421 All defined contribution plans were eligible for institutional share classes if

they had over $2 million invested in the funds (certain defined contributions plans were eligible

for institutional shares without any threshold).422 The Plans had over $2 million of assets in

TIAA Lifecycle Funds on December 31, 2009 at the latest.423 Despite being unquestionably

eligible for institutional share classes of the TIAA Lifecycle funds, the Plans retained retirement

class shares of the TIAA Lifecycle funds at the end of 2009.424 The Cornell Defendants did not

adopt the lower cost institutional share classes for the TIAA mutual funds until February 22,




421
    Ex. P64, TIAA-CREF Funds, Lifecycle funds (Inst), Prospectus at pp. 719-20 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm). Ex.
P65, TIAA-CREF Funds, Money Market (Inst) fund (TCIXX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P66, TIAA-
CREF Funds, International Equity Index (Inst) fund (TCIEX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P67, TIAA-CREF Funds, Mid-Cap Value (Inst) fund (TIMVX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P68, TIAA-
CREF Funds, Growth & Income (Inst) fund (TIGRX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P69, TIAA-CREF Funds, International Equity (Inst) fund (TIIEX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P70, TIAA-
CREF Funds, Small-Cap Blend Index (Inst) fund (TISBX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P71, TIAA-CREF Funds, Short-Term Bond (Inst) fund (TISIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm). Ex. P72, TIAA-
CREF Funds, Large-Cap Value (Inst) fund (TRLIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009);
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P73, TIAA-CREF Funds, Equity Index (Inst) fund (TIEIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm
422
    See supra n. 424.
423
    Doc. 247-8, Ex. 38, December 31, 2009 TIAA CURP Investment Expense and Fee Disclosure
(TIAA_CORNELL_00011306), at 307.; Doc. 247-7, Ex. 37, Dec. 31, 2009 TIAA TDA Plan Investment Expenses
and Fee Disclosure (TIAA_CORNELL_00002094) at 095.
424
    Doc. 247-8, Ex. 38, December 31, 2009 TIAA CURP Investment Expense and Fee Disclosure
(TIAA_CORNELL_00011306), at 307.; Doc. 247-7, Ex. 37, Dec. 31, 2009 TIAA TDA Plan Investment Expenses
and Fee Disclosure (TIAA_CORNELL_00002094) at 095.


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2012.425 The failure to adopt the lower institutional share classes of the TIAA-CREF Lifecycle

funds alone caused $336,577 in damages to Plan participants between August 17, 2010, and

December 31, 2011.426 Plaintiffs dispute the second sentence of paragraph 59. The table of share

class changes offered by the Cornell Defendants in this sentence contains a number of

misstatements of fact. The Plans did not shift to K share classes of Fidelity Funds in September

2010, but rather Fidelity unilaterally offered to move 29 funds to K share classes effective

December 2010 in an email in September 2010.427 Institutional share classes were available to

the Plans with no minimum asset levels in many Fidelity funds prior to December 2010.428 The

document cited by Cornell Defendants to support that the R3 share classes of CREF variable

annuities were added to the Plans in December 2014 does not state that these share classes were

adopted in December 2014, but that “more information” would be provided in December 2014

and “the actual change will occur in the 2nd Quarter of 2015.”429 This is consistent with TIAA’s

own documents related to the share class change stating it took effect April 24, 2015.430


425
    Doc. 246-005, TIAA/ Recordkeeping Agreements, at 34-36 (adding “Institutional” mutual funds)
426
    Doc. 249-18, Expert Report of Wendy Dominguez, ¶123.
427
    Doc. 238-10, Sept. 7, 2010 email from P. Warner to P. Bursic and M. Zielnisk (CORNELL021638) (“We will be
making all K Share Funds available to Cornell University employees on 12/8/2010”)
428
    See, e.g., Ex. P74, Fid. Investments, Fid. Freedom K funds, Prospectus at p. 241 (485BPOS) (May 28, 2010)
(available at https://www.sec.gov/Archives/edgar/data/880195/000088019510000114/main.htm); Ex. P75, Fid.
Investments, Fid. Contrafund (K) (FCNKX), Prospectus at p. 133 (485BPOS) (Feb. 27, 2009) (available at
https://www.sec.gov/Archives/edgar/data/24238/000002423809000002/main.htm); Ex. P76, Fid. Investments, Fid.
Magellan (K) fund (FMGKX), Prospectus at p. 49 (485BPOS) (May 29, 2009) (available at
https://www.sec.gov/Archives/edgar/data/61397/000006139709000002/main.htm); Ex. P77, Fid. Investments, Fid.
Blue Chip Growth (K) fund (FBGKX), Prospectus at p. 361 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P78, Fid. Investments, Fid.
Growth & Income (K) fund (FGIKX), Prospectus at p. 385 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P79, Fid. Investments, Fid.
Dividend Growth (K) fund (FDGKX), Prospectus at p. 373 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P80, Fid. Investments, Fid.
OTC (K) fund (FOCKX), Prospectus at p. 408 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P81, Fid. Investments, Fid.
Leveraged Co. Stock (K) fund (FLCKX), Prospectus at p. 396 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm).
429
    Doc. 447-9 Oct. 24, 2014 Email for M. Zielinski to P. Bursic (CORNELL023646).
430
    Ex. P82, Frequently Asked Questions about the College Retirement Equities Fund (CREF) Multi-Class Structure,
TIAA, 2015, p. 1, available at, https://www.tiaa.org/public/pdf/intermediary_faq_crefrea.pdf.


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Moreover, as stated above many of these funds were eligible for share classes for years prior to

the Cornell Defendants adopting the lower share class for the Plans.

        60.          While this shift to lower-cost share classes began prior to the retention of

CAPTRUST and the negotiation of the revenue credit accounts, Cornell’s ability to reduce fees

through lower-cost share classes was limited because lower-cost share classes were only

available for some of the Plans’ investments prior to the negotiation of the revenue credits.431

Defendants that TIAA has never offered additional share classes for the TIAA Traditional

Annuity or the TIAA Real Estate Account and did not introduce lower cost shares for the CREF

Stock Account until 2014.432

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 60.



                                                             .433 TIAA offered institutional share classes

for all its mutual funds as early as February 2009.434 All defined contribution plans were eligible


431
    Doc. 250-16, Ex. 16, Bursic Decl. ¶¶ 6-7; Ex. 112, Chittenden Cunningham Decl. ¶ .
432
    Doc. 247-9, Ex. 39, 2014 CREF Multi-Class Structure Presentation, at 7 (CORNELL023649); Doc. 247-10, Ex.
40, 2015 TIAA Business Planning Presentation, at 64 (CORNELL006362) (“Under the single-class structure CREF
has used to date, expense ratios have been the same across employer sponsored and individual plans of all sizes.
Based on the changing marketplace, evolving regulatory environment, and varying needs of plan sponsors, we are
creating a new, multi-class structure to better reflect the actual costs of serving our wide range of clients. The
progression from a ‘one-size fits all’ approach for CREF will provide greater equity in pricing and help relieve the
challenge plan fiduciaries face assessing fees given CREF’s single-class structure.”).
433
    Doc. 249-24, Declaration of D. Chittenden, ¶¶22-23.
434
    Ex. P64, TIAA-CREF Funds, Lifecycle funds (Inst), Prospectus at pp. 719-20 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm). Ex.
P65, TIAA-CREF Funds, Money Market (Inst) fund (TCIXX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P66, TIAA-
CREF Funds, International Equity Index (Inst) fund (TCIEX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P67, TIAA-CREF Funds, Mid-Cap Value (Inst) fund (TIMVX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P68, TIAA-
CREF Funds, Growth & Income (Inst) fund (TIGRX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P69, TIAA-CREF Funds, International Equity (Inst) fund (TIIEX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at


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for institutional share classes if they had over $2 million invested in most of the funds (certain

defined contributions plans were eligible for institutional shares without any threshold).435 The

Plans had over $2 million of assets in TIAA Lifecycle Funds on December 31, 2009 at the

latest.436 Despite being unquestionably eligible for Institutional share classes of the TIAA

Lifecycle funds, the Plans had identical, higher-cost retirement class shares of the TIAA

Lifecycle funds at the end of 2009.437 The Cornell Defendants did not adopt the lower cost

institutional share classes for the TIAA mutual funds until February 22, 2012.438 The failure to

adopt the identical lower-cost institutional share classes of the TIAA-CREF Lifecyles funds

alone caused $336,577 in damages to Plan participants between August 17, 2010 and December

31, 2011.439 Plaintiffs dispute the second sentence of paragraph 60. Share classes for CREF

variable annuities became available the second quarter of 2015.440

        61.         Moreover, once the required revenue rates and revenue credit accounts were

implemented in 2011, the types of share classes available through the Plans became irrelevant




https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P70, TIAA-
CREF Funds, Small-Cap Blend Index (Inst) fund (TISBX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P71, TIAA-CREF Funds, Short-Term Bond (Inst) fund (TISIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm). Ex. P72, TIAA-
CREF Funds, Large-Cap Value (Inst) fund (TRLIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009);
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P73, TIAA-CREF Funds, Equity Index (Inst) fund (TIEIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm.
435
    See supra n. 437.
436
    Doc. 247-8, Ex. 38, December 31, 2009 TIAA CURP Investment Expense and Fee Disclosure
(TIAA_CORNELL_00011306), at 307; Doc. 247-7, Ex. 37, Dec. 31, 2009 TIAA TDA Plan Investment Expenses
and Fee Disclosure (TIAA_CORNELL_00002094) at 095.
437
    Doc. 247-8, Ex. 38, December 31, 2009 TIAA CURP Investment Expense and Fee Disclosure
(TIAA_CORNELL_00011306), at 307.; Doc. 247-7, Ex. 37, Dec. 31, 2009 TIAA TDA Plan Investment Expenses
and Fee Disclosure (TIAA_CORNELL_00002094) at 095.
438
    Doc. 246-005, TIAA/ Recordkeeping Agreements, at 34-36 (adding “Institutional” mutual funds)
439
    Doc. 249-18, Expert Report of Wendy Dominguez, ¶123.
440
    Doc. 447-9 Oct. 24, 2014 Email for M. Zielinski to P. Bursic (CORNELL023646); Ex. P82, Frequently Asked
Questions about the College Retirement Equities Fund (CREF) Multi-Class Structure, TIAA, 2015, p. 1, available
at, https://www.tiaa.org/public/pdf/intermediary_faq_crefrea.pdf.


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and did not affect the net administrative fee amounts. This is because after the negotiation of the

revenue credits, both TIAA and Fidelity were required to return any revenue generated by higher

cost share classes in excess of the negotiated revenue rate.441 For example, when Cornell

transitioned to the new low-cost CREF Stock shares introduced in 2014, CAPTRUST explained

at the subsequent RPOC meeting that while the change would “result in lower overall fees at the

fund level,” it would also “dramatically reduce the amount of revenue being generated” by

CREF Stock and returned to the Plans.442

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 61. The Cornell

Defendants do not cite to any record evidence to support this fact, so it is improper under Rule

56.1. Additionally, the Cornell Defendants did not adopt required revenue rates and revenue

credits until June 2012, not in 2011 as the Cornell Defendants state.443 Plaintiffs dispute the

second sentence of paragraph 61. The sole source that the Cornell Defendants cite to support this

fact is a declaration from TIAA executive, Douglas Chittenden. Mr. Chittenden only discusses

TIAA’s practices and states nothing regarding Fidelity’s practices.444 Additionally, Mr.

Chittenden’s declaration does not say TIAA rebates all excess revenue from higher cost share

classes back to the Plans but that from the total “recordkeeping offsets.”445 Plaintiffs dispute the

third sentence of paragraph 61. The effect of changing share classes for the CREF Stock account

is not material to whether the Cornell Defendants breached their fiduciary duties by failing to



441
    Doc. 249-24, Ex. 112, TIAA Decl. ¶ 22 (“The total amount paid to TIAA for the provision of recordkeeping
services does not vary based on mutual fund share class because any revenue generated by the recordkeeping offsets
across the investment options on the plan menu in excess of the negotiated plan price are refunded to the plan
through the Revenue Credit Account.”);
442
    Ex. 63, Doc. 239-4, December 2014 RPOC Meeting Minutes, at 2 (CAPTR_0013586).
443
    Doc, 246-5, TIAA Recordkeeping Agreements (Part 1), at 38-39 (Amendment 5 dated June 2012 and creating a
revenue credit account); Doc. 246-07, Fidelity Custodial Account Agreements, at 68-70 (First Amendment dated
June 2012 and creating a revenue credit account.
444
    Doc. 249-24, Declaration of D. Chittenden, ¶¶22-23.
445
    Id.


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obtain reasonable fees for participants in the Plans because Plaintiffs have not alleged that the

Cornell Defendants failed to adopt lower share classes of the CREF Stock Account.446

        62.          The TIAA fees Cornell paid were consistent with or lower than those paid by

comparable plans for comparable services. The available comparator data establishing that

Cornell’s fees were reasonable compared to peers include the following:

             Between 2010 and 2016, Cornell’s asset-based fees closely tracked those paid by

              New York University (to the extent Cornell’s fees exceeded those paid by NYU, the

              difference was a mere 1 or 2 basis points).447 On a per participant basis, Cornell’s

              fees compare even more favorably: in each year at issue, Cornell’s per participant

              fees were lower than those paid by NYU participants by between $25 and $100 per

              participant.448

             Data regarding the fees paid by various other clients of CAPTRUST and Cammack

              (another advisor that assisted some of Cornell’s peers with the oversight of their

              plans), further demonstrates that Cornell’s TIAA fees were within a reasonable range

              for each of the three years analyzed (2012, 2014, and 2017).449




446
    See Doc. 81 ¶¶148 (not including the CREF Stock Account).
447
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 85, Ex. 4 (citing Poehler Fee Analysis Worksheet appended to report at SJ
Exhibit Page 105-110, Doc. 246-12, Ex. 30, Chittenden Sacerdote Decl. ¶¶ 74-83 (identifying fees paid by NYU
over relevant time period), Doc. 239-5, Ex. 64, Wagner Rpt. ¶ 39 (identifying fees paid by NYU Faculty Plan and
Medical Plan over relevant time period)).
448
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 87, Ex. 6 (citing Poehler Fee Analysis Worksheet appended to report at SJ
Exhibit Page 105-110).
449
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶¶ 89-91 Ex. 8 (citing Ex. 65, 2012 Columbia Fee Proposal, at 3
(CORNELL029338); Doc. 239-7, Ex. 66, CAPTRUST Required Revenue Spreadsheet (CAPTR_0022939) ; Doc.
239-8, Ex. 67, CAPTRUST TIAA Clients and Fees Spreadsheet dated May 2017 (CAPTR_0045959)).


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            The TIAA fees Cornell negotiated compared favorably to the fees TIAA charged its

             200 largest clients. On a per participant basis, between 2011 and 2018, Cornell

             participants paid on average $16 less than participants in the median plan.450

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 62. The Cornell

Defendants do not cite to any record evidence to support this fact, so it is improper under Rule

56.1. Even using the data that the Cornell Defendants include in this paragraph, Plan participants

suffered significant losses as a result of the Cornell Defendants’ imprudent conduct. As the

Cornell Defendants’ recordkeeping expert, Poehler admits, participant count is the primary

driving factor in the cost of recordkeeping fees.451




                                               t.452 However, Cornell paid significantly higher fees the

top 25th percentile of fee among TIAA clients for every year in the chart after 2011:




450
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 88 Ex. 7 (citing Ex. 68, TIAA Top-200 Client Fee Data (CORNELL029335)).
See also, Doc. 249-21, Ex. 109, Podzinski Decl. ¶ 4, Table 1.
451
    Ex. P2, Poehler Dep. at 52:18‒53:5. Mr. Poehler qualified his answer by stating it was assuming that the services
were obtain, (id.), However, he admitted that he did not know the services that were being provided to any of the
plans he used for benchmarking and upon which the Cornell Defendants reply upon in their pleadings. Poehler Dep.
at 98:24‒100:6, 207:22-‒208:3, 218:17-19, 222:4-6, 223:7-8. 224:19-21, 228:14-16, 249:13-17, 253:15‒254:8,
278:25‒279:4, 283:9-12.
452
    249-21, Declaration of Erich Podzinski, ¶4


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In sum, even using the TIAA top 200 client data that the Cornell Defendants relied upon the

Plans paid nearly $2 million in excess fees (without accounting for lost investment opportunity)

between 2012 and 2017 alone. Similarly, the 2014 CAPTRUST data that the Cornell Defendants

cite and Mr. Poehler relies upon to prove that the Plans were paying TIAA reasonable fees

demonstrates that the Plans were paying excessive fees to TIAA. Mr. Poehler admitted in his

deposition the 2014 CAPTRUST data included mostly Plans that were smaller than the Cornell

Plans by over ten thousand participants and were not appropriate benchmarks, and that he

included these plans merely to show the “range of fees.”454 Mr. Poehler also admitted during his

deposition that those Plans over 10,000 participants in the 2014 CAPTRUST data he and the

Cornell Defendants cite all paid basis-point recordkeeping fees to TIAA that were lower than

those Cornell paid at that time.455 Similarly, the 2017 CAPTRUST data that the Cornell

Defendants and Mr. Poehler rely upon to demonstrate that the Plans TIAA fees were reasonable

actually demonstrates that they were paying excessive fees. Mr. Poehler admitted in his

deposition that most of the Plans in the 2017 CAPTRUST data were actually much smaller than



453
    All per-unique participant fees are from Doc 249-21, the Declaration of Erick Podzinski. Excess fees are
calculated by subtracting 25th percentile fee from Cornell’s fees. Total excess fees are calculated by taking the
excess fees multiplied by the number of unique participants in CURP from Poehler’s Fee Analysis Worksheet,
TIAA CURP Tab, line 14. Doc. 246-4, Expert Report of Glenn Poehler, at 106.
454
    Ex. P2, Poehler Dep. at 210:6‒234:11
455
    Ex. P2, Poehler Dep. at 232:4-233:22.


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the Cornell Plans and not appropriate benchmarks – one as small as 637 participants.456 Further,

Mr. Poehler admitted that most of the Plans in the 2017 data that were similar in size to the

Cornell plans were paying lower per-participant fees than Cornell.457 Ty Minnich, who worked

for decades as an executive in the recordkeeping units of Transamerica, Metlife and CitiStreet,

opined, based on his experience, that reasonable fees for the Plans if the Defendants had

followed prudent practices were $40 per-participant from 2010-2012, $38 per-participant from

2013-2015 and $36 per-participant from 2016-present.458 Similarly, Al Otto, who advised and

acted as a co-fiduciary for defined contribution plans (including both 401(k) and 403(b) plans)

for more than 20 years, opined that the Plans could have achieved fees of $40 per participant

from 2010 to 2014 and $35 per participant from 2015 to 2018.459 Plaintiffs dispute the second

sentence of paragraph 62. The rates that the Cornell Defendants claim that New York University

was paying for recordkeeping and administrative fees are not based on admissible evidence and

therefore improper under Rule 56.1 The Cornell Defendants cite to the Declaration of Douglass

Chittenden from Sacerdote v. New York University, 16-6284 and Expert Report of Marcia

Wagner from that same case. Mr. Chittenden’s testimony in another case is inadmissible hearsay.

See Fed. R. of Evid. 801, 802. Mr. Chittenden’s testimony is not an admissible prior statement by

a witness because he has not been subject to cross-examination in this case nor is it inconsistent

with any testimony he has given in this case or for identification. See Fed. R. of Evid. 801(a)(1).

Additionally, Mr. Chittenden’s testimony in another case is not admissible under Rule 804,

because he is not unavailable given that he offered a declaration in support of the Cornell




456
    Ex. P2, Poehler Dep. at 243:12‒249:8.
457
    Ex. P2, Poehler Dep,. at 235:12‒243:11.
458
    Doc. 249-20, Expert Report of Ty Minnich, ¶¶157.
459
    Doc. 249-19, Expert Report of Al Otto, ¶80.


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Defendants’ motion.460 Similarly, Ms. Wagner’s expert report from another case is inadmissible

hearsay. See Fed. R. of Evid. 801, 802. Ms. Wagner’s report is not an admissible prior statement

by a witness because she has not been subject to cross-examination in this case nor is it

inconsistent with any testimony she has given in this case or for identification. See Fed. R. of

Evid. 801(a)(1). Additionally, Ms, Wagner’s report in another case is not admissible under Rule

804, because the Cornell Defendants have not demonstrated that she is unavailable. To the extent

the Cornell Defendants rely upon that fact that Mr. Poehler discusses the numbers from Mr.

Chittenden’s declaration and Ms. Wagner’s report in his expert report, an expert witness cannot

be used as conduit to admit inadmissible hearsay. Marvel Characters, Inc. v. Kirby, 726 F.3d

119, 136 (2d Cir. 2013) (“a party cannot call an expert simply as a conduit for introducing

hearsay under the guise that the testifying expert used the hearsay as the basis of his testimony.”)

(quoting Malletier v. Dooney & Bourke, Inc., 525 F.Supp.2d 558, 666 (S.D.N.Y.2007)). The per-

participant number for New York University that Mr. Poehler relies upon are from the Expert

Report of Michael Geist in Sacerdote v. New York University, 16-6284. Mr. Geist’s expert report

from another case is inadmissible hearsay. See Fed. R. of Evid. 801, 802. Mr. Geist’s report is

not an admissible prior statement by a witness because he has not been subject to cross-

examination in this case nor is it inconsistent with any testimony he has given in this case or for

identification. See Fed. R. of Evid. 801(a)(1). Additionally, Mr. Geist’s report in another case is

not admissible under Rule 804, because the Cornell Defendants have not demonstrated that he is

unavailable. To the extent the Cornell Defendants rely upon that fact that Mr. Poehler discusses

the numbers from Mr. Geist’s report in his expert report, an expert witness cannot be used as

conduit to admit inadmissible hearsay. Marvel Characters, Inc. 726 F.3d at 136 (2d Cir. 2013)



460
      Doc. 249-24, Declaration of Douglass Chittenden.


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(“a party cannot call an expert simply as a conduit for introducing hearsay under the guise that

the testifying expert used the hearsay as the basis of his testimony.”) (quoting Malletier v.

Dooney., 525 F.Supp.2d at 666). Additionally, Mr. Poehler’s comparison in Exhibit 6 to his

report is misleading because it compares the per-account fees he calculated in this case to per-

participant fees calculated by Mr. Geist in the New York University case.461 As discussed above,

the CAPTRUST data from 2014 and 2017 Mr. Poehler relies upon actually demonstrates that the

Plans paid higher fees than those plans with similar participant counts. The 2012 Columbia fee

proposal462 that the Cornell Defendants rely upon is not admissible because Cornell has not

authenticated it, and it is hearsay. Fed. R. of Evid. 801, 802, 901. As discussed above, when the

Plans are properly compared to the top quartile of TIAA’s top 200 clients, the Cornell

Defendants paid millions of dollars of excess fees.

         63.         The Fidelity fees Cornell negotiated were similarly competitive. While there is

no comprehensive database containing all Fidelity fee information for peer institutions, each one

of the comparisons performed both during the time period at issue and since the lawsuit has been

filed demonstrates that Cornell’s fee was comparable to, or lower than, its peers. These

comparisons include the following:

              In 2010, two of Cornell’s peers—New York University and Johns Hopkins

               University—conducted requests for proposals that resulted in the disclosure of the

               fees charged by Fidelity. Cornell’s fee was only 2 basis points higher than NYU’s

               fees and 12 basis points lower than the fee paid by Johns Hopkins.463



461
    Doc. 246-4, Expert Report of Glenn Poehler, ¶87.
462
    Doc. 239-7, 2012 Columbia Fee Proposal, at 3 (CORNELL029338).
463
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶¶ 94-95, Doc. 250-10, Ex. 10 (citing Doc. 239-10, Ex. 69, Sacerdote Opinion
& Order, at n. 54 (discussing bids submitted in response to 2009 NYU recordkeeper RFP); Ex. 42, 2010 Johns
Hopkins 403(b) Plan Design Presentation, at 49 (CORNELL029094) (comparing fees for five different vendors)).


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            In 2015, materials produced by CAPTRUST indicated that the fee offered to Cornell

             by Fidelity during negotiations was between 2 and 6 basis points lower than the fees

             paid by four of CAPTRUST’s similar clients—



                                            .464

            In 2017, CAPTRUST prepared a presentation that compared Cornell’s fees to those

             paid by three of CAPTRUST’s clients of similar size. Cornell’s fees were either

             equal to or lower than those paid by those clients on both an asset-based fee basis and

             a per participant fee basis.465

            Finally, Fidelity data as of 2018 indicates that on a per participant basis the fees paid

             by Cornell were $7 lower than the median for plans with a similar amount of assets

             and $9 lower than the median for plans with a similar number of participants.466

        RESPONSE: Plaintiffs dispute paragraph 63. The Cornell Defendants do not cite any

record evidence to support these fact, so they are improper under Rule 56.1 Whether the fees

paid to Fidelity alone were “competitive” is not material to whether the Cornell Defendants

breached their fiduciary duties by failing to obtain reasonable fees for the Plans. Even if the fees

paid to Fidelity alone (rather than in combination with TIAA) were material, Ty Minnich, who

worked for decades as an executive in the recordkeeping units of Transamerica, Metlife and

CitiStreet, opined, based on his experience, that reasonable fees for the Plans if the Defendants

had followed prudent practices were $40 per-participant from 2010-2012, $38 per-participant


464
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 96, Ex. 11 (citing Ex. 70, June 9, 2015 Battle/Schmitt Email Regarding
Fidelity Fees, at 1 (CAPTR_0031257)).
465
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶ 97 (citing Ex. 54, 2017 CAPTRUST Vendor Fee Benchmark Presentation
(CAPTR_0046963)).
466
    Doc. 246-4, Ex. 23, Poehler Rpt. ¶¶ 98-99, Ex. 13 (citing Ex. 71, Fidelity “Value Deck” Prepared for Cornell
University, at 1-2 (CORNELL029333)).


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from 2013-2015 and $36 per-participant from 2016-present.467 Similarly, Al Otto, who advised

and acted as a co-fiduciary for defined contribution plans (including both 401(k) and 403(b)

plans) for more than 20 years, opined that the Plans could have achieved fees of $40 per

participant from 2010 to 2014 and $35 per participant from 2015 to 2018 if the Cornell

Defendants had followed a prudent process for monitoring and negotiating recordkeeping and

administrative fees.468 Even by Mr. Poehler’s calculations, the Cornell Defendants paid higher

fees to Fidelity than Mr. Minnich and Otto opine are reasonable throughout the relevant

period.469 Plaintiffs dispute the third sentence of paragraph 63. The Cornell Defendants rely

entirely upon inadmissible evidence to support the New York University fees they cite. For the

New York University fees, the Cornell Defendants cite to the Opinion and Order from Sacerdote

v. New York University, 16-0628. Even if the order itself is not hearsay, the portions Cornell

Defendants cite are inadmissible hearsay within hearsay and inadmissible because the Judge is

characterizing testimony from two witnesses in that case, Jan Rezler and Douglas Chittenden.470

Testimony from another case is inadmissible hearsay. See Fed. R. of Evid. 801, 802. The

testimony is not an admissible prior statement by a witness because Mr. Chiittenden and Mr.

Rezler have not been subject to cross-examination in this case nor is it inconsistent with any

testimony either one has given has given in this case or for identification. See Fed. R. of Evid.

801(a)(1). Additionally, the testimony from another case is not admissible under Rule 804,

because the Cornell Defendants have not established that Mr. Chittenden or Mr. Rezler are

unavailable. Even if it was admissible, the Sacerdote Opinion and Order discusses a 2009 RFP




467
    Doc. 249-20, Expert Report of Ty Minnich, ¶¶157.
468
    Doc. 249-19, Expert Report of Al Otto, ¶80.
469
    246-4, Expert Report of Glenn Poehler, p. 108.
470
    Doc. 239-10, Opinion and Order, Sacerdote v. New York University, 16-06268, n.54 (citing the declarations of
Douglas Chittenden and Jan Rezler).


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Response and not what New York was charged by Fidelity in 2010 as the Cornell Defendants

represent.471 Additionally, the Cornell Defendants ignore that Fidelity made an initial offer as

low as $80 per participant to New York University in 2009, while the Cornell Defendants were

paying an estimated $112 per participant to Fidelity three years later in 2012.472 The Johns

Hopkins presentation that the Cornell Defendants cite to support the Fidelity fees is also

inadmissible hearsay and has not been authenticated. Fed. R. Evid. 801, 802, 901. Even if it was

admissible, the cited basis point rate is not a price resulting from an RFP as the Cornell

Defendants represent but an “estimate” because “implementation” was “in process.”473

Additionally, the Cornell Defendants cite to the administrative cost for the “Current Investment

Structure” of 32 bps for Fidelity.474 The estimated administrative cost for the “Revise[d]

Investment Structure” is 2 bps, significantly lower than what the Cornell Defendants were paying

in 2010.475 The 2015 data from CAPTRUST that the Cornell Defendants rely upon is not a

benchmarking. The 2015 numbers from CAPTRUST for Fidelity that the Cornell Defendants

rely upon in this paragraph appear to be from an email from Barry Schmitt relating fee reduction

for a select group of his clients.476 The data does not provide any participant counts, which is

necessary to determine if they are appropriate comparators for the Plans.477 Additionally, the data

does not include per-participant fees for any Plan other than “                ”478 The 2017 CAPTRUST

data, compiled after this lawsuit was filed is undated, appears to be a draft report, and it is




471
    Id. (“The 2009 RFP resulted in a range of price proposals . . “)
472
    Id.; Doc. 248-13, April 13, 2012 Meeting Material, at 14.
473
    Doc 248-2, 2010 Johns Hopkins 403(b) Plan Design Presentation, (CORNELL029094) at 46, 51.
474
    Id. at 51.
475
    Id.
476
    Doc. 239-11, (June 9, 2-015 Email from A. Battle to B. Schmitt (CAPTR_0031257).
477
    Id.; Ex. P2, Poehler Dep. at 210:6‒231:21, 233:23-234:11 (admitting small plans would not be appropriate
comparisons)
478
    Doc. 239-11, (June 9, 2-015 Email from A. Battle to B. Schmitt (CAPTR_0031257)


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unclear whether it is reliable.479 Additionally, it only compares the basis point fees the plans

were paying to the Plans’ asset based fees and does not properly analyze the per-participant or

total fees.480 Moreover, two of the three comparator plans are more than 3,000 participants

smaller than the Plans and the single plan that is similar in size pays a rate two basis points lower

than the Cornell Defendants.481

         64.        Neither Plaintiffs nor their experts have identified any higher education

institution that has paid administrative fees anywhere near the $35-$40 per participant

administrative fee they claim Cornell could have paid between 2010 and 2016.482

         RESPONSE: Plaintiffs dispute paragraph 64. The only record evidence cited by the

Cornell Defendants to support this statement is deposition testimony from Plaintiffs’ expert Ty

Minnich. Mr. Minnich’s testimony was not that he could not identify any higher education plan

paying $35-$40 per-participant between 2010 and 2016 but that he could not identify any client

of his paying that rate “without looking at the particular facts on a particular case.”483 In fact, Mr.

Minnich and Mr. Otto identified a number of plans paying similar rates in their reports.484

Additionally, the Cornell Defendants’ expert, Mr. Poehler, admitted that numerous hospital

403(b) Plans and 401(k) plans, which he ignored in his report, were paying rates in this range

from 2010 until 2016.485




479
    Doc. 238-5, 2017 Vendor Fee Benchmark, at 2.
480
    Id. at 21.
481
    Id.
482
    Doc. 252-2, Ex. 72, Minnich Dep. 300:19-23.
483
    Doc. 252-2, Ex. 72, Minnich Dep., at 300:19-23.
484
    Doc. 249-00, Expert Report of Ty Minnich, ¶¶137‒156; Doc. 249-19, Expert Report of Al Otto, ¶¶85-88.
485
    Ex. P2, Poehler Dep., at 279:14‒308:24.


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           65.         Contributions to plan participants’ individual accounts are invested in one or

more of the investment options available to participants on the recordkeepers’ respective

platforms.

           RESPONSE: Plaintiffs do not dispute that the Plans’ participants invest in one or more

of the investment options available to the Plans. Plaintiffs dispute Paragraph 65 in that the

Cornell Defendants fail to present any facts that are material to the Cornell Defendants’ Motion

for Summary Judgment as required by Local Rule 56.1.

           66.         The investment options available through the Plans include both TIAA variable

and fixed annuities, as well as mutual funds offered by both TIAA and Fidelity. The number of

investment options has varied in response to both regulatory changes and participant demands. In

particular, until the adoption of ERISA in 1974, Section 403(b) provided that in order for

participant assets to receive such favorable treatment, all assets had to be invested in individual

insurance company annuity contracts.486 However, the Internal Revenue Code was amended in

1974 to provide that Section 403(b) plan assets could also be invested in mutual funds held in

custodial accounts.487 However, at the time, many plan recordkeepers that serviced 403(b) plans,

such as TIAA, did not offer mutual funds as investment options. As a result, annuities continued

to be the investment of choice for most plan participants.

           RESPONSE: Plaintiffs do not dispute that investment options available through the

Plans include both TIAA variable and fixed annuities, as well as mutual funds offered by both

TIAA and Fidelity. Plaintiffs dispute the second sentence of paragraph 66. The Cornell

Defendants cite no evidence to support this sentence and it is not a fact that is material to the

Cornell Defendants’ Motion for Summary Judgment as required by Local Rule 56.1. Plaintiffs


486
      Doc. 250-1, Ex. 1, Am. Compl., Doc. 81, at ¶ 66.
487
      Doc. 250-1, Ex. 1, Am. Compl. Doc. 81, at ¶ 66.


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state that Section 403(b) of the Internal Revenue Code speaks for itself. Plaintiffs dispute the

fourth and fifth sentences of paragraph 66. Cornell cites no evidence to support this sentence

and it is not a fact that is material to the Cornell’s Motion for Summary Judgment as required by

Local Rule 56.1.

           67.          During the mid-1990s, mutual funds became an increasingly popular

investment option for individual investors. As a result, many 403(b) plan participants desired the

ability to invest in such funds through their employer sponsored retirement plans. However,

because 403(b) plan recordkeepers had yet to introduce their own mutual fund offerings, plan

sponsors retained recordkeepers that did offer mutual funds, such as Fidelity. Cornell was one

such plan sponsor: when Cornell added Fidelity as a recordkeeper in 1993, TIAA did not offer

any mutual funds on its platform.488

           RESPONSE: Plaintiffs do not dispute that mutual funds became an increasingly popular

investment in the 1990s. The Cornell Defendants cite no evidence to support this sentence and it

is not a fact that is material to the Cornell Defendants’ Motion for Summary Judgment as

required by Local Rule 56.1. Plaintiffs dispute the second sentence because Cornell Defendants

cite no evidence to support this sentence and it is not a fact that is material to the Cornell

Defendants’ Motion for Summary Judgment as required by Local Rule 56.1. Plaintiffs dispute

the third sentence as it contradicts itself, i.e., Fidelity is a recordkeeper and offers mutual funds.

Cornell Defendants cite no evidence to support this sentence and it is not a fact that is material to

the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule 56.1.

           68.          The number of investment options offered to participants over the relevant time

period was consistent with the number of options offered by large higher education institutions.



488
      Doc. 25-16, Ex. 16, Bursic Decl. ¶ 3.


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For example, as of 2010, the median higher education plan administered by Fidelity with assets

in excess of $100 million offered 156 different investment options and 84% of such plans offered

at least 75 funds.489 In some instances, the number of investment options was much higher—

Johns Hopkins University, for example, offered participants 414 options as of 2010.490

         RESPONSE: The first sentence of paragraph 68 is disputed. The Cornell Defendants do

not cite to admissible evidence to support the purported fact in the first sentence of paragraph 69

and it is not a fact that is material to the Cornell Defendants’ Motion for Summary Judgment as

required by Local Rule 56.1 because higher education plans are not the only entities that offer

ERISA retirement plans.

         Plaintiffs dispute the second sentence of paragraph 68. In January 2012, Cornell itself

observed that the Fidelity platform had “too many choices in general.”491 CAPTRUST noted

that if Cornell stayed with the “status quo” there would be continued participant confusion,

disparate fund structure, complex and inefficient investment due diligence, fiduciary oversight

would be more difficult, and continued disjointed administration.492 For another one of its

clients, CAPTRUST noted that a “multiple vendor, unconstrained fund line-up environment

makes it nearly impossible for plan fiduciaries to fulfill fiduciary obligations.”493 The document

Cornell cites shows that Cornell offered many more options that the “peer” group identified by

Fidelity of solely Fidelity clients.494

         Plaintiffs dispute that the third sentence supports Cornell Defendants’ proposition in

paragraph 68. The presentation cited by Cornell Defendants contradicts paragraph 68. The


489
    Doc. 252-3, Ex. 73, 2012 Fidelity Investment Review (CAPTR_0038110).
490
    Doc. 248-2, Ex. 42, Johns Hopkins’ University 403(b) Plan Design Presentation, at 49 (CORNELL029094)
(comparing fees for five different vendors).
491
    Doc. 248-8, Ex. 44, RPOC Meeting Minutes January 11, 2012 (CAPTR_0047903) at 3.
492
    Ex. P83, RPOC Presentation January 11, 2012 (CORNELL015581) at 15.
493
    Ex. P84, CAPTRUST presentation to the University System of Maine, July 15, 2013 at 7.
494
    Ex. P85, 2012 Fidelity Investment Review (CAPTR_0038110) at 3.


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presentation indicated that plan sponsors of retirement plans that actually performed their

fiduciary duties had “10-30 investment options” in their plans.495 The investment advisor giving

the presentation was concerned that Johns Hopkins University (“JHU”) could not “monitor and

track 400+ investment funds[,]” and that “too much choice is very challenging for

participants[.]”496 Aon Hewitt (a retirement plan investment advisor) also noted that the

“complexity of monitoring across recordkeepers leaves opportunity for error.”497 The

presentation indicates that a fund consolidation process to reduce the number of investments

would be completed by July 2011 if Aon Hewitt was hired by JHU.498 Aon Hewitt noted that the

common theme among retirement plan sponsors was to “reduce investment menu to a reasonable

and understandable number of investment options[.]”499 Aon Hewitt noted that participants “in

plans with more than 20 investment fund were less diversified (i.e., held slightly fewer funds on

average.)”500 and that too many funds also negatively affected participation rates, providing the

following chart based on its knowledge as an investment advisor to retirement plans:501




495
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 5 (CORNELL029094)
496
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 6 and 9 (CORNELL029094)
497
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 7 (CORNELL029094)
498
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 16-19 (CORNELL029094)
499
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 23 (CORNELL029094)
500
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 27 (CORNELL029094)
501
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 28 (CORNELL029094)


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         Prior to 2011, the trend was to reduce the number of investments in higher education

retirement plans; for example, an investment advisor responding to Cornell’s RFP in 2011 told

Cornell that it had already




                   ”502



                                                                                  .”503 Mercer stated that

“participant decision-making [is] clearer when there is a single fund for each asset class role.”504

         69.        At all relevant times, defendants monitored the Plans’ investment options and

removed any investment options that were objectively imprudent. Defendants’ efforts in this

regard extended to both the overall plan line-up as well as the two specific investment options at

issue in this case, the TIAA Real Estate Account and the CREF Stock Account.



502
    Ex. P61, Cammack LaRhette response to Cornell’s RFP for investment advisor May 13, 2011
(CORNELL006753) at 18.
503
    Ex. P4, Mercer response to Cornell’s RFP for investment advisors (CORNELL015325) at 1.
504
    Id.


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         RESPONSE: The first sentence of Paragraph 69 is not a statement of fact but a

description of law and thus is improper under Local Rule 56.1. Paragraph 69 is otherwise

disputed. The Cornell Defendants do not cite to admissible evidence to support paragraph 69.

         Plaintiffs dispute the second sentence of Paragraph 69. Prior to CAPTRUST’s July 2013

investment scorecard presentation, the Cornell Defendants did not monitor funds in the Plans in

any way.505 CAPTRUST made this observation in its first meeting with the RPOC, noting that

“currently there is a limited process in place to make investment decisions.”506 CAPTRUST then

informed Cornell Defendants that there were “many underperforming funds” in the Plans, which

were not identified.507 After acknowledging that there were “many underperforming funds”

whose identities were unknown in the Plans, no identification or monitoring occurred on these

underperforming fund for 18 months.508 In the analysis, CAPTRUST identified 85 investments

that ranked below the 50th percentile of the peer group for Annualized Risk Adjusted

Performance and/or Annualized Peer Relative Performance for the 3 and/or 5 year annualized




505
    Ex. P7, Opperman Tr. at 57:20-59:24; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 3 (“2nd deliverable is an interim Fiduciary review
on the entire platform of funds. . . . To put this in perspective, we were hired in December 2011 and we have yet to
do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000 funds?”);
Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2 (“You
had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Ex. P45, DeStefano Tr. at 124:2-16.
506
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067) at 6.
507
    Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581) at 1
(listing date of meeting), 8 (acknowledging underperforming TIAA-CREF investments), 9 (acknowledging
underperforming Fidelity investments); Doc. 248-8, Ex. 44, Meeting Minutes from January 11, 2012 RPOC meeting
(CAPTR_0047903) at 3 (“TIAA-CREF has several redundant asset classes as well as underperforming accounts.
Fidelity currently offering (180+ funds) has significant redundancy, many underperforming accounts and too many
choices in general.”); Ex. P7, Opperman Tr. 60:14-61:9; 63:8-24.
508
    Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 3 (“2nd
deliverable is an interim Fiduciary review on the entire platform of funds. . . . To put this in perspective, we were
hired in December 2011 and we have yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some
sort of quant review on their 5,000 funds?”); Ex. P87, e-mail between Cornell and outside counsel dated October 3,
2012 (CORNELL013947) at PDF 2 (“You had mentioned that at a recent RPOC meeting, it was unclear whether
CAPTRUST was providing investment performance information to the RPOC.”); Ex. P88, Ciccotello Tr. at 103:3-
105:2.


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periods, all of which violated Cornell’s Investment Policy Statement.509 Several funds failed

screening criteria so badly in 2013 they were designated with a red diamond.510 The Cornell

Defendants did not obtain any further quantitative investment due diligence until 14 months

later, on September 17, 2014.511 Funds identified with the red diamond should have been given

more attention or been eliminated from the Plans.512 These underperforming investments

remained in the Plan prior to this lawsuit because prior to 2016, there was no process to remove

an underperforming fund from the Plans. 513 At the June 29, 2016 RPOC meeting, Ms.

Opperman asked “what may cause a fund to be consider[ed] by RPOC for replacement[?]”514

         In the first investment scorecard CAPTRUST provided to Cornell, there was no review

for 19 funds including the TIAA Real Estate Account.515




                 For the funds with entries on the investment scorecard, the Cornell Defendants

did not have the information necessary to interpret its scoring system, including the yellow,


509
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P89, Quarterly Review
for 3rd Quarter, 2014 (CORNELL015005) at 134; Doc. 252-6, Investment Policy Statement Cornell University
(CORNELL013763) at 6.
510
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48.
511
    Ex. P90, e-mail attaching materials for September 17, 2014 RPOC meeting (CORNELL013566); Doc. 241-3, Ex.
92, RPOC Presentation September 17, 2014 at 39-47 (CORNELL013567).
512
    Ex. P88, Ciccotello Tr. at 144:8-149:8; Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012
(CORNELL022014) at 21 (score of “69 or below Consider termination of fund”); Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 52, 81, 117-121.
513
    Ex. P23, Strodel Tr. at 163:24-165:25; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the
RPOC did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC
Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining
a process to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting
Minutes dated June 29, 2016 (CAPTR_0013565) at 2 (“The Chair, Ms. Opperman asked what may cause a fund to
be consider[ed] by RPOC for replacement[?]”).
514
    Ex. P19, RPOC Meeting Minutes dated June 29, 2016 (CAPTR_0013565) at 3.
515
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Doc. 241-3, Ex. 92, RPOC
Presentation September 17, 2014 (CORNELL013567) at 39-47; Doc. 241-1, Ex. 90, RPOC Presentation July 31,
2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at 110:24-113:9 (“Q. Sure. Do you see any appropriate
performance-related information for the TIAA Real Estate Account in this presentation? A. So in this presentation I
just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at 185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7,
Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶¶ 103-105.


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“Marked For Review” triangle, within the quantitative criteria categories until December

2014.516

        In July 2013, the CREF Stock Account ranked below the 50th percentile of its

Annualized Risk Adjusted Performance peer group and its Annualized Peer Relative

Performance group for the 3 and 5 year periods.517




        CAPTRUST described its evaluation of the CREF Stock Account to the RPOC as an

“estimation.”518 The RPOC believed that CAPTRUST’s yellow triangle scoring for the CREF

Stock Account was “fundamentally unreliable,” and they could not determine whether the yellow

triangles on the July 2013 report reflected the performance of the CREF Stock Account or the

inadequacy of CAPTRUST’s selection of measurement.519 As a result of CAPTRUST’s self-

described unreliable evaluation, Cornell decided to keep the CREF Stock Account on Tier II

solely because it had been offered at Cornell since the 1950s.520 Cornell Defendants did not

review the underlying performance data for the CREF Stock Account until December 2014, after

it was implemented in the best-of-class core line-up.521 Paragraph 69 is contradicted by




516
    Ex. 63, Doc. 239-4, RPOC Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 3-4 (“Mr. Schmitt
focused on the key components of the review and the manner in which CAPTRUST evaluates/”scores” an
investment vehicle.”); Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134; E-mail
attaching Quarterly Review for 3rd Quarter, 2014 (CORNELL15001); Doc. 252-10, Ex. 80, RPOC Meeting Minutes
dated December 12, 2016 (CAPTR_0013590) at 2 (“Ms. Opperman requested that CAPTRUST provide historical
investment scoring in future reports.”).
517
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 28.
518
    Ex. P8, Bursic Tr. at 217:18-25.
519
    Ex. P8, Bursic Tr. at 218:2-9; 218:25-219:4; 222:4-9.
520
    Ex. P8, Bursic Tr. at 218:9-11.
521
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNEL015005) at 39.


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paragraph 72, which indicates the RPOC was created in 2011 to “establish criteria to review and

monitor the investment performance of the [Plans’] investment options.”

         70.        Both prior to and throughout the time period at issue, Benefits Services, with

the assistance of TIAA and Fidelity, regularly received and reviewed investment performance

and fee information for each of the investment options available through the Plan.522 These

investment and fee disclosures were distributed to participants to enable them to assess the

various alternatives in light of their individual investment objectives, risk tolerance, and

retirement goals.523

         RESPONSE: Plaintiffs dispute that paragraph 70 is a material fact. Sending raw

performance and fee information to plan participants does not satisfy a plan sponsor’s duties

under ERISA.

         Plaintiffs otherwise dispute the first sentence of Paragraph 70. Prior to CAPTRUST’s

July 2013 investment scorecard presentation, the Cornell Defendants did not monitor funds in the

Plans.524 Prior to hiring CAPTRUST, Cornell had “no experience to do this analysis.”525 The

Cornell Defendants had no process in place to remove a fund from the Plans until 2016.526




522
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 4.
523
    Doc. 248-1, Ex. 41, Bursic Tr.70:16-74:5 (explaining monitoring process prior to retention of CAPTRUST); Doc.
250-16, Ex. 16, Bursic Decl. ¶ 4.
524
    Ex. P7, Opperman Tr. at 59:20-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Cornell Defendants’ Rule 56.1 Statement of Undisputed Material Facts
infra at ¶ 74 (CAPTRUST’s initial goals and objective included “adopting a methodology for ongoing plan
monitoring.”).
525
    Ex P8, Bursic Tr. at 79:25:-80:7.
526
    Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the RPOC
did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC Meeting
Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining a process
to make decisions on the funds currently found in the Tier III menu of funds.”).


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         Plaintiffs dispute that the second sentence of paragraph 70 is a material fact. Sending raw

performance and fee information to plan participants does not satisfy a plan sponsor’s duties

under ERISA Plan participants are not charged with fiduciary duties, nor could they themselves

change the share class structure of plan investments. Prior to hiring CAPTRUST, Cornell had

“no experience to do this analysis.”527

         71.       Following the implementation of the 2009 IRS rule changes, Cornell decided

to review the investment menu and to develop a more formal process for actively monitoring and

managing the Plans’ investment options.

         RESPONSE: Plaintiffs dispute paragraph 71. The Cornell Defendants cite no evidence

to support this sentence and the undefined 2009 IRS rule changes are not facts that are material

to the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule 56.1.

Plaintiffs further dispute paragraph 71 because it is an attempt to characterize IRS “rules” and

the impact on ERISA and is therefore not a statement of fact. This statement is further

contradicted by Exhibit 77 to Cornell’s Motion for Summary Judgment, which states that a “new

law passed in 2006” has placed significantly greater responsibility on “plan sponsors to

prudently select and communicate plan investment funds to the participants.”528

         72.       Cornell’s first step in this process was to create RPOC, the express purpose of

which is to “provide policy oversight for the selection of investment options for the Plans” and

“establish criteria to review and monitor the investment performance of the [Plans’] investment

options.”529




527
    Ex P8, Bursic Tr. at 79:25:-80:7.
528
    Doc. 252-07 at 1.
529
    Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).


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         RESPONSE: Plaintiffs dispute paragraph 72. Prior to formation of the RPOC, the Board

of Trustees retained all fiduciary responsibility for the review, selection and retention of

investment options in the Plans.530 Cornell disregarded warnings that its Plans were not being

administered prudently. By at least May 2010, the Plans’ auditors described the lack of an

Investment Policy Statement for the Plans as an internal control deficiency that needed to be

corrected.531 The Board of Trustees then took nearly a year to create the RPOC after this

notification.532 Moreover, it took more than two years to create the RPOC after the alleged “2009

IRS rule changes”533 and five years after the “law passed in 2006”534 After the RPOC was

created, it met for a total of 2 hours and 12 minutes in 2011.535 This was in stark contrast to the

committee responsible for the endowment, with a professional staff of 20, who met for four

hours quarterly to discuss investment performance “without fail.”536

         73.        RPOC retained CAPTRUST to assist it with managing and monitoring the

Plans’ investment menu. Pursuant to the consulting agreement, CAPTRUST agreed to provide

“plan level advice, investment menu development, and ongoing investment due diligence.”

Moreover, as a condition precedent to its retention as an investment consultant, RPOC required

that CAPTRUST agree to provide investment advice as a fiduciary under ERISA, rather than as a

mere consultant.537




530
    Doc. 250-17, April 2011 RPOC Charter (CORNELL015812).
531
    Ex. P92, CURP Plan Report to the Plan Administrator May 28, 2010 (CORNELL025340) at 9-10; Ex. P45,
DeStefano Tr. at 75:14-86:18.
532
    Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
533
    Supra, ¶ 71; Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
534
    Doc. 252-07 at 1.
535
    Ex. P45, DeStefano Tr. at 117:23-118:22.
536
    Ex. P45, DeStefano Tr. at 41:30-43:25.
537
    Doc. 246-2, Ex. 21, April 2011 Retirement Plan Advisory Services Agreement between Capfinancial Partners,
LLC (“CAPTRUST”) and Cornell University, at 1 (CORNELL021910) (“CAPTRUST will serve as a fiduciary as
defined by ERISA § 3(21)(A)(ii) with regard to the selection of investment managers or mutual funds available to
the Plans within the [recordkeeping] platforms provided by the Plan’s administrator”).


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         RESPONSE: Plaintiffs do not dispute Paragraph 73. Cornell hired CAPTRUST to

provide investment advisory services to Cornell for a fee including ongoing investment due

diligence, plan level advice, investment menu development, overall vendor recommendation and

ongoing due diligence, plan administration and investment costs comparison, vendor analysis,

vendor benchmarking, vendor scoring and real-time access to industry research.538

         74.        At the first meeting it attended, CAPTRUST and RPOC discussed the Plans’

investment menu and the monitoring process in place. As a result of this discussion,

CAPTRUST and RPOC identified the following initial goals and objectives: (1) finalizing an

Investment Policy Statement (IPS), (2) redesigning (and potentially streamlining) the Plans’

investment menu, (3) and adopting a methodology for ongoing plan monitoring.539

         RESPONSE: The first sentence of paragraph 74 is disputed to the extent it implies

investment due diligence was conducted at the meeting. The Cornell Defendants cite no evidence

to support this sentence and it is not a fact that is material to the Cornell Defendants’ Motion for

Summary Judgment as required by Local Rule 56.1. In its first meeting, CAPTRUST observed

that “currently there is a limited process in place to make investment decisions.”540 On January

11, 2012, CAPTRUST told the Cornell Defendants that there were “many underperforming

funds” in the Plans.541 CAPTRUST did not identify these underperforming funds.542 After




538
    Doc. 224-12, CAPTRUST Retirement Plan Advisory Services Agreement (EX. CAPTRUST001) at 1 (providing
services for the Plan) and 6 (reflecting the date of acceptance by CAPTRUST).
539
    Doc. 248-8, Ex. 44, January 2012 RPOC Meeting Minutes, at 2 (CAPTR_0047903).
540
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 6.
541
    Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581), at 1
(listing date of meeting), 8 (acknowledging underperforming TIAA-CREF investments), 9 (acknowledging
underperforming Fidelity investments); Doc. 248-8, Ex. 44, Meeting Minutes from January 11, 2012 RPOC meeting
(CAPTR_0047903) at 3 (“TIAA-CREF has several redundant asset classes as well as underperforming accounts.
Fidelity currently offering (180+ funds) has significant redundancy, many underperforming accounts and too many
choices in general.”); Ex. P7, Opperman Tr. 60:14-61:9; 63:8-63:24.
542
    Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581); Ex. P86,
Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254).


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acknowledging that there were “many underperforming funds” in the Plans, no monitoring

occurred on the underperforming funds for 18 months.543 In January 2012, Cornell itself

observed that the Fidelity platform had “too many choices in general.”544 CAPTRUST noted

that if Cornell stayed with the “status quo” there would be continued participant confusion,

disparate fund structure, complex and inefficient investment due diligence, fiduciary oversight

would be more difficult, and continued disjointed administration.545 Plaintiffs do not dispute that

CAPTRUST identified goals of creating an IPS, redesigning the investment menu to reduce and

eliminate funds, and identifying a methodology for monitoring plan investments (which did not

exist).

          75.       Although not required by ERISA, RPOC began to craft a formal investment

policy statement prior to the retention of CAPTRUST. Upon the advice of counsel, RPOC did

not execute a final IPS until after it had retained an investment advisor with experience preparing

such documents.546       CAPTRUST prepared a draft IPS soon after the first meeting it attended.

This draft was reviewed and edited by both Benefits Services and Cornell’s investment office

before it was presented to RPOC for review at the April 2012 meeting547 Over the following

months, the IPS was discussed and revised at length before being ratified at the November 2012

meeting.548


543
    Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd
deliverable is an interim Fiduciary review on the entire platform of funds. … To put this in perspective, we were
hired in December 2011 and we have yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some
sort of quant review on their 5,000 funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3,
2012 (CORNELL013947) at PDF 2 (“You had mentioned that at a recent RPOC meeting, it was unclear whether
CAPTRUST was providing investment performance information to the RPOC.”); Ex. P88, Ciccotello Tr. at 103:3-
105:2.
544
    Doc. 248-8, Ex. 44, RPOC Meeting Minutes January 11, 2012 (CAPTR_0047903) at 3.
545
    Ex. P83, RPOC Presentation January 11, 2012 (CORNELL015581) at 15.
546
    Doc. 250-19, Ex. 19, November 2010 RPOC Minutes, at 2-3 (CORNELL021932) (discussing need for
investment policy statement and reviewing draft prepared by counsel, but noting counsel recommendation that
RPOC first hire an independent consultant before executing an IPS).
547
    Doc. 252-4, Ex. 74, April 12, 2012 AJ Edwards Email and Comments on IPS Draft (CORNELL029202).
548
    Doc. 252-5, Ex. 75, November 2012 RPOC Meeting Minutes (CORNELL013805).


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         RESPONSE: Plaintiffs dispute paragraph 75. The Cornell Defendants cite no evidence

to support the first sentence and it is a legal conclusion about what ERISA requires and therefore

not a fact that is material to the Cornell Defendants’ Motion for Summary Judgment as required

by Local Rule 56.1. The remaining sentences are not material facts. To the extent a response is

required, Plaintiffs dispute that the creation of the IPS was completed in a prudent or timely

manner as described in sentences two through four.

         Prior to formation of the RPOC, the Board of Trustees retained all fiduciary

responsibility for the review, selection and retention of investment options in the Plans.549

Cornell disregarded warnings that its Plans were not being administered prudently. By at least

May 2010, the Plans’ auditors described the lack of an Investment Policy Statement for the Plans

as an internal control deficiency that needed to be corrected.550 The Board of Trustees then took

nearly a year to create the RPOC.551 After the RPOC was created, it met for a total of 2 hours and

12 minutes in 2011.552 This was in stark contrast to the committee responsible for the

endowment, with a professional staff of 20, who met for four hours quarterly to discuss

investment performance “without fail.”553 The RPOC hired CAPTRUST in December 2011.554

Cornell was years behind even non-ERISA plans in hiring an investment advisor for its Plans.555

The Investment Policy Statement was not completed until November 28, 2012.556




549
    Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
550
    Ex. P92, CURP Plan Report to the Plan Administrator May 28, 2010 (CORNELL025340) at 9-10; Ex. P45,
DeStefano Tr. at 75:14-86:18.
551
    Doc. 250-17, Ex. 17, April 2011 RPOC Charter (CORNELL015812).
552
    Ex. P45, DeStefano Tr. at 117:23-118:22.
553
    Ex. P45, DeStefano Tr. at 41:30-43:25.
554
    CAPTRUST’s Rule 56.1 Statement of Undisputed Material Fact at ¶ 4.
555
    Ex. P93, CAPTRUST’s Response to RFP (CORNELL011415) at 2; Ex. P94, CAPTRUST Reference Check
Summary (CORNELL027635) at 1; Ex. P3, Hewitt Response to RFP (CORNELL024180) at 4-5; Ex. P62, Segal
Advisors Response to RFP (CORNELL006782) at 12-13.
556
    Doc. 252-6, Ex. 76, Cornell Investment Policy Statement (CORNELL013763) at 9.


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         76.       These IPS provided a general process for monitoring and managing the Plans’

investment lineup. This process involved: (1) identifying desired investment asset classes; (2)

selecting investments that correspond to those assets classes; (3) evaluating the investments

included in the Plans using the proprietary scoring system developed by CAPTRUST; and (4) if

necessary, replacing investment alternatives deemed inappropriate.557

         RESPONSE: Plaintiffs state that the Investment Policy Statement speaks for itself.558

Plaintiffs object to Cornell’s characterization of CAPTRUST’s scoring system as proprietary.

Cornell’s IPS demonstrates that a majority of the funds in Cornell’s Plan were imprudent, as they

violated the principles for retention set forth in the IPS.559 Cornell and CAPTRUST’s Investment

Policy Statement provides that “all actively managed investments should rank in the top 50% of

their given peer group for the 3 or 5 year annualized period[.]”560 In the July 2013 analysis, a

yellow triangle within the risk adjusted performance (RAP) metric in CAPTRUST’s report

meant that the investment’s “Annualized Risk Adjusted Performance falls below the 50th

percentile of the peer group.”561 A yellow triangle within the peer metric meant that the

“Annualized Peer Relative Performance falls below the 50th percentile of the peer group.”562

Red diamonds indicated that the funds should be considered for termination.563 In the analysis,

CAPTRUST identified 85 investments that ranked below the 50th percentile of the peer group

for Annualized Risk Adjusted Performance and/or Annualized Peer Relative Performance for the

3 and/or 5 year annualized periods.564 Cornell and CAPTRUST’s December 5, 2012 Investment


557
    Doc. 252-6, Ex. 76, RPOC Investment Policy Statement, at 5-8 (CORNELL013763).
558
    Doc. 252-6, Ex. 76, RPOC Investment Policy Statement (CORNELL013763).
559
    Doc. 252-6, Ex. 76, RPOC Investment Policy Statement, at 6-7 (CORNELL013763).
560
    Doc. 252-6, Ex. 76, Investment Policy Statement Cornell University (CORNELL013763) at 6.
561
    Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134.
562
    Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134.
563
    Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012 (CORNELL022014) at 21.
564
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P89, Quarterly Review
for 3rd Quarter, 2014 (CORNELL015005) at 134.


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Policy Statement provides that “investment managers will be expected to maintain a broadly

diversified portfolio and will be expected to avoid unreasonable overweighting in a given

investment, industry or sector.”565 On February 26, 2015, CAPTRUST identified 62 sector

funds—fund that invest in on specific sector of the economy or industry—and 36 funds that were

failing the Investment Policy Statement scoring system.566

         77.       The IPS provides that it does not impose any duties not imposed by ERISA,

that it is not binding, and that deviations from its guidelines may be warranted The IPS was thus

meant to serve as a “general framework” subject to modification.567

         RESPONSE: Plaintiffs state that the Investment Policy Statement speaks for itself.568

Plaintiffs dispute that the IPS was not binding and served as a “general framework.” Whether the

IPS is binding and imposes duties beyond ERISA is a legal conclusion, not a fact, and is

improper under Rule 56.1 At the June 29, 2016 RPOC meeting, Ms. Opperman asked “what may

cause a fund to be consider[ed] by RPOC for replacement” and CAPTRUST responded that it

was “determined by the Investment Policy Statement[.]”569

         78.       Once it had finalized and adopted the IPS, RPOC and CAPTRUST turned their

focus to redesigning and streamlining the Plans’ investment menu. RPOC recognized that the

potential changes to the Plans’ investment lineup would have a significant effect on large

numbers of plan participants.570




565
    Doc. 252-6, Ex. 76,Investment Policy Statement Cornell University (CORNELL013763) at 6.
566
    Ex. P95, Tier 3 Fund Selection Overview (CORNELL015019).
567
    Doc. 252-6, Ex. 76,RPOC Investment Policy Statement (CORNELL013763).
568
    Doc. 252-6, Ex. 76, RPOC Investment Policy Statement (CORNELL013763).
569
    Ex. P19, RPOC Meeting Minutes June 29, 2016 (CAPTR_0013565) at 2.
570
    Doc. 248-14, Ex. 50, April 2012 RPOC Meeting Minutes, at 2 (CORNELL028891) (“RPOC and CAPTRUST
acknowledged the significant participant communication challenges of reducing investment menus on all
platforms.”).


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         RESPONSE: Plaintiffs dispute paragraph 78. The Cornell Defendants cite no evidence

to support the first sentence and it is not a fact that is material to the Cornell Defendants’ Motion

for Summary Judgment as required by Local Rule 56.1. Plaintiffs otherwise dispute that once

the IPS was adopted, the RPOC acted prudently. Once the IPS was created, the RPOC did not

meet for 8 months.571 Cornell conducted no investment due diligence until July 31, 2013.572

CAPTRUST failed to recommend specific investments for a consolidated fund line-up to Cornell

until June 2013.573 Plaintiffs dispute the second sentence of paragraph 78. The fact is not

material to the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule

56.1.




                    .”574 No disruption analysis occurred prior to CAPTRUST’s July 2013




571
    Doc. 252-5, November 19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC
Meeting Minutes (CAPTR_0047921).
572
    Ex. P7, Opperman Tr. at 59:20-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Cornell Defendants’ Rule 56.1 Statement of Undisputed Material Facts
infra at ¶ 74 (CAPTRUST’s initial goals and objective included “adopting a methodology for ongoing plan
monitoring.”).
573
    Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 3 (“1st
deliverable is the comps for the asset classes that the RPOC has approved in order to fulfill those asset classes. …
the recommended fund menu that will be delivered at the end of July may not be implemented until mid-2014 (or
later).”) and PDF 1 (“A general question though- we fall on this recommended line up at the end of July and the
implementation doesn’t take place until mid-2014, do we still have ‘fiduciary exposure’? How do we mitigate this
exposure?”); Ex. P96, E-mail from B. Schmitt to TIAA-CREF dated August 14, 2013 (CAPTR_0035670); Ex. P97,
Attachment to CAPTR_0035670, initial draft of recommended core line-up (CAPTR_0035671); Ex. P12, RPOC
Meeting Minutes dated July 31, 2013 (CAPTR_0047921) at 2 (“CAPTRUST then provided the Committee with a
listing of asset classes and funds for the RPOC’s initial reaction.”).
574
    Ex. P61, Cammack LaRhette response to Cornell’s RFP for investment advisor May 13, 2011
(CORNELL006753) at 18.


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identification of underperforming funds and those violating the IPS.575 This “disruption analysis”

was flawed and over-inclusive, contributing to a complete lack of process related to removing

underperforming funds.576

         79.         In an effort to gauge participant sentiment and to obtain additional input

regarding participant preferences, RPOC established a faculty investment menu advisory

committee in July 2012.577 The committee’s chair explained to the faculty members that RPOC

sought “an informal group of plan participants to advise it regarding its choices [related to the]

investment options.”578 The faculty committee was consulted and voiced its opinions throughout

the menu redesign process.579

         RESPONSE: Plaintiffs dispute paragraph 79. The first sentence is not a fact that is

material to the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule

56.1. The fact demonstrates the failure of Cornell to act in the best interest of all of the Plans’

participants as the “faculty committee” only included faculty. The Plans included employees

from a wide range of positions: administrative jobs, staff management, clerical work, restaurant

work, bookstore sales, graphic design, public relations, IT jobs, accountants, building and facility

maintenance, security and construction.580 Cornell viewed the Plans as only for faculty members.


575
    Ex. P98, Internal CAPTRUST e-mail dated October 2013 (CAPTR_0051798) at 2 (“I called yesterday to discuss
the disruption analysis Cornell would like us to complete”); Ex. P99, e-mail from D. Schwartz to RPOC dated
November 15, 2013 (CORNELL020006); Ex. P100, Internal CAPTRUST e-mail dated December 2013
(CAPTR_0052091); Ex. P23, Strodel Tr. at 164:2-13, 206:11-207:6.
576
    Ex. P98, Internal CAPTRUST e-mail dated October 2013 (CAPTR_0051798) at 1 (“if a participant has 99% of
their assets not disrupted but 1% disrupted, then we will be treating this person as being disrupted. … I agree with
the definition of disruption being either yes or no.”); Ex. P23, Strodel Tr. at 209:20-23.
577
    Doc. 252-7, Ex. 77, June 17, 2012 Hass/Schwarz Email Regarding Formation of Faculty Committee
(CORNELL020166) (“A new law passed in 2006 and the regulations that have followed have placed significantly
greater responsibility on employers/plan sponsors to prudently select and communicate plan funds to the
participants. In fulfilling its fiduciary duties . . . the RPOC would [] like to establish an informal group of plan
participants to also advise it regarding its choices of investment options.”).
578
    Doc. 252-7, Ex. 77, June 17, 2012 Hass/Schwarz Email Regarding Formation of Faculty Committee
(CORNELL020166)
579
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 11.
580
    https://hr.cornell.edu/jobs/how-we-hire/career-areas.


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Plaintiffs dispute the second and third sentence of paragraph 79. These facts are not material to

the Cornell Defendants’ Motion for Summary Judgment as required by Local Rule 56.1. Plan

sponsors cannot defer to plan participants’ choices in a previously unconstrained and

unmonitored menu of historically underperforming investment option.

         80.        As a first step in redesigning the investment menu, RPOC and CAPTRUST

discussed the broad principles that would drive the redesign process. While CAPTRUST

discussed various approaches, it explained that “Cornell w[ould] need to decide upon the

structure best suited to their faculty and staff.”581 RPOC decided that its objectives were to

maintain symmetry across all of the recordkeepers, to offer an appropriate number of choices, to

strive to retain current investment options that were widely held, and to avoid unnecessary

disruption to participant investment choices.582 Notably, “RPOC and CAPTRUST acknowledged

the significant participant communication challenge of reducing investment menus,” especially

since eliminating or mapping funds “had never been done before.583

         RESPONSE: The first sentence of paragraph 80 is disputed. The Cornell Defendants do

not cite to admissible evidence to support the purported fact in the first sentence of paragraph 80.

Plaintiffs otherwise dispute the first sentence because investment advisors that responded to

Cornell’s RFP in 2011 indicated Cornell should reduce the number of funds in the Plans.584

CAPTRUST completed the same process in six months with the University System of Maine,

including conducting an RFI for recordkeepers.585 CAPTRUST’s expert’s only involvement


581
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials, at 14-15 (CORNELL022014).
582
    Doc. 252-5, Ex. 75, November 2012 Meeting Minutes (CAPTR_047924).
583
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials (CORNELL022014).
584
    Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 16-19 (CORNELL029094); Ex. P4,
Mercer response to Cornell’s RFP for investment advisors (CORNELL015325) at 16-18; Ex. P61, Cammack
LaRhette response to Cornell’s RFP for investment advisor May 13, 2011 (CORNELL006753) at 18.
585
    Ex. P101, p at 1 (“CAPTRUST … was hired in January 2013 to provide investment consulting services to the DC
Plan.”); Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 20-27;
30-72;


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with a consolidation to a best in class, tiered line up that CAPTRUST was not involved in took

place in a complex university setting and only took 12-18 months from inception to

implementation including closing a mapping investment options.586

         Plaintiffs dispute that the second and third sentences support Defendants’ process.

CAPTRUST recommended that Cornell create a best-in-class fund line up and remove

underperforming funds in its first meeting.587 Cornell did not even have fund recommendations

for the line-up until July 2013.

         Plaintiffs dispute the fourth sentence of paragraph 80. CAPTRUST internally noted that

it had “experience with our other university clients who have made huge changes with little push

back from participants.”588




       ”589

         81.        CAPTRUST proposed that RPOC begin by reorganizing the Plans’

investments into various “tiers.” CAPTRUST presented a variety of alternative tier systems and

explained that tiered investment menus were common among higher education plans with large

numbers of investment options.590 RPOC evaluated the alternatives and decided to create four




586
    Ex. P88, Ciccotello Tr. at 56:20-57:10; 68:4-6; 125:12-126:17; 129:23-130:7; Ex. P102, The University System
of Georgia Optional Retirement Plan Transition Guide at 5.
587
    Ex. P83, January 11, 2012 RPOC Meeting Material (CORNELL015581).
588
    Ex. P103, Internal CAPTRUST e-mail dated May 26, 2015 (CAPTR_0030324) at 1.
589
    Ex. P61, Cammack LaRhette response to Cornell’s RFP for investment advisor May 13, 2011
(CORNELL006753) at 18.
590
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials (CORNELL022014) (surveying tier systems in place
at Stanford, Harvard, Purdue, Rochester, and other universities).


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tiers that differed based on the investment type, their suitability for certain investors, and the

degree to which the investments would be monitored by RPOC.591

         RESPONSE: The first sentence of paragraph 81 is disputed. The Cornell Defendants do

not cite to admissible evidence to support the purported fact in the first sentence of paragraph 80.

Plaintiffs dispute characterization of the document cited in sentence two. The document does not

indicate that tiered investment menus contain an unmonitored and unconstrained tier of mutual

funds. The document indicates that a retirement plan should have 12-20 investments and

potentially a brokerage window.592 Plaintiffs dispute sentence three. Cornell was notified that its

Plans’ investment menus had “multiple redundancies, sector funds and boutique asset[s] classes”

and that there were many underperforming funds.593 CAPTRUST also indicated in 2014, that

Cornell should remove all funds it would not monitor in the “unmonitored Tier 3[.]”594

         82.       RPOC determined that Tier I would include TIAA’s and Fidelity’s respective

target-date funds or lifecycle funds, which RPOC identified as the Plans’ default investment

alternatives under ERISA § 404(c)(5).

         RESPONSE: Plaintiffs object to paragraph 82 as vague as to time. The Cornell

Defendants do not cite to any evidence to support the purported fact. Whether the target date

funds were properly designed as default investment alternatives under ERISA is a question of

law and not of fact.

         83.       Tier II would include a “core” lineup of approximately 25-30 investment

options across approximately 20 different asset classes. The mix of asset classes included in Tier




591
    Ex. 63, Doc. 239-4, December 2014 RPOC Meeting Materials (CAPTR_0013586); Doc. 241-1, Ex. 90, July
2013 RPOC Meeting Presentation (CORNELL020122), at 7.
592
    Doc. 248-13, Ex. 49, April 2012 RPOC Meeting Materials (CORNELL022014) at 4.
593
    Doc. 241-1, Ex. 90, July 2013 RPOC Meeting Presentation (CORNELL020122), at 16, 40-48.
594
    Ex. 63, Doc. 239-4, December 2014 RPOC Meeting Materials (CAPTR_0013586) at 8.


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II was intended to satisfy the diversification requirements of ERISA Section 404(c). Each asset

class was represented by one or two investment options selected by RPOC and CAPTRUST as

an appropriate investment option for investors seeking exposure to that asset class. This tier of

approximately 25-30 core investment options would be subject to more frequent monitoring than

the “non-core” options and would remain available unless RPOC determined that the investment

was no longer prudent.

        RESPONSE: Plaintiffs object to paragraph 83 as vague as to time. Whether Cornell

complied with the diversification requirements of ERISA section 404(c) is a question of law and

not of fact and improper under Rule 56.1.The Cornell Defendants do not cite to any evidence to

support any of the four separate purported facts in this paragraph. Plaintiffs dispute that any

investment options were removed when they were imprudent prior to Plaintiffs filing this

lawsuit.

        Prior to CAPTRUST’s July 2013 investment scorecard presentation, the Cornell

Defendants did not monitor funds in the Plans in any way.595 CAPTRUST made this observation

in its first meeting with the RPOC, noting that “currently there is a limited process in place to

make investment decisions.”596 CAPTRUST then informed Cornell Defendants that there were

“many underperforming funds” in the Plans, which were not identified.597 After acknowledging


595
    Ex. P7, Opperman Tr. at 59:20-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Ex. P45, DeStefano Tr. at 124:2-16.
596
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 6.
597
    Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581), at 1
(listing date of meeting), 8 (acknowledging underperforming TIAA-CREF investments), 9 (acknowledging
underperforming Fidelity investments); Doc. 248-8, Ex. 44, Meeting Minutes from January 11, 2012 RPOC meeting
(CAPTR_0047903) at 3 (“TIAA-CREF has several redundant asset classes as well as underperforming accounts.
Fidelity currently offering (180+ funds) has significant redundancy, many underperforming accounts and too many
choices in general.”); Ex. P7, Opperman Tr. 60:14-61:9; 63:8-63:24.


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that there were “many underperforming funds” whose identities were unknown in the Plans, no

identification or monitoring occurred on these underperforming fund for 18 months.598 In the

analysis, CAPTRUST identified 85 investments that ranked below the 50th percentile of the peer

group for Annualized Risk Adjusted Performance and/or Annualized Peer Relative Performance

for the 3 and/or 5 year annualized periods, all of which violated Cornell’s Investment Policy

Statement.599 Several funds failed screening criteria so badly in 2013 they were designated with

a red diamond.600 The Cornell Defendants did not obtain any further quantitative investment due

diligence until 14 months later, on September 17, 2014.601 Funds identified with the red

diamond should have been given more attention or been eliminated from the Plans.602

         On February 26, 2015, CAPTRUST identified 62 sectors funds—fund that invest in on

specific sector of the economy or industry—and 36 funds that were failing the Investment Policy

Statement scoring system.603

         CAPTRUST recommended against adding the PIMCO fund in 2014 as PIMCO’s founder

and long-time manager left PIMCO in September 2014—not September 2015.604 In 2014, the




598
    Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd
deliverable is an interim Fiduciary review on the entire platform of funds. … To put this in perspective, we were
hired in December 2011 and we have yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some
sort of quant review on their 5,000 funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3,
2012 (CORNELL013947) at PDF 2 (“You had mentioned that at a recent RPOC meeting, it was unclear whether
CAPTRUST was providing investment performance information to the RPOC.”); Ex. P88, Ciccotello Tr. at 103:3-
105:2.
599
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P89, Quarterly Review
for 3rd Quarter, 2014 (CORNELL015005) at 134; Doc. 252-6, Ex. 76, Investment Policy Statement Cornell
University (CORNELL013763) at 6.
600
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48.
601
    Ex. P90, e-mail attaching materials for September 17, 2014 RPOC meeting (CORNELL013566); Doc. 241-3, Ex.
92 RPOC Presentation September 17, 2014 at 39-47 (CORNELL013567).
602
    Ex. P88, Ciccotello Tr. at 144:8-149:8; Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012
(CORNELL022014) at 21 (score of “69 or below Consider termination of fund”); Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 52, 81, 117-121.
603
    Ex. P95, Tier 3 Fund Selection Overview (CORNELL015019).
604
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 1 (“December 3, 2014”) and 34 (“Bill
Gross, left PIMCO in September [2014]”).


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fund was marked as “consider for termination.”605 PIMCO remained on CAPTRUST’s report as

“consider for termination” at the next meeting with RPOC on December 3, 2014.606 PIMCO

remained on CAPTRUST’s report as “consider for termination” at the next meeting with RPOC

on June 6, 2015.607

         All of these underperforming or inappropriate investments remained in the Plan prior to

this lawsuit because prior to 2016, there was no process to remove an underperforming fund

from the Plans. 608 At the June 29, 2016 RPOC meeting, Ms. Opperman asked “what may cause

a fund to be consider[ed] by RPOC for replacement[?]”609

         84.        The remaining plan investment options (i.e. those that were not included in

Tier II and were not “Target Date” funds) comprised Tier III. RPOC’s goal with respect to

these options was to reduce the number of non-core funds offered directly through the Plans by

eliminating them over time. Finally, Tier IV referred to the investments available through

TIAA’s and Fidelity’s respective brokerage windows which enable participants to invest in any

publicly traded security offered on a major stock exchange.

         RESPONSE: Plaintiffs object to paragraph 84 as vague as to time. The Cornell

Defendants do not cite to any evidence to support any of the three separate purported facts in this

paragraph. Plaintiffs dispute that the RPOC removed any non-core funds prior to Plaintiffs filing

this lawsuit.


605
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 27 (scoring PIMCO as “consider for
termination”).
606
    Ex. P104, RPOC Presentation dated December 3, 2014 (CORNELL015004) at 27.
607
    Doc. 241-5, Ex. 94, RPOC Presentation dated June 2, 2015 (CORNELL013289) at 25.
608
    Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the RPOC
did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC Meeting
Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining a process
to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting Minutes
dated June 29, 2016 (CAPTR_0013565) at 2 (“The Chair, Ms. Opperman asked what may cause a fund to be
considered by RPOC for replacement.”).
609
    Ex. P19, RPOC Meeting Minutes dated June 29, 2016 (CAPTR_0013565) at 2.


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         Prior to CAPTRUST’s July 2013 investment scorecard presentation, the Cornell

Defendants did not monitor funds in the Plans in any way.610 CAPTRUST made this observation

in its first meeting with the RPOC, noting that “currently there is a limited process in place to

make investment decisions.”611 CAPTRUST then informed Cornell Defendants that there were

“many underperforming funds” in the Plans, which were not identified.612 After acknowledging

that there were “many underperforming funds” whose identities were unknown in the Plans, no

identification or monitoring occurred on these underperforming fund for 18 months.613 In the

analysis, CAPTRUST identified 85 investments that ranked below the 50th percentile of the peer

group for Annualized Risk Adjusted Performance and/or Annualized Peer Relative Performance

for the 3 and/or 5 year annualized periods, all of which violated Cornell’s Investment Policy

Statement.614 Several funds failed screening criteria so badly in 2013 they were designated with

a red diamond.615 The Cornell Defendants did not obtain any further quantitative investment due



610
    Ex. P7, Opperman Tr. at 59:20-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Ex. P45, DeStefano Tr. at 124:2-16.
611
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 6.
612
    Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581), at 1
(listing date of meeting), 8 (acknowledging underperforming TIAA-CREF investments), 9 (acknowledging
underperforming Fidelity investments); Doc. 248-8, Ex. 44, Meeting Minutes from January 11, 2012 RPOC meeting
(CAPTR_0047903) at 3 (“TIAA-CREF has several redundant asset classes as well as underperforming accounts.
Fidelity currently offering (180+ funds) has significant redundancy, many underperforming accounts and too many
choices in general.”); Ex. P7, Opperman Tr. 60:14-61:9; 63:8-63:24.
613
    Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd
deliverable is an interim Fiduciary review on the entire platform of funds. … To put this in perspective, we were
hired in December 2011 and we have yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some
sort of quant review on their 5,000 funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3,
2012 (CORNELL013947) at PDF 2 (“You had mentioned that at a recent RPOC meeting, it was unclear whether
CAPTRUST was providing investment performance information to the RPOC.”); Ex. P88, Ciccotello Tr. at 103:3-
105:2.
614
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P89, Quarterly Review
for 3rd Quarter, 2014 (CORNELL015005) at 134; Doc. 252-6, Ex. 76, Investment Policy Statement Cornell
University (CORNELL013763) at 6.
615
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48.


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diligence until 14 months later, on September 17, 2014.616 Funds identified with the red

diamond should have been given more attention or been eliminated from the Plans.617

         On February 26, 2015, CAPTRUST identified 62 sector funds—fund that invest in a

specific sector of the economy or industry—and 36 funds that were failing the Investment Policy

Statement scoring system.618

         CAPTRUST recommended against adding the PIMCO fund in 2014 as PIMCO’s founder

and long-time manager left PIMCO in September 2014—not September 2015.619 In 2014, the

fund was marked as “consider for termination.”620 PIMCO remained on CAPTRUST’s report as

“consider for termination” at the next meeting with RPOC on December 3, 2014.621 PIMCO

remained on CAPTRUST’s report as “consider for termination” at the next meeting with RPOC

on June 6, 2015.622

         All of these underperforming or inappropriate investments remained in the Plan prior to

this lawsuit, because prior to 2016, there was no process to remove an underperforming fund

from the Plans. 623 At the June 29, 2016 RPOC meeting, Ms. Opperman (the Committee Chair)

asked “what may cause a fund to be consider[ed] by RPOC for replacement[?]”624


616
    Ex. P90, e-mail attaching materials for September 17, 2014 RPOC meeting (CORNELL013566); Doc. 241-3, Ex.
92, RPOC Presentation September 17, 2014 at 39-47 (CORNELL013567).
617
    Ex. P88, Ciccotello Tr. at 144:8-149:8; Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012
(CORNELL022014) at 21 (score of “69 or below Consider termination of fund”); Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 52, 81, 117-121.
618
    Ex. P95, Tier 3 Fund Selection Overview (CORNELL015019).
619
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 1 (“December 3, 2014”) and 34 (“Bill
Gross, left PIMCO in September [2014]”).
620
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 27 (scoring PIMCO as “consider for
termination”).
621
    Ex. P104, RPOC Presentation dated December 3, 2014 (CORNELL015004) at 27.
622
    Doc. 241-5, Ex. 94, RPOC Presentation dated June 2, 2015 (CORNELL013289) at 25.
623
    Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the RPOC
did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC Meeting
Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining a process
to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting Minutes
dated June 29, 2016 (CAPTR_0013565) at 2 (“The Chair, Ms. Opperman asked what may cause a fund to be
considered by RPOC for replacement.”).
624
    Ex. P19, RPOC Meeting Minutes dated June 29, 2016 (CAPTR_0013565) at 2.


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         85.          After RPOC agreed to implement the four tier investment menu and had

identified the asset classes that would be included in Tier II’s “core” fund lineup, CAPTRUST

submitted an initial proposed list of funds that would be included in Tier II for each asset class

and the identified a large number of funds that would be eliminated from the Plans. Notably, this

list of core funds included both the TIAA Real Estate Account and the CREF Stock Account.625

         RESPONSE: Plaintiffs dispute that the first sentence of paragraph 85 is a material fact.

An initial list of funds to include in a best-in-class tier, with no analysis, does not mean an

investment is prudent. Plaintiffs do not dispute that CAPTRUST included TIAA Real Estate and

the CREF Stock Account in its first list of “core funds.” Plaintiffs dispute that these funds were

prudent or that a proper analysis of these funds occurred prior to placing them on the

recommended “core funds” line up.

         CAPTRUST recommended that Cornell include the TIAA Real Estate Fund in its

recommended line-up without conducting any evaluation.626




         Historical performance data for the TIAA Real Estate Account was available in July

2013, but not utilized by CAPTRUST.627 For the University System of Maine in July 2013

CAPTRUST compared the TIAA Real Estate Account to the Dow Jones US Select REIT and

Morningstar Specialty-Real Estate benchmarks.628 CAPTRUST’s evaluation showed that the



625
    Doc. 252-8, Ex. 78, September 2013 RPOC Meeting Minutes (CAPTR_047918).
626
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at
110:24-113:9 (“Q. Sure. Do you see any appropriate performance-related information for the TIAA Real Estate
Account in this presentation? A. So in this presentation I just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at
185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7, Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 103-105.
627
    Ex. P105, TIAA Real Estate Account’s Quarterly 8-K (TIAA_CORNELL_00026051) at 4.
628
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.


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TIAA Real Estate Account underperformed significantly against both indexes over the year to

date, one, three, five and ten-year periods.629




         By December 2014, CAPTRUST evaluated the TIAA Real Estate Account’s unadjusted

returns against the NACREIF Property Index and Morningstar Specialty-Real Estate Universe.630

The Cornell Defendants relied on information provided by CAPTRUST using unadjusted returns

to measure the performance of the TIAA Real Estate Account that they now contend was

inappropriate.631 Plaintiffs’ expert explains that using the unadjusted returns the TIAA Real

Estate Account had significant underperformance.632 Cornell takes the position that what

CAPTRUST did, comparing the TIAA Real Estate Accounts unadjusted returns, is a “flat-out




629
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
630
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance
figures are designed for the use of Account investors for comparison purposes only, and do not reflect the true
returns experienced by holders of interests in the Account.”).
631
    Doc. 240-7–240-12, Expert Report of John Chalmers at ¶¶ 57-58.
632
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of W. Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for the use of Account investors for comparison
purposes only, and do not reflect the true returns experienced by holders of interests in the Account.”).


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mischaracterization” of how the TIAA Real Estate Account should be compared against an

NCREIF index.633

         Compare unadjusted number used by CAPTRUST:




CAPTRUST 2014 presentation to the RPOC.634

         With the unadjusted number listed in TIAA Real Estate Account’s Quarterly Analysis for

the same period:




         TIAA Real Estate Account Quarterly Performance Analysis for the period ending

September 30, 2014.635



              .636




633
    Doc. 227 at 21.
634
    Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 28; Ex. P23, Strodel Tr. at 145:8-24.
635
    Ex. P107, TIAA Real Estate Account Quarterly Performance Analysis September 30, 2014, exhibit 99.1 to 8-K,
at 4.
636
    Ex. P62, Segal Advisors Response to Cornell’s RFP for an investment advisor May 4, 2011, (CORNELL006782)
at PDF 54-55.


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         In July 2013, CAPTRUST reported that the CREF Stock Account ranked below the 50th

percentile of its Annualized Risk Adjusted Performance peer group and its Annualized Peer

Relative Performance group for the 3 and 5 year periods.637




         CAPTRUST described its evaluation of the CREF Stock Account to the RPOC as an

“estimation.”638 The RPOC believed that CAPTRUST’s yellow triangle scoring for the CREF

Stock Account was “fundamentally unreliable,” and they could not determine whether the yellow

triangles on the July 2013 report reflected the performance of the CREF Stock Account or the

inadequacy of CAPTRUST’s selection of measurement.639 CAPTRUST did not provide the

RPOC with information necessary to interpret its scoring system, including the yellow, “Marked

For Review” within the quantitative criteria categories until December 2014.640 CAPTRUST did

not provide underlying performance data for the CREF Stock Account until December 2014.641

         CAPTRUST categorized the CREF Stock Account in Large Company Blend asset class

in the Plans.642 CAPTRUST’s expert also classified the CREF Stock Account in the Large Blend

asset class during his fiduciary service to the University System of Georgia Optional Retirement




637
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 28.
638
    Ex. P8, Bursic Tr. at 217:18-25.
639
    Ex. P8, Bursic Tr. at 218:2-9; 218:25-219:4.
640
    Ex. 63, Doc. 239-4, RPOC Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 3-4 (“Mr. Schmitt
focused on the key components of the review and the manner in which CAPTRUST evaluates/”scores” an
investment vehicle.”); Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134; E-mail
attaching Quarterly Review for 3rd Quarter, 2014 (CORNELL015001).
641
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNEL015005) at 39.
642
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12, 35, 38; Ex. P84, CAPTRUST
Presentation for The University of Maine System dated July 15, 2013 at PDF 21, 25-27; Ex. P108, University of
Maine System Quarterly Review for 3rd Quarter, 2014 at 14, 17, 35 and 43; Ex. P60, Schmitt Tr. at 80:1-19; Ex.
P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 472, 501; Ex. P60, Schmitt Tr. at
81:18-20.


                                                     133
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Plan.643 For the University System of Maine in July 2013 CAPTRUST compared the CREF

Stock Account against the S&P 500 Index and Morningstar Large Blend Index.644 CAPTRUST’s

evaluation showed that the CREF Stock Account underperformed both indexes over the 3 and 5

year period and that there was major style exposure overlap between the CREF Stock Account

and the Morningstar Large Blend Average.645

        CAPTRUST’s evaluation showed major similarity in annualized standard deviation

between the CREF Stock Account and the Morningstar Large Blend Average.646




        As a result of CAPTRUST’s self-described unreliable evaluation, Cornell decided to keep

the CREF Stock Account on Tier II solely because it had been offered at Cornell since the

1950s.647



643
    Ex. P88, Ciccotello Tr. at 56:20-58:11; 67:6-73:13; Ex. P102, The University System of Georgia Optional
Retirement Plan Transition Guide at 13.
644
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
645
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
646
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
647
    Ex. P8, Bursic Tr. at 218:9-11.


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        After 2014, Cornell relied on CAPTRUST’s evaluation of the CREF Stock Account

using a benchmark of 70% domestic equity and 30% international equity, with 7-8% of the 30%

in emerging markets, that Cornell now described as materially different than CREF Stock

Account.648 Cornell Defendants believe CAPTRUST’s custom index is an inappropriate

comparison for the CREF Stock Account because it is “materially different from that of CREF

Stock.”649




        When compared to this benchmark, the CREF Stock Account underperformed from 2000

through June 2010.650

        86.          However, at this meeting RPOC’s members raised a number of concerns

regarding the amount of disruption involved in CAPTRUST’s proposed fund changes. RPOC

created a subcommittee to assist CAPTRUST with the identification of Tier II funds and

reiterated that in an effort to avoid unnecessary disruption, “adequate consideration should be

given to funds already being utilized.”651




648
    Ex. P23, Strodel Tr. at 144:21-145:6; Ex. P60, Schmitt Tr. at 116:19-118:12; Doc. 240-7–240-12, Expert Report
of John Chalmers at ¶ 55; Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶ 95, Exhibit 5 (comparing
the CREF Stock Account to a 70% U.S., 23% Int’l, 7% EM Index and demonstrating historic underperformance).
649
    Doc. 227 at p. 13-14; Doc. 233 at 16-18.
650
    Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶ 95, Exhibit 5.
651
    Doc. 252-8, Ex. 78, September 2013 RPOC Meeting Minutes (CAPTR_047918).


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         RESPONSE: Plaintiffs dispute that the first paragraph 86 is a material fact. Plan

participants are not charged with the duty to act as an investment professional. Plan sponsors

cannot defer to plan participants’ choices in a previously unconstrained and unmonitored menu

of investment option. This defeats the entire purpose of having a prudent investment professional

curating the fund line-up. Plaintiffs dispute Cornell’s characterization of the document. No

investment due diligence was conducted until July 2013.652 No disruption analysis occurred prior

to this analysis.653 This “disruption analysis” was flawed and over-inclusive, contributing to a

complete lack of process related to removing underperforming funds.654

         87.         The investment design subcommittee met on multiple occasions between the

July 2013 and September 2013 meetings to analyze fund options to be included in Tier II’s

“core” lineup. CAPTRUST and the subcommittee presented their recommendations to RPOC at

the September 2013 meeting. In connection with this meeting, CAPTRUST reviewed the

thorough investment selection process employed to identify the most appropriate core funds for

Tier II. This process included consideration of the priorities previously identified by RPOC (i.e.

disruptions concerns and preference for funds currently available), the quantitative screening

criteria and qualitative assessments described in the IPS, and their reliance on various investment

research databases (e.g. Morningstar ratings) to augment the process.655 The TIAA Real Estate




652
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P86, Internal
CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 3.
653
    Ex. P98, Internal CAPTRUST e-mail exchange October 24, 2013, to November 6, 2013 (CAPTR_0051798) at 2
(“I had a chance yesterday to discuss the disruption analysis Cornell would like us to complete.”); Ex. P99, e-mail
from D. Schwartz to RPOC dated November 15, 2013 (CORNELL020006); Ex. P100, Internal CAPTRUST e-mail
dated December 2, 2013 (CAPTR_0052091); Ex. P23, Strodel Tr. at 164:2-13, 206:11-207:6.
654
    Ex. P98, Internal CAPTRUST e-mail exchange October 24, 2013, to November 6, 2013 (CAPTR_0051798) at 1
(“if a participant has 99% of their assets not disrupted but 1% disrupted, then we will be treating this person as being
disrupted. … I agree with the definition of disruption being either yes or no.”); Ex. P23, Strodel Tr. at 209:20-23.
655
    Doc. 252-8, Ex. 78, September 2013 RPOC Meeting Minutes (CAPTR_047918).


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Account and CREF Stock Account were both included among the Tier II “core” investment

options approved by RPOC as this meeting.656

         RESPONSE: Plaintiffs dispute sentences one through three. The Cornell Defendants do

not cite to any evidence to support any of the three separate purported facts in this paragraph.

Plaintiffs dispute the fourth sentence of paragraph 87. The materials cited shows that it took

nearly three years to even begin discussing a new fund menu. Plaintiffs dispute the fifth

sentence of paragraph 87. CAPTRUST recommended that Cornell include the TIAA Real Estate

Fund in its recommended line-up without conducting any evaluation.657




         Historical performance data for the TIAA Real Estate Account was available in July

2013, but not utilized by CAPTRUST.658 For the University System of Maine in July 2013

CAPTRUST compared the TIAA Real Estate Account to the Dow Jones US Select REIT and

Morningstar Specialty-Real Estate benchmarks.659 CAPTRUST’s evaluation showed that the

TIAA Real Estate Account underperformed significantly against both indexes over the year to

date, one, three, five and ten-year periods.660




656
    Doc. 252-8, Ex. 78, September 2013 RPOC Meeting Minutes (CAPTR_047918).
657
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at
110:24-113:9 (“Q. Sure. Do you see any appropriate performance-related information for the TIAA Real Estate
Account in this presentation? A. So in this presentation I just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at
185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7, Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 103-105.
658
    Ex. P105, TIAA Real Estate Account’s Quarterly 8-K (TIAA_CORNELL_00026051) at 4.
659
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
660
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.


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         By December 2014, CAPTRUST evaluated the TIAA Real Estate Account’s unadjusted

returns against the NACREIF Property Index and Morningstar Specialty-Real Estate Universe.661

The Cornell Defendants relied on information provided by CAPTRUST using unadjusted returns

to measure the performance of the TIAA Real Estate Account that they now contend was

inappropriate.662 Plaintiffs’ expert explains that using the unadjusted returns the TIAA Real

Estate Account had significant underperformance.663 Cornell takes the position that what

CAPTRUST did, comparing the TIAA Real Estate Accounts unadjusted returns, is a “flat-out

mischaracterization” of how the TIAA Real Estate Account should be compared against an

NCREIF index.664

         Compare unadjusted number used by CAPTRUST:




661
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance
figures are designed for the use of Account investors for comparison purposes only, and do not reflect the true
returns experienced by holders of interests in the Account.”).
662
    Doc. 240-7–240-12, Expert Report of John Chalmers at ¶¶ 57-58.
663
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015, at PDF 2 (“adjusted performance figures are designed for the use of Account investors for
comparison purposes only, and do not reflect the true returns experienced by holders of interests in the Account.”).
664
    Doc. 227 at 21.


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CAPTRUST 2014 presentation to the RPOC.665

         With the matching unadjusted number listed in TIAA Real Estate Account’s Quarterly

Analysis for the same period:




         TIAA Real Estate Account Quarterly Performance Analysis for the period ending

September 30, 2014.666



              .667

         In July 2013, CAPTRUST reported that the CREF Stock Account ranked below the 50th

percentile of its Annualized Risk Adjusted Performance peer group and its Annualized Peer

Relative Performance group for the 3 and 5 year periods.668




665
    Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 28; Ex. P23, Strodel Tr. at 145:8-24.
666
    Ex. P107, TIAA Real Estate Account Quarterly Performance Analysis September 30, 2014, exhibit 99.1 to 8-K,
at 4.
667
    Ex. P62, Segal Advisors Response to Cornell’s RFP for an investment advisor May 4, 2011, (CORNELL006782)
at PDF 54-55.
668
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 134.


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         CAPTRUST described its evaluation of the CREF Stock Account to the RPOC as an

“estimation.”669 The RPOC believed that CAPTRUST’s yellow triangle scoring for the CREF

Stock Account was “fundamentally unreliable,” and they could not determine whether the yellow

triangles on the July 2013 report reflected the performance of the CREF Stock Account or the

inadequacy of CAPTRUST’s selection of measurement.670 CAPTRUST did not provide the

RPOC with information necessary to interpret its scoring system, including the yellow, “Marked

For Review” within the quantitative criteria categories until December 2014.671 CAPTRUST did

not provide underlying performance data for the CREF Stock Account until December 2014.672

         88.       RPOC began to gradually phase out investments in Tier III, beginning with

those investments that triggered certain screening criteria. RPOC also agreed to close funds to

new contributions if they were available through the Tier IV brokerage window at no additional

cost.673 Through this process RPOC eliminated dozens of funds and to this day continues to

analyze the Tier III fund menu to identify additional funds that can be eliminated.674

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 88. The Cornell

Defendants do not cite to any evidence to support the purported fact in this sentence. Plaintiffs

dispute the second sentence of paragraph 88. The RPOC did not actually take the action cited

because it violated nondiscrimination rules under ERISA.675 Plaintiffs dispute the third sentence

in paragraph 88. Prior to 2016, there was no process to remove an underperforming fund from


669
    Ex. P8, Bursic Tr. at 217:18-25.
670
    Ex. P8, Bursic Tr. at 218:2-9; 218:25-219:4.
671
    Ex. 63, Doc. 239-4, RPOC Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 3-4 (“Mr. Schmitt
focused on the key components of the review and the manner in which CAPTRUST evaluates/”scores” an
investment vehicle.”); Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134; E-mail
attaching Quarterly Review for 3rd Quarter, 2014 (CORNELL15001).
672
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNEL015005) at 39.
673
    Doc. 238-9, Ex. 58, March 2016 RPOC Meeting Minutes (CAPTR_0013568).
674
    Doc. 252-10, Ex. 80, December 2016 RPOC Meeting Minutes, at 3-4 (CAPTR_013590) (discussing ongoing
process for eliminating funds).
675
    Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583).


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the Plans.676 At the June 29, 2016 RPOC meeting, RPOC Chair, Ms. Opperman asked “what may

cause a fund to be consider[ed] by RPOC for replacement[?]”677

         89.        While RPOC and CAPTRUST worked to redesign the investment menu and to

eliminate or consolidate many of the non-core investment options, they simultaneously

monitored all the Plans’ investments, including the “non-core” investments in Tier III.

         RESPONSE: Plaintiffs dispute paragraph 89. The Cornell Defendants do not cite to any

evidence to support this purported fact. Prior to CAPTRUST’s July 2013 investment scorecard

presentation, the Cornell Defendants did not monitor funds in the Plans.678 Prior to hiring

CAPTRUST, Cornell had “no experience to do this analysis.”679 The Cornell Defendants had no

process in place to remove a fund from the Plans until 2016.680 Cornell never monitored all “non-

core” investments in Tier III.681 CAPTRUST also indicated in 2014, that Cornell should remove

all funds it would not monitor in the “unmonitored Tier 3[.]”682



676
    Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the RPOC
did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC Meeting
Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining a process
to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting Minutes
dated June 29, 2016 (CAPTR_0013565) at 3 (“The Chair, Ms. Opperman asked what may cause a fund to be
consider[ed] by RPOC for replacement.”).
677
    Ex. P19, RPOC Meeting Minutes dated June 29, 2016 (CAPTR_0013565) at 3.
678
    Ex. P7, Opperman Tr. at 59:20-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Cornell Defendants’ Rule 56.1 Statement of Undisputed Material Facts
infra at ¶ 74 (CAPTRUST’s initial goals and objective included “adopting a methodology for ongoing plan
monitoring.”).
679
    Ex P8, Bursic Tr. at 79:25:-80:7.
680
    Ex. P23, Strodel Tr. at 163:24-165:25; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the
RPOC did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC
Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining
a process to make decisions on the funds currently found in the Tier III menu of funds.”).
681
    Ex. P7, Opperman Tr. at 59:20-60:2, 123:21-24, 161:6-22; Ex. P8, Bursic Tr. at 16:3-25, 78:4-85:18, 176:3-
177:3, 178:9-20; Ex. P9, Gallagher Tr. at 152:23-153:6, 56:10-22.
682
    Ex. 63, Doc. 239-4, December 2014 RPOC Meeting Materials (CAPTR_0013586) at 8; Ex. P8, Bursic Tr. at
173:5-175:1.


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          90.        The RPOC’s regular monitoring process resulted in certain investments being

flagged for further review. These investments were evaluated for removal or replacement by

RPOC and closely monitored at subsequent meetings.

             RESPONSE: Plaintiffs dispute paragraph 90. The Cornell Defendants do not cite to

      any evidence to support this purported fact.

          91.        At the September 9, 2015 RPOC meeting, CAPTRUST informed the

committee that it had flagged the Blackrock Investment Grade Bond Fund and the PIMCO Total

Return Fund for review because of performance issues that impacted the funds’ quantitative

score under the IPS scoring system. CAPTRUST also explained that the PIMCO fund had been

assigned a lower qualitative score because the fund’s founder and long-time manager had

unexpectedly resigned.683

          RESPONSE: Plaintiffs do not dispute that the Blackrock Investment Grade Bond and

PIMCO Total Return Fund were marked for review in the September 9, 2015 meeting. Plaintiffs

dispute the second sentence of paragraph 91. CAPTRUST recommended against adding the

PIMCO fund in 2014 as PIMCO’s founder and long-time manager left PIMCO in September

2014—not September 2015 as Paragraph 91 indicates.684

          92.        These funds were discussed at subsequent RPOC meetings. At each meeting

while these two funds were on the IPS watchlist, CAPTRUST provided RPOC detailed

investment information that tracked the investments’ ratings and performance.685 While the




683
    Doc. 252-9, Ex. 79, September 2015 RPOC Meeting Materials (CORNELL020930).
684
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 1 (“December 3, 2014”) and 34 (“Bill
Gross, left PIMCO in September [2014]”).
685
    Doc. 252-9, Ex. 79, September 2015 RPOC Meeting Materials (CORNELL020930).


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Blackrock fund’s performance improved, the PIMCO fund continued to perform poorly and it

was replaced with a peer fund in the same asset class.686

         RESPONSE: Plaintiffs dispute the first and second sentences of paragraph 92. Cornell

cites the same September 2015 meeting it cited in paragraph 91 for the proposition that Cornell

discussed the same funds in subsequent meetings.

         Plaintiffs dispute that the BlackRock fund’s performance improved.687 Plaintiffs do not

dispute that the PIMCO fund was eventually removed from the Plans. Plaintiffs dispute that this

implies Cornell had any process. CAPTRUST recommended against adding the PIMCO fund in

2014 as PIMCO’s founder and long-time manager left PIMCO in September 2014.688 In

December 2014, the fund was then marked as “consider for termination.”689 PIMCO remained

on CAPTRUST’s report as “consider for termination” at the next meeting with RPOC on June 6,

2015.690 At the June 29, 2016 RPOC meeting, Ms. Opperman asked “what may cause a fund to

be consider[ed] by RPOC for replacement[?]”691The quarterly analysis for the period ending

June 30, 2016 shows the PIMCO fund remained in the Plans.692 The PIMCO fund still showed it

was failing IPS criteria and should be “considered for termination.”693 Cornell did not vote to

remove the PIMCO fund until November 2016, after this lawsuit was filed.694 Cornell left the

fund marked “consider for termination,” which CAPTRUST recommended against adding to the



686
    Doc. 252-10, Ex. 80, December 2016 RPOC Meeting Minutes, at 1 (CAPTR_0010109).
687
    Ex. P109, RPOC Quarterly Review for period ending December 31, 2016 (CAPTR_0010618) at 19 (BlackRock
marked “consider for termination”) and 24
688
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 1 (“December 3, 2014”) and 34 (“Bill
Gross, left PIMCO in September [2014]”).
689
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 27 (scoring PIMCO as “consider for
termination”).
690
    Doc. 241-5, Ex. 94, RPOC Presentation dated June 2, 2015 (CORNELL013289) at 25.
691
    Ex. P19, RPOC Meeting Minutes dated June 29, 2016 (CAPTR_0013565) at 2.
692
    Doc. 249-1, Ex. 96, RPOC Quarterly Review for period ending June 30, 2016 (CORNELL013413) at 31.
693
    Doc. 249-1, Ex. 96, RPOC Quarterly Review for period ending June 30, 2016 (CORNELL013413) at 31.
694
    Ex. P110, RPOC Presentation December 12, 2016 (CAPTR_008486) at 4 (“Action decided in November 16, via
email”).


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core lineup in the Plans for over two years.695 Prior to 2016, there was no process to remove an

underperforming fund from the Plans. 696

          93.        The CREF Stock Account and the TIAA Real Estate Account are objectively

prudent investment options and were appropriately monitored throughout the relevant time

period.

          RESPONSE: Plaintiffs dispute paragraph 93. The Cornell Defendants fail to cite any

specific reference to support paragraph 93. Plaintiffs otherwise dispute that the CREF Stock

Account and TIAA Real Estate Account were “objectively prudent” which is a legal conclusion,

or that they were “appropriately monitored throughout the relevant time period.”

          The CREF Stock Account underperformed against its prospectus listed benchmarks the

entire time CAPTRUST served as an investment advisor until the Complaint was filed.697 The


695
    Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 27 (scoring PIMCO as “consider for
termination”); Ex. P110, RPOC Presentation December 12, 2016 (CAPTR_008486) at 4 (“Action decided in
November 16, via email. Implementation recommendation to follow”).
696
    Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the RPOC
did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC Meeting
Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining a process
to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting Minutes
dated June 29, 2016 (CAPTR_0013565) at 2 (“The Chair, Ms. Opperman asked what may cause a fund to be
considered by RPOC for replacement.”).
697
    Ex. P111, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2011 at 7 (underperformed against both benchmarks for all
periods)(TIAA_CORNELL_00021841); Ex. P112, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, June 30, 2012 at 7 (underperformed against both benchmarks for
1-, 5- and 10-year periods); Ex. P113, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2012 at 8 (underperformed against both benchmarks for 5- and
10-year periods); Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2013 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2013 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P116, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2014 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P117, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2014 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P118, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2015 at 8 (underperformed against both benchmarks for 5- and 10-
year periods); Ex. P119, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2015 at 8 (underperformed against both benchmarks for 5- and 10-year
periods); Ex. P120, College Retirement Equities Fund, Certified Shareholder Report of Registered Management


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CREF Stock Account underperformed against a variety of benchmarks prior to 2010.698 As of

June 30, 2013, the date of CAPTRUST’s first evaluation of the CREF Stock Account for the

Plans, it underperformed both benchmarks listed in its semi-annual shareholder report over the 6-

month, one, three, five and ten-year periods.699 In July 2013, CAPTRUST reported that the

CREF Stock Account ranked below the 50th percentile of its Annualized Risk Adjusted

Performance peer group and its Annualized Peer Relative Performance group for the 3 and 5

year periods.700

        For the University System of Maine in July 2013 CAPTRUST compared the CREF Stock

Account against S&P 500 Index and Morningstar Large Blend Index.701 CAPTRUST’s

evaluation showed that the CREF Stock Account underperformed both indexes over the 3 and 5

year period and that there was major style exposure overlap between the CREF Stock Account

and the Morningstar Large Blend Average.702 CAPTRUST’s evaluation showed major similarity

in annualized standard deviation between the CREF Stock Account and the Morningstar Large

Blend Average.703

        By the end of 2013, $10,000 invested in the CREF Stock Account over 10 years was

worth $1,158 less than the Russell 3000 Index, which was listed in the CREF Stock Account’s

Annual Report and prospectus as a benchmark.704



Investment Companies, June 30, 2016 at 8 (underperformed against both benchmarks for 6-month, 1-, 5- and 10-
year periods).
698
    Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 95, Exhibit 5.
699
    Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2013 at 9.
700
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 134.
701
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
702
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
703
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
704
    Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2013 at 8.


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         The CREF Stock Accoun’s own annual report shows that by year end 2016, an investor

with $10,000 that would have taken advantage of an alternative Large Company Blend

mimicking the Russell 3000 Index over the rolling 10 year-period would have $3,577 more in

retirement savings than an investor that chose the CREF Stock Account listed in the Large

Company Blend asset class in Cornell’s Plans:705




         The average account balance for the Plans’ participants was around $200,000, which

would translate into $71,540 less in retirement savings over a 10-year period for an individual

investing in only the CREF Stock Account within Cornell’s Large Blend asset class.706

         Cornell and CAPTRUST held out the TIAA Real Estate Account in the real estate asset

class, along with the Cohen & Steers Realty Shares.707 Consistent with its assignment in the real

estate asset class, in 2013, CAPTRUST compared the TIAA Real Estate Account to the same

benchmarks it compared the Cohen & Steers Realty shares against—the Dow Jones US Select


705
    Ex. P121, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2016 at 12; Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 96.
706
    Ex. P122, TIAA-CREF Plan Outcome Assessment December 2015 (CORNELL029168) at 8.
707
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12; Ex. P89, Quarterly Review for
Period Ending September 30, 2014 (CORNELL015005) at 53; Supra at ¶ 80, (“RPOC decided that its objectives
were to maintain symmetry”).


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REIT and Morningstar Specialty-Real Estate Universe.708 From 2009 to 2016 the TIAA Real

Estate Account underperformed against the alternative Cohen & Steers Realty Shares investment,

recommended in the real estate asset class for the Fidelity platform in the Plans by 83.37%.709

From 2009 to 2016 TIAA Real Estate Account underperformed against the alternative Vanguard

REIT Index by 82.95%.710




708
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68; Ex. P89,
Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 69.
709
    Ex. P123, Cohen & Steers Realty Shares, Inc. Prospectus dated May 1, 2017 at 5; Ex. P124, TIAA Real Estate
Account Quarterly Performance Analysis December 31, 2016, exhibit 99.1 to 8-k, at 15.
710
    Ex. P125, Vanguard Specialized Funds Prospectus dated September 26, 2017 at 4; Ex. P124, TIAA Real Estate
Account Quarterly Performance Analysis December 31, 2016, exhibit 99.1 to 8-k, at 15; Doc. 249-18, Ex. 106,
Expert Report of W. Dominguez, ¶¶ 106-108.


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         The TIAA Real Estate Account underperformed prior to CAPTRUST’s analysis.711 For

the University System of Maine in July 2013 CAPTRUST compared the TIAA Real Estate

Account to the Dow Jones US Select REIT and Morningstar Specialty-Real Estate

benchmarks.712 The TIAA Real Estate Account underperformed significantly against both

indexes over the year to date, one, three, five and ten-year periods.713 By December 2014,

CAPTRUST evaluated the TIAA Real Estate Account’s unadjusted returns against the

NACREIF Property Index and Morningstar Specialty-Real Estate Universe.714 Using the

unadjusted returns the TIAA Real Estate Account had significant underperformance.715 The

Cornell Defendants’ expert opines that using unadjusted returns to measure the performance of

the TIAA Real Estate Account was inappropriate.716 The Cornell Defendants take the position

that CAPTRUST‘s evaluation was a “flat-out mischaracterization” of how the TIAA Real Estate

Account should be compared against an NCREIF index.717

         94.         The CREF Stock Account is a variable annuity managed by TIAA that seeks a

long-term rate of return through capital appreciation and investment income by investing in a


711
    Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 96-108, Exhibit 3.
712
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
713
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
714
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance
figures are designed for use of Account investors for comparison purposes only, and do not reflect the true returns
experienced by holders of interests in the Account.”).
715
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for use of Account investors for comparison purposes
only, and do not reflect the true returns experienced by holders of interests in the Account.”); Doc. 249-18, Ex. 106,
Expert Report of Wendy Dominguez at ¶¶ 102-108; Ex. P45, DeStefano Tr. at 54:21-55:14.
716
    Doc. 240-7–240-12, Expert Report of John Chalmers at ¶¶ 57-58.
717
    Doc. 227 at 21.


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broadly diversified portfolio of common stocks.718 Under normal circumstances, the Stock

Account seeks to hold approximately 70-75% domestic equities and 25-30% foreign equities,

some percentage of which may be invested in emerging markets.719 The Stock Account is unique

in that its holdings are diversified across domestic and foreign markets, all market

capitalizations, and each market sector.720 Moreover, while most funds are either actively or

passively managed, the CREF Stock Account employs a diversified investment management

strategy that combines active management, quantitative analysis, and passive indexing.721

         RESPONSE: Plaintiffs do not dispute that the first and second sentence appears in the

CREF Stock Account’s 2016 Prospectus. Plaintiffs dispute that the CREF Stock Account is

“unique.”722 Plaintiffs do not dispute that the CREF Stock Account includes passive

management. During the time the CREF Stock Account has been in the Plans, up to 64.71

percent of its portfolio was a passive index tracking the Russell 3000.723 While the Plans’

participants were investing the CREF Stock Account, more than 83% of the portfolio was

invested in domestic markets similar to the Russell 3000.724

         95.        Pursuant to the contract terms of the RA, GRA, SRA, and GSRA versions of

the TIAA Traditional Annuity (collectively, “the TIAA legacy contracts”), plans must also offer




718
    Doc. 240-1, Ex. 81, 2016 CREF Prospectus, at 27 (TIAA_CORNELL_00024810).
719
    Doc. 240-1, Ex. 81, 2016 CREF Prospectus, at 28 (TIAA_CORNELL_00024810).
720
    Doc. 246-11, Ex. 29, Polacek Dep. 186:12-187:18 (explaining design and portfolio construction intended to
“offer the opportunity for singular and very well-diversified exposure to the breadth of equities globally”).
721
    Doc. 240-1, Ex. 81, 2016 CREF Prospectus, at 28 (TIAA_CORNELL_00024810); Doc. 246-11, Ex. 29 Polacek
Dep. 187:5-9.
722
    Ex. P126, 2016 Vanguard Total World Stock Index Funds Prospectus at 2 (diversified holdings across domestic
and foreign markets, all market capitalizations, and each market sector).
723
    Ex. P127, College Retirement Equities Fund Prospectus May 1, 1996 at 12-13 (A segment of the Stock Account
“is designed to track the U.S. equity market as a whole. … the Russell 3000 segment of the Stock Account made up
64.71 percent of the portfolio.”)
724
    Ex. P127, College Retirement Equities Fund Prospectus May 1, 1996 at 12-13; Ex. P128, College Retirement
Equities Fund Prospectus May 1, 1997 at 13-15; Ex. P129, College Retirement Equities Fund Prospectus May 1,
1998 at 18-20;


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participants the opportunity to also invest in CREF Stock.725 In order to eliminate CREF Stock,

Cornell would have had to eliminate the TIAA legacy fixed annuity contracts as an available

investment option as well.726 Eliminating the TIAA legacy contracts would have involved a

significant amount of disruption because over 30% of all of the Plans’ assets were invested in

those contract types.727

         RESPONSE: Plaintiffs do not dispute that TIAA-CREF included such language in its

Retirement Annuity (RA), Group Retirement Annuity (GRA), Supplemental Retirement Annuity

(SRA), and Group Supplemental Retirement Annuity (GRSA) contracts (collectively, “legacy

contracts”). Plaintiffs dispute that this paragraph is a material fact. The fact does not touch on

whether Cornell breached its fiduciary duty by failing to properly monitor the funds in the Plans

and retaining imprudent investment options, or designating CREF Stock as a best-in-class option.

         Plaintiffs dispute the second sentence of paragraph 95. Plaintiffs dispute that Cornell was

required to leave Plan assets in the CREF Stock Account, select the CREF Stock Account for

inclusion in the core best-in-class line-up, or leave the CREF Stock Accounts in the Plans. The

Plans are governed by the their respective plan documents.728 Both plan documents expressly

provide “[t]he Employer in its sole discretion will designate from time to time the specific

Funding Vehicles which are available as Plan investments. The Employer may change such

designation at anytime.”729 No provision of the RA, GRA, SRA, or GSRA contracts addresses




725
    Doc. 240-2, Ex. 82, TIAA and CREF Contract Comparison available at
https://www.tiaa.org/public/pdf/RC_ComparisonGrid_8_fin.pdf (explaining that for TIAA Traditional RA, SRA,
GRA, and GSRA contract types “TIAA Traditional, CREF Stock and CREF Money Market must be available for
both contributions and transfers”).
726
    Doc. 249-24, Ex. 112, Chittenden Cunningham Decl. ¶ 9.
727
    Supra, at ¶ 43.
728
    Doc. 250-4, CURP Plan Document (CORNELL015526); Doc. 250-6, TDA Plan Document (CORNELL015535).
729
    Doc. 250-4, 2008 CURP Plan Document (CORNELL015526), at 100; Doc. 250-6, 2008 TDA Plan Document
(CORNELL015535), at 100.


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transfers by plan sponsors, yet alone prohibits it.730 The RA and GSRA contracts expressly

provide “[t]he contract is subject to the provisions, terms and conditions of the employer Plan.

Any payment, distribution, transfer, or other rights exercised under the contract shall comply

with any applicable terms, provisions, and conditions of the employer plan as determined by the

plan administrator, trustee, or other plan designated fiduciary.”731 The RA and GRA contracts

also expressly state that:




The TIAA Annuity contracts also contain a provision stating it will administer the contract with

all laws and regulations and if the contract conflicts with the law, the law or regulation

prevails.733 Thus, the terms of the RA, GRA, SRA, and GSRA contracts did not prevent plan

sponsors from mapping or transferring the assets in such annuities to other investments.

Consistent with this interpretation, TIAA executives have admitted that they facilitated plan

sponsors mapping of funds in the CREF Money Market Account, a variable annuity with RA,

SRA and GRA contracts, without participant consent.734



730
    See, e.g., Ex. P32, PLTF-Cornell-000340; Ex. P33, PLTF-Cornell-000356.
731
    See, e.g., Ex. P32, PLTF-Cornell-000340 at p. E1; Ex. P33, PLTF-Cornell-000356 at p. E1.
732
    See, e.g., Ex. P34, GRA Contract (TIAA_CORNELL_00020571) at 598; Ex. P35, CREF Stock RA Certification
(TIAA_CORNELL_00001451) at 1474; Ex. P36 TIAA_CORNELL_00001517, at 1535; Ex. P37,
TIAA_CORNELL_00001481 at 1508.
733
    See, e.g., Ex. P36, TIAA_CORNELL_00001517 at 1534; Ex. P37, TIAA_CORNELL_00001481 at 1501, 1507;
Ex. P35, TIAA_CORNELL_00001451 at 1471.
734
    Ex. P27, Tr. of Trial, Sacerdote v. New York University, No. 16-6284, Tr. 677:19–678:9; see also id. at 678:12-
679:7 (Q. And you also have, TIAA has also mapped assets that were in the money market account for a one-time
opportunity, a one-time occasion, correct? A. Yes. We did offer -- I'm not expert on that, but there was an
opportunity because of the very low interest rates to do things with the money market account when needed, if
applicable. Q. And TIAA and the employers map those money market accounts into some other fund in the plan.
Right? A. Correct. Q. Without the permission or voluntary participation by investors. A. There's a one-time
opportunity, yes. Q. So TIAA did map assets from annuity accounts out of those accounts without participant


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                                                                                                               .735

Even TIAA agrees that Retirement Choice and Retirement Choice Plus contracts are fully

mappable by the plan sponsor, do not require inclusion of the CREF Stock Account and provide

greater liquidity for the plan participant.736 TIAA has encouraged the Cornell Defendants to

move to Retirement Choice and Retirement Choice Plus contracts for among other reasons to

“[i]mprove overall plan management,” and to provide “[i]nstitutional ownership and greater

institutional control.”737 Cornell never even considered moving to Retirement Choice or

Retirement Choice Plus contracts in 2005 or anytime thereafter.738

        Plaintiffs dispute that the third sentence of paragraph 95 is a material fact. Plaintiffs

otherwise dispute the third sentence of paragraph 95.

                                                                                                           -



agreement. Correct? A. Money market balances only.) As discussed above, Plaintiffs believe that Mr. Chittenden’s
testimony from Sacerdote is admissible as a prior inconsistent statement in this case. See supra n. __.
735
    Ex. P25, Polacek Dep., at 23:15‒24:18.”
736
    Id. at 51:1‒52:16.
737
    Ex. P138, July 19, 2017 TIAA Driving Better Outcomes for Your Plan (CAPTR_0046852), at 854.
738
    Ex. P8, Bursic Tr.at 233:3‒234:4 (testifying he “never really had a long discussion with them about that, to my
recollection. I may have had some introductory things involved there by I can’t quite remember.”); Prasad Dep. at
219:7‒220:13 (testifying he did not recall any discussion of the Retirement Choice or Retirement Choice Plus
Contracts if it was not in the RPOC meeting materials); Gallagher Dep. at 365:2-11 (testifying he recalled some
discussion but was not sure “how seriously the committee considered it.”); Doc. 250-19, November 29, 2010, CURP
Meeting Minutes (CORNELL0021932); Ex.P10, February 3, 2011 CURP Meeting Minutes (CORNELL021930);
Ex. P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8, Jan. 11, 2012 RPOC Meeting
Minutes; Ex. P10, February 3, 2011 CURP Meeting Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP
Meeting Minutes (CORNELL021931); Doc. 248-8, January 11, 2012 RPOC Meeting Minutes (CAPTR_0047903);
Doc 248-14, April 13, 2012 RPOC Meeting Minutes (CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting
Minutes (CAPTR_0047911); Doc. 252-5, November 19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex.
P12, July 31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting
Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14,
March 21, 2014 RPOC Meeting Minutes (CAPTR_004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes
(CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16,
June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes
(CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March
31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes
(CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10,
December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes
(CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27,
2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes
(CAPTR_0015281).


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       ”739 CAPTRUST internally noted that it had “experience with our other university clients

who have made huge changes with little push back from participants.”740 Multiple other 403(b)

plan sponsors removed the CREF Stock Account from their Plans during the class period.741

         96.       Because of its broad diversification and its unique investment management

style, TIAA developed a custom benchmark called the CREF Stock Account Composite Index

(“the Composite Index”), which it identifies as the official prospectus benchmark.742 Since July

2011,743 the Composite Index has been comprised of two separate passive indices: the Russell

3000 Index, which is 70% of the Composite Index, and the MSCI ACWI ex-USA Investable

Market Index, which represents the remaining 30%.744

         RESPONSE: Plaintiffs dispute the first sentence. There is nothing that allows a

company to identify an “official prospectus benchmark” in the SEC regulations governing the

information placed in a prospectus. The SEC allows for the use of additional indexes, so long as

the required appropriate broad-based index is used.745 Plaintiffs do not dispute that the

additional index used by the CREF Stock Account since 2011 is the Composite Index.746




739
    Ex. P61, Cammack LaRhette response to Cornell’s RFP for investment advisor May 13, 2011
(CORNELL006753) at 18.
740
    Ex. P103, Internal CAPTRUST e-mail dated May 26, 2015 (CAPTR_0030234) at 1.
741
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez, ¶ 27.
742
    Doc. 240-1, Ex. 81, 2016 CREF Prospectus, at 28-29, 70 (TIAA_CORNELL_00024810); Doc. 246-11, Ex. 29
Polacek Dep. 195:8-196:5 (identifying the “CREF Composite” as the official CREF Stock benchmark).
743
    Prior to July 2011, the Composite Index included four different indices: the Russell 3000, the MSCI
EAFE+Canada Index, the MSCI Emerging Markets Index, and the MSCI EAFE+Canada Small Cap Index. See Doc.
240-4, Ex. 83, 2011 CREF Prospectus, at 19 (TIAA_CORNELL_00021950).
744
    Doc. 240-1, Ex. 81, 2016 CREF Prospectus, at 28-29, 70 (TIAA_CORNELL_00024810); Doc. 246-11, Ex. 29
Polacek Dep. 195:8-196:20.
745
    Ex. P130, SEC Form N-1A at 7, ¶ 3, b, at 22, ¶ 2 (b), at 70, ¶ 7 (ii) (A), at 71, ¶ 5 available at
https://www.sec.gov/about/forms/formn-1a.pdf.
746
    Ex. P130, SEC Form N-1A at 71, ¶ 5 available at https://www.sec.gov/about/forms/formn-1a.pdf


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         97.        The Russell 3000 Index is comprised entirely of domestic securities,747

whereas the MSCI ACWI ex-USA IMI is comprised entirely of foreign securities.748 TIAA

considers the Composite Index the most appropriate benchmark index for evaluating the Stock

Account because it best reflects the Stock Account’s underlying components, its allocation

between foreign and domestic stocks, and investment profile.749

         RESPONSE: Plaintiffs do not dispute the general description of the Russell 3000 Index

and the MSCI ACWI ex-USA IMI index. Plaintiffs dispute that TIAA’s consideration of the

Composite Index as the “most appropriate benchmark” is material or accurate. At any time

during the class period, TIAA could have used the MSCI World Index as the designated

appropriate broad-based market index for the CREF Stock Account if it believed such a world

index was a more “appropriate broad-based index” than the Russell 3000.750 The MSCI World

Index is approximately 62% domestic equities and 38% foreign equities.751




747
    Doc. 240-5, Ex. 84, Russell U.S. Equity Index Methodology, at 12, 14 available at
https://www.ftse.com/products/downloads/Russell-US-indexes.pdf?490; Doc. 239-10, Ex. 69, Sacerdote Opinion &
Order, at 77 n. 120 (holding that “the Russell 3000 Index is not necessarily sufficient, on its own, to help
participants understand whether the CREF Stock Fund is performing well vis-à-vis comparable stock funds because
it is comprised entirely of domestic holdings (and the CREF Stock Fund has 30% international holdings).
748
    Doc. 240-6, Ex. 85, MSCI ACWI Ex-USA IMI Index Fact Sheet, at 1 available at
https://www.msci.com/documents/10199/f24204d8-3fba-46b7-95e7-5b7dcc44536c.
749
    Doc. 246-11, Ex. 29, Polacek Dep. 198:18-201:03.
750
    Ex. P130, SEC Form N-1A at 71, ¶ 5.
751
    Available at https://www.msci.com/documents/10199/149ed7bc-316e-4b4c-8ea4-43fcb5bd6523.


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         Instead, TIAA designated the Russell 3000 Index as its “appropriate” comparator for the

CREF Stock Account pursuant to SEC regulations requiring TIAA at that time to identify the

most “appropriate broad-based index.”752

         In fact, TIAA used the MSCI World Index as the only “appropriate” comparator for the

CREF Global Equities Account in its 2011 prospectus.753 Although the CREF Global Equities

Account holds emerging markets, TIAA did not deem it necessary to include a composite index

with an emerging markets component in order to evaluate the CREF Global Equities Account.754

The MSCI World Index “does not offer exposure to emerging markets.”755 Cornell Defendants

now take the position that using such a benchmark without precise exposure to the underlying

holdings, here TIAA comparing the CREF Global Equities Account to the MSCI World Index,

would be an inappropriate comparator.756

         98.        Although TIAA considers the Composite Index the most appropriate

benchmark index for assessing performance, Department of Labor regulations require plan

fiduciaries to provide participants information comparing the Plans’ investments to “an

appropriate broad-based securities market index” and prohibits the use of custom benchmarks

that are “administered by an affiliate of the investment issuer, its investment advisor, or a

principal underwriter.” 29 C.F.R. 2550.404a-5(d)(iii). Accordingly, for purposes of these

required disclosures, TIAA has used the Russell 3000.757


752
    Doc. 240-3–240-4, Ex. 83, CREF Prospectus (TIAA_CORNELL_00021950) at 45.
753
    Doc. 240-3–240-4, Ex. 83, CREF Prospectus (TIAA_CORNELL_00021950) at 45.
754
    Doc. 240-3–240-4, Ex. 83, CREF Prospectus (TIAA_CORNELL_00021950) at 19-20 (CREF Global Equities
holds 55.6% United States, 41.3% Foreign – Developed, 3.1% Foreign – Emerging); Available at
https://www.msci.com/documents/10199/149ed7bc-316e-4b4c-8ea4-43fcb5bd6523.
755
    Available at https://www.msci.com/world
756
    Doc. 227 at p. 13-14; Doc. 233 at 16-18.
757
    Doc. 246-11, Ex. 29, Polacek Dep. 205:23-206:24, 210:10-211:14 (explaining that DOL requirements prohibit
the use of custom benchmarks, such as the CREF Composite, in investment disclosures); Doc. 239-10, Ex. 69,
Sacerdote Opinion & Order, at 77 n. 120 (“As required by the Department of Labor Regulations, in the 404a5
disclosures TIAA shows the performance of the CREF Stock Account versus a broad-based securities market index,


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        RESPONSE: Plaintiffs dispute paragraph 98. The SEC requires that investments filing a

prospectus identify an “appropriate broad-based securities market index.”758 TIAA chose the

Russell 3000 as the appropriate index in all of its SEC filings (prospectuses, annual reports,

semi-annual reports) from 2010 until this lawsuit was filed.759 Consistent with the Russell 3000

as the appropriate index, Cornell and CAPTRUST held out the CREF Stock Account as a Large

Company Blend type of investment to the Plans participants.760 CAPTRUST’s expert testified

that a large domestic blend asset class was “probably the closest you can – you can find” for the

CREF Stock Account.761




the Russell 3000 Index, as opposed to using the account’s composite benchmark stated in its prospectus because the
Department of Labor Regulations do not permit the use of composite benchmarks or customized benchmarks in the
404a5 disclosures and only permits the use of one benchmark for each investment option.”).
758
    Ex. P130, SEC Form N-1A at 61, ¶ 5.
759
    Ex. P111, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2011 at 7 (underperformed against both benchmarks for all
periods)(TIAA_CORNELL_00021841); Ex. P112, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, June 30, 2012 at 7 (underperformed against both benchmarks for
1-, 5- and 10-year periods); Ex. P113, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2012 at 8 (underperformed against both benchmarks for 5- and
10-year periods); Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2013 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2013 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P116, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2014 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P117, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2014 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P118, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2015 at 8 (underperformed against both benchmarks for 5- and 10-
year periods); Ex. P119, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2015 at 8 (underperformed against both benchmarks for 5- and 10-year
periods); Ex. P120, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2016 at 8 (underperformed against both benchmarks for 6-month, 1-, 5- and 10-
year periods).
760
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12, 39 and 40; Ex. P84,
CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 21, 25-27; Ex. P108,
University of Maine System Quarterly Review for 3rd Quarter, 2014 at 14, 17, 35 and 43; Ex. P60, Schmitt Tr. at
80:1-19; Ex. P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 472, 501; Ex. P60,
Schmitt Tr. at 81:18-20; Infra at ¶ 104 (“RPOC and the Faculty Advisory Committee adopted the subcommittee’s
recommendation that CREF Stock be included in the Tier II lineup as a core “large company blend” investment
option”)
761
    Ex. P88, Ciccotello Tr. at 72:2-17, 179:3-15; Ex. P102, The University System of Georgia Optional Retirement
Plan Transition Guide at 13.


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         99.       The Stock Account is a popular investment option among both higher

education plans generally and Cornell plan participants specifically. As of 2016, 99% of TIAA’s

200 largest clients had some portion of their defined contribution plans’ assets invested in CREF

Stock.762 The Stock Account is also one of the most common investment options offered by

higher education 403(b) plans comparable in size to the CURP and TDA Plan: of the 37 higher

education 403(b) plans with over $1 billion in assets, 28 currently offer CREF Stock as an

investment option and over $14 billion is currently invested in CREF Stock by participants in

these 37 plans.763 Finally, with respect to the Cornell Plans specifically, the CREF Stock

Account is among the most popular investment options available. As of December 2012, over

$500 million dollars were invested in CREF Stock by participants in the CURP and TDA Plan.764

         RESPONSE: Plaintiffs dispute the first two sentences of paragraph 99. The only

evidence cited by Plaintiffs is testimony of a Douglas Chittenden, a TIAA executive, in another

case. Mr. Chittenden’s testimony in another case is inadmissible hearsay. See Fed. R. of Evid.

801, 802, Mr. Chittenden’s testimony is not an admissible prior statement by a witness because

he has not been subject to cross-examination in this case nor is it inconsistent with any testimony

he has given in this case or for identification. See Fed. R. of Evid. 801(a)(1). Additionally, Mr.

Chittenden’s testimony in another case is not admissible under Rule 804, because he is not

unavailable given that he offered a declaration in support of the Cornell Defendants’ motion.765

Finally, Mr. Chittenden’s testimony is inadmissible under the rule of completeness, because the

Cornell Defendants only offered his trial declaration and not his actual live testimony, including



762
    Doc. 246-12, Ex. 30, Chittenden Sacerdote Decl. ¶¶ 53-54.
763
    Doc. 240-7–240-12, Chalmers Rpt. ¶ 34, Ex. 3a.
764
    Doc. 240-13, Ex. 87, 2012 TIAA 5500 Reportable – Schedule of Assets (TIAA_CORNELL_00004332)
($163,655,937 invested in CREF Stock in TDA Plan); Doc. 240-14, Ex. 88, 2012 TIAA 5500 Reportable Schedule
of Assets (TIAA_CORNELL_00013494) ($343,608,490 invested in CREF Stock in CURP).
765
    Doc. 249-024, Declaration of Douglass Chittenden.


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testimony that he was not involved with TIAA’s defined contribution business for much of the

relevant period766 and that he was not aware of numerous relevant facts related to TIAA’s top

200 clients.767

         Plaintiffs dispute the third sentence of paragraph 99. Mr. Chalmers merely reviewed

Form 5500 reports in his expert report; an expert witness cannot be used as conduit to admit

inadmissible hearsay. Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013)(“a

party cannot call an expert simply as a conduit for introducing hearsay under the guise that the

testifying expert used the hearsay as the basis of his testimony.”) (quoting Malletier v. Dooney &

Bourke, Inc., 525 F.Supp.2d 558, 666 (S.D.N.Y.2007)). Further, Mr. Chalmers impermissibly

attempts to limit the universe of peer ERISA plans, a legal question.768 Mr. Chalmers did no

investigation into the process used by any of these universities when they allegedly included the

CREF Stock Account and TIAA Real Estate Account in their Plans.769

         Plaintiffs dispute that the fourth sentence of paragraph 99 is a material fact. Popularity is

not a factor in fulfilling a fiduciary duty if a fund is imprudent. The enrollment process and how

plan choices are presented to participants has a large impact on how plan participants allocate

their funds; because the CREF Stock Account was prominently displayed to participants making

an election it impacted their decisions.770 Additionally, the CREF Stock Account was one of

three options available to participants in the Plans for many years and TIAA advised participants

to invest 50% in the CREF Stock Account likely accounting for percentage of assets invested in

the fund rather than popularity.771



766
    Ex. P27, Sacerdote v. New York University, 16-6284 Tr. of Trial at 560:7‒562:13
767
    Id. at 649:4-655:20
768
    Ex. P131, Chalmers Tr. at 37:22-41:9.
769
    Ex. P131, Chalmers Tr. at 48:18-49:1, 50:5-15.
770
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶ 32-33.
771
    Ex. P8, Bursic Dep, at 217:15‒.219:8


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         100.        The Stock Account’s popularity is attributable to its strong performance and

low fees compared to peers. According to Lipper Investments, the Stock Account’s total expense

ratio was lower than 95% of all funds in its peer group of Global Multi-Cap Core Funds.772

         RESPONSE: Plaintiffs dispute paragraph 100. The Cornell Defendants fail to cite any

specific reference to support its claim that the Stock Account’s popularity was attributable to

strong performance and low fees. Plaintiffs otherwise dispute the first sentence of paragraph 100.

The CREF Stock Account underperformed against its prospectus listed benchmarks the entire

time CAPTRUST served as an investment advisor until the Complaint was filed.773 The CREF

Stock Account underperformed against a variety of benchmarks prior to 2010.774 As of June 30,

2013, the date of CAPTRUST’s first evaluation of the CREF Stock Account for the Plans, it

underperformed both benchmarks listed in its semi-annual shareholder report over the 6-month,

one, three, five and ten-year periods.775 In July 2013, CAPTRUST reported that the CREF Stock



772
    Doc. 240-7–240-12, Chalmers Rpt. ¶ 41, Ex. 5a.
773
    Ex. P111, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2011 at 7 (underperformed against both benchmarks for all
periods)(TIAA_CORNELL_00021841); Ex. P112, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, June 30, 2012 at 7 (underperformed against both benchmarks for
1-, 5- and 10-year periods); Ex. P113, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2012 at 8 (underperformed against both benchmarks for 5- and
10-year periods); Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2013 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2013 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P116, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2014 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P117, College Retirement Equities Fund, Certified Shareholder Report of Registered
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and 10-year periods); Ex. P118, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2015 at 8 (underperformed against both benchmarks for 5- and 10-
year periods); Ex. P119, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2015 at 8 (underperformed against both benchmarks for 5- and 10-year
periods); Ex. P120, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2016 at 8 (underperformed against both benchmarks for 6-month, 1-, 5- and 10-
year periods).
774
    Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 95, Exhibit 5.
775
    Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2013 at 9.


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Account ranked below the 50th percentile of its Annualized Risk Adjusted Performance peer

group and its Annualized Peer Relative Performance group for the 3 and 5 year periods.776

         For the University System of Maine in July 2013 CAPTRUST compared the CREF Stock

Account against The S&P 500 Index and The Morningstar Large Blend Index.777 CAPTRUST’s

evaluation showed that the CREF Stock Account underperformed both indexes over the 3 and 5

year period and that there was major style exposure overlap between the CREF Stock Account

and the Morningstar Large Blend Average.778 CAPTRUST’s evaluation showed major similarity

in annualized standard deviation between the CREF Stock Account and the Morningstar Large

Blend Average.779 By the end of 2013, $10,000 invested in the CREF Stock Account over 10

years was worth $1,158 less than the Russell 3000 Index, which was listed in the CREF Stock

Account’s Annual Report and prospectus as a benchmark.780

         By year end 2016, an investor with $10,000 that would have taken advantage of an

alternative Large Company Blend mimicking the Russell 3000 Index over 10 years would have

$3,577 more in retirement savings than an investor that chose the CREF Stock Account listed in

the Large Company Blend asset class in Cornell’s Plans.781 The average account balance for the

Plans was around $200,000, which would translate into $71,540 less in retirement savings over a

10-year period for an individual investing in only the CREF Stock Account within Cornell’s

Large Blend asset class.782


776
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 134.
777
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
778
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
779
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
780
    Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2013 at 8.
781
    Ex. P121, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2016 at 12; Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 96.
782
    Ex. P122, TIAA-CREF Plan Outcome Assessment December 2015 (CORNELL029168) at 8.


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         Plaintiffs dispute the second sentence of paragraph 100. Cornell uses a different broad-

based index other than the one TIAA designated as the appropriate index in its SEC filings.783

The CREF Stock Account carried a much higher expense than other funds offered in the Large

Company Blend asset class at Cornell.784

         101.       Since its inception in 1952, the CREF Stock Account has achieved annualized

returns of 9.90%, which tracks the long term historical annualized return of the S&P 500 Index

and exceeds that of the Russell 3000 Index.785 The Stock Account also closely tracked the

returns of its prospectus benchmark, the Composite Index, over the relevant time period:

Between 2010 and 2017, the Stock Account’s ten-year annualized returns remained within 34

basis points of the Composite Index returns.786 Thus, any apparent underperformance compared




783
    Ex. P130, SEC Form N-1A at 61, ¶ 5; Ex. P111, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, December 31, 2011 at 7 (underperformed against both
benchmarks for all periods)(TIAA_CORNELL_00021841); Ex. P112, College Retirement Equities Fund, Certified
Shareholder Report of Registered Management Investment Companies, June 30, 2012 at 7 (underperformed against
both benchmarks for 1-, 5- and 10-year periods); Ex. P113, College Retirement Equities Fund, Certified Shareholder
Report of Registered Management Investment Companies, December 31, 2012 at 8 (underperformed against both
benchmarks for 5- and 10-year periods); Ex. P114, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, June 30, 2013 at 8 (underperformed against both benchmarks for
6-month, 1-, 5- and 10-year periods); Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of
Registered Management Investment Companies, December 31, 2013 at 8 (underperformed against both benchmarks
for 1-, 5- and 10-year periods); Ex. P116, College Retirement Equities Fund, Certified Shareholder Report of
Registered Management Investment Companies, June 30, 2014 at 8 (underperformed against both benchmarks for 6-
month, 1-, 5- and 10-year periods); Ex. P117, College Retirement Equities Fund, Certified Shareholder Report of
Registered Management Investment Companies, December 31, 2014 at 8 (underperformed against both benchmarks
for 1-, 5- and 10-year periods); Ex. P118, College Retirement Equities Fund, Certified Shareholder Report of
Registered Management Investment Companies, June 30, 2015 at 8 (underperformed against both benchmarks for 5-
and 10-year periods); Ex. P119, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2015 at 8 (underperformed against both benchmarks for 5- and
10-year periods); Ex. P120, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2016 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods).
784
    Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 94 and 97.
785
    Ex. 89, 2018 CREF Stock Account Fact Sheet, at 1 available at
https://www.tiaa.org/public/pdf/ffs/194408126.pdf.
786
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶ 54, Ex. 8 (analyzing CREF Stock returns against the CREF
Composite prospectus benchmark between 2010-2017).


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to the Russell 3000 Index can be attributed to differences in the performance of domestic and

foreign markets over the relevant time period.787

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 101 is a material fact.

Plaintiffs otherwise agree that the S&P 500 and Russell 3000 are appropriate comparators for the

CREF Stock Account. During the time the CREF Stock Account has been in the Plans, up to

64.71 percent of its portfolio was an index tracking the Russell 3000.788 While the Plans’

participants were investing the CREF Stock Account, more than 83% of the portfolio was

invested in domestic markets.789

         Plaintiffs do not dispute that the CREF Stock Account underperformed for each year

from 2010 to 2017 against the 10-year annualized returns of the Composite Index.

         Plaintiffs dispute the third sentence of paragraph 101. When evaluating investment

performance, “it is common and appropriate to consider a variety of … benchmarks[.]”790 The

CREF Stock Account underperformed against a variety of comparators.791 Prior to 2014,

CAPTRUST and by extension Cornell, compared the CREF Stock Account to a variety of

domestic large blend benchmarks like the Russell 3000.792 CAPTRUST’s evaluation showed

that the CREF Stock Account underperformed both indexes over the 3 and 5 year period and that

there was major style exposure overlap between the CREF Stock Account and the Morningstar


787
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶¶ 53-55.
788
    Ex. P127, College Retirement Equities Fund Prospectus May 1, 1996 at 12-13 (A segment of the Stock Account
“is designed to track the U.S. equity market as a whole. … the Russell 3000 segment of the Stock Account made up
64.71 percent of the portfolio.”)
789
    Ex. P127, College Retirement Equities Fund Prospectus May 1, 1996 at 12-13; Ex. __, College Retirement
Equities Fund Prospectus May 1, 1997 at 13-15; Ex. P129, College Retirement Equities Fund Prospectus May 1,
1998 at 18-20;
790
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt, ¶49.
791
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez at 40-45.
792
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12, 35 and 38; Ex. P84,
CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 21, 25-27; Ex. P108,
University of Maine System Quarterly Review for 3rd Quarter, 2014 at 14, 17, 35 and 43; Ex. P60, Schmitt Tr. at
80:1-19; Ex. P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 472, 501; Ex. P60,
Schmitt Tr. at 81:18-20.


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Large Blend Average.793 CAPTRUST’s evaluation showed major similarity in annualized

standard deviation between the CREF Stock Account and the Morningstar Large Blend

Average.794 The CREF Stock Account underperformed against a 70%/30% mix of domestic and

foreign equities from 2000 through June 2010.795

         Cornell never compared the CREF Stock Account to the Composite Index during the

class period.

         102.       Over the relevant time period, the CREF Stock Account was subject to

frequent, in-depth assessments in the context of both the investment menu redesign process as

well as the periodic investment reviews led by CAPTRUST.

         RESPONSE: Plaintiffs dispute paragraph 102. The Cornell Defendants do not cite to

admissible evidence to support the purported fact. Prior to CAPTRUST’s July 2013 investment

scorecard presentation, the Cornell Defendants did not monitor funds in the Plans.796 In July

2013, the CREF Stock Account ranked below the 50th percentile of its Annualized Risk

Adjusted Performance peer group and its Annualized Peer Relative Performance group for the 3

and 5 year periods.797




793
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
794
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
240-7–240-12, Expert Report of John Chalmers, ¶ 84, n. 142 (standard deviation “is commonly used as a measure of
investment risk”), 85.
795
    Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶ 95, Exhibit 5.
796
    Ex. P7, Opperman Tr. at 59:20-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Ex. P45, DeStefano Tr. at 124:2-16.
797
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 28.


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         CAPTRUST described its evaluation of the CREF Stock Account to the RPOC as an

“estimation.”798 The RPOC believed that CAPTRUST’s yellow triangle scoring for the CREF

Stock Account was “fundamentally unreliable,” and they could not determine whether the yellow

triangles on the July 2013 report reflected the performance of the CREF Stock Account or the

inadequacy of CAPTRUST’s selection of measurement.799 As a result of CAPTRUST’s self-

described unreliable evaluation, Cornell decided to keep the CREF Stock Account on Tier II

solely because it had been offered at Cornell since the 1950s.800 The Cornell Defendants did not

review the underlying performance data for the CREF Stock Account until December 2014, after

it was implemented in the best-of-class core line-up.801 Plaintiffs dispute the second sentence of

paragraph 103. There is no one reference to the CREF Stock Account’s prevalence among higher

educational institutions or internal diversification in any of the meeting minutes or materials

during the class period.802



798
    Ex. P8, Bursic Tr. at 217:18-25.
799
    Ex. P8, Bursic Tr. at 218:2-9; 218:25-219:4; 222:4-9.
800
    Ex. P8, Bursic Tr. at 218:9-11.
801
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNEL015005) at 39.
802
    Doc. 250-19, November 29, 2010, CURP Meeting Minutes (CORNELL0021932); Ex. P10, February 3, 2011
CURP Meeting Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes
(CORNELL021931); Doc. 248-8, Jan. 11, 2012 RPOC Meeting Minutes; Ex. P10, February 3, 2011 CURP Meeting
Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8,
January 11, 2012 RPOC Meeting Minutes (CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC Meeting Minutes
(CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November
19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes
(CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13,
December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4,
December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes
(CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December
16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes
(CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28,
2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes,
(CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017
RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes
(CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
802
    Ex. 90, July 2013 RPOC Meeting Presentation, at 12, 16, 48 (CORNELL020103); Ex. 92, September 2014
RPOC Meeting Presentation, at 46 (noting “Passing” score for CREF Stock and TIAA Real Estate as “Distinct
Investments”).


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         103.       In compiling its recommended list of core funds, RPOC’s investment menu

redesign subcommittee assessed the appropriateness of the CREF Stock Account.803 It

determined that the fund’s strong historical performance, popularity among participants,

prevalence among higher education institutions, and broad diversification made it an appropriate

investment to include among the recommended list of “core” funds in Tier II.804

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 102. Plaintiffs cite to a

vague declaration by Paul Bursic to support this fact with conclusory language. Contrary to these

assertions, prior to CAPTRUST’s July 2013 investment scorecard presentation, the Cornell

Defendants did not monitor funds in the Plans.805 In July 2013, the CREF Stock Account ranked

below the 50th percentile of its Annualized Risk Adjusted Performance peer group and its

Annualized Peer Relative Performance group for the 3 and 5 year periods.806




         CAPTRUST described its evaluation of the CREF Stock Account to the RPOC as an

“estimation.”807 The RPOC believed that CAPTRUST’s yellow triangle scoring for the CREF

Stock Account was “fundamentally unreliable,” and they could not determine whether the yellow

triangles on the July 2013 report reflected the performance of the CREF Stock Account or the




803
    Ex. 16, Bursic Decl. ¶ 9-10.
804
    Ex. 16, Bursic Decl. ¶ 10.
805
    Ex. P7, Opperman Tr. at 59:14-60:2; Ex. P8, Bursic Tr. at 78:4-85:18; Ex. P86, Internal CAPTRUST e-mail
exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary
review on the entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have
yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000
funds?); Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2
(“You had mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Ex. P45, DeStefano Tr. at 124:2-16.
806
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 48; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 49; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 27.
807
    Ex. P8, Bursic Tr. at 217:15-25.


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inadequacy of CAPTRUST’s selection of measurement.808 As a result of CAPTRUST’s self-

described unreliable evaluation, Cornell decided to keep the CREF Stock Account on Tier II

solely because it had been offered at Cornell since the 1950s.809 The Cornell Defendants did not

review the underlying performance data for the CREF Stock Account until December 2014, after

it was implemented in the best-of-class core line-up.810 Plaintiffs dispute the second sentence of

paragraph 103. There is no preference to the CREF Stock Account’s prevalence among higher

educational institutions or internal diversification in any of the meeting minutes or materials

during the class period.811

         104.      CREF Stock also satisfied the IPS scoring criteria for distinct asset classes.812

RPOC and the Faculty Advisory Committee adopted the subcommittee’s recommendation that

CREF Stock be included in the Tier II lineup as a core “large company blend” investment option

for participants with accounts on TIAA’s platform.813


808
    Ex. P8, Bursic Tr. at 218:2-9; 218:25-219:4; 222:4-9.
809
    Ex. P8, Bursic Tr. at 218:9-11.
810
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNEL015005) at 38.
811
    Doc. 250-19, November 29, 2010, CURP Meeting Minutes (CORNELL0021932); Ex. P10, February 3, 2011
CURP Meeting Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes
(CORNELL021931); Doc. 248-8, Jan. 11, 2012 RPOC Meeting Minutes; Ex. P10, February 3, 2011 CURP Meeting
Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8,
January 11, 2012 RPOC Meeting Minutes (CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC Meeting Minutes
(CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November
19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes
(CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13,
December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4,
December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes
(CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December
16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes
(CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28,
2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes,
(CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017
RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes
(CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
812
    Ex. 90, July 2013 RPOC Meeting Presentation, at 12, 16, 48 (CORNELL020103); Ex. 92, September 2014
RPOC Meeting Presentation, at 46 (noting “Passing” score for CREF Stock and TIAA Real Estate as “Distinct
Investments”).
813
    Doc. 252-8, Ex. 78, September 2013 RPOC Meeting Minutes, at 2 (CAPTR_047918) (adopting investment
lineup subcommittee recommendations); Ex. 91, September 2012 Proposed Core Fund Lineup for Faculty Review,


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        RESPONSE: Plaintiffs dispute the first sentence of paragraph 104. Cornell and

CAPTRUST’s Investment Policy Statement provides that “all actively managed investments

should rank in the top 50% of their given peer group for the 3 or 5 year annualized period[.]”814

In July 2013, the CREF Stock Account ranked below the 50th percentile of its Annualized Risk

Adjusted Performance peer group and its Annualized Peer Relative Performance group for the 3

and 5 year periods.815




        The September 2014 meeting presentation cited by Cornell does not provide any

performance data, just a green circle under one criteria entitled “score.” The underlying data

provided in December 2014 provided that the CREF Stock Account’s one, three, five and ten-

year returns ranked in the bottom 50% of its CAPTRUST assigned peer group (1% is the best

ranking).816




at 6 (CORNELL020055) (CAPTRUST providing a “strong recommendation” with respect to CREF Stock’s
inclusion in core lineup); Ex. 16, Bursic Decl. ¶ 11.
814
    Doc. 252-6, Ex. 76, Investment Policy Statement Cornell University (CORNELL013763) at 6.
815
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 28.
816
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 39.


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                Plaintiffs do not dispute that Cornell and CAPTRUST held out the CREF Stock

Account in the core line-up as a “large company blend” investment option. Plaintiffs dispute the

characterization of Exhibit 91. The document speaks for itself and contains no analysis of the

CREF Stock Account.

         105.      While all plan investments were subject to periodic monitoring, the effect of

including CREF Stock the Tier II lineup of “core” investment options was that it was reviewed

more frequently and was subject to greater scrutiny to ensure that RPOC could continue to stand-

by its “best-in-class” recommendation. As the meeting materials reflect, CREF Stock was

reviewed on a quarterly basis once added to the Tier II lineup in 2013, and each time

CAPTRUST advised RPOC that the account remained in good standing and met the IPS

guidelines for distinct investments.817


817
  Doc. 241-1, Ex. 90, July 31, 2013 RPOC Meeting Presentation, at 48 (CORNELL020103).
Doc. 241-3, Ex. 92, September 2014 RPOC Meeting Presentation, at 46 (CORNELL013567); Ex. 93, December
2014 RPOC Meeting Presentation, at 20 (CORNELL028976); Ex. 94, June 2015 RPOC Meeting Presentation, at 18
(CORNELL019795); Doc. 252-9, Ex. 79, September 2015 RPOC Meeting Presentation, at 18 (CORNELL013700);
Ex. 95, December 2015 RPOC Meeting Presentation, at 18 (CORNELL011357); Ex. 97, March 2016 RPOC
Meeting Presentation, at 30 (CORNELL020909); Doc. 249-1, Ex. 96, June 2016 RPOC Meeting Presentation, at 27
(CORNELL013413); Ex. 98, September 2016 RPOC Meeting Presentation, at 23 (CAPTR_0006755).


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         RESPONSE: Plaintiffs dispute the first sentence of paragraph 105. The Cornell

Defendants do not cite to admissible evidence support the purported fact in the first sentence of

paragraph 105.

         Plaintiffs dispute the second sentence of paragraph 105. Cornell and CAPTRUST’s

Investment Policy Statement provides that “all actively managed investments should rank in the

top 50% of their given peer group for the 3 or 5 year annualized period[.]”818 In July 2013, the

CREF Stock Account ranked below the 50th percentile of its Annualized Risk Adjusted

Performance peer group and its Annualized Peer Relative Performance group for the 3 and 5

year periods.819




                 The CREF Stock Account was not reviewed quarterly in 2013.820 The RPOC did

not meet in the second quarter of 2014, so they could not have monitored the performance on a

“quarterly basis.”821 The underlying data provided in December 2014 provided that the CREF

Stock Account’s one, three, five and ten-year returns ranked in the bottom 50% of its

CAPTRUST assigned peer group.822 Contrary to Cornell’s assertion that “as the meeting material

reflect CREF Stock was reviewed on a quarterly basis,” Cornell does not cite any meeting

materials from July 2013 until September 2014.




818
    Doc. 252-6, Ex. 76, Investment Policy Statement Cornell University (CORNELL013763) at 6.
819
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 28.
820
    Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC
Meeting Minutes (CAPTR_0047915); Ex. P14, March 23, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex.
P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286)
821
    Ex. P14, March 21, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC
Meeting Minutes (CAPTR_0004286).
822
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 39.


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         106.      In addition to the quarterly due diligence and reviews performed by

CAPTRUST, the RPOC also received in-depth investment reports. These reports enabled them to

independently evaluate a variety of metrics used to assess the core investment options, such as

the investments’ benchmarking information, sharpe-ratios, risk-adjusted returns, and other

relevant quantitative and qualitative data.823 As indicated by these in-depth reviews, CREF

Stock’s fees were well below the peer group benchmark and its performance closely tracked that

of the Composite Index.824

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 106. The Cornell

Defendants do not cite to admissible evidence support the purported fact in the first sentence of

paragraph 106.

         Plaintiffs dispute the second sentence of paragraph 106. When CAPTRUST provided

investment due diligence information to Cornell in July 2013, it only provided an “investment

scorecard” (a/k/a the dashboard system) that provided an executive summary with no

information (sharpe-ratios, risk-adjusted returns, and other relevant quantitative and qualitative

data) about the actual underlying performance of specific investment options in the Plans.825




823
    Doc. 249-5–249-7, Ex. 99, December 2014 Core Fund “Full Review,” at 39 (CAPTR_007213).
824
    Doc. 249-5–249-7, Ex. 99, December 2014 Core Fund “Full Review,” at 39 (CAPTR_007213).
825
    Ex. P93, CAPTRUST Financial Advisors Formal RFP Response (CORNELL011415), at 12 (excerpt reproduced
in body below); Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122); Ex. P12, July 31, 2013
RPOC Meeting Minutes (CAPTR_0047921) at 3 (“CAPTRUST provided the RPOC with a high level review of the
current 250+ funds on the various platforms”).


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         CAPTRUST did not provide the RPOC with information necessary to interpret its scoring

of the CREF Stock Account, including the yellow “Marked For Review” triangle, within the

quantitative criteria categories until December 2014.826 While CAPTRUST did not provide

underlying performance data to Cornell, it routinely provided the underlying performance data

necessary to verify the entries in the investment scorecard to other retirement plan clients,

referred to as “FUND FACTS SHEETS & COMPARISONS” as part of its normal process.827




826
    Ex. 63, Doc. 239-4, RPOC Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 3-4 (“Mr. Schmitt
focused on the key components of the review and the manner in which CAPTRUST evaluates/”scores” an
investment vehicle.”); Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134; E-mail
attaching Quarterly Review for 3rd Quarter, 2014 (CORNELL15001); Doc. 252-10, Ex. 80, RPOC Meeting
Minutes dated December 12, 2016 (CAPTR_0013590) at 2 (“Ms. Opperman requested that CAPTRUST provide
historical investment scoring in future reports.”).
827
    Ex. P60, Schmitt Tr. at 71:20-73:3; Ex. P84, CAPTRUST Presentation for The University of Maine System dated
July 15, 2013 at PDF 26, 39-70; Ex. P101, CAPTRUST Presentation for The University of Maine System 1st
Quarter, 2015 at PDF 489, 564-609.


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         A fiduciary must have underlying performance data in order to verify or dispute

information found in the investment scorecard.828 Cornell cites the December 2014 fund review

to support the proposition that the CREF Stock Account was evaluated using a variety of metrics

demonstrating that CAPTRUST did not provide any underlying performance data to the RPOC

Committee that would allow the RPOC to evaluate, validate or dispute CAPTRUST’s green,

yellow, red investment scorecard entries until the RPOC’s December 3, 2014 meeting, when it

only provided underlying information for the core line-up.829 The underlying data provided in

December 2014 showed that the CREF Stock Account’s one, three, five and ten-year returns

ranked in the bottom 50% of its CAPTRUST assigned peer group (1% is the best ranking).830

         107.        The TIAA Real Estate Account is a tax-deferred variable annuity contract

offered by TIAA that seeks favorable long-term returns primarily through rental income and



828
    Ex. P88, Ciccotello Tr. at 26:2-27:18; 66:13-67:5; 77:10-78:1; 78:13-79:19; 97:3-100:24; 118:21-121:1; Ex. P46,
Edwards Tr. at 63:13-64:16; Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012
(CORNELL013947) at PDF 2 (“If CAPTRUST has not been providing the RPOC with information about the plans’
investment options, then there is significant risk that the DOL or a Plan participant could question whether the
RPOC has been satisfying its fiduciary responsibility.”); Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶¶
68, 81.
829
    Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 16-93; Ex. P46, E-mail attaching
Quarterly Review for 3rd Quarter, 2014 (CORNELL15001); Ex. P7, Opperman Tr. at 77:12-79:12.
830
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 39.


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appreciation of real estate and real estate related investments.831 TIAA Real Estate invests

between 75% and 85% of its assets directly in real estate or real estate related assets.832 These

real estate properties include income-producing real estate, such as office, industrial, retail, and

multi-family rental properties.833 The remaining 15% to 25% is invested in non-real-estate-

related publicly traded securities and short-term, higher-quality liquid investments that are easily

converted to cash.834 These non-real-estate investments are held to ensure that the account can

meet participant redemption requests, purchase properties, improve properties, or cover short

term expenses and liabilities.835

         RESPONSE: Plaintiffs do not dispute that the TIAA Real Estate Account’s prospectus

contains the description in the first to fifth sentence. Plaintiffs dispute that these are descriptions

are accurate descriptions of the precise underlying holdings.

         108.        TIAA Real Estate is unique in that it gives investors the opportunity to invest

directly in real estate without the capital requirements necessary to purchase and manage real

estate. Although investors may obtain indirect exposure to real estate and real estate related

securities through a publicly-traded real estate investment trust (“REIT”),836 TIAA Real Estate

differs from REITs in a number of important respects.837




831
    Doc. 249-8–249-12, Ex. 100, 2016 TIAA Real Estate Account Prospectus, at 3 (TIAA_CORNELL_00024926).
832
    Doc. 249-8–249-12, Ex. 100, 2016 TIAA Real Estate Account Prospectus, at 3 (TIAA_CORNELL_00024926).
833
    Doc. 249-8–249-12, Ex. 100, 2016 TIAA Real Estate Account Prospectus, at 36 (TIAA_CORNELL_00024926).
834
    Doc. 249-8–249-12, Ex. 100, 2016 TIAA Real Estate Account Prospectus, at 3-4 (TIAA_CORNELL_00024926).
835
    Doc. 249-8–249-12, Ex. 100, 2016 TIAA Real Estate Account Prospectus, at 3 (TIAA_CORNELL_00024926).
See also September 2018 TIAA Real Estate Account Factsheet, at 1 available at
https://www.tiaa.org/public/pdf/ffs/878094200.pdf..
836
    Doc. 249-8–249-12, Ex. 100, 2016 TIAA Real Estate Account Prospectus, at 3-4 (TIAA_CORNELL_00024926)
(discussing “direct ownership” of real estate and “indirect” interests in real estate through real estate securities and
REITs).
837
    Doc. 249-14, Ex. 102, TIAA Real Estate Account Frequently Asked Questions, at 20
(TIAA_CORNELL_00025769) (explaining difference between REITs and the Real Estate Account).


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         RESPONSE: Plaintiffs dispute the first sentence of paragraph 108. The Cornell

Defendants do not cite to admissible evidence to support the purported fact in the first sentence

of paragraph 108. Plaintiffs dispute the second sentence of paragraph 108. Cornell’s citation

does not support its proposition. To the extent that Cornell relies on the Prospectus for the truth

of descriptions Cornell asserted about the difference between REITs and the TIAA Real Estate

Account, it is inadmissible hearsay and is a mischaracterization of the prospectus. REITs and the

TIAA Real Estate Account are managed by the same type of real estate professionals throughout

the real estate industry.838 There are minimal, if any, differences between REITS and the TIAA

Real Estate Account.839 Cornell recognized this when it held out the TIAA Real Estate Account

as a similar investment the Cohen & Steers Realty Shares.840

         109.       A REIT, unlike TIAA Real Estate, invests primarily in securities of publicly-

traded companies that own and manage real estate or real estate investments, such as mortgage

backed securities.841 Since REITs invest in and purchase real estate related securities, rather than

actual real estate properties, the performance of REITs is highly correlated with the performance

of the stock market. The value of TIAA Real Estate, on the other hand, does not correspond to

general stock market fluctuations; instead, the TIAA Real Estate Account’s value depends on the

value of the underlying properties it owns.842




838
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶ 54.
839
    Ex. P88, Ciccotello Tr. at 28:1-31:15.
840
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12; Ex. P89, Quarterly Review for
Period Ending September 30, 2014 (CORNELL015005) at 53; Supra at ¶ 80, (“RPOC decided that its objectives
were to maintain symmetry”).
841
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶ 36 n. 51 (citing U.S. Securities and Exchange Commission, “Real
Estate Investment Trusts (REITS),” available at https://www.investor.gov/introduction-investing/basics/investment-
products/real-estate-investment-trusts-reits).
842
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶ 45, Exs. 7a, 7b, 11 (illustrating correlation between stock market,
REITs, and the Real Estate Account); Doc. 246-12, Ex. 30, Chittenden Sacerdote Decl. ¶ 61.


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         RESPONSE: Plaintiffs dispute the first sentence of paragraph 109 is a material fact.

Plaintiffs otherwise dispute that a REIT’s holding make it materially different that the TIAA

Real Estate Account, which is one legal step away from becoming a REIT.843 REITs and the

TIAA Real Estate Account are managed by the same type of real estate professionals throughout

the real estate industry.844 There are minimal, if any, differences between REITS and the TIAA

Real Estate Account.845 Plaintiffs dispute the second and third sentence of paragraph 109. The

TIAA Real Estate Account is not marked to market on a daily basis and leads to a misleading

and distorted correlation profile, both the TIAA Real Estate Account and a REIT’s value

depends on the underlying assets—real estate holdings.846

         110.       The unique investment opportunity presented by TIAA Real Estate combined

with its low correlation to the performance of more traditional types of securities held in

retirement accounts, such as stocks, bonds, and cash, makes the Real Estate Account valuable

from a diversification standpoint.847

         RESPONSE: Plaintiffs dispute paragraph 110. The only evidence cited by Defendants is

testimony of a Douglas Chittenden, a TIAA executive, in another case. Mr. Chittenden’s

testimony in another case is inadmissible hearsay. See Fed. R. of Evid. 801, 802. Mr.

Chittenden’s testimony is not an admissible prior statement by a witness because he has not been

subject to cross-examination in this case nor is it inconsistent with any testimony he has given in

this case or for identification. See Fed. R. of Evid. 801(a)(1). Additionally, Mr. Chittenden’s

testimony in another case is not admissible under Rule 804, because he is not unavailable given




843
    Ex. P88, Ciccotello Tr. at 28:1-31:15.
844
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶ 54.
845
    Ex. P88, Ciccotello Tr. at 28:1-31:15.
846
    Ex. P88, Ciccotello Tr. at 28:1-31:15; Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶¶52-53
847
    Doc. 246-12, Ex. 30, Chittenden Sacerdote Decl. ¶ 61.


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that he offered a declaration in support of the Cornell Defendants’ motion.848 Finally, Mr.

Chittenden’s testimony is inadmissible under the rule of completeness, because the Cornell

Defendants only offered his trial declaration and not his actual live testimony, including

testimony that he was not involved with TIAA’s defined contribution business for much of the

relevant period.849

         111.       Since TIAA Real Estate invests directly in real estate and does not track the

performance of the stock market, standard market indices and REIT investment options are not

by themselves appropriate benchmarks.850 Instead of using these REIT indices, TIAA provides

investors performance comparisons for two indices developed by the National Council of Real

Estate Investment Fiduciaries (“NCREIF”): the NCREIF Fund Index Open End Diversified Core

Equity (“NFI-ODCE”) and the NCREIF Property Index-Open End (“NPI”).851 When comparing

the Real Estate Account to the NFI-ODCE, TIAA calculates an “adjusted total return” that

accounts for the fact that the Real Estate Account, holds approximately 15% to 25% in cash or

liquid securities that the NFI-ODCE funds typically do not hold.852

         RESPONSE: Plaintiffs dispute that REITs are not appropriate benchmarks for the TIAA

Real Estate Account. For the University System of Maine in July 2013 CAPTRUST compared

the TIAA Real Estate Account to the Dow Jones US Select REIT and Morningstar Specialty-

Real Estate benchmarks.853 CAPTRUST’s evaluation showed that the TIAA Real Estate Account


848
    Doc. 249-024, Declaration of Douglass Chittenden.
849
    Ex. __ Sacerdote v. New York University, 16-__ Tr. of Trial at 560:7‒562:13
850
    Ex. 102, TIAA Real Estate Account Frequently Asked Questions, at 18 (TIAA_CORNELL_00025769)
(“[M]anagement believes that a comparison of on the Account’s Total Return performance to that of a broad-based
index or benchmark does not allow for the Account to be fairly evaluated and compared to other real estate funds,
given its unique liquidity guarantee feature.”). See also, Ex. 102, TIAA Real Estate Account Frequently Asked
Questions, at 20 (TIAA_CORNELL_00025769) (“Due to the unique nature of the Account, it does not fit perfectly
in any of the existing Morningstar categories.”).
851
    Ex. 102, TIAA Real Estate Account Frequently Asked Questions, at 18 (TIAA_CORNELL_00025769).
852
    Ex. 102, TIAA Real Estate Account Frequently Asked Questions, at 18 (TIAA_CORNELL_00025769).
853
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.


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underperformed significantly against both indexes over the year to date, one, three, five and ten-

year periods.854




         Plaintiffs do not dispute that TIAA Real Estate Account lists the referenced indexes in the

second sentence.

         Plaintiffs dispute that using the adjusted returns for the TIAA Real Estate Account is

appropriate in sentence three.855 By December 2014, CAPTRUST evaluated the TIAA Real

Estate Account’s unadjusted returns against the NACREIF Property Index and Morningstar

Specialty-Real Estate Universe.856 TIAA explains that the “adjusted performance figures” it lists

in its prospectus “do not reflect the true returns experienced by holders of interests in the

Account.”857 Plaintiffs’ expert explains that using the unadjusted returns the TIAA Real Estate




854
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
855
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶¶ 49-51.
856
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance
figures are designed for use of Account investors for comparison purposes only, and do not reflect the true returns
experienced by holders of interests in the Account.”).
857
    Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance figures are designed for
use of Account investors for comparison purposes only, and do not reflect the true returns experienced by holders of
interests in the Account.”).


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Account had significant underperformance.858 After this litigation was commenced, Cornell now

takes the position that what CAPTRUST did, and the data Cornell relied upon, comparing the

TIAA Real Estate Accounts unadjusted returns, is a “flat-out mischaracterization” of how the

TIAA Real Estate Account should be compared against an NCREIF index.859 Additionally,

Cornell’s former Chief Investment Officer testified removing the lowest performing portion of a

fund to compare it to benchmark “doesn’t make sense.”860

         112.       The desirability of TIAA Real Estate is evident from the fact that although real

estate investment options are not a standard asset class represented in defined contribution plans,

84% of TIAA’s largest 200 clients nevertheless offered it as an investment option between 2010

and 2016.861 TIAA Real Estate is also one of the most common investment options offered by

higher education 403(b) plans comparable to the two sponsored by Cornell. Of the 37 higher

education 403(b) plans with over $1 billion in assets, 26 currently offer the Real Estate Account

as an investment option and over $2.5 billion in assets is currently invested in the account by

these large higher education plans’ participants.862 As of December 2015, 2478 participants had

an invested over $95,000,000 in the TIAA Real Estate Account.863

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 112. The only evidence

cited by Plaintiffs is testimony of a Douglas Chittenden, a TIAA executive, in another case. Mr.




858
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for use of Account investors for comparison purposes
only, and do not reflect the true returns experienced by holders of interests in the Account.”).
859
    Doc. 227 at 21.
860
    Ex. __, Edwards Dep. at 117:5-8
861
    Ex. 30, Chittenden Sacerdote Decl. ¶¶ 63-64.
862
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶ 34.
863
    Ex. 103, 2015 TDA Plan TIAA Fund Usage and Diversification Report (TIAA_CORNELL_00007284)
($43,133,964 invested in TIAA Real Estate by 2463 participants); Ex. 104 2015 CURP TIAA Fund Usage and
Diversification Report (TIAA_CORNELL_00016355) ($52,492,965 invested in TIAA Real Estate by 2478
participants).


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Chittenden’s testimony in another case is inadmissible hearsay. See Fed. R. of Evid. 801, 802,

Mr. Chittenden’s testimony is not an admissible prior statement by a witness because he has not

been subject to cross-examination in this case nor is it inconsistent with any testimony he has

given in this case or for identification. See Fed. R. of Evid. 801(a)(1). Additionally, Mr.

Chittenden’s testimony in another case is not admissible under Rule 804, because he is not

unavailable given that he offered a declaration in support of the Cornell Defendants’ motion.864

Finally, Mr. Chittenden’s testimony is inadmissible under the rule of completeness, because the

Cornell Defendants only offered his trial declaration and not his actual live testimony, including

testimony that he was not involved with TIAA’s defined contribution business for much of the

relevant period865 and that he was not aware of numerous relevant facts related to TIAA’s top

200 clients.866

         Plaintiffs dispute the second sentence of paragraph 112. Mr. Chalmers merely reviewed

Form 5500 reports in his expert report; an expert witness cannot be used as conduit to admit

inadmissible hearsay. Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013)(“a

party cannot call an expert simply as a conduit for introducing hearsay under the guise that the

testifying expert used the hearsay as the basis of his testimony.”) (quoting Malletier v. Dooney &

Bourke, Inc., 525 F.Supp.2d 558, 666 (S.D.N.Y.2007)). Further, Mr. Chalmers impermissibly

attempts to limit the universe of peer ERISA plans, a legal question.867 Mr. Chalmers did no

investigation into the process used by any of these universities when they allegedly included the

CREF Stock Account and TIAA Real Estate Account in their Plans.868



864
    Doc. 249-024, Declaration of Douglass Chittenden.
865
    Ex. __ Sacerdote v. New York University, 16-__ Tr. of Trial at 560:7‒562:13
866
    Id. at 649:4-655:20
867
    Ex. P131, Chalmers Tr. at 37:22-41:9.
868
    Ex. P131, Chalmers Tr. at 48:18-49:1, 50:5-15; Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶¶ 30-
34.


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         Plaintiffs dispute that the third sentence of paragraph 112 is a material fact. Popularity is

not a factor in fulfilling a fiduciary duty if a fund is imprudent. The enrollment process and how

plan choices are presented to participants has a large impact on how plan participants allocate

their funds. Because TIAA Real Estate was prominently displayed to participants making an

election, it impacted their decisions.869

         113.       TIAA Real Estate’s fees are reasonable compared to fees charged by funds

invested in similar asset classes. Between 2010 and 2017, TIAA Real Estate’s fees were lower

than the fees charged by between 40% and 68% of the funds in Lipper’s Real Estate Fund

category. In 6 of the 8 years between 2010 and 2017, its fees were below the median fee charged

by funds in its Lipper category.870

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 113. Cornell cites no

record evidence to support this fact, so it is improper under Rule 56.1

         Plaintiffs dispute the second sentence of paragraph 113. Cornell and CAPTRUST held

out the TIAA Real Estate Account in the real estate asset class, along with the Cohen & Steers

Realty Shares.871 Consistent with its assignment in the real estate asset class, in 2014,

CAPTRUST compared the TIAA Real Estate Account’s fees to the same benchmarks it

compared the Cohen & Steers Realty shares fees against.872 The TIAA Real Estate Account’s




869
    Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶ 32-33.
870
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶ 42, Ex. 5b.
871
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12; Ex. P89, Quarterly Review for
Period Ending September 30, 2014 (CORNELL015005) at 53; Supra at ¶ 80, (“RPOC decided that its objectives
were to maintain symmetry”).
872
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 51 (TIAA
Real Estate Account 92 bps) and 92 (Cohen & Steers Instl Realty Shares 75 bps ratio)(both use the same expense
ratio as comparators, 135 bps).


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expense ratio was 17 basis points higher than the Cohen & Steers Realty Shares fund and 79

basis points higher than the Vanguard REIT Index Fund.873

         114.       The TIAA Real Estate Account has provided strong performance. Throughout

the relevant time period, TIAA Real Estate Account’s ten-year adjusted total returns exceed

benchmark returns for each 10 year period ending 2010-2017.874

         RESPONSE: Plaintiffs dispute that the TIAA Real Estate has provided “strong

performance.” For the University System of Maine in July 2013 CAPTRUST compared the

TIAA Real Estate Account to the Dow Jones US Select REIT and Morningstar Specialty-Real

Estate benchmarks.875 CAPTRUST’s evaluation showed that the TIAA Real Estate Account

underperformed significantly against both indexes over the year to date, one, three, five and ten-

year periods.876




873
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 51 (TIAA
Real Estate Account 92 bps) and 92 (Cohen & Steers Instl Realty Shares 75 bps ratio)(both use the same expense
ratio as comparators, 135 bps); Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 106, 108. .
874
    Doc. 240-7–240-12, Ex. 86, Chalmers Rpt. ¶ 58, Ex. 10.
875
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
876
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.


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        By December 2014, CAPTRUST evaluated the TIAA Real Estate Account’s unadjusted

returns against the NACREIF Property Index and Morningstar Specialty-Real Estate Universe.877

TIAA explains that the “adjusted performance figures” it lists in its prospectus “do not reflect the

true returns experienced by holders of interests in the Account.”878 Plaintiffs’ expert explains

that using the unadjusted returns the TIAA Real Estate Account had significant

underperformance.879 After this litigation was commenced, Cornell now takes the position that

what CAPTRUST did, and the data Cornell relied upon, comparing the TIAA Real Estate

Account’s unadjusted returns, is a “flat-out mischaracterization” of how the TIAA Real Estate

Account should be compared against an NCREIF index.880 Additionally, Cornell’s former Chief

Investment Officer testified removing the lowest performing portion of a fund to compare it to a

benchmark “doesn’t make sense.”881

        115.         Like the CREF Stock Account, over the relevant time period TIAA Real Estate

was subject to regular, in-depth assessments in the context of both the investment menu redesign

process and as part of the regular investment review led by CAPTRUST.

        RESPONSE: Plaintiffs dispute the first sentence of paragraph 115. The Cornell

Defendants do not cite to admissible evidence to support the purported fact in the first sentence

of paragraph 115. CAPTRUST recommended that Cornell include the TIAA Real Estate Fund



877
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance
figures are designed for use of Account investors for comparison purposes only, and do not reflect the true returns
experienced by holders of interests in the Account.”).
878
    Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance figures are designed for
use of Account investors for comparison purposes only, and do not reflect the true returns experienced by holders of
interests in the Account.”); Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶¶ 49-51.
879
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for use of Account investors for comparison purposes
only, and do not reflect the true returns experienced by holders of interests in the Account.”).
880
    Doc. 227 at 21.
881
    Ex. P46, Edwards Dep. at 117:5-8


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in its recommended line-up without conducting any evaluation.882




         Historical performance data for the TIAA Real Estate Account was available in July

2013, but not utilized by CAPTRUST.883 For the University System of Maine in July 2013

CAPTRUST compared the TIAA Real Estate Account to the Dow Jones US Select REIT and

Morningstar Specialty-Real Estate benchmarks.884 CAPTRUST’s evaluation showed that the

TIAA Real Estate Account underperformed significantly against both indexes over the year to

date, one, three, five and ten-year periods.885




         By December 2014, CAPTRUST evaluated the TIAA Real Estate Account’s unadjusted

returns against the NACREIF Property Index and Morningstar Specialty-Real Estate Universe.886


882
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at
110:24-113:9 (“Q. Sure. Do you see any appropriate performance-related information for the TIAA Real Estate
Account in this presentation? A. So in this presentation I just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at
185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7, Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 103-105.
883
    Ex. P105, TIAA Real Estate Account’s Quarterly 8-K (TIAA_CORNELL_00026051) at 4.
884
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
885
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
886
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance


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The Cornell Defendants’ expert opines that using unadjusted returns to measure the performance

of the TIAA Real Estate Account was inappropriate.887 Plaintiffs’ expert explains that using the

unadjusted returns, the TIAA Real Estate Account had significant underperformance.888 After

this litigation was commenced, Cornell now takes the position that what CAPTRUST did, and

the data Cornell relied upon, comparing the TIAA Real Estate Account’s unadjusted returns, is a

“flat-out mischaracterization” of how the TIAA Real Estate Account should be compared against

an NCREIF index.889 Additionally, Cornell’s former Chief Investment Officer testified removing

the lowest performing portion of a fund to compare it to a benchmark “doesn’t make sense.”890

        116.         In compiling its recommended list of core funds, the RPOC’s investment menu

subcommittee thoroughly assessed the appropriateness of the TIAA Real Estate Account.891 It

determined that it was an appropriate investment to include among the recommended list of

“core” funds in Tier II.892 TIAA Real Estate was recommended by CAPTRUST and satisfied the

applicable standards for distinct investments.893 RPOC adopted the subcommittee’s

recommendation that TIAA Real Estate be included in the Tier II lineup as a core “real estate”

investment option for participants with accounts on TIAA’s platform.894



figures are designed for use of Account investors for comparison purposes only, and do not reflect the true returns
experienced by holders of interests in the Account.”).
887
    Doc. 240-7–240-12, Expert Report of John Chalmers at ¶¶ 57-58.
888
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for use of Account investors for comparison purposes
only, and do not reflect the true returns experienced by holders of interests in the Account.”).
889
    Doc. 227 at 21.
890
    Ex. P46, Edwards Dep. at 117:5-8
891
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 9-10.
892
    Doc. 250-16, Ex. 16, Bursic Decl. ¶ 9-10.
893
    Doc. 241-1, Ex. 90, July 2013 RPOC Meeting Presentation, at 12, 16, 48 (CORNELL020103); doc. 241-3, Ex.
92, September 2014 RPOC Meeting Presentation, at 46 (noting “Passing” score for CREF Stock and TIAA Real
Estate as “Distinct Investments”).
894
    Doc. 252-8, Ex. 78, September 2013 RPOC Meeting Minutes, at 2 (CORNELL016457) (adopting investment
lineup subcommittee recommendations); doc. 241-2, Ex. 91, September 2012 Proposed Core Fund Lineup for
Faculty Review, at 2 (CORNELL020056) (providing a “strong recommendation” with respect to CREF Stock’s
inclusion in core lineup); Doc. 250-16, Ex. 16, Bursic Decl. ¶¶ 10-11.


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         RESPONSE: Plaintiffs dispute paragraph 116. The Cornell Defendants do not cite to

admissible evidence to support the purported fact in the first sentence of paragraph 116.

Plaintiffs dispute the second through third sentences of paragraph 116. CAPTRUST

recommended that Cornell include the TIAA Real Estate Fund in its recommended line-up

without conducting any evaluation.895




         Historical performance data for the TIAA Real Estate Account was available in July

2013, but not utilized by CAPTRUST.896 For the University System of Maine in July 2013

CAPTRUST compared the TIAA Real Estate Account to the Dow Jones US Select REIT and

Morningstar Specialty-Real Estate benchmarks.897 CAPTRUST’s evaluation showed that the

TIAA Real Estate Account underperformed significantly against both indexes over the year to

date, one, three, five and ten-year periods.898




895
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at
110:24-113:9 (“Q. Sure. Do you see any appropriate performance-related information for the TIAA Real Estate
Account in this presentation? A. So in this presentation I just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at
185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7, Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 103-105.
896
    Ex. P105, TIAA Real Estate Account’s Quarterly 8-K (TIAA_CORNELL_00026051) at 4.
897
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
898
    Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.


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         By December 2014, CAPTRUST evaluated the TIAA Real Estate Account’s unadjusted

returns against the NACREIF Property Index and Morningstar Specialty-Real Estate Universe.899

The Cornell Defendants’ expert opines that using unadjusted returns to measure the performance

of the TIAA Real Estate Account was inappropriate.900 Plaintiffs’ expert explains that using the

unadjusted returns, the TIAA Real Estate Account had significant underperformance.901 After

this litigation was commenced, Cornell now takes the position that what CAPTRUST did, and

the data Cornell relied upon, comparing the TIAA Real Estate Account’s unadjusted returns to

the NCREIF, is a “flat-out mischaracterization” of how the TIAA Real Estate Account should be

compared against an NCREIF index.902 Additionally, Cornell’s former Chief Investment Officer




899
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Ex. P23,
Strodel Tr. at 145:8-24; Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance
figures are designed for use of Account investors for comparison purposes only, and do not reflect the true returns
experienced by holders of interests in the Account.”).
900
    Doc. 240-7–240-12, Expert Report of John Chalmers at ¶¶ 57-58.
901
    Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for use of Account investors for comparison purposes
only, and do not reflect the true returns experienced by holders of interests in the Account.”).
902
    Doc. 227 at 21.


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testified removing the lowest performing portion of a fund to compare it to a benchmark “doesn’t

make sense.”903

         117.        While all plan investments were subject to periodic monitoring, the effect of

including TIAA Real Estate in the Tier II lineup of “core” investment options was that it was

reviewed more frequently and was subject to greater scrutiny to ensure that RPOC could

continue to stand-by its “best-in-class” recommendation. As the meeting materials reflect, the

Real Estate Account was reviewed on a quarterly basis once it was added to the core lineup in

2013 and each time CAPTRUST advised RPOC that the account remained in good standing and

met the IPS guidelines for distinct investments.904

         RESPONSE: Plaintiffs dispute paragraph 117. The Cornell Defendants do not cite to

admissible evidence to support the purported fact in the first sentence of paragraph 117.

CAPTRUST recommended that Cornell include the TIAA Real Estate Fund in its recommended

line-up without conducting any evaluation.905




903
    Ex. P46, Edwards Dep. at 117:5-8
904
    Doc. 241-1, Ex. 90, July 31, 2013 RPOC Meeting Presentation, at 48 (CORNELL020103).
Doc. 241-3, Ex. 92, September 2014 RPOC Meeting Presentation, at 46 (CORNELL013567); Doc. 241-4, Ex. 93,
December 2014 RPOC Meeting Presentation, at 20 (CORNELL028976); Doc. 241-5, Ex. 94, June 2015 RPOC
Meeting Presentation, at 18 (CORNELL019795); Doc. 252-9, Ex. 79, September 2015 RPOC Meeting Presentation,
at 18 (CORNELL013700); Doc. 241-6, Ex. 95, December 2015 RPOC Meeting Presentation, at 18
(CORNELL011357); Doc. 249-2, Ex. 97, March 2016 RPOC Meeting Presentation, at 30 (CORNELL020909);
Doc. 249-1, Ex. 96, June 2016 RPOC Meeting Presentation, at 27 (CORNELL013413); Doc. 249-3, Ex. 98,
September 2016 RPOC Meeting Presentation, at 23 (CAPTR_0006755).
905
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at
110:24-113:9 (“Q. Sure. Do you see any appropriate performance-related information for the TIAA Real Estate
Account in this presentation? A. So in this presentation I just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at
185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7, Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 103-105.


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The TIAA Real Estate Account was not reviewed at all in 2013.906 The RPOC did not meet in

the second quarter of 2014, so they could not have monitored the performance on a “quarterly

basis.”907 The underlying data provided in December 2014 provided that the TIAA Real Estate

Account’s one, three, five and ten-year returns ranked in the bottom 90% to 100% (1% is best) of

its CAPTRUST assigned peer group.908




         Contrary to Cornell’s assertion that “as the meeting materials reflect, the Real Estate

Account was reviewed on a quarterly basis once it was added to the core lineup in 2013” Cornell

does not cite any meeting materials from July 2013 until September 2014.

         118.      In addition to the quarterly due diligence reviews performed by CAPTRUST,

RPOC also received in-depth investment reports for the TIAA Real Estate Account, which

enabled them to independently evaluate a variety of metrics used to assess its performance and


906
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P13, December 4, 2013
RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286).
907
    Doc. 241-1, Ex. 90, July 31, 2013 RPOC Meeting Presentation, at 48 (CORNELL020103).; Ex. P14, March 21,
2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes
(CAPTR_0004286).
908
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 51.


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strength as a “core” investment option. These reports included benchmarking data, the

investment’s Sharpe-ratio, risk-adjusted return data, and other relevant quantitative and

qualitative information.909 As indicated by these in-depth reviews, the TIAA Real Estate’s fees

were well below the peer group benchmark and its performance closely tracked that of its

benchmarks on an adjusted basis.910

         RESPONSE: Plaintiffs dispute the first sentence of paragraph 118. The Cornell

Defendants do not cite to admissible evidence support the purported fact in the first sentence of

paragraph 118.

         Plaintiffs dispute the second sentence of paragraph 118. The TIAA Real Estate Account

was not reviewed at all in 2013.911 When CAPTRUST provided investment due diligence

information to Cornell in July 2013, it only provided an “investment scorecard” (a/k/a the

dashboard system) that provided an executive summary with no information (sharpe-ratios, risk-

adjusted returns, and other relevant quantitative and qualitative data) about the actual underlying

performance of specific investment options in the Plans.912




909
    Doc. 249-5, Ex. 99, December 2014 Core Fund “Full Review,” at 51 (CAPTR_007213).
910
    Doc. 249-5, Ex. 99, December 2014 Core Fund “Full Review,” at 51 (CAPTR_007213).
911
    Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P13, December 4, 2013
RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes
(CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286).
912
    Ex. P93, CAPTRUST Financial Advisors Formal RFP Response (CORNELL011415), at 12 (excerpt reproduced
in body below); Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122); Ex. P12, July 31, 2013
RPOC Meeting Minutes (CAPTR_0047921) at 3 (“CAPTRUST provided the RPOC with a high level review of the
current 250+ funds on the various platforms”).


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         While CAPTRUST did not provide underlying performance data to Cornell, it routinely

provided the underlying performance data necessary to verify the entries in the investment

scorecard to other retirement plan clients, referred to as “FUND FACTS SHEETS &

COMPARISONS” as part of its normal process.913

         A fiduciary must have underlying performance data in order to verify or dispute

information found in the investment scorecard.914 Cornell cites the December 2014 fund review

to support the proposition that the TIAA Real Estate Account was evaluated using a variety of

metrics demonstrating that CAPTRUST did not provide any underlying performance data to the

RPOC Committee that would allow the RPOC to evaluate, validate or dispute CAPTRUST’s




913
    Ex. P60, Schmitt Tr. at 71:20-73:3; Ex. P84, CAPTRUST Presentation for The University of Maine System dated
July 15, 2013 at PDF 26, 39-70; Ex. P101, CAPTRUST Presentation for The University of Maine System 1st
Quarter, 2015 at PDF 489, 564-609.
914
    Ex. P88, Ciccotello Tr. at 26:2-27:18; 66:13-67:5; 77:10-78:1; 78:13-79:19; 97:3-100:24; 118:21-121:1; Ex. P46,
Edwards Tr. at 63:13-64:16; Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012
(CORNELL013947) at PDF 2 (“If CAPTRUST has not been providing the RPOC with information about the plans’
investment options, then there is significant risk that the DOL or a Plan participant could question whether the
RPOC has been satisfying its fiduciary responsibility.”); Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶¶
68, 81.


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green, yellow, red investment scorecard entries until the RPOC’s December 3, 2014 meeting,

when it only provided underlying information for the core line-up.915

                 Plaintiffs dispute the third sentence in paragraph 118. The underlying data

provided in December 2014 provided that the TIAA Real Estate Account’s one, three, five and

ten-year returns ranked in the bottom 90% to 100% (1% is best) of its CAPTRUST assigned peer

group.916 The TIAA Real Estate Account’s expense ratio was 17 basis points higher than the

other actively managed real estate fund in the core line up.917

             PLAINTIFFS’ STATEMENT OF ADDITIONAL MATERIAL FACT

I.       BACKGROUND

         119.    The governing plan documents for the CURP and TDA name “the employer” as

the Plan Administrator and named fiduciary for the Plans.918

         120.    Cornell has recognized that CURP was subject to ERISA since at least 2004.919

         121.    On April 7, 2011 Cornell has delegated some of its authority to the Retirement

Plan Oversight Committee (RPOC).920 “The primary duties and responsibilities of the RPOC

shall be to provide policy oversight for the selection of investment options for the Plans by




915
    Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 16-93; Ex. P133, E-mail attaching
Quarterly Review for 3rd Quarter, 2014 (CORNELL15001); Ex. P7, Opperman Tr. at 77:12-79:12.
916
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 51.
917
    Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 51 (TIAA
Real Estate Account 92 bps) and 92 (Cohen & Steers Instl Realty Shares 75 bps ratio)(both use the same expense
ratio as comparators, 135 bps).
918
    Doc. 250-3, 2008 CURP Plan Adoption Agreement (CORNELL015512) at 2 (providing Cornell is the
employer); Doc. 250-4, 2008 CURP Plan Document (CORNELL015526) at 20 (“Plan Administrator means the
Employer unless the Employer designates another person or person to held the position of Plan Administrator”);
Doc. 250-5, 2008 TDA Plan Adoption Agreement (CORNELL015527) at 2 (providing Cornell is the employer);
Doc. 250-6 2008 TDA Plan Document (CORNELL015535) at 20 20 (“Plan Administrator means the Employer
unless the Employer designates another person or person to held the position of Plan Administrator”), Ex. P134
2017 TDA Plan Department of Labor Form 5500.
919
    Ex. P1, 2004 CURP Summary Plan Description (CORNELL0000725) at 736-37.
920
    Doc. 250-17, 2011 RPOC Committee Charter (CORNELL015812).


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means of the IPS, and establish criteria to review and monitor the investment performance of the

investment options, and update the IPS as required.921

         122.    The Chair of RPOC is the “Vice President for Human Resources of Cornell

University.”922 From RPOC’s inception until at least the close of fact discovery Mary Opperman

has been the Chair of RPOC.923 As Chair of RPOC, Ms. Opperman determines the number of

members of RPOC and appoints members of RPOC.

         123.    From 2010 to 2017, the CURP’s assets grew by approximately $747 million or

over 51% and the TDA Plans assets grew by approximately $645 million or over 74%.924

Specifically, between 2010 and 2017, the CURP grew in assets from $1.461 billion and 20,995

participants (2010) to $2.208 billion and 5,563 participants (2017). Over this same period, the

TDA Plan grew from $881 million and 12,427 participants (2010) to $1.536 billion and 11,746

participants (2017).925

II.      THE CORNELL DEFENDANTS HAD CONTROL OVER AND THE ABILITY
         TO MAP PLAN ASSETS

         124.    The CURP and the TDA Plan are governed by the their respective plan

documents.926




921
    Id. at 2.
922
    Id.
923
    Doc. 250-19, Nov. 29, 2010 RPOC Meeting Minutes [GET BATES NUMBER DEPO EX. 49] (“The first
meeting of the Cornell University Retirement Plan Oversight Committee was called to order at 1:00 pm by the
Committee Chair, Mary Opperman.”); Ex. P135, April 30, 2018 RPOC Meeting Minutes (CORNELL029038)
(listing Mary Opperman as Chair)
924
    Ex. P136, 2010 CURP Department of Labor Form 5500 (CORNELL022506) at line Schedule A, 6g, Schedule H,
line 1i; Ex. P137 2017 CURP Department of Labor Form 5500, available at
https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e2s3# at Schedule C, line 6g, Schedule H, line
1i; Ex. P136, 2010 Department of Labor Form 5500 (CORNELL022536), at Schedule C, line 6g, Schedule H;
925
    Ex. P136, 2010 CURP Department of Labor Form 5500 (CORNELL022506) at line Schedule A, 6g, Schedule H,
line 1i; Ex. P137, 2017 CURP Department of Labor Form 5500, available at
https://www.efast.dol.gov/portal/app/disseminatePublic?execution=e2s3# at Schedule C, line 6g, Schedule H, line
1i.
926
    See supra ¶119.


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         125.    Both plan documents expressly provide “[t]he Employer in its sole discretion will

designate from time to time the specific Funding Vehicles which are available as Plan

investments. The Employer may change such designation at any[]time.”927

         126.    TIAA annuities with individual contracts are among the investments made

available by Cornell under the Plans.

         127.

                    .928

         128.    The Plans used the Retirement Annuity (“RA”), Group Retirement Annuity

(“GRA”), Supplement Retirement Annuity (“SRA”) and Group Retirement Supplement Annuity

(“GRSA”) contracts.929

         129.    No provision of the RA, GRA, SRA, or GSRA contracts addresses transfers by

plan sponsors, let alone prohibits it.930

         130.    The RA and GSRA contracts expressly provide “[t]he contract is subject to the

provisions, terms and conditions of the employer Plan. Any payment, distribution, transfer, or

other rights exercised under the contract shall comply with any applicable terms, provisions, and

conditions of the employer plan as determined by the plan administrator, trustee, or other plan

designated fiduciary.”931




927
    Doc. 250-4, 2008 CURP Plan Document (CORNELL015526), at 100; Doc. 250-6, 2008 TDA Plan Document
(CORNELL015535), at 100.
928
    Ex. P25, Polacek Dep., at 17:3-6, 22:9‒23:2.
929
    Doc. 247-7, Ex. 37, Dec. 31, 2009 Fee and Expense Disclosure for TDA Plan (TIAA_CORNELL_00002094) at
95 (listing RA, GRA, GSRA, SRA contracts); Ex. P29, Dec. 31, 2017 Fee and Expense Disclosure for TDA Plan
(TIAA_CORNELL_00009808) at 09 (listing RA, GRA, GSRA, SRA and RCP contracts); Ex. Doc. 247-8, Ex. 38,
Dec. 31, 2009 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00011306) at 07 (listing RA and GRA
contracts); Ex. P30, Dec. 31, 2017 Fee and Expense Disclosure for CURP (TIAA_CORNELL_00018669) at 70
(listing RA, GRA and RCP contracts). The RCP contracts are used for the Plans’ revenue credit account and not
offered to Plan Participants. Ex. P31, CORNELL013913; Ex. P9, Gallagher Dep. at 364:23‒365:10.
930
    See, e.g., Ex. P32, PLTF-Cornell-000340; Ex. P33, PLTF-Cornell-000356.
931
    See, e.g., Ex. P32, PLTF-Cornell-000340 at p. E1; Ex. P33, PLTF-Cornell-000356 at p. E1.


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         131.    The RA and GRA contracts also expressly state that:




         132.    The TIAA Annuity contracts also contain a provision stating it will administer the

contract in compliance with all laws and regulations and if the contract conflicts with the law or

regulation prevails.933

         133.    Thus, the terms of the RA, GRA, SRA, and GSRA contracts did not prevent plan

sponsors from mapping or transferring the assets in such annuities to other investments.

         134.    Consistent with this interpretation, TIAA executives have admitted that they

facilitated plan sponsors mapping of funds in the CREF Money Market Account, a variable

annuity with RA, SRA and GRA contracts, without participant consent.934

         135.
                                935




932
    See, e.g., Ex. P34, GRA Contract (TIAA_CORNELL_00020571) at 598; Ex. P35, CREF Stock RA Certification
(TIAA_CORNELL_00001451) at 1474; Ex. P36 TIAA_CORNELL_00001517, at 1535; Ex. P37,
TIAA_CORNELL_00001481 at 1508.
933
    See, e.g., Ex. P36, TIAA_CORNELL_00001517 at 1534; Ex. P37, TIAA_CORNELL_00001481 at 1501, 1507;
Ex. P35, TIAA_CORNELL_00001451 at 1471.
934
    Ex. P27, Tr. of Trial, Sacerdote v. New York University, No. 16-6284, Tr. 677:19–678:9; see also id. at 678:12-
679:7 (Q. And you also have, TIAA has also mapped assets that were in the money market account for a one-time
opportunity, a one-time occasion, correct? A. Yes. We did offer -- I'm not expert on that, but there was an
opportunity because of the very low interest rates to do things with the money market account when needed, if
applicable. Q. And TIAA and the employers map those money market accounts into some other fund in the plan.
Right? A. Correct. Q. Without the permission or voluntary participation by investors. A. There's a one-time
opportunity, yes. Q. So TIAA did map assets from annuity accounts out of those accounts without participant
agreement. Correct? A. Money market balances only.) As discussed above, Plaintiffs believe that Mr. Chittenden’s
testimony from Sacerdote is admissible as a prior inconsistent statement in this case.
935
    Ex. P25, Polacek Dep., at 23:15‒24:18.”


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         136.    Even TIAA agrees that Retirement Choice and Retirement Choice Plus contracts

are fully mappable by the plan sponsor and provide greater liquidity for the plan participant.936

         137.    TIAA has encouraged the Cornell Defendants to move to Retirement Choice and

Retirement Choice Plus contracts for among other reasons to “[i]mprove overall plan

management,” and to provide “[i]nstitutional ownership and greater institutional control.”937

         138.    Cornell never even considered moving to Retirement Choice or Retirement

Choice Plus contracts in 2005 or anytime thereafter.938

         139.    The only justification Cornell’s experts provided for failing to move to the

Retirement Choice or Retirement Choice Plus Contracts was that the RA, SRA and GRA

contracts had higher minimum crediting ratings (there is no evidence the Defendants ever

evaluated the benefits of the Retirement Choice contract themselves).939




936
    Id. at 51:1‒52:16.
937
    Ex. P138, July 19, 2017 TIAA Driving Better Outcomes for Your Plan (CAPTR_0046852), at 854.
938
    Ex. P8, Bursic Tr.at 233:3‒234:4 (testifying he “never really had a long discussion with them about that, to my
recollection. I may have had some introductory things involved there by I can’t quite remember.”); Prasad Dep. at
219:7‒220:13 (testifying he did not recall any discussion of the Retirement Choice or Retirement Choice Plus
Contracts if it was not in the RPOC meeting materials); Gallagher Dep. at 365:2-11 (testifying he recalled some
discussion but was not sure “how seriously the committee considered it.”); Doc. 250-19, November 29, 2010, CURP
Meeting Minutes (CORNELL0021932); Ex.P10, February 3, 2011 CURP Meeting Minutes (CORNELL021930);
Ex. P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8, Jan. 11, 2012 RPOC Meeting
Minutes; Ex. P10, February 3, 2011 CURP Meeting Minutes (CORNELL021930); Ex. P11, June 23, 2011 CURP
Meeting Minutes (CORNELL021931); Doc. 248-8, January 11, 2012 RPOC Meeting Minutes (CAPTR_0047903);
Doc 248-14, April 13, 2012 RPOC Meeting Minutes (CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting
Minutes (CAPTR_0047911); Doc. 252-5, November 19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex.
P12, July 31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting
Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14,
March 21, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes
(CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16,
June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes
(CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March
31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes
(CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10,
December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes
(CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27,
2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes
(CAPTR_0015281).
939
    Doc. 246-4 (Expert Report of G. Poehler) ¶¶162-166.


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         140.    However, the minimum crediting rating only applies to the TIAA Traditional

Annuity and does not apply to variable annuities like the TIAA Real Estate Account and the

CREF Stock Account which do not have a crediting rating but whose returns are variable based

on returns for the underlying assets of the variable annuity.940

         141.    Therefore, the difference in minimum crediting rating had no effect on Cornell’s

decision not to move to Retirement Choice or Retirement Choice Plus Contracts for variable

annuities such as the CREF Stock Account and TIAA Real Estate Account.941

         142.    Moreover, the minimum crediting rating is merely a floor for the crediting rating

that TIAA Traditional Annuity returns. Since they were created in 2005 and 2006, the actual

returns for the Retirement Choice contracts have had a higher annual rate of return than the RA

demonstrating that there is no economic benefit to the higher minimum crediting rating.942

Additionally, the Retirement Choice contract has fallen below 3 percent minimum crediting

rating for the RA, SRA and GRA contracts only for one single three-month period in its 13 year

history.943 Therefore, the difference in minimum crediting rating has never affected the return on

the Retirement Choice and Retirement Choice Plus contracts. If Cornell had moved to

Retirement Choice or Retirement Choice Plus Contracts in 2005 or the beginning of the class

period, a significant portion of the Plans’ assets would be in contracts the Defendants

unquestionably controlled and could be mapped from imprudent investments or to obtain lower

recordkeeping fees.




940
    Polacek Dep. at 81:19‒83:8.
941
    Id.
942
    Ex. P139, RA Fund Fact Sheet, https://www.tiaa.org/public/pdf/ffs/878094101-RA.pdf; Ex. P140, RC Fund Fact
Sheet;
https://www.tiaa.org/public/pdf/ffs/878094101-RC.pdf
943
    Ex. P138, July 19, 2017 TIAA Driving Better Outcomes for Your Plan (CAPTR_0046852) at 858.


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         143.     Even if the Defendants could not map or transfer investments from RA, GRA,

SRA and GSRA contracts, the Cornell Defendants could have informed participants of their right

to transfer assets invested in the CREF Stock Account and TIAA Real Estate Account to other

investment options or group contracts to help lower costs for participants on a prospective basis

by leveraging the Plans’ size, as other universities have done.944

         144.     When plan sponsors freeze assets and encourage participants to transfer their

funds, most participants would transfer the assets.945

III.     THE PLANS’ UNREASONABLE RECORDKEEPING AND ADMINISTRATIVE
         EXPENSES

         A.       Prudent Practices for the Monitoring and Assessment of Recordkeeping Fees

                  1.       Prudent fiduciaries conduct an RFP for recordkeeping and
                           administrative services every three to five years

         145.     Widely accepted industry practice in the defined contribution market is to conduct

a request for proposal (“RFP”) for recordkeeping and administrative services every three to five

years to ensure that prices are reasonable. For example, in April 2011, the Cornell Defendants

held an RFP for investment advisors for the Plan.946 Among the services requested in that RFP

was for “a consulting partner with proven expertise in advising plan sponsors on the

administrative set up of . . . recordkeeping . . . for compliance and proper management of the

plans.”947 Seven different investment advisors responded to this RFP and the three recordkeepers

for the Plans and plans of Weill Cornell, TIAA, Fidelity and Vanguard, declined to respond.948




944
    Doc. 249-020, Expert Report of Ty. Minnich ¶¶96-98.
945
    Id. see also Ex. P8, Bursic Tr.at 220:10‒222:19 (testifying that many participants at Duke completely transferred
their money out of TIAA investments when Duke began offering other options without any encouragement).
946
    Doc. 246-1, April 1, 2011 Investment Consultant Request for Proposal (CORNELL021910).
947
    Id. at 2.
948
    Ex. P141, Retirement Plan Oversight Committee, Executive Summary of Request for Proposal
(CORNELL019405) at 2-3.


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                                   949



                                    l.950

         146.   The principle that conducting an RFP every three to five years is industry practice

is similarly consistent with statements of the Department of Labor. In 2010 proposed regulations

the Department of Labor specifically noted “plans normally conduct requests for proposal

(RFPs) from service providers at least once every three to five years.”951

         147.   Similarly, periodically conducting an RFP or an RFI to evaluate the

reasonableness of recordkeeping fees was the Cornell Defendants’ expert Glenn Poehler’s

practice when he advised defined contribution plans on the reasonableness of the recordkeeping

fees. Mr. Poehler testified that the method he used to assess recordkeeping prior to the mid-

2000s was to conduct an RFP.952 In the mid-2000s, Mr. Poehler began using requests for

information (RFIs) to evaluate the reasonableness of recordkeeping fees.953 Mr. Poehler never

used database benchmarking, like what CAPTRUST conducted for Cornell, during his time

advising clients.954 Mr. Poehler and his colleagues at Mercer used RFI’s because their clients

were “larger, more complicated plans, so the feeling was to get quotes that were as close as

possible to the specific services that were needed for that plan, that an RFI process gave the

client the information they needed to determine whether or not the fees were still reasonable.”955



949
    Ex. P61, Cammack LaRhette RFP Response (CORNELL006753) at 766.
950
    Ex. P62, Segal Advisors RFP Response (CORNELL006782), at 810-11.
951
    Ex. P63, Reasonable Contract or Arrangement Under Section 408(b)(2)—Fee Disclosure, 75 FR 41600, 41625
(July 16, 2010).
952
    Ex. P2, Poehler Tr. at 31:17‒32:5, 34:5-20,
953
    Ex. P2, Poehler Tr. at 38:23‒39:10.
954
    Id. at 39:16-19.
955
    Id. at 87:16‒88:3.


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Mr. Poehler admitted that the Cornell Plans were so “large and complicated” that in practice he

believed that an RFP or RFI was necessary to give “the client the information they needed to

determine whether or not the fees were still reasonable.”956

         148.    Plaintiffs’ Experts Ty Minnich, who worked in providing recordkeeping and

administrative services for CitiStreet, MetLife and Transamerica for over thirty years, and Al

Otto, who advised fiduciaries or was a co-fiduciary for numerous plans regarding recordkeeping

fees for over 20 years, opined that standard industry practice is to conduct an RFP for

recordkeeping and administrative service every three to five years.957

         149.    As discussed below, the Cornell Defendants never conducted or seriously

considered conducting an RFP or RFI for the Plans’ recordkeeping and administrative

services.958

                 2.        Prudent fiduciaries regularly monitor the total or per-participant fees
                           that the plans pay for recordkeeping fees on a regular basis

         150.    There are generally two primary methods by which the recordkeeping and

administrative fees for a plan are assessed: asset-based fees (also called revenue sharing) and

per-participant fees.959 Asset-based fee arrangements charge fees based on a percentage of the

assets investments.960 Per-participant fees charge a fixed dollar amount per-participant (e.g., $35

per-par participant).961


         151.    As even the Cornell Defendants’ expert on recordkeeping testified, there are

“economies of scale in providing recordkeeping and administrative services” based on the



956
    Id. at 87:16‒88:6
957
    Doc. 249-19, Expert Report of Al Otto, ¶27-34; Doc. 249-20, Expert Report of Ty Minnich ¶68.
958
    See infra at ¶¶ 166-169.
959
    Doc. 249-20, Expert Report of Ty Minnich ¶30; Ex. P9, Gallagher Dep. at 58:15-59:6.
960
    Doc. 249-20, Expert Report of Ty Minnich ¶35; Gallagher Dep. at 58:15-59:6.
961
    Doc. 249-20, Expert Report of Ty Minnich ¶36; Gallagher Dep. at 58:15-59:6.


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number of participants.962 Based on these economies of scale, generally plans with more

participants pay a lower fee on a per-participant basis than plans with fewer participants.963

Additionally, as the Cornell Defendants’ recordkeeping expert admitted, the amount of assets in

a plan are unrelated to the cost of providing recordkeeping services to a plan.964 Based on these

economies of scale and the fact that recordkeeping costs have nothing to do with asset size, the

Cornell Defendants’ recordkeeping expert advised clients in practice that they should negotiate

per-participant recordkeeping fees.965 Mr. Poehler advised the asset based or “revenue approach”

“allows vendors to widen profit margins more quickly through asset growth than would be

possible by increasing revenues based on the increase in the number of participants.”966 Further,

consistent with industry standards, Mr. Poehler advised “[h]ard dollar fee do not generally

increase at the same rate as asset based fees since they are not tied to the growth in the market

value of the plan’s investments.”967 Because of this, Mr. Poehler ultimately concluded that

“[f]rom a plan sponsor’s governance perspective, hard-dollar, per participant fees are generally

more transparent and more accurately reflect the ‘true’ cost of providing administration.”968

         152.    Consistent with Mr. Poehler’s own advice his colleagues at Mercer also generally

advised clients that best-practice was to price recordkeeping and administrative services on a

per-participant rather than an asset basis because it is a better method to control costs and asset-

based fees build in artificial fee increases.969 One of Mercer’s fiduciary best practices during Mr.


962
    Ex. P2, Poehler Dep. at 51:23‒52:7
963
    Id. at 52:18‒53:5.
964
    Id. at 55:18‒56:11.
965
    See Ex P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 88:7‒89:4 (authenticating Ex. __),
966
    Ex P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 182:23‒183:12
967
    Ex P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5
968
    Ex P39, Glenn Poehler and Lanae Pranger, ICCFO Conference 403(B) Plan, April 26, 2012 at p. 5; Ex. P2,
Poehler Dep. at 181:4‒182:1 (testifying that he agreed with that statement)
969
    Ex. P2, Poehler Dep. at 169:20‒170:4.


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Poehler’s tenure was to “[p]rice administrative fees on a per-participant basis.”970 Mr. Poehler’s

colleagues continued:

        153.     “Negotiate a fixed-rate recordkeeping fee based on the number of participants

with account balances in the plan, that is independent of the investment structure (referred to as

an ‘open architecture’ model). This approach unlike an ‘asset-based’ or ‘bundled’ model,

provides fee transparency and affords fiduciaries a sound basis for documenting the

‘reasonableness’ of recordkeeping fees. Conversely, utilizing a pricing model that is dependent

on the market value of plan assets arbitrarily ‘builds in’ fee increases that are not linked to the

level or quality of the recordkeepers services.”971

        154.     Consistent with the advice that the Cornell Defendants received from the

consultants that responded to their RFP and Mr. Poehler’s advice when he advised clients at

Mercer, Plaintiffs’ experts, Ty Minnich and Al Otto, both opine that industry standard practice is

to price or monitor recordkeeping and administrative fees on a per-participant basis.972

                 3.      Prudent fiduciaries leverage the size of the plans by consolidating to a
                         single recordkeeper

        155.     Widely accepted industry practice in the defined contribution market is that Plans

should use a single recordkeeper in order to leverage plan size to achieve the lowest possible fee

for the requested recordkeeping and administrative services. A number of the consultants who

responded to the Cornell Defendants’ 2011 RFP advised that they should consider consolidating

to a single recordkeeper, noting that consolidation was a growing trend even among higher

education 403(b) plans or discussing the cost savings that could be achieved through



970
    Ex. P40, Amy Reynolds and Sabrina Bailey, DC Fee Management ‒ Mitigating Fiduciary Risk and Maximizing
Plan Performance”, Ex. P2, Poehler Dep. at 170:9‒171:19, 173:4-22.
971
    Ex. P40, Amy Reynolds and Sabrina Bailey, DC Fee Management ‒ Mitigating Fiduciary Risk and Maximizing
Plan Performance (emphasis added); P2, Poehler Dep. at 173:23‒174:10.
972
    Doc. 249-20, Expert Report of Ty Minnich, ¶¶33‒39; Doc. 249-19, Expert Report of Al Otto, ¶¶20‒25. 41-43.


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consolidation.




         ”973



                                                          .974




                                                                       975



         156.      Additionally, in January 2012, CAPTRUST advised the Cornell Defendants that

consolidation to a single recordkeeper would result in the “best cost structure” for plan

participants.976

         157.




                                                                             .”977




973
    Ex. P28, August 16, 2011 Tower Watson Finalist Presentation (CORNELL015395) at 10.
974
    Id.
975
    Ex. P3, May 16, 2011 Hewitt ennisknupp Response to Request for Proposal (CORNELL024180), at 12, 17, 26.
976
    Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 38.
977
    Ex. P4, May 13, 2011 Mercer Response to Request for Proposal (CORNELL015325), at 26-27.


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         158.      The Cornell Defendants’ recordkeeping expert, Mr. Poehler, in practice advised

clients, including higher education 403(b) plans, to consolidate to a single recordkeeper. For

example, Mr. Poehler testified that his clients Cal Tech and Lehigh University consolidated to a

single recordkeeper in 2010 and 2014 based on his advice.978 While Mr. Poehler could not recall

in his deposition if these consolidations resulted in reductions in fees,979 his contemporaneous

presentation to Cornell in 2011 demonstrates that they likely did.980

         159.      Additionally, the Cornell Defendants were aware that recordkeeper consolidation

would lead to significant fee reductions for participants because the Weill Cornell Medical

School plans consolidated to a single recordkeeper in 2017 leading to significant fee reductions

to participants.981

         160.      Ty Minnich and Al Otto opine that consolidation to a single recordkeeper is an

industry recognized best practice because it leads to the lowest price structure and other

efficiencies.982

         161.      As discussed below, the Cornell Defendants never seriously considered

consolidating to a single recordkeeper.983

         B.        The Cornell Defendants’ Flawed Process for Evaluating Recordkeeping Fees

                   1.     The Cornell Defendants did nothing to monitor the Plans’
                          recordkeeping and administrative fees prior to 2012

         162.      As the Cornell Defendants admit, prior to the creation of RPOC and the retention

of CAPTRUST, monitoring of the Plans’ recordkeeping and administrative fees were delegated


978
    Ex. P2, Poehler Dep. at 131:11‒133:123.
979
    Id.
980
    Ex. P4, May 13, 2011 Mercer Response to Request for Proposal (CORNELL015325), at 26-27
981
    Ex. P9, Gallagher Dep. at 61:3-13, 138:17-19; Ex. P48, Prasad Dep. at 63:4-15; Ex. P135, April 30, 2018 RPOC
Meeting Minutes (CORNELL029038) at 2 (noting fee reductions from the Weill Cornell recordkeeper
consolidation).
982
    Doc. 249-20, Expert Report of Ty Minnich, ¶¶72‒73; Doc. 249-19, Expert Report of Al Otto,¶¶52‒56.
983
    See infra at ¶¶174–179.


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to Cornell’s Benefits Services.984 Cornell’s Benefits Services from May 1997 until November

2016 was by Senor Director of Benefits Services, Paul Bursic.985 Bursic testified that he would

have been “fully” involved in any “significant decisions.”986

         163.     Contrary to what is implied in his declaration for this motion, Bursic repeatedly

testified at his deposition that prior to the retention of CAPTRUST in December 2011, the

Cornell Defendants were not aware what the Plans were paying for recordkeeping and

administrative services, the Cornell Defendants did not know how to determine the

recordkeeping and administrative fees the Plans were paying, and the Cornell Defendants made

no attempt to benchmark or even negotiate their recordkeeping and administrative fees with

TIAA or Fidelity prior to the retention of CAPTRUST.987


984
    Doc. 233 ¶¶13-14
985
    Ex. P8, Bursic Tr.at 24:12-25:1. Bursic’s original title at Cornell was Director of Benefit Services and
Administration and he was later promoted to Senior Director prior to his retirement. Id.
986
    Id. at 26:1-15 (“Q. And what generally was your responsibility for Cornell's retirement plans. A. Oh, I think
significant. I mean, I was the Director of Benefits, so any time there were significant decisions, then I was certainly
involved fully. I won't deny that and I assert that, in fact, that that was part of it. Mostly what they did were customer
service kinds of things: Publication of materials, communications, coordinating things with vendors and everything,
but when it came around to important things like the formulation of -- formation of RPOC, for instance, that I'm sure
you'll get to, that was something that I was one of the originators on.”) (emphasis added).
987
    Ex. P8, Bursic Tr.at 92:7-17 (“Q. So the fees are charged as a percentage of the assets held by the participants?
A. We've been through this before. The fees used to be kind of covered. We really couldn't see what they were, so
the best way of saying it was that it was a percentage of the assets held in the plan. When CAPTRUST came, by that
time things had evolved that CAPTRUST was able to pull the veil off of that and make the vendors state what their
costs were for all the different things that they did and how that added up, so what they really needed to cover.”)
emphasis added); id. at 92:21‒95:14 (“Q. What did CAPTRUST pull the veil off of then? A. Let me restate what I
said. Prior to CAPTRUST being there, the vendors were very reluctant to release any information whatsoever about
the various things that went into the sum of the investment advisory fee or expense ratio or whatever you want to
call it. They all called it different things and according to what the subject was they called it different things. That
doesn't mean that we didn't know what it was. We knew what the total was. It was there. We've asked them to report
it. Remember the vendor performance summary. We always asked for the expense ratio. That's the same thing. So
the expense ratio was there. We knew what it was. What I said, and I'll say it again, is that we couldn't see the detail
because the companies refused to let us. CAPTRUST though had the ability to come in, lift that veil and say, okay,
TIAA-CREF and Fidelity in our case, what's all this about? Tell me what it really costs to do all of these things
because we're here to make sure that we're doing the best job for Cornell and getting the lowest possible fees. They
lifted that cover, my metaphor. I'm sorry if it confused you. We lifted the cover and they looked at it and we were
able to get much closer to the actual accounting of the costs of the plan and that's the value that RPOC set up by
getting CAPTRUST or if we had picked any of the other companies, they were all doing it at that point. Our peers
let us know that they were all sitting down with TIAA-CREF, Fidelity, T. Rowe Price, Vanguard, everybody,
whatever your group of vendors were, they were all doing it and the vendors were forced by market forces to lift that
veil and give us an opportunity to look at it. So did we know what the expense ratio was before? Of course. Did we
know more about the constituent elements of that? Yes, after the veil was lifted and we were able to get in there and


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         164.     Additionally, any review of negotiations supervised by Mr. Bursic would have

been limited to the total expense ratio of the funds in the Plans and would not have appropriately

separately evaluated recordkeeping fees. In fact, Mr. Bursic testified that he believed that it was

imprudent evaluate the Plans’ fees other than on a bundled total expense ratio basis.988 In

contrast to Mr. Bursic’s practices, the Department of Labor and all the proffered recordkeeping

experts, including the Cornell Defendants’ expert, agree that recordkeeping and administrative

fees need to be evaluated unbundled from the other services offered to a plan.989

         165.     Additionally and again in conflict with his declaration, Mr. Bursic testified at his

deposition that negotiators regarding the share classes or administrative fees would have been

conducted by CAPTRUST.990




the vendor started to cooperate with us. Q. Okay. So you're saying you understood the expense ratio but not the
underlying components of the expense ratio? A. We were prohibited from finding out. They wouldn't give it to us.”)
(emphasis added); id. at 99:2-102:1 (“ . . . You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping, bundle
it back up . . .”) (emphasis added).
988
    Ex. P8, Bursic Dep., at 99:21‒102:1 (“You keep coming back to this because I know you've got an agenda
around this, and I'm going to have to keep answering you the same way over and over again. We're not splitting out
record-keeping fees because it is intimately tied, like your right arm and your left arm. It's tied to the middle. And
the middle is important. It's the entire slate of services that happen with this. If you want to talk about splitting out
record-keeping fees, you've already done it. Stop asking questions about it because I keep giving you the same
answer over and over again. The fee is the fee. We didn't know what it was before. CAPTRUST came in; they
discovered what the fee is. They made it as low as possible for all of the categories, including record keeping,
bundle it back up.”); id. at 44:7-20 “Q. During your time at Cornell has Cornell ever done an RFP for record-
keeping services? A. That is a very difficult approach and I will say, no, we did not, and there's a lot of reasons for
that. Record-keeping services only, separated from the fund parent and from the services that are provided by the
fund parent is not something that we would do. It would not be prudent to issue an RFP, asking some company to do
a specific task that's much more efficiently and effective -- accurately delivered as a bundle of services. So your
specific question was on record-keeping services only? Frankly, I think that would be a crazy idea.”) (emphasis
added).
989
    Ex. P41, DOL Advisory Op. 2013-03A, at 4 (July 3, 2013); Ex. P42, DOL Adv. Op. 97-15A (May 22, 1997); Ex.
P43, DOL Adv. Op. 97-16A (May 22, 1997); Ex. P44, DOL Adv. Op. 97-19A (Aug. 28, 1997); Doc. 249-20, Expert
Report of Ty Minnich, ¶127; Doc. 249-19, Expert Report of Al Otto, ¶¶ 35-36; Ex. P2, Poehler Dep., at .91:‒92:11,
174:11-23.
990
    Ex. P8, Bursic Dep., at 236:24-237:14


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                  2.       The Cornell Defendants failed to conduct a single RFP or RFI for
                           recordkeeping and administrative services

         166.     While industry accepted practice is to conduct a periodic RFP,991 Cornell never

conducted a single RFP for recordkeeping and administrative services.992

         167.     The Cornell Defendants also never conducted even the “lower lying cousin” to an

RFP, an RFI, for the Plans’ recordkeeping and administrative services.993 Even the Cornell

Defendants’ expert, Mr. Poehler, testified that in practice he conducted RFIs because they were

necessary to evaluate the reasonableness of fees of a large and complex plan, like Cornell.

         168.     Members of RPOC believed that CAPTRUST may have benchmarked the Plans’

fees but no one from Cornell recalled reviewing that benchmarking themselves.994

         169.     The Cornell Defendants’ failure to conduct an RFP, RFI or any benchmarking of

the Plans’ fees stands in stark contrast to their actions when Cornell’s own funds were at stake.

Cornell’s procurement policy requires “competitive bidding” for purchases over $10,000 unless

there is a “preferred supplier agreement” or an “appropriate justification.995 Specifically, for




991
    See supra ¶¶145–149.
992
    Ex. P8, Bursic Tr.at 44:7-20 (Q. During your time at Cornell has Cornell ever done an RFP for record-keeping
services? A. That is a very difficult approach and I will say, no, we did not, and there's a lot of reasons for that.
Record-keeping services only, separated from the fund parent and from the services that are provided by the fund
parent is not something that we would do. It would not be prudent to issue an RFP, asking some company to do a
specific task that's much more efficiently and effective -- accurately delivered as a bundle of services. So your
specific question was on record-keeping services only? Frankly, I think that would be a crazy idea.) (emphasis
added); id. at 43:21-23 (“Q. Has Cornell ever done an RFP for the entire bundle of services provided to the plans?
A. Ah, the answer to that is no.”); Ex. P46, Edwards Dep,. at 109:22-110:3; Ex. P9, Gallagher Dep. at 26:19-24; Ex.
P7, Opperman Dep. at 251:25‒252:3; Ex. P45, DeStefano Dep., at 130:8-13; Ex. P48, Prasad Dep., at 38:20-14; Ex.
P142, Walsh Dep., at 198:24-199:5; Ex. P23, Strodel Dep., at 239:7-13; Ex. P57, Warner Dep., at 343:14-344:7.
993
    Ex. P8, Bursic Dep., at 50:23‒51:2 (“Q. Has Cornell ever done a request for information for record keeping and
administrative services? A. No. I mean, it's a lower lying cousin to the RFP and we've not used an RFI in that
circumstances.); see also Ex. P46, Edwards Dep., at 109:22-110; Ex. P9, Gallagher Dep., at 26:19-24; Ex. P7,
Opperman Dep., at 252:5-12; Ex. P48, Prasad Dep. at 41:21-42:20.
994
    Ex. P8, Bursic Dep., at 51:3-14; Ex. P9, Gallagher Dep., at 79:5-8; Ex. P142, Walsh Dep. at 51:5-15; Ex. P7,
Opperman Dep. at 252:13-253:11; Ex. P48, Prasad Dep., at 44L12-46:2.
995
    Ex. P143, Cornell University Policy 3.25, Procurement of Goods and Services, at p. 12, available at
https://www.dfa.cornell.edu/sites/default/files/policy/vol3_25.pdf


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contracts over $10,00 at least three formal bids are required.996 Indeed Cornell “regularly”

conducted RFPs for other benefits services including, healthcare plans and dental plans.997

                3.       The Cornell Defendants failed to negotiate or analyze fees on a per-
                         participant basis

         170.   While industry practice is that recordkeeping and administrative fees need to be

analyzed on a per-participant or total cost basis,998 the Plans’ recordkeeping fees have always

been charged on a basis point or percentage of assets in the Plans.999

         171.   Additionally, the Cornell Defendants only examined the Plans’ per-participant

rate in an April 13, 2012 presentation from CAPTRUST.1000 In that presentation, the Plans were

paying TIAA an estimated $214 per-participant for recordkeeping and administrative fees and

Fidelity an estimated $112 per-participant in recordkeeping fees. The presentation also included

an estimate of TIAA’s fees as $145 per participant under a new arrangement and Fidelity’s fees

at $58 per participant under a new arrangement.1001

         172.   Despite a disparity of $102 per participant between TIAA and Fidelity currently

and $87 dollars per-participant under the new arrangement,1002 no one on RPOC questioned why

the Plans were paying TIAA two to three times higher fees than Fidelity.1003

         173.   All other analysis or discussion of fees by the Cornell Defendants was on an asset

basis.1004


996
    Id.
997
    Ex. P8, Bursic Dep., at 120:2‒122:3, 124:24-125:19.
998
    See supra ¶¶150-154.
999
    Doc. 246-5, TIAA Recordkeeping Agreements (Part 1); Doc. 246-005, TIAA Recordkeeping Agreement (Part 2);
Doc. 246-7, Fidelity Custodial Account Agreements; Ex. P9, Gallagher Dep. at 61:18-21, 65:16-22.
1000
     Doc. 248-13, April 13, 2012 RPOC Meeting Materials, at 14-16; see also Ex. P9,Gallagher Dep. at 57:11-23
(testifying that fees are discussed at RPOC on an asset basis rather than per-participant).
1001
     Doc. 248-13, April 13, 2012 RPOC Meeting Materials, at 14-16.
1002
     Id.
1003
     Ex. P8, Bursic Tr.at 131:9-132:14; Gallagher Dep. at 85:9-86:12.
1004
     Gallagher Dep. at 57:11-23 (testifying that fees are discussed at RPOC on an asset basis rather than per-
participant); see also Doc. 250-19, November 29, 2010, CURP Meeting Minutes (CORNELL0021932); Doc. 248-8,
Jan. 11, 2012 RPOC Meeting Minutes; Ex. P10, February 3, 2011 CURP Meeting Minutes (CORNELL021930); Ex.


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        174.     The fact that the Cornell Defendants never considered the per-participant fees that

participants were paying is also demonstrated by RPOC members’ lack of knowledge of the

difference between a per-participant and asset-based fee. For example, Bursic, who was

responsible for monitoring the Plans’ fees prior to RPOC hiring CAPTRUST,1005 repeatedly

testified that the asset-based fees in the Plans’ recordkeeping contracts with TIAA were per-

participant fees.1006 Mr. Bursic also did not know if TIAA or Fidelity allowed recordkeeping and

administrative fees to be paid on a per-participant basis.1007 When asked if there was any

provider who “charges a set dollar amount per participant for recordkeeping/administrative fees

versus a basis point,” Mr. Bursic, who monitored fees prior to RPOC and has been on the

Committee virtually the entire period, responded “I have no idea and no desire to find out.”1008


P11, June 23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8, January 11, 2012 RPOC Meeting
Minutes (CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC Meeting Minutes (CAPTR_0047907); Doc. 248-9,
July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November 19, 2012 RPOC Meeting
Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8,
September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting
Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15,
September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC
Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex.
P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting
Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19,
June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes
(CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex. P49, April
14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes
(CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December
11, 2017 RPOC Meeting Minutes (CAPTR_0015281); Ex. P8, Bursic Dep., at 43:10-12 (testifying that any
discussion of fees would be reflected in the meeting minutes).
1005
     See supra ¶¶155-160.
1006
     Ex. P8, Bursic Tr.at 99:16-102:21, 103:15-117:
1007
     Id. at 102:22‒103:12 (“Q. Are there service providers that provide record-keeping services on a flat dollar per
participant basis rather than on an asset basis? MS. ROSS: Objection, foundation. 1 A. I know reasonably well what
TIAA and Fidelity do. I take your question to mean in the marketplace of mutual fund -- of the mutual fund
business, is there out there someplace a record keeping firm, even outside of retirement plans, retail accounts, all
kinds of different -- if you take the whole marketplace, I have no idea. I don't know about the whole marketplace. I
know what TIAA and Fidelity do. Q. Does Fidelity offer record-keeping services on a flat or plan participant
basis?? A. To 403(b) retirement plans? Q. Yes. A. I don't know.”) (emphasis added); id at 118:15-25 (“Q. Bursic, do
you know if TIAA will put a dollar cap on the amount of record-keeping fees paid, for example, like $142 per
participant? A. You would have to talk to CAPTRUST about what level of the various fees they've negotiated with
TIAA and if as part of that negotiation process they had some kind of a cap mechanism that would track the
flexibility of cost fluctuations over time, they may or may not be doing that. I don't know.”)
1008
     Id. at 117:10‒118:3 (“Q. So you don't know anyone in the mutual fund industry that charges a set dollar amount
per participant for record keeping/administrative fees versus a basis point? MS. ROSS: Objection, foundation. Q.


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                  4.       The Cornell Defendants failed consider the cost savings of
                           consolidation to a single recordkeeper

         175.     While industry practice is to consolidate to a single recordkeeper to reduce fees

and provide a more efficient administrative structure, the Cornell Defendants never seriously

considered recordkeeper consolidation.

         176.     First, it is indisputable that the Plans used two recordkeepers, TIAA and Fidelity,

for the entire statutory period and continue to do so today.1009

         177.     On January 11, 2012, CAPTRUST advised the Cornell Defendants that

consolidation results in the “best cost structure” for Plan participants.1010 However, there does

not appear to be any serious discussion balancing the cost savings that the Plans could achieve

from recordkeeping consolidation versus other interests at that meeting or any meeting

thereafter.1011 Rather, without an exploration of the fee implications or the impact on




You just said this is how the mutual fund industry works. So I want to know is there anyone in the mutual fund
industry that you're aware of that charges record keeping and administrative fees on a set dollar amount per
participant rather than a basis point like this? A. What I said was that I can only tell you in some detail what TIAA-
CREF and Fidelity do and that this is the way they handle it, and I said that the mutual fund industry, as far as I
know, does this – pretty uniformly charges an expense ratio. I can't tell you 1 that there may be other instances. I
have no idea and I have no desire to find out. Why don't you look it up but, you know, it's just –“).
1009
     Doc. 246-5, TIAA Recordkeeping Agreements (Part 1); Doc. 246-005, TIAA Recordkeeping Agreement (Part
2); Doc. 246-7, Fidelity Custodial Account Agreements.
1010
     Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 38.
1011
     Doc. 248-8, January 11, 2012 RPOC Meeting Minutes (CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC
Meeting Minutes (CAPTR_0047907); Doc. 248-9, July 24, 2012 RPOC Meeting Minutes (CAPTR_0047911); Doc.
252-5, November 19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting
Minutes (CAPTR_0047921); Doc. 252-8, September 30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex.
P13, December 4, 2013 RPOC Meeting Minutes (CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting
Minutes (CAPTR_0004284); Ex. P15, September 17, 2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63,
Doc. 239-4, December 3, 2014 RPOC Meeting Minutes (CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting
Minutes (CAPTR_0013598); Ex. P17, September 9, 2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18,
December 16, 2015 RPOC Meeting Minutes (CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting
Minutes (CAPTR_0013568); Ex. P19, June 29, 2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20,
September 28, 2016 RPOC Meeting Minutes (CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting
Minutes, (CAPTR_0013590); Ex. P49, April 14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June
23, 2017 RPOC Meeting Minutes (CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes
(CAPTR_0013939); Ex. P52, December 11, 2017 RPOC Meeting Minutes (CAPTR_0015281).


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participants, CAPTRUST “validated” the multi-vendor arrangement, without any discussion of

the scope of the fees reductions, when discussing “Investment Menu Design.”1012

          178.   Despite repeated requests from the vendors that they consider consolidation to

reduce fees,1013 the Cornell Defendants never received a quote from TIAA or Fidelity for

consolidation.1014 Despite attempts from CAPTRUST to discuss consolidation with RPOC,

benefits staff unilaterally decided to remove it from the agenda.1015

          179.   Again, the limited nature of the Cornell Defendants’ consideration of

consolidation is demonstrated by the lack of knowledge of the RPOC committee members. For

example, founding committee member, Joanne DeStefano, who did not know if TIAA, Fidelity

or Vanguard could recordkeep other vendor’s funds.1016

                 5.      Plan participants did not prefer a multiple recordkeeper system with
                         TIAA and Fidelity

          180.   The Cornell Defendants claim they could not consolidate to a single recordkeeper

because TIAA and Fidelity will not recordkeep each others funds, and they did not want to

“disrupt” participants’ choice. However, the Cornell Defendants admitted that they were not

aware of any fact that actually supported their assumption that participants would be dissatisfied

with recordkeeper consolidation, preferred any vendor, would be not be satisfied with similar

low-cost investments on another platform.1017 Additionally, the Cornell Defendants’ experience

with recordkeeper consolidation at the Weill Cornell Plans has not resulted in any dissatisfaction

among participants in those plans.1018


1012
     Doc. 248-9, July 2012 RPOC Meeting Minutes, at 3 (CAPTR_0047911) (
1013
     Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201) (“TIAA has been pushing us on this[sole
recordkeeper] on us for years”)
1014
     Ex. P8, Bursic Tr.at 160:14-20.
1015
     Ex. P53, March 28, 2016 email from P. Gallagher (CORNELL016201)
1016
     Ex. P45, DeStefano Dep. at 137-138:6
1017
     Ex. P9, Gallagher Dep. at 135:14-136:5
1018
     Id. at 140;22-141:2.


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        181.    While there is no evidence that participants preferred a multi-vendor arrangement

with TIAA and Fidelity, some participants (including most of the Economics department) did

request a more efficient provider with a lower cost structure. For example, on September 21,

2013, Throne Professor of Economics, Karl Shell, sent a memo to a number of RPOC members

and members of a Faculty Advisory Committee to RPOC.1019 In that memo, Dr. Shell writes that

“Cornell Ithaca should consider adding the Vanguard platform, even if this requires dropping one

or both the existing platforms . . . Vanguard provides the lowest-cost index funds. Index funds

provide the most efficient diversification of risk. Because of the miracle of compound interest,

even very small difference in fees matter a lot over time. Vanguard provides excellent

service.”1020 Mr. Shell also offered an informal poll of “the greater economic community at

Cornell” where every respondent preferred Vanguard and one stated “‘Hire Vanguard, fire the

other two’.”1021

        182.    Finally, the Cornell Defendants’ claim that TIAA and Fidelity could not or would

not explore recordkeeping each other funds is untrue.



                                                                               .1022 SUNY demonstrates

that large plans can exercise their leverage to force TIAA and Fidelity to cooperate and achieved

lower fees by leveraging the size of plans. Additionally, a presentation that Fidelity made to the

Cornell Defendants demonstrates that between 2009 and 2015 multiple institutions with TIAA




1019
     Ex. P55, September 21, 2013 Memorandum from Karl Shell regarding “Notes for the 23 September 2013
meeting of the RPOC advisory committee”.
1020
     Id.
1021
     Id.
1022
     Ex. P38, June 25, 2015 Email from P. Bursic to Mary Operation (CORNELL002493); Ex. P8, Bursic Tr.at
162:22-165:19


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and Fidelity as recordkeepers consolidated to a single recordkeepering arrangement with either

TIAA or Fidelity.1023

          183.   Additionally, Fidelity presented to Cornell on its Master Administrator program

in 2016.1024 That presentation related more than 108 higher education institutions, including 49

over $500 million in assets, had gone through consolidation from 2009 thru 2015.1025

Specifically, it provided that California Institute of Technology, Purdue, University of Rochester,

Notre Dame, Vanderbilt, Colorado and California State University had all gone from a multi-

vendor relationship including TIAA and Fidelity to a single vendor platform.1026

                 6.       The Cornell Defendants improperly delegated its duty to monitor
                          recordkeeping and administrative fees to CAPTRUST and did
                          nothing to monitor CAPTRUST’s process

          184.   The evidence demonstrates that the Cornell Defendants deferred entirely to

CAPTRUST to monitor and negotiate the Plans’ recordkeeping fees with little to no oversight.

For example, multiple members of RPOC testified that RPOC did not ever review any

benchmarking CAPTRUST conducted regarding the Plans’ recordkeeping and administrative

fees or participate in or monitor their negotiations with TIAA or Fidelity.1027 Rather, the Cornell

Defendants relied entirely upon CAPTRUST to “to do their professional job” and CAPTRUST’s

“strong assurances that this is a good deal.”1028 Bursic went as far as testifying “I don't think

anyone on RPOC, including me, but I may be wrong. You may find out otherwise in your other




1023
     Doc. 247-1, 2016 Fidelity Master Administrator Presentation ((CORNELL021851), at 9.
1024
     Doc. 247-1, Feb. 29, 2016 Master Administrator Offering Presentation (CORNELL021851).
1025
     Id. at 11.
1026
     Id.
1027
     Ex. P8, Bursic Dep., at 52:16‒54:13; see also Ex. P9, Gallagher Dep., at 62:11-63:15; Ex. P45, DeStefano Dep.,
at 129:16-21, 131:4-14; Ex. P46, Edwards Dep. at 107:14-109:6; Ex. P47, Schwartz Dep. at 78:8-80:12; Ex. P48,
Prasad Dep., at 67:22-68:16.
1028
     Ex. P8, Bursic Dep., at 52:16‒54:13.


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depositions, really knows how CAPTRUST is conducting those negotiations and what the terms

are of the agreements that they draw up . . .”1029

          185.    Additionally, the Cornell Defendants’ complete deferral of their fiduciary duties

to CAPTRUST is demonstrated by multiple committee members testifying that they did not

know basic details regarding the Plans’ recordkeeping and administrative fees or that if someone

wanted those details they would have to ask CAPTRUST.1030

                  7.       CAPTRUST followed a flawed process in monitoring and negotiating
                           the Plans’ recordkeeping and administrative fees

          186.    First, CAPTRUST, contrary to industry accepted practice, never conducted an

RFP, or even an RFI, for the Plans’ recordkeeping and administrative services.1031

          187.    Moreover, even the database benchmarking that CAPTRUST provided was

limited. CAPTRUST Senior Vice President James Strodel only recalled CAPTURST conducting

benchmarking to the fees paid by other CAPTRUST clients in 2012.1032 CAPTRUST Senior

Vice President Barron Schmitt did not recall benchmarking of TIAA’s fees when TIAA offered

new prices in 2012, 2014, or 2017.1033 The only fee benchmarking that Schmitt recalled was after

this lawsuit, but he could not recall how Cornell’s fees compared to the 10 to 20 similar

CAPTRUST clients.1034 Schmitt had no recollection of ever benchmarking the fees the Plans

paid to Fidelity after 2012.1035 Any benchmarking conducted in 2012 consisted only of a “fairly



1029
     Ex. P8, Bursic Tr.at 119:1-13 (“Q. Okay. So you don't know if there's a cap on the fees within the TIAA plan?
A. Right. Q. Has RPOC ever discussed a fee structure like that with a cap, with a set dollar cap? A. I don't think
anyone on RPOC, including me, but I may be wrong. You may find out otherwise in your other depositions, really
knows how CAPTRUST is conducting those negotiations and what the terms are of the agreements that they draw
up, whether or not they include what you've just questioned about a cap on one particular activity that TIAA does, a
cap on the cost, that is, of that activity.”)
1030
     Id.
1031
     Ex. P23, Strodel Dep., at 239:7-13.
1032
     Ex. P23, Strodel Dep., at 223:12-16.
1033
     Ex. P60,Schmitt Dep. at 156:13-157:5, 157:19-158:1, 159:12-160:11, 162:22-163:10, 166:14-167:3.
1034
     Id. at 169:21‒170:4.
1035
     Id. at 176:22‒178:24.


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limited” set of “maybe” five comparable clients.1036 Additionally, Schmitt admitted that any

benchmarking would have only compared the fees the Plans paid to TIAA to fees paid to TIAA

by other CAPTRUST clients and the fees the Plans paid to Fidelity to what other clients paid

Fidelity.1037 CAPTRUST made no comparison to what prices other vendors were charging

similar plans.1038

          188.    Additionally, rather than engaging in back and forth negotiations with the

reocrdkeepers to bargain for a reasonable price for the services requested, CAPTURST merely

periodically requested a new price quote from the recordkeeper and always accepted the first

price offered.1039



                                                                                .1040

          C.      As a Result of the Cornell Defendants’ Imprudent Process, Plan Participants
                  Paid Millions of Dollars of Excess Recordkeeping Fees and Lost Millions of
                  Dollars in Lost Investment Opportunity

          189.    Even using the data that the Cornell Defendants rely on, Plan participants suffered

significant losses as a result of the Cornell Defendants’ imprudent conduct. As the Cornell

Defendants’ recordkeeping expert, Poehler, admits, participant count is the primary driving

factor in the cost of recordkeeping fees.1041




1036
     Ex. P23, Strodel Dep. at 223:13-227:10.
1037
     Ex. P60,Schmitt Dep., at 179:12-21.
1038
     Id.
1039
     Ex. P23, Strodel Dep., at 230:23-231:7
1040
     Ex. P56, Weber Dep., at 164:13-165:5; 198:23-199:5; 199:24-201:9; Ex. P57, Warner Dep., at 43:19-44:6, 52:1-
52:7, 71:24-72:6, 171:20-173:20.
1041
     Ex. P2, Poehler Dep. at 52:18‒53:5. Mr. Poehler qualified his answer by stating it was assuming that the services
were obtain, (id.), However, he admitted that he did not know the services that were being provided to any of the
plans he used for benchmarking and upon which the Cornell Defendants reply upon in their pleadings. Ex. P2,
Poehler Dep. at 98:24‒100:6, 20-7:22-‒208:3, 218:17-19, 222:4-6, 223:7-8. 224:19-21, 228:14-16, 249:13-17.
2535:15‒254:7, 278:25‒279:4, 283:9-12.


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                  .1042 However, Cornell paid significantly higher fees than fees in the top 25th

percentile among TIAA clients for every year in the chart after 2011:




In sum, even using the TIAA top 200 client data the Cornell Defendants relied upon, the Plans

paid nearly $2 million in excess fees (not including lost investment opportunity) between 2012

and 2017 alone.

          190.    Similarly, the 2014 CAPTRUST data that the Cornell Defendants cite and Mr.

Poehler relies upon to prove that the Plans were paying TIAA reasonable fees demonstrates that

the Plans were paying excessive fees to TIAA. Mr. Poehler admitted the 2014 CAPTRUST data

included mostly Plans that were smaller than the Cornell Plans by over 10,000 participants, and

were not appropriate benchmarks, and that he included merely to show the “range of fees.”1044

Mr. Poehler also admitted that those Plans over 10,000 participants in the 2014 CAPTRUST data




1042
     Doc. 249-21, Declaration of Erich Podzinski, ¶4.
1043
     All per-unique participant fees are from Doc 249-21, the Declaration of Erick Podzinski. Excess fees are
calculated by subtracting 25th percential fee from Cornell’s fees. Total excess fees are calculated by taking the
excess fees multiplied by the number of unique participants in CURP from Poehler’s Fee Analysis Worksheet,
TIAA CURP Tab, line 14. Doc. 246-4, Expert Report of Glenn Poehler, at 106.
1044
     Ex. P2, Poehler Dep. at 210:6‒231:24, 233:23-11.


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all paid basis-point recordkeeping fees to TIAA that were lower than those the Plans paid at that

time.1045


          191.   Similarly, the 2017 CAPTRUST data that the Cornell Defendants and Mr. Poehler

rely upon to demonstrate that the Plans’ TIAA fees were reasonable actually demonstrates that

they were paying excessive fees. Mr. Poehler admitted in his deposition that most of the Plans in

the 2017 CAPTRUST data were actually much smaller than the Cornell Plans and not

appropriate benchmarks – one as small as 637 participants.1046 Further, Mr. Poehler admitted that

most of the Plans in the 2017 data that were similar in size to the Cornell plans were paying

lower per-participant fees than Cornell.1047

          192.   Ty Minnich, who worked for decades as an executive in the recordkeeping units

of Transamerica, Metlife and CitiStreet, opined, based on his experience, that reasonable fees for

the Plans if the Defendants had followed prudent practices were $40 per-participant from 2010-

2012, $38 per-participant from 2013-2015 and $36 per-participant from 2016-present.1048 Based

on these numbers, Mr. Minnich found that the plans paid $21,176,568.46 in unreasonable

recordkeeping and administrative fee from 2010 until 2018.1049 Taking into account the lost

investment opportunity participants suffered from the payment of these excess fees, participants

in the Plans lost $35,466,775.51.1050

          193.   Similarly, Al Otto, who advised and acted as a co-fiduciary for defined

contribution plans (including both 401(k) and 403(b) plans) for more than 20 years opined that

the Plans could have achieved fees of $40 per participant from 2010 to 2014 and $35 per


1045
     Ex. P2, Poehler Dep. at 232:4-233:22.
1046
     Ex. P2, Poehler Dep. at 243:12‒249:8.
1047
     Ex. P2, Poehler Dep,. at 235:12‒243:11.
1048
     Doc. 249-20, Expert Report of Ty Minnich, ¶¶157.
1049
     Id. ¶159
1050
     Id. ¶163.


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participant from 2015 to 2018.1051 Using even Mr. Otto’s most conservative calculations the

Plans paid unreasonable fees resulting in $29,243,486 of losses (taking into account lost

investment opportunity) to participants in the Plans1052


II.       THE CORNELL DEFENDANTS RETAINED NUMEROUS IMPRUDENT
          INVESTMENT OPTIONS IN THE PLANS

          A.     The Cornell Defendants’ Delayed and Flawed Investment Review Process

          194.   Prior to formation of the RPOC, Cornell’s Board of Trustees retained all fiduciary

responsibility for the review, selection and retention of investment options in the Plans 1053

          195.   Cornell disregarded warnings from the Plans’ auditors in May 2010 that the lack

of an Investment Policy Statement for the Plans was an internal control deficiency that needed to

be corrected.1054

          196.   The Board of Trustees then took nearly a year after this warning to create the

RPOC charter.1055

          197.   In 2010, Cornell reviewed a presentation indicating that 401(k) retirement plans

that actually performed their fiduciary duties had “10-30 investment options” in their plans.1056

          198.   The presentation further noted that participants “in plans with more than 20

investment fund were less diversified (i.e., held slightly fewer funds on average.)”1057 and that

too many funds also negatively affected participation rates, providing the following chart based

on its knowledge as an investment advisor to retirement plans:1058


1051
     Doc. 249-19, Expert Report of Al Otto, ¶80.
1052
     Ex. P21, Expert Rebuttal Report of Al Otto, ¶60
1053
     Doc. 250-17, April 2011 RPOC Charter (CORNELL015812).
1054
     Ex. P92, CURP Plan Report to the Plan Administrator May 28, 2010 (CORNELL025340) at 9-10; Ex. P45,
DeStefano Tr. at 75:14-86:18.
1055
     Ex. 17, April 2011 RPOC Charter (CORNELL015812).
1056
     Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 5 (CORNELL029094)
1057
     Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 27 (CORNELL029094)
1058
     Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 28 (CORNELL029094)


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          199.

                             .1059

          200.   Cornell was notified by other investment advisors that transitioning plan

participants from an unconstrained fund line up was “a non-event.”1060

          201.   CAPTRUST internally noted that it had “experience with our other university

clients who have made huge changes with little push back from participants.”1061

          202.

                                                     .1062

          203.   Cornell retained over 200 investments in the Plans through the class period.1063




1059
     Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 23 (CORNELL029094); Ex. P61,
Cammack LaRhette response to Cornell’s RFP for investment advisor May 13, 2011 (CORNELL006753) at 18; Ex.
P4, Mercer response to Cornell’s RFP for investment advisors (CORNELL015325) at 16-18.
1060
     Ex. P61, Cammack LaRhette response to Cornell’s RFP for investment advisor May 13, 2011
(CORNELL006753) at 18.
1061
     Ex. P103, Internal CAPTRUST e-mail dated May 26, 2015 (CAPTR_0030234) at 1.
1062
     Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 16-19 (CORNELL029094); Ex. P4,
Mercer response to Cornell’s RFP for investment advisors (CORNELL015325) at 16-18; Ex. P61, Cammack
LaRhette response to Cornell’s RFP for investment advisor May 13, 2011 (CORNELL006753) at 18.
1063
     Ex. P144, 2016 Tier 3 Fund Selection Overview (CAPTR_0007501) at 2 and 10.


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          204.   At its first meeting, the Chair of the RPOC wanted the group to meet monthly

because they had “a lot to do,” however, the RPOC failed to meet monthly because they could

not get members to attend meetings.1064

          205.   After the RPOC was created, it met for a total of 2 hours and 12 minutes in

2011.1065

          206.   During the same period the committee responsible for the endowment, with a

professional investment staff of 20 Cornell employees, met quarterly for at least four hours each

meeting to discuss investment performance “without fail.”1066

          207.   The RPOC hired CAPTRUST in December 2011.1067

          208.   Cornell was years behind even non-ERISA plans in hiring an investment advisor

for its Plans.1068

                 1.      Prior to July 2013 the Cornell Defendants Did Nothing to Monitor
                         and Review the Investment Options in the Plans

          209.   In its first meeting with the RPOC in January 2012, CAPTRUST observed that

“currently there is a limited process in place to make investment decisions.”1069

          210.   At the same meeting CAPTRUST told the Cornell Defendants that there were

“many underperforming funds” in the Plans.1070


1064
     Ex. P7, Opperman Tr. at 56:14-59:13; Doc. 250-19, RPOC Meeting Minutes November 29, 2010
(CORNELL021932) at 3.
1065
     Ex. P7, DeStefano Tr. at 117:23-119:2.
1066
     Ex. P7, DeStefano Tr. at 41:3-44:2.
1067
     CAPTRUST’s Rule 56.1 Statement of Undisputed Material Fact at ¶ 4.
1068
     Ex. P93, CAPTRUST’s Response to RFP (CORNELL011415) at 2; Ex. P94, CAPTRUST Reference Check
Summary (CORNELL027635) at 1; Ex. P3, Hewitt Response to RFP (CORNELL024180) at 4-5; Ex. P62, Segal
Advisors Response to RFP (CORNELL006782) at 12-13.
1069
     Doc. 248-43, Jan. 11, 2012 RPOC Meeting Materials (CAPTR_0009067), at 6.
1070
     Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581), at 1
(listing date of meeting), 8 (acknowledging underperforming TIAA-CREF investments), 9 (acknowledging
underperforming Fidelity investments); Doc. 248-8, Ex. 44, Meeting Minutes from January 11, 2012 RPOC meeting
(CAPTR_0047903) at 3 (“TIAA-CREF has several redundant asset classes as well as underperforming accounts.
Fidelity currently offering (180+ funds) has significant redundancy, many underperforming accounts and too many
choices in general.”); Ex. P7, Opperman Tr. 60:14-61:9; 63:8-63:24.


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          211.   CAPTRUST did not identify these underperforming funds.1071

          212.   In January 2012, Cornell itself observed that the Fidelity platform had “too many

choices in general.”1072

          213.   CAPTRUST noted that if Cornell stayed with the “status quo” there would be

continued participant confusion, disparate fund structure, complex and inefficient investment due

diligence, fiduciary oversight would be more difficult, and continued disjointed

administration.1073

          214.   After acknowledging that there were “many underperforming funds” in the Plans,

no investment due diligence occurred on the underperforming funds for 18 more months.1074

          215.   An Investment Policy Statement was not completed until November 28, 2012.1075

          216.   CAPTRUST approved and adopted Cornell’s Investment Policy Statement on

December 5, 2012.1076

          217.   CAPTRUST proposed the Plans’ Investment Policy Statement (“IPS”) to Cornell

in January 2102 and Cornell largely accepted the IPS with minimal changes.1077




1071
     Ex. P83, RPOC Retirement Plan Meeting – Executive Summary, January 11, 2012 (CORNELL015581); Ex.
P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254).
1072
     Doc. 248-8, Ex. 44, RPOC Meeting Minutes January 11, 2012 (CAPTR_0047903) at 3.
1073
     Ex. P83, RPOC Presentation January 11, 2012 (CORNELL015581) at 15.
1074
     Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3
(“2nd deliverable is an interim Fiduciary review on the entire platform of funds. … To put this in perspective, we
were hired in December 2011 and we have yet to do a review[.]”) and PDF 6 (“Is this the meeting we need to have
some sort of quant review on their 5,000 funds?); Ex. P87, e-mail between Cornell and outside counsel dated
October 3, 2012 (CORNELL013947) at PDF 2 (“You had mentioned that at a recent RPOC meeting, it was unclear
whether CAPTRUST was providing investment performance information to the RPOC.”); Ex. P88, Ciccotello Tr. at
103:3-105:2.
1075
     Doc. 252-6, Ex. 76, Cornell Investment Policy Statement (CORNELL013763) at 9.
1076
     Doc. 252-6, Ex. 76, Investment Policy Statement Cornell University (CORNELL013763) at 9; Ex. P23, Strodel
Tr. at 130:9-131:19.
1077
     Ex. P145, Jan, 1, 2012 Draft IPS (CORNELL022008); Ex. P146, May 2, 2012 Draft IPS (CAPTR_0020302);
Ex. P147, Aug. 27, 2012 Draft IPS (CAPTR_0020262); Ex. P148, Oct. 18, 2012 Draft IPS (CAPTR_0020321);


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          218.    The appendix to the IPS providing the methodology for the review “is consistent”

regardless of the client and CAPTRUST does not change its review process.1078

          219.    Once the IPS was approved by Cornell, the RPOC did not meet for 8 more

months.1079

          220.    Cornell and CAPTRUST’s Investment Policy Statement provides that “all

actively managed investments should rank in the top 50% of their given peer group for the 3 or 5

year annualized period[.]”1080

          221.    Prior to July 2013, the Cornell Defendants did not monitor funds in the Plans.1081

          222.    Prior to hiring CAPTRUST, Cornell had “no experience to do this analysis.”1082

          223.    CAPTRUST panicked when it realized it had not conducted any investment due

diligence prior to July 2013, when Barry Schmitt and colleagues in July 2013 discussed how

CAPTRUST needed to conduct a quantitative only review of Cornell’s “massive fund list” in

order to provide “fiduciary cover” for CAPTRUST until Cornell consolidated its fund line-

up.1083


1078
     Ex. P23, Strodel Dep., at 122:15-25.
1079
     Doc. 252-5, November 19, 2012 RPOC Meeting Minutes (CAPTR_0047924); Ex. P12 July 31, 2013 RPOC
Meeting Minutes (CAPTR_0047921).
1080
     Doc. 252-6, Ex. 76, Investment Policy Statement Cornell University (CORNELL013763) at 6.
1081
     Ex. P7, Opperman Tr. at 59:20-60:2, 123:21-24, 161:6-22; Ex. P8, Bursic Tr. at 16:3-25, 78:4-85:18, 176:3-
177:3, 178:9-20; Ex. P9, Gallagher Tr. at 152:23-153:6, 56:10-22; Ex. P86, Internal CAPTRUST e-mail exchange
July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3 (“2nd deliverable is an interim Fiduciary review on the
entire platform of funds. … To put this in perspective, we were hired in December 2011 and we have yet to do a
review[.]”) and PDF 6 (“Is this the meeting we need to have some sort of quant review on their 5,000 funds?); Ex.
P87, e-mail between Cornell and outside counsel dated October 3, 2012 (CORNELL013947) at PDF 2 (“You had
mentioned that at a recent RPOC meeting, it was unclear whether CAPTRUST was providing investment
performance information to the RPOC.”); Cornell Defendants’ Rule 56.1 Statement of Undisputed Material Facts
infra at ¶ 74 (CAPTRUST’s initial goals and objective included “adopting a methodology for ongoing plan
monitoring.”).
1082
     Ex P8, Bursic Tr. at 79:25:-80:7.
1083
     Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 2-3
(“2nd deliverable is an interim Fiduciary review on the entire platform of funds. … We strongly believe that there
needs to be something in the files until the fund changes actually occur. To put this in perspective, we were hired in
December 2011 and we have yet to do a review[.]”), PDF 4 (“We are simply trying to provide some ‘fiduciary
cover’ until the fund consolidation occurs.”), and PDF 1 (“[d]o we still have ‘fiduciary exposure’? How do we
mitigate this exposure?”); Ex. P7, Opperman Tr. at 65:20-67:13.


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          224.    Mr. Schmitt proceeded to write, “[t]o put this in perspective, we were hired in

December 2011 and we have yet to do a review AND the recommended fund menu that will be

delivered at the end of July may not be implemented until mid-2014 (or later).”1084

          225.    Prior to July 2013, CAPTRUST had not recommended the removal of any

specific fund from the Plans and there was no process in place to remove a fund from the

Plans.1085

          226.    CAPTRUST failed to recommend specific investments for a consolidated fund

line-up to Cornell until June 2013.1086

          227.    Once CAPTRUST realized it needed to complete investment due diligence for all

of the investments in the Plans to provide “fiduciary cover” for itself, CAPTRUST set an internal

deadline of 20 days to complete the investment due diligence.1087

          228.    CAPTRUST presented a quantitative only analysis of 293 funds on July 31,

2013.1088




1084
     Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 3
1085
     Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the
RPOC did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC
Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining
a process to make decisions on the funds currently found in the Tier III menu of funds.”).
1086
     Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 3 (“1st
deliverable is the comps for the asset classes that the RPOC has approved in order to fulfill those asset classes. …
the recommended fund menu that will be delivered at the end of July may not be implemented until mid-2014 (or
later).”) and PDF 1 (“A general question though- we fall on this recommended line up at the end of July and the
implementation doesn’t take place until mid-2014, do we still have ‘fiduciary exposure’? How do we mitigate this
exposure?”); Ex. P96, E-mail from B. Schmitt to TIAA-CREF dated August 14, 2013 (CAPTR_0035670); Ex. P97,
Attachment to CAPTR_0035670, initial draft of recommended core line-up (CAPTR_0035671); Ex. P12, RPOC
Meeting Minutes dated July 31, 2013 (CAPTR_0047921) at 2 (“CAPTRUST then provided the Committee with a
listing of asset classes and funds for the RPOC’s initial reaction.”).
1087
     Ex. P86, Internal CAPTRUST e-mail exchange July 1, 2013 to July 3, 2013 (CAPTR_0053254) at PDF 7.
1088
     Doc. 241-1, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P149, Internal CAPTRUST e-
mail exchange June 28, 2013 (CAPTR_0053221).


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          229.    Prior to its engagement and in its initial meetings with Cornell CAPTRUST

represented to Cornell that it would conduct quantitative and qualitative investment due diligence

and that qualitative factors were important and a critical part of CAPTRUST’s analysis.1089

          230.    The Chair of the RPOC, Mary Opperman, did not even know what the terms

quantitative and qualitative measures meant in the investment policy statement despite having

heard them used in numerous RPOC meetings.1090

          231.    In the July 31, 2013 report, CAPTRUST did not provide qualitative analysis for

any fund in the Plans including for funds it recommended for the consolidated investment

menu.1091

          232.    CAPTRUST’s July 31, 2013 quantitative-only analysis was not the same level of

monitoring that would occur for a core line-up.1092

                  2.       In July 2013 the Cornell Defendants Are Informed That Numerous
                           Specific Funds Had Serious Performance Issue or Failed the Plans’
                           IPS But Cornell Did Not Remove a Single Fund Until 2017

          233.    When CAPTRUST provided investment due diligence information to Cornell in

July 2013, it only provided an “investment scorecard” (a/k/a the dashboard system) that provided

an executive summary with no information (sharpe-ratios, risk-adjusted returns, and other

relevant quantitative and qualitative data) about the actual underlying performance of specific

investment options in the Plans.1093


1089
     Ex. P93, CAPTRUST Financial Advisors Formal RFP Response (CORNELL011415), at 8 (“qualitative factors
(4) play an important role in our analysis.”); Doc. 248-13, RPOC Presentation April 13, 2012 (CORNELL022014)
at 19 and 21 (“Methodology: each fund is evaluated by both quantitative and qualitative factors”); Ex. P23, Strodel
Tr. at 133:25-134:8 (“Q. Why does CAPTRUST perform qualitative scoring on investments within the plans? A. We
think it’s a critical part of evaluating an investment option.”).
1090
     Ex. P7, Opperman Tr. at 17:10‒19:4.
1091
     Doc. 241-1, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P149, Internal CAPTRUST e-
mail exchange June 28, 2013 (CAPTR_0053221); Ex. P23, Strodel Tr. at 162:9-24; 170:22-171:3.
1092
     Ex. P88, Ciccotello Tr. at 107:17-108:3 (“So this is not the same level of monitoring that was – that would occur
for Tier 1 and 2, but if offered the committee some information about what would potentially be in Tier 3.”).
1093
     Ex. P93, CAPTRUST Financial Advisors Formal RFP Response (CORNELL011415), at 12 (excerpt reproduced
in body below); Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122); Ex. P12, July 31, 2013


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        234.    While CAPTRUST did not provide underlying performance data to Cornell, it

routinely provided the underlying performance data necessary to verify the entries in the

investment scorecard to other retirement plan clients, referred to as “FUND FACTS SHEETS &

COMPARISONS” as part of its normal process.1094




RPOC Meeting Minutes (CAPTR_0047921) at 3 (“CAPTRUST provided the RPOC with a high level review of the
current 250+ funds on the various platforms”).
1094
     Ex. P60, Schmitt Tr. at 71:20-73:3; Ex. P84, CAPTRUST Presentation for The University of Maine System
dated July 15, 2013 at PDF 26, 39-70; Ex. P101, CAPTRUST Presentation for The University of Maine System 1st
Quarter, 2015 at PDF 489, 564-609.


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          235.   A fiduciary must have underlying performance data in order to verify or dispute

information found in the investment scorecard.1095

          236.   CAPTRUST did not provide any underlying performance data to the RPOC

Committee that would allow the RPOC to evaluate, validate or dispute CAPTRUST’s green,

yellow, red investment scorecard entries until the RPOC’s December 3, 2014 meeting, when it

only provided underlying information for the core line-up.1096

          237.   The Chair of the RPOC, Mary Opperman, did not know what a sharpe ratio was,

even though it was a measure of performance the RPOC eventually used.1097

          238.   In the July 2013 analysis, a yellow triangle within the risk adjusted performance

(RAP) metric in CAPTRUST’s report meant that the investment’s “Annualized Risk Adjusted

Performance falls below the 50th percentile of the peer group.”1098 A yellow triangle within the

peer metric meant that the “Annualized Peer Relative Performance falls below the 50th

percentile of the peer group.”1099 Red diamonds indicated that the funds should be considered for

termination.1100

          239.   CAPTRUST identified 85 investments in the Plans that ranked below the 50th

percentile of the peer group for Annualized Risk Adjusted Performance and/or Annualized Peer




1095
     Ex. P88, Ciccotello Tr. at 26:2-27:18; 66:13-67:5; 77:10-78:1; 78:13-79:19; 97:3-100:24; 118:21-121:1; Ex.
P46, Edwards Tr. at 63:13-64:16; Ex. P87, e-mail between Cornell and outside counsel dated October 3, 2012
(CORNELL013947) at PDF 2 (“If CAPTRUST has not been providing the RPOC with information about the plans’
investment options, then there is significant risk that the DOL or a Plan participant could question whether the
RPOC has been satisfying its fiduciary responsibility.”); Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶¶
68, 81.
1096
     Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 16-93; Ex. P133, E-mail attaching
Quarterly Review for 3rd Quarter, 2014 (CORNELL15001); Ex. P7, Opperman Tr. at 77:12-79:12.
1097
     Ex. P7, Opperman Tr. at 49:22‒50:8.
1098
     Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134.
1099
     Ex. P89, Quarterly Review for 3rd Quarter, 2014 (CORNELL015005) at 134.
1100
     Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012 (CORNELL022014) at 21.


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Relative Performance for the 3 and/or 5 year annualized periods, all of which violated Cornell’s

Investment Policy Statement.1101

          240.   CAPTRUST identified 27 investment alternatives in the Large Cap Growth Fund

asset class in the July 2013 review.1102 Seven Large Cap Growth Funds ranked below the 50th

percentile of the peer group for the 3 or 5 years annualized period, with three falling below the

IPS standards for both periods.1103 Three of the Large Cap Growth Funds received a total

quantitative score indicating they should be removed from the Plans.1104

          241.   CAPTRUST identified 12 investment alternatives in the Large Cap Value Fund

asset class in the July 2013 review, including the Fidelity Blue Chip Value Fund (FBCVX).1105

          242.   The Fidelity Blue Chip Value Fund ranked below the 50th percentile of its peer

group for the 3 and 5 year periods in CAPTRUST’s 2013 quantitative analysis.1106 The FBCVX

received a total quantitative score indicating it should be removed from the Plans in 2013.1107




1101
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P89, Quarterly Review
for 3rd Quarter, 2014 (CORNELL015005) at 134; Doc. 252-6, Ex. 76, Investment Policy Statement Cornell
University (CORNELL013763) at 6.
1102
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 43-44; Ex. 150, Cornell
University Retirement Plan for the Employees of the Endowed Colleges at Ithaca 2013 Form 5500
(CORNELL0000237) at 16-21.
1103
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 43-44.
1104
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 43-44; Ex. P23, Strodel Tr. at
135:12-24.
1105
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 44-45; Ex. 150, Cornell
University Retirement Plan for the Employees of the Endowed Colleges at Ithaca 2013 Form 5500
(CORNELL0000237) at 16-21.
1106
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 44.
1107
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 44; Doc. 248-13, Ex. 49, RPOC
Presentation April 13, 2012 (CORNELL022014) at 21 (score of “69 or below Consider termination of fund”); Ex.
P23, Strodel Tr. at 135:12-24.


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          243.    The next time CAPTRUST evaluated the Fidelity Blue Chip Value Fund in

September 2014, it continued to rank below the 50th percentile of its peer group for the 3 and 5

year periods and received a total score indicating it should be removed from the Plans.1108




          244.    The Fidelity Blue Chip Value Fund demonstrated significantl historical

underperformance from the start of the class period through CAPTRUST’s September 2014

evaluation.1109

          245.    The Chair of the RPOC, Mary Opperman, did not know the difference between a

fixed and variable annuity.1110

          246.    In its first analysis of funds in July 2013, CAPTRUST failed to include any

evaluation of the TIAA Real Estate Account.1111




1108
     Ex.P90, e-mail attaching materials for September 17, 2014 RPOC meeting (CORNELL013566); Doc. 231-3, Ex.
92, RPOC Presentation September 17, 2014 at 43; Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012
(CORNELL022014) at 21 (score of “69 or below Consider termination of fund”).
1109
     Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 115, Exhibit 6 at row 152 (Morningstar data ranking
FBCVX in the bottom 15 percent of its peer group for the 3-year period and bottom 18 percent for the 5 year
period); Ex. P150, Fidelity Blue Chip Value Fund (FBCVX) Prospectus dated September 29, 2010 at 4-6; Ex. P151,
Fidelity Blue Chip Value Fund (FBCVX) Prospectus dated September 29, 2011 at 4-6; Ex. P152, Fidelity Blue Chip
Value Fund (FBCVX) Prospectus dated September 29, 2012 at 190-192; Ex. P153, Fidelity Blue Chip Value Fund
(FBCVX) Prospectus dated September 28, 2013 at 262-264; Ex. P83, RPOC Retirement Plan Meeting – Executive
Summary, January 11, 2012 (CORNELL015581) at 9 (acknowledging underperforming Fidelity investments
generally); Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 44 and 45 (duplicate pages
listing FBCVX); Doc. 231-3, Ex. 92, RPOC Presentation September 17, 2014 (CORNELL013567) at 43.
1110
     Ex. P7, Opperman Tr. at 250:2-22.
1111
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P88, Ciccotello Tr. at
110:24-113:9 (“Q. Sure. Do you see any appropriate performance-related information for the TIAA Real Estate
Account in this presentation? A. So in this presentation I just – I see nothing but dashes.”) ; Ex. P23, Strodel Tr. at
185:18-25; Ex. P8, Bursic Tr. at 223:6-225:1; Ex. P7, Opperman Tr. at 250:2-4; Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 103-105.


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          247.   Historical performance data for the TIAA Real Estate Account was available in

July 2013.1112

          248.   Despite not including any analysis of the TIAA Real Estate Fund in July 2013,

CAPTRUST recommended to Cornell that it should be included in the consolidated investment

line-up.1113

          249.   In July 2013 CAPTRUST compared the TIAA Real Estate Account to the Dow

Jones US Select REIT and Morningstar Specialty-Real Estate benchmarks.1114 The TIAA Real

Estate Account underperformed significantly against both indexes over the year-to-date, one,

three, five and ten-year periods.1115




          250.   The TIAA Real Estate Account underperformed prior to CAPTRUST’s

analysis.1116




1112
     Ex. P105, TIAA Real Estate Account’s Quarterly 8-K (TIAA_CORNELL_00026051) at 6.
1113
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12; Ex. P88, Cicotello Tr. at
112:4-113:16; 116:21-117:20.
1114
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
1115
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68.
1116
     Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 101-108, Exhibit 3.


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          251.   CAPTRUST did not provide an evaluation of the TIAA Real Estate Account to

the Cornell Defendants until September 17, 2014, which solely included one green “score” dot

and no underlying performance data.1117




          252.   CAPTRUST’s investment advisors could not articulate the proprietary

methodology for evaluating the TIAA Real Estate Account resulting in the green score.1118

          253.   By December 2014, CAPTRUST evaluated the TIAA Real Estate Account’s

unadjusted returns against the NCREIF Property Index and Morningstar Specialty-Real Estate

Universe.1119

          254.   The data presented to the RPOC in December of 2014 showed that the TIAA Real

Estate Account underperformed both of CAPTRUST’s selected benchmarks over the one, three,

five and ten-year periods.1120




          255.   The TIAA Real Estate Account’s June 30, 2013 Quarterly Report uses the

NCREIF as its benchmark.1121




1117
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P23, Strodel Tr. at
185:18-25; Doc. 231-3, Ex. 92, RPOC Presentation September 17, 2014 (CORNELL013567) at 39-47.
1118
     Ex. P60, Schmitt Tr. at 118:13-16; Ex. P23, Strodel Tr. at 143:24-145:144.
1119
     Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28.
1120
     Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28; Ex. P9, Gallagher
Tr. at 354:4-356:13.
1121
     Ex. P107, TIAA Real Estate Account Quarterly Performance Analysis June 30, 2013, exhibit 99.1 to 8-k, at 4;
Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (using adjusted returns does not reflect the true
returns experienced by holders of interests in the Account).


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          256.   The TIAA Real Estate Account’s adjusted performance figures listed in its

prospectus do not reflect the true returns experienced by the Plans’ participants.1122

          257.   Removing the lowest performing portion of a fund to compare it to benchmark

“doesn’t make sense” when comparing investment performance within an asset class.1123

          258.   By 2015, CAPTRUST was still comparing the unadjusted TIAA Real Estate

Account returns to the Morningstar Specialty-Real Estate benchmark for another one of its

clients serviced by Financial Advisor Barry Schmitt.1124 TIAA Real Estate Account

underperformed against the index for the year to date, one, three, five and ten-year periods.1125

          259.

                                                                                                          .1126

          260.   Once selected for the core line-up, Cornell and CAPTRUST held out the TIAA

Real Estate Account in the real estate asset class, along with the Cohen & Steers Realty Shares

REIT investment.1127

          261.   REITs and the TIAA Real Estate Account are managed by the same type of real

estate professionals throughout the real estate industry.1128

          262.   Consistent with its assignment in the real estate asset class, in 2013, CAPTRUST

compared the TIAA Real Estate Account to the same benchmarks it compared the Cohen &




1122
     Ex. P106, TIAA Real Estate Account 8-K dated March 10, 2015 (“adjusted performance figures are designed for
use of Account investors for comparison purposes only, and do not reflect the true returns experienced by holders of
interests in the Account.”).
1123
     Ex. P46, Edwards Dep. at 117:5-8
1124
     Ex. P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 604.
1125
     Ex. P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 604.
1126
     Ex. P62, Segal Advisors Response to Cornell’s RFP for an investment advisor May 3, 2011,
(CORNELL006782) at PDF 54-55.
1127
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12; Ex. P89, Quarterly Review for
Period Ending September 30, 2014 (CORNELL015005) at 53.
1128
     Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶ 54.


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Steers Realty shares against, the Dow Jones US Select REIT and Morningstar Specialty-Real

Estate Universe.1129

          263.   From 2009 to 2016 the TIAA Real Estate Account underperformed against the

alternative Cohen & Steers Realty Shares investment, recommended in the real estate asset class

for the Fidelity platform in the Plans, by 83.37%.1130




1129
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 68; Ex. P89,
Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 69.
1130
     Ex. P123, Cohen & Steers Realty Shares, Inc. Prospectus dated May 1, 2017 at 5; Ex. P124, TIAA Real Estate
Account Quarterly Performance Analysis December 31, 2016, exhibit 99.1 to 8-k, at 15.


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          264.   From 2009 to 2016 the TIAA Real Estate Account underperformed against the

alternative Vanguard REIT Index by 82.95%.1131




          265.   The TIAA Real Estate Account demonstrated significant underperformance prior

to and throughout the class period.1132

          266.   The TIAA Real Estate Account’s expense ratio was 17 basis points higher than

the Cohen & Steers Realty Shares fund and 79 basis points higher than the Vanguard REIT Index

Fund.1133

          267.   Cornell takes the position that CAPTRUST’s process, and the data Cornell relied

upon in reviewing the investment during the class period—comparing the TIAA Real Estate



1131
     Ex. P125, Vanguard Specialized Funds Prospectus dates September 26, 2017 at 4; Ex. P124, TIAA Real Estate
Account Quarterly Performance Analysis December 31, 2016, exhibit 99.1 to 8-k, at 15; Doc. 249-18, Ex. 106,
Expert Report of W. Dominguez, ¶¶ 106-108.
1132
     Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNELL015005) at 28, 51; Doc. 249-18,
Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 102-105, 107; Ex. P106, TIAA Real Estate Account 8-K dated
March 10, 2015 (“adjusted performance figures are designed for use of Account investors for comparison purposes
only, and do not reflect the true returns experienced by holders of interests in the Account.”).
1133
     Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 51 (TIAA
Real Estate Account 92 bps) and 92 (Cohen & Steers Instl Realty Shares 75 bps ratio)(both use the same expense
ratio as comparators, 135 bps); Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 106, 108. .


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Accounts unadjusted returns to the NCREIF—is a “flat-out mischaracterization” of how the

TIAA Real Estate Account should be compared against an NCREIF index.1134

          268.   In July 2013, CAPTRUST reported that the CREF Stock Account ranked below

the 50th percentile of its Annualized Risk Adjusted Performance peer group and its Annualized

Peer Relative Performance group for the 3 and 5 year periods.1135




          269.   As of June 30, 2013, the date of CAPTRUST’s first evaluation of the CREF Stock

Account for the Plans, it underperformed both benchmarks listed in its semi-annual shareholder

report over the 6-month, one, three, five and ten-year periods.1136

          270.   The RPOC questioned the integrity of CAPTRUST’s analysis of the CREF Stock

Account.1137

          271.   CAPTRUST told the RPOC that its evaluation was an “estimation” that there was

“no reliable benchmark” for the CREF Stock Account.1138

          272.   Members of the RPOC believed that CAPTRUST’s yellow triangle scoring for

the CREF Stock Account was “fundamentally unreliable,” and they could not determine whether

the yellow triangles on the July 2013 report reflected the performance of the CREF Stock

Account or the inadequacy of CAPTRUST’s selection of measurement.1139




1134
     Doc. 227 at 21.
1135
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 28.
1136
     Ex.P114, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2013 at 9.
1137
     Ex. P8, Bursic Tr. at 217:15-218:9; 218:25-219:4.
1138
     Ex. P8, Bursic Tr. at 217:18-25.
1139
     Ex. P8, Bursic Tr. at 218:2-9; 218:25-219:4.


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          273.   Despite the process issues and performance concerns with the CREF Stock

Account, CAPTRUST recommended that Cornell keep the CREF Stock Account on the core

line-up in the Large Company Blend asset class based on its July 2013 analysis without any

explanation.1140

          274.   CAPTRUST’s next evaluation of the CREF Stock Account in September 17, 2014

solely included one green “score” dot and no underlying performance data.1141




          275.   CAPTRUST never provided Cornell with the analysis criteria for its alleged

“proprietary methodology” that CAPTRUST used to score the CREF Stock Account as green.1142

          276.   Cornell Defendants did not review the underlying performance data for the CREF

Stock Account until December 2014, after it was implemented in the best-of-class core line-

up.1143

          277.   CAPTRUST’s investment advisor, Barry Schmitt, could not articulate the

proprietary methodology, could not identify the index’s used in the “custom benchmark” and

could not identify any document that would reveal the custom benchmark for the CREF Stock

Account.1144




1140
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12, 16, 35, 38 and 48.
1141
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Ex. P23, Strodel Tr. at
185:18-25; Doc. 231-3, Ex. 92, RPOC Presentation September 17, 2014 (CORNELL013567) at 39-47.
1142
     Ex. P60, Schmitt Tr. at 115:21-116:5.
1143
     Ex. P89, Quarterly Review for Period Ending September 30, 2014 (CORNEL015005) at 39.
1144
     Ex. P60, Schmitt Tr. at 116:19-117:11; 117:23-118:


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          278.   The underlying data provided in that December 2014 showed that the CREF

Stock Account’s one, three, five and ten-year returns ranked in the bottom 50% of its

CAPTRUST assigned peer group (1% is the best ranking), violating the IPS.1145




          279.   The RPOC never considered removing the CREF Stock Account from the

Plans.1146

          280.   From July 2013 through the class period, CAPTRUST categorized the CREF

Stock Account in Large Company Blend asset class for the Plans’ participants.1147

          281.   CAPTRUST’s expert classified the CREF Stock Account in the Large Blend asset

class during his fiduciary service to the University System of Georgia Optional Retirement Plan,




1145
     Ex. P89, RPOC Quarterly Review for the Period Ending September 30, 2014 (CORNELL015005) at 39; Ex. P9,
Gallagher Tr. at 348:17-351:6.
1146
     Ex. P9, Gallagher Tr. at 351:15-23.
1147
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 12, 35 and 38; Ex. P84,
CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 21, 25-27; Ex. P108,
University of Maine System Quarterly Review for 3rd Quarter, 2014 at 14, 17, 35 and 43; Ex. P60, Schmitt Tr. at
80:1-19; Ex. P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 472, 501; Ex. P60,
Schmitt Tr. at 81:18-20.


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testifying that a large domestic blend asset class was “probably the closest you can – you can

find” for the CREF Stock Account.1148

          282.   Cornell and CAPTRUST’s Investment Policy Statement provides that funds

categorized as Large Company Blends in the Plans should be benchmarked against the S&P 500

and Russell 1000 indexes.1149

          283.   An Investment Policy Statement sets forth the benchmark that the Plans’

fiduciaries chose to monitor investments within a specific asset class.1150

          284.   In July 2013 CAPTRUST used the S&P 500 Index and Morningstar Large Blend

Index as benchmarks for the CREF Stock Account.1151 In July 2013, CAPTRUST reported that

the CREF Stock Account underperformed against both indexes over the 3 and 5 year periods and

ranked below the 50th percentile of its Annualized Risk Adjusted Performance peer group and its

Annualized Peer Relative Performance group for the 3 and 5 year periods.1152

          285.   CAPTRUST’s evaluation showed major style exposure overlap between the

CREF Stock Account and the Morningstar Large Blend Average.1153

          286.   CAPTRUST’s evaluation showed major similarity in annualized standard

deviation between the CREF Stock Account and the Morningstar Large Blend Average.1154




1148
     Ex. P88, Ciccotello Tr. at 56:20-58:11, 67:6-73:13, 179:3-15; Ex. P102, The University System of Georgia
Optional Retirement Plan Transition Guide at 13.
1149
     Doc. 252-6, Ex. 76, Cornell Investment Policy Statement (CORNELL013763) at 11.
1150
     Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶¶35-36.
1151
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
1152
     Ex. P84,CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49; Doc.
241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 48; Ex. P89, Quarterly Review for 3rd
Quarter, 2014 (CORNELL015005) at 134.
1153
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.
1154
     Ex. P84, CAPTRUST Presentation for The University of Maine System dated July 15, 2013 at PDF 49.


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          287.   The CREF Stock Account’s June 30, 2013 Certified Shareholder Report uses the

Russell 3000 Index as one of its benchmarks for the CREF Stock Account.1155

          288.   During the time the CREF Stock Account has been in the Plans, up to 64.71

percent of its portfolio was a passive index tracking the Russell 3000.1156

          289.   While the Plans’ participants were invested in the CREF Stock Account, more

than 83% of the portfolio was invested in domestic markets similar to the Russell 3000.1157

          290.   TIAA chose the Russell 3000 as the most appropriate broad-based index in all of

its SEC filings (prospectuses, annual reports, semi-annual reports) during the class period.1158




1155
     Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2013 at 8.
1156
     Ex. P127, College Retirement Equities Fund Prospectus May 1, 1996 at 12-13 (A segment of the Stock Account
“is designed to track the U.S. equity market as a whole. … the Russell 3000 segment of the Stock Account made up
64.71 percent of the portfolio.”)
1157
     Ex. P127, College Retirement Equities Fund Prospectus May 1, 1996 at 12-13; Ex. P128, College Retirement
Equities Fund Prospectus May 1, 1997 at 13-15; Ex. P129, College Retirement Equities Fund Prospectus May 1,
1998 at 18-20;
1158
     Ex. P111, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2011 at 7 (underperformed against both benchmarks for all
periods)(TIAA_CORNELL_00021841); Ex. P112, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, June 30, 2012 at 7 (underperformed against both benchmarks for
1-, 5- and 10-year periods); Ex. P113, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2012 at 8 (underperformed against both benchmarks for 5- and
10-year periods); Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2013 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2013 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P116, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2014 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P117, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2014 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P118, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2015 at 8 (underperformed against both benchmarks for 5- and 10-
year periods); Ex. P119, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2015 at 8 (underperformed against both benchmarks for 5- and 10-year
periods); Ex. P120, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2016 at 8 (underperformed against both benchmarks for 6-month, 1-, 5- and 10-
year periods).


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          291.   The CREF Stock Account underperformed against its prospectus-listed

benchmarks the entire time CAPTRUST served as an investment advisor until the Complaint

was filed.1159

          292.   There were numerous other Large Company Blend funds in the Plans that did not

have any performance issues.1160

          293.   After 2014, Cornell relied on CAPTRUST’s evaluation of the CREF Stock

Account using a benchmark of 70% domestic equity and 30% international equity, with 7-8% of

the 30% in emerging markets.1161

          294.   When compared to this benchmark, the CREF Stock Account underperformed

from at least 2000 through June 2010.1162

          295.   The CREF Stock Account underperformed against a variety of benchmarks prior

to 2010.1163



1159
     Ex. P111, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2011 at 7 (underperformed against both benchmarks for all
periods)(TIAA_CORNELL_00021841); Ex. P112, College Retirement Equities Fund, Certified Shareholder Report
of Registered Management Investment Companies, June 30, 2012 at 7 (underperformed against both benchmarks for
1-, 5- and 10-year periods); Ex. P113, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2012 at 8 (underperformed against both benchmarks for 5- and
10-year periods); Ex. P114, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2013 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P115, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2013 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P116, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2014 at 8 (underperformed against both benchmarks for 6-month, 1-,
5- and 10-year periods); Ex. P117, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, December 31, 2014 at 8 (underperformed against both benchmarks for 1-, 5-
and 10-year periods); Ex. P118, College Retirement Equities Fund, Certified Shareholder Report of Registered
Management Investment Companies, June 30, 2015 at 8 (underperformed against both benchmarks for 5- and 10-
year periods); Ex. P119, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2015 at 8 (underperformed against both benchmarks for 5- and 10-year
periods); Ex. P120, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, June 30, 2016 at 8 (underperformed against both benchmarks for 6-month, 1-, 5- and 10-
year periods).
1160
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122).
1161
     Ex. P23, Strodel Tr. at 144:22-145:7; Ex. P60, Schmitt Tr. at 116:19-118:12.
1162
     Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶ 95, Exhibit 5.
1163
     Expert Report of W. Dominguez, ¶ 95, Exhibit 5.


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          296.   The benchmark CAPTRUST used in 2014 to evaluate the CREF Stock Account is

the same benchmark used by Wendy Dominguez in her expert report.1164

          297.   In 2015, the CREF Stock Account underperformed against the index assigned by

CAPTRUST for the one, three, five and ten-year periods.1165

          298.   The CREF Stock Account was one of three options available to participants in the

Plans for many years and TIAA advised participants to invest 50% in the CREF Stock Account

likely accounting for percentage of assets invested in the fund rather than popularity.1166

          299.   The enrollment process and how plan choices are presented to participants has a

large impact on how plan participants allocate their funds; because the CREF Stock Account and

TIAA Real Estate Account were prominently displayed to participants making an election it

impacted their decisions.1167

          300.   Cornell decided to keep the CREF Stock Account on Tier II solely because it had

been offered at Cornell since the 1950s.1168

          301.   There is no reference to the CREF Stock Account’s prevalence among higher

educational institutions or internal diversification in any of the meeting minutes or materials

during the class period.1169


1164
     Ex. P23, Strodel Tr. at 144:22-145:7; Ex. P60, Schmitt Tr. at 116:19-118:12; Doc. 249-18, Ex. 106, Expert
Report of Wendy Dominguez at ¶ 95, Exhibit 5.
1165
     Ex. P101, University of Maine System Quarterly Review for 1st Quarter, 2015 at 501 and 515; Ex. P60, Schmitt
Tr. at 81:18-20.
1166
     Ex. P8, Bursic Dep, at 217:15‒.219:8
1167
     Ex. P132, Expert Rebuttal Report of Wendy Dominguez at ¶ 32-33.
1168
     Ex. P8, Bursic Tr. at 218:9-11.
1169
     Doc. 250-19, November 29, 2010, CURP Meeting Minutes (CORNELL0021932); Doc. 248-8, Jan. 11, 2012
RPOC Meeting Minutes; Ex. P10, February 3, 2011 CURP Meeting Minutes (CORNELL021930); Ex. P11, June
23, 2011 CURP Meeting Minutes (CORNELL021931); Doc. 248-8, January 11, 2012 RPOC Meeting Minutes
(CAPTR_0047903); Doc 248-14, April 13, 2012 RPOC Meeting Minutes (CAPTR_0047907); Doc. 248-9, July 24,
2012 RPOC Meeting Minutes (CAPTR_0047911); Doc. 252-5, November 19, 2012 RPOC Meeting Minutes
(CAPTR_0047924); Ex. P12, July 31, 2013 RPOC Meeting Minutes (CAPTR_0047921); Doc. 252-8, September
30, 2013 RPOC Meeting Minutes (CAPTR_0047918); Ex. P13, December 4, 2013 RPOC Meeting Minutes
(CAPTR_0047915); Ex. P14, March 21, 2014 RPOC Meeting Minutes (CAPTR_0004284); Ex. P15, September 17,
2014 RPOC Meeting Minutes (CAPTR_0004286); Ex. 63, Doc. 239-4, December 3, 2014 RPOC Meeting Minutes


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        302.    By year-end 2016, an investor with $10,000 that would have taken advantage of

an alternative Large Company Blend mimicking the Russell 3000 Index over 10 years would

have $3,577 more in retirement savings than an investor that chose the CREF Stock Account

listed in the Large Company Blend asset class in Cornell’s Plans.1170




        303.    The average account balance for the Plans’ participants was around $200,000,

which would translate into $71,540 less in retirement savings over a 10-year period for an

individual investing in only the CREF Stock Account within Cornell’s Large Blend asset

class.1171




(CAPTR_00013586); Ex. P16, June 2, 2015 RPOC Meeting Minutes (CAPTR_0013598); Ex. P17, September 9,
2015 RPOC Meeting Minutes (CAPTR_0013573); Ex. P18, December 16, 2015 RPOC Meeting Minutes
(CAPTR_0013594); Doc. 238-9, March 31, 2016 RPOC Meeting Minutes (CAPTR_0013568); Ex. P19, June 29,
2016 RPOC Meeting Minutes (CAPTR_0013565); Ex. P20, September 28, 2016 RPOC Meeting Minutes
(CAPTR_0013580); Doc. 252-10, December 12, 2016 RPOC Meeting Minutes, (CAPTR_0013590); Ex. P49, April
14, 2017 RPOC Meeting Minutes (CAPTR_0013583); Ex. P50, June 23, 2017 RPOC Meeting Minutes
(CAPTR_0013561); Ex. P51, September 27, 2017 RPOC Meeting Minutes (CAPTR_0013939); Ex. P52, December
11, 2017 RPOC Meeting Minutes (CAPTR_0015281).
1170
     Ex. P121, College Retirement Equities Fund, Certified Shareholder Report of Registered Management
Investment Companies, December 31, 2016 at 12; Doc. 249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 96.
1171
     Ex. P122, TIAA-CREF Plan Outcome Assessment December 2015 (CORNELL029168) at 8.


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          304.   The CREF Stock Account carried a much higher expense ratio than other funds

offered in the Large Company Blend asset class at Cornell.1172

          305.   TIAA used the MSCI World Index as the only “appropriate” comparator for the

CREF Global Equities Account in its 2011 prospectus.1173

          306.   The CREF Global Equities Account has exposure to emerging markets.1174

          307.   The MSCI World Index “does not offer exposure to emerging markets.”1175

          308.   The complexity of CAPTRUST’s hurried analysis across multiple recordkeepers

resulted in additional errors.1176

          309.   CAPTRUST’s July 31, 2013 presentation erroneously included duplicates of

pages in the hurried review.1177

          310.   CAPTRUST represented in its RFP response that investment candidates were

screened so that “[e]ach fund or manager has produced risk-adjusted returns in line or exceeding

its respective index and peer group.”1178

          311.   Templeton Developing Markets Trust Class A (TEDMX) egregiously

underperformed the benchmark listed in its prospectus prior to CAPTRUST’s 2013 review and

cost investors more than 168 basis points per year.1179 In its 2013 evaluation, CAPTRUST


1172
     Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 94 and 97.
1173
     Doc. 240-3, Ex. 83, CREF Prospectus (TIAA_CORNELL_00021950) at 45.
1174
     Doc. 240-3, Ex. 83, CREF Prospectus (TIAA_CORNELL_00021950) at 20 (holding approximately “4% in
emerging market equities”).
1175
     Available at https://www.msci.com/world
1176
     Doc. 248-2, Johns Hopkins’ University 403(b) Plan Design Presentation, at 7 (CORNELL029094)
1177
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 44-45.
1178
     Ex. P93, CAPTRUST Financial Advisors Formal RFP Response (CORNELL011415), at 9.
1179
     Ex. P154, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2006 at 9-10;
Ex. P155, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2007 at 7-8; Ex.
P156, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2008 at 7-8; Ex.
P157, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2009 at 7-8; Ex.
P158, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2010 at 3 and 6; Ex.
P159, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2011 at 3 and 6; Ex.
P160, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2012 at 3 and 5; Ex.
P161, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2013 at 3 and 5; Ex.


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provided an erroneous evaluation of the Templeton Developing Markets Trust Class A

(TEDMX) as green (passing) in all quantitative categories.1180

        312.    CAPTRUST corrected this error the next time it evaluated the fund a year later in

September 2014, evaluating the fund’s performance with yellow triangles.1181

        313.    As of November 2016, the Templeton Developing Markets Trust Class A

(TEDMX) remained in the Plans and still failed the IPS criteria for inclusion.1182

        314.    In the analysis, several funds failed screening criteria so badly in 2013 they were

designated with a red diamond.1183

        315.    Funds identified with the red diamond should have been given more attention or

been eliminated from the Plans.1184

        316.    The Cornell Defendants did not obtain any further quantitative investment due

diligence until 14 months later, on September 17, 2014.1185

        317.    On September 17, 2014, CAPTRUST identified over 90 investments in the Plans

that ranked below the 50th percentile of the peer group for Annualized Risk Adjusted

Performance and/or Annualized Peer Relative Performance for the 3 and/or 5 year annualized

periods, all of which violated Cornell’s Investment Policy Statement.1186




P162, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2014 at 3 and 5; Ex.
P163, Templeton Developing Markets Trust Class A Fund (TEDMX) Prospectus dated May 1, 2015 at 3-4; Doc.
249-18, Ex. 106, Expert Report of W. Dominguez, ¶ 115, Exhibit 6 at row 342 (Morningstar data ranking TEDMX
in the bottom 24 percent of its peer group for the 3-year period and bottom 6 percent for the 5 year period).
1180
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40.
1181
     Doc. 231-3, Ex. 92, RPOC Presentation September 17, 2014 at 39.
1182
     Ex. P144, 2016 Tier 3 Fund Selection Overview (CAPTR_0007501) at 3.
1183
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48.
1184
     Ex. P88, Ciccotello Tr. at 144:8-149:8; Doc. 248-13, Ex. 49, RPOC Presentation April 13, 2012
(CORNELL022014) at 21 (score of “69 or below Consider termination of fund”); Doc. 249-18, Ex. 106, Expert
Report of W. Dominguez, ¶¶ 52, 81, 117-121.
1185
     Ex. P90, e-mail attaching materials for September 17, 2014 RPOC meeting (CORNELL13566); Doc. 231-3, Ex.
92, RPOC Presentation September 17, 2014 at 39-47.
1186
     E Doc. 231-3, Ex. 92, RPOC Presentation September 17, 2014 at 39-47.


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          318.   In the analysis, several funds failed screening criteria so badly in 2014 they were

designated with a red diamond.1187

          319.   Several investments that were designated with a red in the July 2013 quantitative

review remained designated as red (failing) fourteen months later in the September 2014

review.1188

          320.   One such investment, the Fidelity Small Cap Stock, was removed from a

CAPTRUST client’s retirement plan.1189

          321.   Several investments that were previously unscored were identified as significantly

failing performance criteria.1190

          322.   Other investments that were previously failing IPS performance criteria, but not

designated as “consider for termination” had deteriorated further to include a red “consider for

termination” rating.1191

          323.   These underperforming investments remained in the Plan past the filing of this

lawsuit because prior to 2016, there was no process to remove an underperforming fund from the

Plans. 1192



1187
     Id.
1188
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Doc. 231-3, Ex. 92, RPOC
Presentation September 17, 2014 at 39-47 (Fidelity Blue Chip Value, Fidelity Select Gold, Fidelity Select Medical
Eq Sys, Fidelity Select Medical Del, Fidelity Select Env Alt Engy, Janus Twenty T, Fidelity Global Commodity
Stock, Fidelity Small Cap Stock,
1189
     Virginia Tech Optional Retirement Plan meeting minutes December 5, 2014, available at
https://www.hr.vt.edu/content/dam/hr_vt_edu/benefits-perks/retirement/20143rdq.pdf
1190
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Doc. 231-3, Ex. 92, RPOC
Presentation September 17, 2014 at 39-47 (Fidelity Global High Income,
1191
     Doc. 241-1, Ex. 90, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Doc. 231-3, Ex. 92, RPOC
Presentation September 17, 2014 at 39-47 (Fidelity Equity Dividend Income Fund, Fidelity Export Multi K,
JHancock Small Company A, Fidelity Global Strategy,
1192
     Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the
RPOC did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC
Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining
a process to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting
Minutes dated June 29, 2016 (CAPTR_0013565) at 2 (“The Chair, Ms. Opperman asked what may cause a fund to
be considered by RPOC for replacement.”).


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          324.   At the June 29, 2016 RPOC meeting, Ms. Opperman asked “what may cause a

fund to be consider[ed] by RPOC for replacement[?]”1193

          325.   Cornell and CAPTRUST never evaluated at least eight funds with the Plans prior

to moving the core line-up in October 2014 including: Fidelity Strategic Real Return Fund

(FSRRX), Fidelity Emerging Markets Discovery Fund (FEDDX), Fidelity Total Emerging

Markets Fund (FTEMX), Strategic Advisers Core Multi-Mgr (FLAUX), Fidelity Canada Fund

(FICDX), Fidelity Nordic Fund (FNORX), Fidelity Global Credit Fund (FGBFX), Fidelity

International Bond Fund (FINUX) and Fidelity Europe Capital Appreciation (FECAX).1194

          326.   By November 2016, Fidelity Canada, Fidelity Strategic Real Return and Fidelity

International Bond Fund remained in the Plans and were failing all IPS criteria.1195




          327.   No disruption analysis occurred prior to CAPTRUST’s July 2013 identification of

underperforming funds and those violating the IPS.1196

          328.   This “disruption analysis” was flawed and over-inclusive, contributing to a

complete lack of process related to removing underperforming funds.1197

                 3.       After October 1, 2014 Cornell Left Hundreds of Unmonitored,
                          Underperforming Funds in the Plans


1193
     Ex. P19, RPOC Meeting Minutes dated June 29, 2016 (CAPTR_0013565) at 2.
1194
     Doc. 241-1, RPOC Presentation July 31, 2013 (CORNELL020122) at 40-48; Doc. 241-3, RPOC Presentation
September 17, 2014 (CORNELL013567) at 39-47.
1195
     Ex. P144, 2016 Tier 3 Fund Selection Overview (CAPTR_0007501) at 3.
1196
     Ex. P98, Internal CAPTRUST e-mail dated October 2013 (CAPTR_0051798) at 2 (“I called yesterday to discuss
the disruption analysis Cornell would like us to complete”); Ex. P99, e-mail from D. Schwartz to RPOC dated
November 15, 2013 (CORNELL020006); Ex. P100, Internal CAPTRUST e-mail dated December 2013
(CAPTR_0052091); Ex. P23, Strodel Tr. at 164:2-13, 206:11-207:6.
1197
     Ex. P98, Internal CAPTRUST e-mail dated October 2013 (CAPTR_0051798) at 1 (“if a participant has 99% of
their assets not disrupted but 1% disrupted, then we will be treating this person as being disrupted. … I agree with
the definition of disruption being either yes or no.”); Ex. P23, Strodel Tr. at 209:20-23.


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          329.   CAPTRUST recommended against adding the PIMCO fund to the core-line up in

September 2014 as PIMCO’s founder and long-time manager left PIMCO in September

2014.1198

          330.   Contrary to CAPTRUST’s recommendation, Cornell added the fund to the core-

line up.1199

          331.   In the first review of the core-line up in 2014, the PIMCO was marked as

“consider for termination.”1200

          332.   PIMCO remained on CAPTRUST’s report as “consider for termination” at the

next meeting with RPOC on December 3, 2014.1201

          333.   PIMCO remained on CAPTRUST’s report as “consider for termination” at the

next meeting with RPOC on June 6, 2015.1202

          334.   Cornell did not vote to remove the PIMCO fund until November 2016, after this

lawsuit was filed.1203

          335.   Cornell left the PIMCO fund marked “consider for termination” in the Plans for

over two years.1204

          336.   CAPTRUST also indicated in 2014, that Cornell should remove all funds it would

not monitor in the “unmonitored Tier 3[.]”1205



1198
     Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 1 (“December 3, 2014”) and 34 (“Bill
Gross, left PIMCO in September [2014]”).
1199
     Ex. P104, RPOC Presentation dated December 3, 2014 (CORNELL015004) at 27.
1200
     Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 27 (scoring PIMCO as “consider for
termination”).
1201
     Ex. P104, RPOC Presentation dated December 3, 2014 (CORNELL015004) at 27.
1202
     Doc. 241-5, Ex. 94, RPOC Presentation dated June 2, 2015 (CORNELL013289) at 25.
1203
     Ex. P110, RPOC Presentation December 12, 2016 (CAPTR_0008486) at 4 (“Action decided in November 16,
via email”).
1204
     Ex. P104, RPOC Presentation December 3, 2014 (CORNELL015004) at 27 (scoring PIMCO as “consider for
termination”); Ex. P110, RPOC Presentation December 12, 2016 (CAPTR_0008486) at 4 (“Action decided in
November 16, via email. Implementation recommendation to follow”).
1205
     Ex. 63, December 2014 RPOC Meeting Materials (CAPTR_0013586) at 8.


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          337.   After October 1, 2014, Cornell did not monitor the performance all funds that

were not in the Tier I (target date funds) or Tier II (core line-up)—the “Tier 3” funds. 1206

          338.   In June 2016, Ms. Opperman asked “what may cause a fund to be consider[ed]

by RPOC for replacement” and CAPTRUST responded that it was “determined by the

Investment Policy Statement[.]”1207

          339.   Prior to December 2016, there was no process to remove an underperforming

fund from the Plans.1208

          340.   The Chair of the RPOC, Mary Opperman, did not “really have a good working

knowledge of investments.”1209

          341.   Cornell and CAPTRUST’s December 5, 2012 Investment Policy Statement

provides that “investment managers will be expected to maintain a broadly diversified portfolio

and will be expected to avoid unreasonable overweighting in a given investment, industry or

sector.”1210

          342.   On February 26, 2015, CAPTRUST identified 62 sector funds—funds that invest

in a specific sector of the economy or industry—and 36 funds that were failing the Investment

Policy Statement scoring system.1211




1206
     Ex. P16, e-mail dated July 20, 2016 (CORNELL019835).
1207
     Ex. P19, RPOC Meeting Minutes June 29, 2016 (CAPTR_0013565) at 3.
1208
     Ex. P23, Strodel Tr. at 163:24-165:1; Ex. P7, Opperman Tr. at 175:16-176:6 (prior to December 2016, the
RPOC did not know how to remove a fund that was underperforming from the Plans); Ex. 63, Doc. 239-4, RPOC
Meeting Minutes dated December 3, 2014 (CAPTR_0013586) at 4 (“RPOC and CAPTRUST will work on defining
a process to make decisions on the funds currently found in the Tier III menu of funds.”); Ex. P19, RPOC Meeting
Minutes dated June 29, 2016 (CAPTR_0013565) at 3 (“The Chair, Ms. Opperman asked what may cause a fund to
be considered by RPOC for replacement.”).
1209
     Ex. P7, Opperman Tr. at 250:5-12.
1210
     Doc. 252-6, Ex. 76, Investment Policy Statement Cornell University (CORNELL013763) at 6.
1211
     Ex. P95, Tier 3 Fund Selection Overview (CORNELL015019).


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          343.   Funds found to be underperforming and failing the IPS for being sector or

boutique asset classes were not removed from the Plans under April, 2017.1212

III.      The Cornell Defendants Allowed the Plans to Include Retail Class Mutual Funds for
          Numerous Fund for Which Lower Fee Share Classes Were Available

          344.   CAPTRUST advised Cornell that it should use the lower-cost institutional share

classes in January 2012.1213 However, CAPTRUST did not provide any analysis of the funds

eligible for lower-cost share classes.1214

          345.   TIAA offered institutional share classes for all its mutual funds as early as

February 2009.1215 All defined contribution plans were eligible for institutional share classes if

they had over $2 million invested in most of the funds (certain defined contributions plans were

eligible for institutional shares without any threshold).1216




1212
     Ex. P9, Gallagher Tr. at 294:17‒299:22.
1213
     Doc. 224-7, Jan. 22, 2012 RPOC Presentation (CORNELL015581), at 19.
1214
     Id.
1215
     Ex. P64, TIAA-CREF Funds, Lifecycle funds (Inst), Prospectus at pp. 719-20 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm). Ex.
P65, TIAA-CREF Funds, Money Market (Inst) fund (TCIXX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P66, TIAA-
CREF Funds, International Equity Index (Inst) fund (TCIEX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P67, TIAA-CREF Funds, Mid-Cap Value (Inst) fund (TIMVX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P68, TIAA-
CREF Funds, Growth & Income (Inst) fund (TIGRX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P69, TIAA-CREF Funds, International Equity (Inst) fund (TIIEX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex. P70, TIAA-
CREF Funds, Small-Cap Blend Index (Inst) fund (TISBX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P71, TIAA-CREF Funds, Short-Term Bond (Inst) fund (TISIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28,
2009) (available at
https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm). Ex. P72, TIAA-
CREF Funds, Large-Cap Value (Inst) fund (TRLIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009);
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm); Ex.
P73, TIAA-CREF Funds, Equity Index (Inst) fund (TIEIX), Prospectus at pp. 106-107 (485BPOS) (Jan. 28, 2009)
(available at https://www.sec.gov/Archives/edgar/data/1084380/000093041309000523/c56137_485bpos.htm.
1216
     See supra n. 1216.


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          346.   The Plans had over $2 million of assets invested in most of the TIAA mutual

funds on December 31, 2009 at the latest.1217

          347.   Despite being eligible for institutional share classes of many TIAA mutual funds,

the Plans had retirement class shares of the TIAA mutual funds at the end of 2009.1218

          348.   CAPTRUST and the Cornell Defendants did not adopt the lower cost institutional

share classes for the TIAA mutual funds until February 22, 2012.1219

          349.   The failure to adopt the lower institutional share classes of the TIAA-CREF

Lifecycle funds alone caused $336,577 in damages to Plan participants.1220

          350.   Institutional share classes were available to the Plans with no minimum asset

levels in many Fidelity funds prior to August 2010 and through the period.1221

          351.   Cornell did not monitor share classes in Tier III.1222

IV.       As a result of the Cornell Defendants’ Imprudent Process, Plan Participants Lost
          Millions in Investment Gains.


1217
     Ex. Doc. 247-8, Ex. 38, December 31, 2009 TIAA CURP Investment Expense and Fee Disclosure
(TIAA_CORNELL_00011306), at 307.; Doc. 247-7, Ex. 37, Dec. 31, 2009 TIAA TDA Plan Investment Expenses
and Fee Disclosure (TIAA_CORNELL_00002094) at 095.
1218
     Doc. 247-8, Ex. 38, December 31, 2009 TIAA CURP Investment Expense and Fee Disclosure
(TIAA_CORNELL_00011306), at 307.; Doc. 247-7, Ex. 37, Dec. 31, 2009 TIAA TDA Plan Investment Expenses
and Fee Disclosure (TIAA_CORNELL_00002094) at 095.
1219
     Doc. 246-005, TIAA/ Recordkeeping Agreements, at 34-36 (adding “Institutional” mutual funds)
1220
     Doc. 249-18, Expert Report of Wendy Dominguez, ¶123.
1221
     See, e.g., Ex. P74, Fid. Investments, Fid. Freedom K funds, Prospectus at p. 241 (485BPOS) (May 28, 2010)
(available at https://www.sec.gov/Archives/edgar/data/880195/000088019510000114/main.htm); Ex. P75, Fid.
Investments, Fid. Contrafund (K) (FCNKX), Prospectus at p. 133 (485BPOS) (Feb. 27, 2009) (available at
https://www.sec.gov/Archives/edgar/data/24238/000002423809000002/main.htm); Ex. P76, Fid. Investments, Fid.
Magellan (K) fund (FMGKX), Prospectus at p. 49 (485BPOS) (May 29, 2009) (available at
https://www.sec.gov/Archives/edgar/data/61397/000006139709000002/main.htm); Ex. P77, Fid. Investments, Fid.
Blue Chip Growth (K) fund (FBGKX), Prospectus at p. 361 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P78, Fid. Investments, Fid.
Growth & Income (K) fund (FGIKX), Prospectus at p. 385 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P79, Fid. Investments, Fid.
Dividend Growth (K) fund (FDGKX), Prospectus at p. 373 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P80, Fid. Investments, Fid.
OTC (K) fund (FOCKX), Prospectus at p. 408 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm); Ex. P81, Fid. Investments, Fid.
Leveraged Co. Stock (K) fund (FLCKX), Prospectus at p. 396 (485BPOS) (Oct. 8, 2009) (available at
https://www.sec.gov/Archives/edgar/data/754510/000031570009000021/main.htm).
1222
     Ex. P46, Edwards Tr. at 101:6-14.


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          352.   Cornell’s failure to perform investment due diligence on the underperforming

funds in the Plans, remove imprudent funds and follow a prudent process caused the Plans’

participants millions of dollars in lost retirement income.1223

 February 25, 2019                                     Respectfully submitted,

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1223
   Doc. 249-18, Ex. 106, Expert Report of Wendy Dominguez at ¶¶ 100, 109-110, 116, 121; Ex. P165, Expert
Report of G. Buetow, ¶ 32, DamagesSummary.xlsx, TIAAdamagesProduction.xlsx,
FidelitydamagesProduction.xlsx.
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on February 25, 2019, a copy of the foregoing was filed electronically

using the Court’s CM/ECF system, which will provide notice of the filing to all counsel of record.



                                                   By:     /s/ Joel D. Rohlf
                                                         Joel D. Rohlf
